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                 EXHIBIT 4
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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


  IN RE: JOHNSON & JOHNSON           MDL No. 16-2738 (MAS) (RLS)
  TALCUM POWDER PRODUCTS
  MARKETING, SALES PRACTICES,
  AND PRODUCTS LIABILITY
  LITIGATION

 THIS DOCUMENT RELATES TO ALL
 CASES




                    THIRD AMENDED EXPERT REPORT OF
                     LAURA M. PLUNKETT, PH.D., DABT




Date: 28 May 2024
                                 Laura M. Plunkett, Ph.D., DABT
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I.     Training and Qualifications
       1.      I am a pharmacologist, toxicologist, United States Food and Drug Administration
(FDA) regulatory specialist and partner in a consulting company known as BioPolicy Solutions,
LLC. BioPolicy Solutions has offices in Houston, TX and Ventura, CA, and is a consulting firm
that works at the interface of biological science, regulatory affairs, and business decisions to
provide its clients with science-based solutions to issues associated with development and
marketing of existing products as well as new technologies. Before BioPolicy Solutions was
formed in June of 2020, I was principal in the consulting firm known as Integrative Biostrategies
(2001 to May 2020) and head of a consulting firm known as Plunkett & Associates (1997 to 2001).
Attached to this report as Appendix A is a copy of my curriculum vitae.


       2.      I am board-certified as a Diplomate of the American Board of Toxicology. I am a
member of several professional organizations and have authored or co-authored numerous
scientific publications. I have over twenty years of experience in the areas of pharmacology and
toxicology and have worked in both government and academic research. I have taught
pharmacology and toxicology at the undergraduate and postgraduate levels.


       3.      I received a B.S. degree in 1980 from the University of Georgia and a Ph.D. in
pharmacology from the University of Georgia, College of Pharmacy in 1984. My doctoral research
was focused on the area of cardiovascular pharmacology, and specifically dealt with delineating
neurochemical mechanisms responsible for the cardiac toxicity of digitalis glycosides. My training
required my understanding of the mechanisms of action and basic pharmacology of drugs from all
classes.


       4.      From June 1984 through August 1986, I was a Pharmacology Research Associate
Training (PRAT) fellow at the National Institute of General Medical Sciences, Bethesda,
Maryland. I worked in a neuroscience laboratory of the National Institute of Mental Health. My
research focused on the role of various brain neurochemical systems involved in the control of
autonomic nervous system and cardiovascular function.



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       5.      From September 1986 to June 1989, I was an Assistant Professor of Pharmacology
and Toxicology in the medical school at the University of Arkansas for Medical Sciences, Little
Rock, Arkansas, where I performed basic research in the areas of neuropharmacology and
toxicology as well as cardiovascular pharmacology and toxicology. I taught courses for both
medical students and graduate students in pharmacology and toxicology as well as the
neurosciences. As a pharmacologist, my work was directed towards understanding the biologic
mechanisms of drug actions.


       6.      From December 1989 to August 1997, I worked for ENVIRON Corporation, first
in the Arlington, Virginia office and then in the Houston, Texas office. I worked specifically within
the health sciences group and most of my projects dealt with issues surrounding products or
processes regulated by the FDA. During my consulting career (ENVIRON, Plunkett & Associates,
and Integrative Biostrategies), I have worked on a variety of projects dealing with the regulation
of products by the FDA, including human drugs (both prescription and over-the-counter drugs),
veterinary drugs, biologics, medical devices, cosmetics, consumer products, dietary supplements
and foods. I have advised my clients on regulatory issues and strategies for their products, designed
preclinical and clinical studies for both efficacy and safety, advised clients on issues related to
statements regarding efficacy and warnings for their products based on the current labeling
regulations, and generally acted as a regulatory affairs staff for small companies in early stages of
product development. Among the clients that I have consulted with have been cosmetic ingredient
manufacturers and manufacturers of finished cosmetic products, both large and small companies.
A tool and generally accepted methodology common to all my work as a consultant would be risk
assessment, including many projects where risks related to exposure to chemicals in consumer
products were at issue. Also, as part of my risk assessment work, I commonly review and rely on
epidemiology data, as well as animal and in vitro data in order to assess risks to human health.


       7.      With respect to my experience that is directly relevant to the issues in this case, I
have done a great deal of work on projects related to regulation of cosmetics and cosmetic
ingredients. As part of my regulatory practice as a consultant over more than 25 years, I have
consulted with cosmetic ingredient manufacturers and manufacturers of cosmetic products on
issues related to ingredient safety, product safety, labeling claims, and general regulatory

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compliance issues which include US regulations and regulations in other countries. These projects
have been for companies of different sophistication in terms of their knowledge of cosmetic
regulatory compliance. In some cases, I have worked with large companies and provided advice
on the safety of ingredients used to manufacture cosmetic products. In other cases, I have given
advice to the company as part of an initial commercialization process, where the client was trying
to decide how to market their product, e.g., as a cosmetic or a drug, as well as to determine if their
product was safe for human exposure. Prior to this litigation, I have worked on the safety of talc
itself. In the 1990’s, I consulted with companies making condoms, which are classified as medical
devices,1 and provided scientific advice on the safety of talcum powder that was used on the
surfaces of the devices as a dry lubricant. This work included my assessment of the scientific
literature, including epidemiology, animal and in vitro studies that discussed potential adverse
health effects linked to talc exposure, including both local tissue toxicity and systemic toxicity.


           8.      Related to the issue of cosmetic ingredient safety is the issue of determining if that
ingredient is “generally-recognized-as-safe”, or “GRAS”. In many of my projects, the issue of
whether a consumer product ingredient is GRAS is critical to determining what type of toxicity
testing is needed to establish that a product or an ingredient is safe for human use. Like the reviews
performed on cosmetic ingredients by members of panels such as the Cosmetic Ingredient Review
(CIR) panel (the role of the CIR process and its panel is discussed in more detail below), GRAS
reviews that I have performed involved consideration of animal and human toxicity data, cellular
and mechanistic data, human product experience reports, and the type and level of exposure that
may occur when humans are exposed to the ingredient or product.


           9.      As a pharmacologist and board-certified toxicologist, much of my consulting work
has related to understanding and explaining the mechanisms of action of chemicals of all types, as
well as the toxic effects of these chemicals. I have expertise in pharmacokinetics, where I have
designed clinical trials and analyzed pharmacokinetic data. I have taught pharmacology to medical
students and graduate students. I have lectured to graduate students, law students and pharmacy
students on FDA regulations as they apply to all types of FDA-regulated products, including
cosmetics. Throughout my career, I have published dozens of peer-reviewed articles, which are

1
    https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfPCD/classification.cfm?ID=HIS

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listed in my curriculum vitae (Appendix A). I have authored a book chapter on FDA
pharmacovigilance practices. I have served as a peer-reviewer for medical journals in my capacity
as a pharmacologist and toxicologist. In litigation, I have provided expert testimony and been
qualified by both state and federal courts in the areas of pharmacology, pharmacokinetics,
toxicology, risk assessment and FDA regulations. A list of my previous testimony for the past five
years is included as Appendix B.


II.    Information Reviewed and Methodology Employed
       10.     In the current case, I have been asked to provide opinions related to the human
health hazards posed by exposure to talcum powder products and how those hazards relate to the
regulatory requirements for marketing cosmetic ingredients and cosmetic products in the United
States. I amended my original MDL report on 30 June 2021. I prepared a second amendment to
my original MDL report on 15 November 2023. This is a third amendment to my original MDL
report and has been prepared to address new published peer-reviewed articles that relate to
opinions I have expressed in this litigation. I am prepared to provide testimony on many of the
topics addressed in my earlier reports (dated October 5, 2016, August 29, 2018, November 16,
2018, June 30, 2021, and November 15, 2023), as well as opinions contained in testimony during
hearings, depositions, and trials. This report contains discussion of additional documents, scientific
literature, reports, and deposition testimony that has become available since preparing my original
report in October 2016 and my reports dated in 2018, 2021, and 2023. To provide a general
summary, the relevant materials I have reviewed during the course of continuing work in this
litigation include the following:
       a) scientific literature relating to the biological effects and toxic effects of talc and other
constituents that are present in talc body powder;
       b) the Food, Drug and Cosmetic Act (FDCA) and regulations of the U.S. Food and Drug
Administration (FDA) relating to the development and marketing of cosmetic ingredients and
finished cosmetic products;
       c) publicly available information on safety assessments of talc and products containing
talc; and




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        d) documents produced during the litigation that are, for example, internal company
documents, depositions of company employees, reports of other experts in the litigation, or
documents found on public sites.


        It should be noted that most of the sources listed above are ones commonly used in my
work as a pharmacologist, toxicologist, risk assessor, and United States Food and Drug
Administration (FDA) regulatory specialist, including internal company documents that often
outline what was known by a manufacturer concerning their product as well as outlining company
policies that relate to marketing of cosmetic ingredients and cosmetic finished products in the
United States. Additionally, it is important to point out that I have had access to a large database
of internal company documents, documents produced as part of the discovery process in the
litigation, and that I have performed my own searches of this database as part of my work on the
case. In other instances, I have directed others to perform searches on my behalf. Finally, the
manufacturers that are relevant to my opinions include Luzenac, a talc ingredient manufacturer
that is a part of the company known today as Imerys,2 and Johnson & Johnson, the manufacturer
of finished talc body powder products, i.e., Johnson’s Baby Powder™. Shower to Shower™ and
Shimmer™. The other group that is relevant to my opinions in this case is the trade organization
for the cosmetics industry in the United States known as the Personal Care Products Council
(PCPC), a group that was formerly known as the Cosmetic, Toiletry and Fragrance Association
(CTFA).


        11.      With respect to the methodology employed in forming my opinions for this report
and my earlier reports, I used standard and generally accepted methods that apply in all my work
as a pharmacologist and toxicologist that is related to assessing the safety of products, both
litigation and non-litigation projects. The tool I use for safety assessment is a method known as
human health risk assessment. Toxicologists routinely assess risks to human health related to
exposure to chemicals in the everyday environment using the risk assessment process. In fact,
toxicology is the scientific core of risk assessment. Risk assessment is a methodology that has been


2
 Since 1989, Imerys Talc America, Inc. (“Imerys”) or one of its predecessor companies have supplied talc to Johnson
& Johnson for its talcum powder products. These predecessor companies include Cyprus Talc Corporation, Luzenac
America, Inc., and Rio Tinto Group. Throughout this report, these entities should be considered synonymous with
Imerys.

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used for decades by a wide variety of governmental bodies to evaluate the safety of chemicals
encountered in the everyday environment and to identify the potential adverse health effects from
such chemical exposures. In 1983, the National Research Council (NRC) detailed the steps for risk
assessment and described the methodology that is in use today as four basic steps: hazard
identification, dose-response assessment, exposure analysis, and characterization of risks (NRC,
1983). As a result, risk assessment is a standard tool used by toxicologists when they are trying to
determine if exposure to a chemical(s), or a product, poses a risk to human health. Therefore, as
with any project I perform involving safety assessment, I use risk assessment as a tool. The
methodology of human health risk assessment is a tool described in the Reference Manual on
Scientific Evidence, Third Edition (NRC, 2011) which is a resource developed for courts when
evaluating methodology used by scientists in litigation projects.


       12.     The first step in any risk assessment is the one I employed here, i.e., identifying,
collecting, reviewing, assessing, and evaluating data from the peer-reviewed scientific literature.
This literature is used as the basis of the information employed in the first two steps of the risk
assessment, i.e., hazard identification and dose-response assessment. In this case, that literature
review involved extensive searching of the published literature that described the effects of talc
and talc-based products on some aspect of human health. I used available databases to
systematically search the published literature for all relevant literature. The papers I identified
described the effects of talc on living organisms, tissues and cells. Some of the resources I
identified were textbooks and government documents that provided overviews of the human health
risks associated with talc exposure. Also included in my searches were other compounds or
chemicals that are constituent parts of talc-based body powders. I had to analyze and evaluate the
relevant information. For this process I employed another tool and generally accepted
methodology known as a “weight-of-the-evidence” assessment.             A weight-of-the-evidence
assessment involves evaluating individual studies and determining what the studies describe, when
considered as a whole. Therefore, weight-of-the-evidence methods were critical to defining the
literature that identified the hazards of talc exposure as well as defining the dose-response
relationship between talc exposure and the risk of adverse health effects. The third step in a risk
assessment is exposure assessment. As I am not a case-specific expert in this litigation, I was not
attempting to define any specific exposure for any specific person in quantitative terms but instead

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to use exposure assessment to define the type of information relevant to the product in question, a
talc-based body powder. Therefore, exposure assessment involved defining the routes of human
exposure that would be relevant for evaluating the risks posed by use of the powders and the type
of exposure patterns that have been linked to risks posed by the use of powders. The last step in a
risk assessment is risk characterization, a process where the scientist generates some statement
about risk. This final step explains the outcome of the risk assessment in terms that explain the
potential impact on health of the public, for example.


        13.      I was trained in the use of these methods as part of my undergraduate, graduate,
and postdoctoral work in pharmacology and toxicology, as well as while working as a consultant
in human health risk assessment.           Weight-of-the-evidence methodology, is used as part of
regulatory decision making by regulatory and scientific bodies such as the FDA,3 the U.S.
Environmental Protection Agency (EPA),4 and the U.S. Occupational Safety and Health
Administration (OSHA),5 and the World Health Organization (WHO) and the International
Agency for Research on Cancer (IARC).6 The Reference Manual on Scientific Evidence also
describes the use of weight-of-the-evidence by experts in the process of evaluating a body of data
or studies.7


        14.      At the end of this report is attached a list of the published scientific articles cited
throughout this report. Attached to this report as Appendix C is a complete list of all materials that
I have reviewed and/or relied upon in forming my opinions in this case. All the opinions expressed
in this report are based on a reasonable degree of scientific certainty. I reserve the right to




3
  e.g.,
http://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/ucm079257.pdf;
http://www.fda.gov/downloads/drugs/guidancecomplianceregulatoryinformation/guidances/ucm074916.pdf;
http://www.fda.gov/downloads/drugs/guidancecomplianceregulatoryinformation/guidances/ucm079240.pdf
4
  e.g., https://www.epa.gov/sites/production/files/2015-06/documents/acephate-103301_2015-06-
29_txr0057153.pdf;
https://cfpub.epa.gov/ncea/risk/recordisplay.cfm?deid=23160&CFID=65932199&CFTOKEN=24176705;
https://cfpub.epa.gov/ncea/risk/recordisplay.cfm?deid=71993&CFID=65932266&CFTOKEN=97071893
5
  https://www.osha.gov/weightofevidence/woe_guidance.pdf
6
  http://www.who.int/phe/news/events/international_conference/Session2_DrStraif.pdf
7
  The Reference Manual on Scientific Evidence, 3rd Edition. National Research Council. 2011. Washington, DC:
The National Academies Press. https://doi.org/10.17226/13163.

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supplement and refine my opinions as additional relevant information becomes available. I also
reserve the right to review and comment on the reports and testimony of Defendants’ experts.


III.   Talcum Powder Products: The Regulatory Process
       15.     Johnson & Johnson talcum powder products entered the marketplace in 1894. At
that time, the FDA did not exist and there was no law in place related to any type of product that
is currently addressed by FDA regulations. Prompted by a series of food contamination issues, the
Pure Food and Drugs Act was passed by Congress and signed into law in 1906 (Janssen 1981).
This initial law was enforced by the Agriculture Department's Bureau of Chemistry and prohibited
the introduction of “misbranded” and “adulterated” foods, drinks, and drugs into interstate
commerce. In 1930, the Bureau of Chemistry became the Food and Drug Administration. In the
decades that followed the passage of the 1906 law, scientists involved in administration of the law
were confronted with a series of public safety issues that included notably a drug-related tragedy
(Sulfanilamide Elixir) and a cosmetic-related tragedy (Lash-Lure). In the case of the cosmetic
product, a coal tar-based eyelash dye called Lash Lure caused serious eye injuries that included
blindness and one death. Yet, it was the drug-related tragedy, where 107 people died, that
purportedly led to passage of Food, Drug & Cosmetic Act (FDCA) in 1938 (Berger and Berger,
2017). Before the passage of the FDCA, there was no US law that addressed cosmetic safety
specifically; the FDCA extended regulatory authority to cosmetics for the first time. The
provisions of the 1938 Act that brought cosmetics under the purview of the FDA have changed
little over the decades, in contrast to the multiple substantive changes in the law as it relates to
other FDA-regulated products (e.g., drugs, foods and medical devices).


       16.     As discussed in a review paper written in 1978 by the Commissioner of Food and
Drugs (FDA), Dr. Kennedy, the author describes the process by which regulation of various
product types evolved over the decades since 1938 (Kennedy, D. 1978). Dr. Kennedy describes
how FDA moved forward over the years toward greater authority over drugs and medical devices,
as well as foods, but not with respect to cosmetics. He describes the need for FDA to engage in
something he termed “movement backward toward the source”, where such actions are ones where
FDA works to eliminate a public health threat using its existing statutory and research resources.
As he stated in his paper:

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       “It is only in regard to cosmetics-regulated through the Bureau of Foods- that FDA has
       been frustrated in the necessary movement backward toward the source. While the Agency
       is charged with assuring that cosmetics are not harmful under conditions of use and are
       truthfully packaged and labeled, an anomaly in the Food, Drug, and Cosmetic Act places
       the burden on FDA to prove harm rather than on industry to prove safety, as is true with
       drugs and food additives…A study conducted by the General Accounting Office (GAO)
       pointed out that there is increasing evidence that some cosmetic products and ingredients
       carry a significant risk of injury to consumers and that, despite such evidence, efforts to
       regulate cosmetics have been hampered by the lack of adequate legislative
       authority…FDA’s limited ability to reach back toward the source inhibits the Agency’s
       ability to carry out risk assessment of cosmetic ingredients.” (see pages 611-612 of
       Kennedy, 1978).


The regulatory standards for cosmetics have remained essentially unchanged since the 1970’s with
some exceptions being: (1) in 1975 the FDA stipulated the need for warning statements on the
label of cosmetics products and set forth the standards (March 3, 1975; 21 CFR 740); (2) in 1992
FDA initiated voluntary filing of cosmetic product composition statements for cosmetic products
(57 FR 3129, Jan. 28, 1992; 21 CFR 720); (3) in 1974 FDA began voluntary registration of
cosmetic manufacturing operations (39 FR 10059, Mar. 15, 1974; 21 CFR 710); and (4) in 1974
FDA required certain specifications for cosmetic labeling (39 FR 10056, Mar. 15, 1974; 21 CFR
701). As stated in 2012 testimony before Congress (CRS, 2012), “FDA’s authority over cosmetics
is less comprehensive than its authority over other FDA-regulated products with regard to GMP;
premarket notification, clearance, or approval; testing; and mandatory risk labeling.” The
limitations on FDA authority over cosmetics is important in this case given that the Agency relies
on cosmetic manufacturers and ingredient suppliers to ensure that the products marketed are safe
for human use.


       17.       Over the years, the U.S. General Accounting Office (GAO) has been involved in
evaluation of cosmetic regulations (GAO, 1978). The mission of the GAO is stated as follows:
“GAO exists to support the Congress in meeting its constitutional responsibilities and to help
improve the performance and ensure the accountability of the federal government for the benefit

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of the American people.”8 In its 1978 report, the GAO provided some important observations and
suggestions on how to improve the process for protecting public health. The GAO reached the
following conclusions in 1978 regarding cosmetic regulations:
          “In spite of the significant risk of injury to consumers, the Food and Drug Administration
          (FDA) does not have an effective program for regulating cosmetics. The act does not
          authorize FDA to require manufacturers to register their plants or products, file data on
          ingredients, file reports of cosmetic-related injuries, or test their products for safety. Also,
          exemptions in the act do not permit effective regulation of coal tar hair dyes. FDA has not
          effectively used its existing authority. For example, it has not inspected most
          manufacturers' plants or sampled products for compliance with the act; it has established
          regulations governing the use of only 11 ingredients used in cosmetics; the safety of about
          25 color additives has not been established; and it has had difficulty developing
          appropriate tests to be used by manufacturers in evaluating safety.”


The overall conclusion reached is reflected in the title of the report: “Lack of Authority Hampers
Attempts to Increase Cosmetic Safety”. The GAO also made recommendations that were stated as
follows:
          “The Congress should authorize the Food and Drug Administration to require cosmetic
          manufacturers to prove the safety of their products. Because the agency does not have
          enough authority to effectively regulate cosmetics, products are being marketed which may
          pose a hazard to consumers. About 125 ingredients available for use in cosmetics are
          suspected of causing cancer, and about 25 are suspected of causing birth defects. Although
          many of the reported adverse effects have not been verified, 30 of the ingredients are known
          to cause cancer in humans or animals or contain impurities known to cause cancer. The
          ability of these ingredients to cause toxic effects through cosmetic use has not been
          determined. Manufacturers do not have to determine the safety of their products before
          selling them or tell the Food and Drug Administration what products they are selling and
          what ingredients are used in them. Many manufacturers have not voluntarily given such
          Information to the agency. As a result, a hazardous cosmetic can be marketed until the



8
    https://www.gao.gov/dsp/3mission.html

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        Food and Drug Administration obtains information to prove that the product may be
        injurious to users.”


The discussion and findings by the GAO in 1978 are important context for understanding the
responsibilities of cosmetic manufacturers and suppliers of cosmetic ingredients, such as Johnson
& Johnson and Imerys, with respect to talcum powder products. The lack of FDA authority in key
areas of cosmetic regulations that existed in the past, and exist even today, means that companies
that market cosmetic products and ingredients must ensure that the products they sell are safe for
use before they are marketed and continue to be safe for use as new scientific information becomes
available.


        18.      With this historical context in mind, at issue in this litigation are cosmetic products
known as talcum powder products. As mentioned above, current law does not require that
cosmetics or cosmetic ingredients have FDA approval before they enter the market.9 This is true
despite recent changes to cosmetic law in 2022 (the Modernization of Cosmetics Regulation Act
of 2022 known as MoCRA).10 Once cosmetic ingredients and products are marketed and placed
into interstate commerce, the two important laws that pertain to the industry include the FDCA
and the Fair Packaging and Labeling Act (FPLA). The FDCA defines cosmetics by their intended
use, in the same way that other products (i.e., drugs, device, foods, etc.) are regulated according to
their intended use. A cosmetic is defined as follows: "The term cosmetic means (1) articles
intended to be rubbed, poured, sprinkled, or sprayed on, introduced into, or otherwise applied to
the human body or any part thereof for cleansing, beautifying, promoting attractiveness, or
altering the appearance, and (2) articles intended for use as a component of any such articles;
except that such term shall not include soap." (FDCA Section 201(i)). Among the products
included in this definition are skin moisturizers, perfumes, lipsticks, fingernail polishes, eye and
facial makeup, cleansing shampoos, permanent waves, hair colors, and deodorants, as well as any
ingredient intended for use as a component of a cosmetic product. The FPLA, enacted in 1967,

9
  https://www.fda.gov/cosmetics/guidanceregulation/lawsregulations/ucm074162.htm
10
     https://www.fda.gov/cosmetics/cosmetics-laws-regulations/modernization-cosmetics-regulation-act-2022-mocra;
it should be noted that FDA has not yet codified the new provisions of MoCRA in the CFR but has issued some
guidance such as the recent Compliance Policy for Cosmetic Product Facility Registration and Cosmetic Product
Listing (November 2023) and the Guidance for Industry: Registration and Listing of Cosmetic Product Facilities and
Products (December 2023).

                                                                                                               13
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directed the Federal Trade Commission (FTC) and the FDA to issue regulations requiring that
"consumer commodities" be labeled to disclose net contents, identity of commodity, and name and
place of business of the product's manufacturer, packer, or distributor.11 In the case of cosmetics,
the FDA was given responsibility for administering the law and for issuing regulations regarding
labeling for foods, drugs, devices, and cosmetics.


           19.      Since the FDCA does not require that cosmetics undergo any type of approval by
FDA before marketing, the focus of the regulations that have existed since passage of the law in
1938 has been to ensure that cosmetics are not “adulterated” and “misbranded”. The term
“adulterated” with respect to cosmetics means that the product or an ingredient is known to pose
a risk to human health, or the product is known to be unsanitary, or the product contains a
prohibited ingredient, or the product is manufactured under unsanitary conditions (Jackson, 1995).
The term “misbranded” means that the cosmetic product has false or misleading labeling, that the
labeling fails to state information required by FDA (i.e., name of product, net weight or amount of
product, name of the company marketing the product, ingredients listed in descending order of
amount, and any warnings about safety issues that the company is aware exist), or that the product
packaging is misleading to the consumer in some way in terms of what it contains. FDA has
published guidance on how to label cosmetic products.12


           20.      Unlike human drug products, both prescription drug products and those sold over-
the-counter (OTC), there is no risk-benefit assessment performed as a part of a decision to allow a
cosmetic product to be marketed. Cosmetics are not recognized to provide any health benefit, and,
as a result, any significant health risks or concerns are unacceptable for such products. In the case
of a drug, both FDA and the public understand that in some cases risks can be acceptable so long
as there is some benefit assessment that outweighs that risk assessment. There are some products
that are both cosmetics and drugs, and in those cases, the manufacturer must comply with both
cosmetic and drug regulations.




11
     https://www.ftc.gov/enforcement/rules/rulemaking-regulatory-reform-proceedings/fair-packaging-labeling-act
12
     http://www.fda.gov/downloads/Cosmetics/Labeling/UCM391202.pdf

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           21.     It is the cosmetic manufacturer that is responsible for ensuring that its product and
its ingredients are safe for use. The cosmetic ingredient supplier also has a duty to provide
warnings related to the safety of the ingredients supplied to finished product manufacturers
(Federal Register 40(42) March 3, 1975). The FDA does no testing itself. Instead, the FDA relies
on companies to conduct all testing to ensure that the finished product, and its ingredients, are safe
for human use. Therefore, as is stated by FDA:
           “Companies and individuals who manufacture or market cosmetics have a legal
           responsibility to ensure the safety of their products. Neither the law nor FDA regulations
           require specific tests to demonstrate the safety of individual products or ingredients. The
           law also does not require cosmetic companies to share their safety information with
           FDA.”13
As a result, manufacturers have a duty to conduct whatever testing is necessary to ensure the safety
of their products and ingredients. This has been confirmed in recent FDA statements as well.14


           22.     Another aspect of the FDA regulations pertaining to cosmetics that needs to be
discussed is the standard for establishing a warning that would be placed on the labeling of a
cosmetic product. It is important to realize that the standard for placing a warning on a cosmetic
product is very different than the standard applied to products such as drugs. The standard applied
to human prescription drug products in the US is as follows (21 CFR 201.57):
           “The labeling must be revised to include a warning about a clinically significant hazard
           as soon as there is reasonable evidence of a causal association with a drug; a causal
           relationship need not have been definitely established.” [emphasis added]
In the case of cosmetic products and their ingredients, however, the warning standard is as follows:
(21 CFR 740.1):
           740.1 Establishment of warning statements
           (a) The label of a cosmetic product shall bear a warning statement whenever necessary
           or appropriate to prevent a health hazard that may be associated with the product.
            [emphasis added]




13
     http://www.fda.gov/Cosmetics/GuidanceRegulation/LawsRegulations/ucm074162.htm
14
     https://www.fda.gov/cosmetics/cosmetics-laws-regulations/modernization-cosmetics-regulation-act-2022-mocra

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This means that, unlike drugs, cosmetics are expected to carry warnings based on a standard of a
possibility of health hazard, not on having evidence of a causal association between a health effect
and the cosmetic product or ingredient. Not requiring proof of a cause-and-effect relationship is
consistent with FDA’s policy with drugs where causation does not need to have been proven before
a warning may be placed on a drug product (see 21 CFR 201.57(c)). This issue is important in the
current case involving talc cosmetic products and cancer risk because of the large body of evidence
that developed over the decades providing evidence of increased risk of cancer with perineal use
of talc body powder products---an important health hazard. It also is important to note that use of
the term “hazard” rather than “risk” by FDA in its cosmetic labeling standard means that the
likelihood of the harm being discussed (i.e., cancer) does not need to be understood; it only requires
that the inherent properties of the substance indicate the substance is capable of harm. Based upon
the totality of the evidence reviewed there is more than a possibility of a human health hazard;
these issues will be discussed in more detail below.


         23.      In the case of cosmetics, this reliance on industry for product safety assessments is
especially important given that there is no Center for Cosmetics at FDA. Instead, the cosmetics
regulations are enforced by the Office of Colors and Cosmetics that is within the Center for Food
Safety and Applied Nutrition (CFSAN). As FDA has admitted, although the FDA has ways to
monitor        cosmetic      products,       available      safety      information        is    often      limited
(http://www.fda.gov/AboutFDA/Transparency/Basics/ucm262353.htm). The methods available
to FDA for monitoring cosmetic products include: (1) voluntary cosmetic registration program
(VCRP); (2) inspections of facilities that voluntarily register with FDA; (3) surveys of product; (4)
information conveyed in Cosmetic Ingredient Review (CIR) expert panel reviews;15 and (5)
spontaneous reports from consumers. In the case of the VCRP program, companies are not legally
required to tell FDA anything about their products and the type of safety data that exists. Inspection
of facilities is also not legally mandated, and, as acknowledged by FDA, due to limited resources
“only a few establishments are inspected each year and just a fraction of imports are physically
examined”. Similarly, FDA has conducted surveys of marketed products by buying them and then



15
  Although the FDA has access to, and can evaluate, the findings of a CIR review, such as the review for talc, the
FDA does not adopt CIR findings. (See deposition testimony and exhibits of Dr. Linda Loretz dated October 2,
2018)

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examining them. This has mainly been done after some problem has been identified. The CIR
panel process is an industry-funded process that typically is undertaken based on some impetus for
review that is initiated within government, industry or the public. The spontaneous reporting by
consumers to FDA is not required by law, and many consumers are unaware of the existence of
the process for cosmetics.


        24.     There are some important constraints on FDA’s authority as it relates to cosmetics.
For example, any product recall of a cosmetic for a safety reason must be a voluntary action
initiated by manufacturers or distributors to remove products from the market that may pose a
hazard, that are marketed in a deceptive manner, or that are defective in some way (21 CFR
7.40(a)).16 FDA can request such recalls but cannot require such recalls.


        25.     Unlike products such as drugs, devices and even foods, cosmetic manufacturers are
not required to register the facilities where the cosmetics are manufactured.17 This means that
although FDA has the authority to inspect such facilities, unless the facility is registered, no
inspections are made. In circumstances where an issue of product contamination or adulteration
comes to light, FDA does have the authority to go and inspect facilities. This means that FDA is
in the role of responding to problems, not preventing problems before they occur. Again, this is
very different than the role FDA plays for other types of products.


        26.     In 1997, FDA issued guidance to industry related to Good Manufacturing Practices
(GMPs) for cosmetics.18 The guidance has been updated as late as 2013. This guidance is non-
binding but does lay out FDA’s thinking in terms of how to properly manufacture, ensuring that
cosmetics and their ingredients are safe for use in humans. This situation is unlike other FDA
regulated products where there are mandatory GMP regulations that are actively enforced by FDA
(i.e., in the case of drugs, devices, and even foods).




16
   https://www.fda.gov/cosmetics/complianceenforcement/recallsalerts/ucm173559.htm
17
    https://www.fda.gov/cosmetics/registrationprogram/default.htm
18
    http://www.fda.gov/Cosmetics/GuidanceRegulation/GuidanceDocuments/ucm353046.htm

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        27.     Based on the general lack of regulatory oversight for cosmetics, it cannot be
assumed that all marketed cosmetic ingredients and products are safe for human use. Additionally,
it is likely that the public is unaware that FDA has strict limitations on its ability to ensure
protection of public health when it comes to cosmetic products. With these regulatory limitations
in mind, the chemical components of talc body powders and their hazards were considered and are
discussed below with respect to the health hazards linked to the chemical components, the evidence
linking cancer with exposure to chemical components of talcum powder products, and the need to
provide warnings to consumers regarding health risks that may be linked to the chemical
components of talcum powder products.


IV.     Chemical Components of Talcum Powder Products and Their Hazards
        28.     The chemical nature of talc has been reviewed (e.g., USEPA, 1992; IARC, 2010).
Talc (CAS No. 14807-96-6), or magnesium silicate monohydrate, is a naturally occurring hydrous
magnesium silicate compound with the chemical formula 3MgO•4SiO2. Like other minerals, talc
can be classified by its structure, which consists of water molecules trapped between silicate
sheets. This structure imparts the “feel” to talc, which is often referred to as slippery on the skin.
Talc crystals are formed when these sheets stack upon each other. Talc can exist in non-plate forms
as well. For example, asbestiform talc exists in nature, where asbestiform means the talc is in the
shape of a fiber similar to the structure of asbestos. IARC in its 2010 Monograph on talc, provides
a description of talc particles as follows: “Talc particles are normally plate-like. When viewed
under the microscope in bulk samples or on air filters, they may appear to be fibres and have been
identified as such. Talc may also form as true mineral fibres that are asbestiform; asbestiform
describes the pattern of growth of a mineral that is referred to as a ‘habit’. Asbestiform talc fibres
are very long and thin and occur in parallel bundles that are easily separated from each other by
hand pressure.” (IARC, 2010 at 277). The IARC Monograph also describes asbestiform talc as
not the same as talc that contains asbestos; asbestiform talc is a fibrous form of talc itself (IARC,
2010 at 406). In this report the term fibrous talc may be used to differentiate this talc powder
constituent from platy talc. It is important to make such distinctions because the structure of the
talc particles, platy or fibrous, and the size of the talc particles, influence the toxicity potential of
the talc powder.



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        29.      As a mineral, talc is mined in countries around the world, including in the United
States. Talc can be prepared to various specifications depending on the purity desired. Talcum
powder products such as the ones manufactured and sold by Imerys and Johnson & Johnson were
mainly platy talc but varied in their level of purity. In other words, talc powders were not 100%
platy talc but contained levels of other co-occurring compounds such as talc containing asbestiform
fibers (e.g., talc occurring in a fibrous habit), asbestos, nickel, chromium, and cobalt. These talc
components are present in nature and are found in processed talcum powders. As a result, the
purity of talcum powder products is an issue important to any safety assessment. Notably talcum
powder products manufactured decades ago were well known to contain asbestos as an impurity
(EPA, 1992; IARC 2010; IARC, 2012). Contemporary cosmetic grade talcum powder products
also have been shown to contain detectable levels of impurities that have included asbestos
(Gordon et al. 2014). In 2009 and 2010, the FDA performed a survey where they examined 27
samples of cosmetic-grade raw talc and 34 talc-based products, including seven talc samples from
Rio Tinto/Luzenac, one bottle of Shower to Shower, and one bottle of Johnson’s Baby Powder,
for the presence of asbestos.19 FDA reported no detection of asbestos in the sample tested.
However, as discussed by FDA: “The results were limited, however, by the fact that only four talc
suppliers submitted samples and by the number of products tested. For these reasons, while FDA
finds these results informative, they do not prove that most or all talc or talc-containing cosmetic
products currently marketed in the United States are likely to be free of asbestos contamination.”
Additional FDA testing for the presence of asbestos in talc body powder products has occurred.
In October of 2019, Johnson & Johnson recalled a lot of its talcum body powder based on FDA
finding asbestos and talc fibers in one of two lots that were tested.20 FDA also tested samples of
talc-based cosmetic products for the presence of asbestos in 2020-2021 but none of the samples
tested were Johnson & Johnson body powder products.21 In 2022, FDA again tested talc-containing
cosmetics for the presence of asbestos but again, no Johnson & Johnson body powder products
were tested.22 It is important to note that in addition to actions taken by the FDA, the U.S.
Environmental Protection Agency (EPA) has recognized the potential human health hazard posed


19
   http://www.fda.gov/Cosmetics/ProductsIngredients/Ingredients/ucm293184.htm
20
   https://www.fda.gov/cosmetics/cosmetics-recalls-alerts/fda-advises-consumers-stop-using-certain-cosmetic-
products; https://www.fda.gov/media/135911/download?attachment
21
   https://www.fda.gov/media/153415/download?attachment
22
   https://www.fda.gov/media/163572/download?attachment

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by the presence of asbestos as an impurity in talc. They published a Proposed Rule in May 2022
concerning a planned expansion of their risk evaluation and risk management activities related to
asbestos exposure; the Rule was made Final in July 2023 (Federal Register Vol. 88, No. 141,
July24, 2023 pages 47782-47806).23


           30.     I considered the FDA testing findings in light of the disclaimer related to the 2009-
2010 data, which acknowledge the limited sample size, as well as the fact that one of two lots of
Johnson & Johnson baby powder tested in 2019 was positive for asbestos, and the fact that baby
powder samples were not part of the testing program at FDA in 2020, 2021 and 2022. As discussed
in detail below, a review of internal company documents reveals that Imerys and Johnson &
Johnson were aware that talcum powder products contained detectable levels of other toxic
compounds that included but were not limited to fibrous talc, asbestos, silica, chromium, nickel,
and cobalt. There was one additional component of talcum powder products manufactured and
sold by Johnson & Johnson, a fragrance component that contained many different chemicals
(discussed below as well). Therefore, women using talcum powder products for genital dusting, or
for application anywhere on the body, were exposed to a mixture of chemicals, not 100% pure
platy talc. As a result, when performing a talcum powder product safety assessment, studies that
describe talc products of varying purity levels were relevant to the assessment.


           31.     In the published medical literature, there is often discussion of talc using terms such
as fibrous talc, asbestiform talc, non-asbestiform talc, or tremolite. Before discussing the literature
on the toxicity of talcum powder products and its associated constituents it is useful to provide
some background on the terminology of the mineral components of talcum powder products. As
mentioned above, talc is one of a group of hydrous magnesium silicate minerals; its chemical
formula is Mg3Si4O10(OH)2. Talc can occur as platy sheets of talc but also forms bundles of fibers
(i.e., occur in an asbestiform habit), which consist of a group of individual elongated crystals.
Asbestos is also a hydrous magnesium silicate mineral and has a chemical formula of
Mg3Si2O5(OH)4. Like the term “talc”, asbestos is the generic designation for a group of naturally
occurring mineral silicate compounds that occur as fibers, either serpentine or amphibole fibers.
The asbestos forms include the serpentine mineral chrysotile, and five amphibole minerals

23
     https://www.govinfo.gov/content/pkg/FR-2022-05-06/pdf/2022-09533.pdf

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(actinolite, amosite, anthophyllite, crocidolite, and tremolite) (IARC, 2012). Chrysotile, lizardite,
and antigorite are the three principal serpentine silicate minerals, but only chrysotile occurs in the
asbestiform habit (USGS, 2001). In the amphibole series, amosite and crocidolite occur only in
the asbestiform habit, while tremolite, actinolite and anthophyllite occur in both asbestiform and
non-asbestiform habits. As discussed in older published literature, fibrous talc was often a term
used to refer to any form of fiber in talc, including asbestos (Rohl et al. 1974). As a result, in this
report, care was taken to use these terms when referring to the detection of fibers: asbestos, non-
asbestiform talc (platy talc), and talc containing asbestiform fibers (fibrous talc). My analysis is
consistent with how IARC considered the cancer risks of different forms of talc (IARC, 2010;
IARC, 2012).


           32.      Since talc occurs as a particle in nature, the biological effects of talc, including its
adverse effects or toxic effects, are related to both its chemical composition and its physical
structure. This is a general principle of toxicology that relates to tissue contact with chemical
particles.24 The biological effects and toxicology of talc have been reviewed (IARC, 1987;
USEPA, 1992; IARC, 2010; Health Canada, 2021). The types of effects observed depend, in part,
on the route of exposure. As a mineral, talc has the propensity to produce an irritant and
inflammatory response at sites of exposure (reviewed in EPA, 1992; discussed in more detail
below). It is the irritant and inflammatory properties of the mineral that the scientific literature
indicates underlie many of the human health risks associated with talc exposure (as reviewed in
IARC, 1987; EPA, 1992; IARC, 2010; IARC 2012; discussed in more detail below). The presence
of fibers in talc is important because exposure to fibers is known to cause adverse biological effects
in cells and tissue. This is driven in part by the fact that the tissue response to a fiber as compared
to a particle is affected by the ability of immune cells to engulf the fiber (Fubini and Fenoglio,
2007). If the fiber is long, immune cells cannot totally engulf the compound and remove the foreign
material from the tissue. As a result, there are similarities in the potential adverse effects that are
associated with any fibrous mineral, both talc and asbestos.


           33.      Given that talc used to manufacture body powders has the potential to be a mixture
of toxic compounds, it is important to understand the constituents of commercially available

24
     http://ehs.unl.edu/documents/tox_exposure_guidelines.pdf

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talcum powder products manufactured and sold by Imerys and Johnson & Johnson. Johnson &
Johnson was aware that asbestos or asbestiform fibers were present in talc that was mined for
talcum powder products (e.g., JNJ000251888). When commercially available talcum powder
products have been analyzed, including powders sold by Johnson & Johnson, the data has shown
that the powders contain variable levels of fibers, including fibrous talc as well as fibers that were
stated to be asbestos (e.g., IARC, 2012; Paoletti et al. 1984; Blount, 1991; Mattenklott et al. 2007;
Moon et al. 2011; Gordon et al. 2014; Anderson et al. 2017; Rohl et al. 1976; Pooley and
Rowlands, 1975; Blejer and Arlon, 1973; Cralley, et al. 1968; Millman, N. 1947; JNJ000025132;
IMERYS205540-554;                  IMERYS136824;             IMERYS265938-993;             IMERYS245144;
JNJ000375389-390;            IMERYS240376-378;              IMERYS240406;             IMERYS213431-433;
JNJNL61_000052427;           JNJNL61_000042576;           IMERYS138505-511;           IMERYS100130-150;
JNJMX68_000004996-5031;                     JNJTALC000301172-1179;                     JNJ000264653-4655;
JNJNL61_000033289-3292;                  JNJTALC000293589-591;                   JNJTALC000292656-657;
IMERYS051370-374;               IMERYS219720-722;               JNJ000062359-363;             JNJ000062436;
JNJ000063951; JNJ000064544; JNJ000065264-266; JNJ000277941-943; JNJ000314315-316;
JNJ000314406-414; JNJAZ55_000000905-948; JNJAZ55_000004563; JNJMX68_000003728;
JNJMX68_000013019-020; JNJNL61_000079334; JNJMX68_000020276-282; JNJ000231304-
318; IMERYS-MDL-AB_0006980; IMERYS 210136). In more recent work related to this
litigation, scientists have found that samples of Johnson & Johnson body powder products that
were examined contained fibrous talc (report by Longo and Rigler dated April 28, 201725 where 8
of 11 samples contained fibers; report by Longo and Rigler dated August 2, 2017, 26 where 15 of
30 talc samples contained fibrous talc and 17 of 30 samples contained fibrous amphiboles). Dr.
Longo’s testing of talcum powder samples produced in the MDL revealed that 37 of 56 samples
contained asbestos and 41 of 42 samples tested were observed to contain asbestiform talc (report
of Longo and Rigler dated February 1, 201927). Although companies have claimed that talcum
powder products manufactured after the mid-1970’s were free of asbestos, asbestos fibers have
been found in products in the marketplace after that time (e.g., Paoletti et al. 1984; Blount, 1991;

25
   The report is entitled “Analysis Report: MAS Project # 14-1683 Johnson’s Baby Powder Sample Set.
26
   The report is entitled “Analysis of Johnson & Johnson Baby Powder and Valiant Shower to Shower Products for
Amphibole (Tremolite) Asbestos”.
27
   “The Analysis of Johnson & Johnson’s Historical Product Containers and Imerys’ Historical Railroad Car
Samples from the 1960s to the Early 2000s for Amphibole Asbestos, 2 nd Supplemental Report, Longo & Rigler,
MAS Analytical Services, February 1, 2019.

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Mattenklott et al. 2007; Moon et al. 2011; Anderson et al. 2017; Egilman and Steffen, 2018;
February 16, 2018 report of Longo and Rigler;28 IMERYS095086-087; IMERYS136824;
IMERYS245144;         JNJ000375389-390;         IMERYS213431-433;           JNJNL61_000014431-14437;
IMERYS219720-722). These published scientific studies, internal testing documents, and testing
results by Longo and Rigler show that asbestos has been consistently present in Johnson &
Johnson’s talcum powder products since the mid-1950’s and certainly after the 1970’s when the
defendants represented that asbestos had been eliminated from talcum powder products (additional
support found within the exhibits and deposition testimony of Ms. Julie Pier, dated September 12,
2018; and Dr. John Hopkins, dated August 16 & 17, 2018; October 17, 2018, and November 5,
2018). The presence of asbestos was evidenced before the 1970’s and continues to be to be found
in test results. It is important to note that talc containing asbestiform fibers was classified in 1986
as a known human carcinogen (IARC, 1987, 2010, 2012). In IARC’s most recent findings
regarding asbestos and cancer (IARC, 2012) scientists explicitly stated that its findings on asbestos
and cancer risk applied equally to asbestiform talc (IARC, 2012 at 219). This makes clear that
IARC has classified fibrous talc as a known human carcinogen. Other regulatory authorities have
addressed the cancer risk associated with fibrous talc. For example, talc containing asbestiform
fibers was listed by the State of California (PROP 65) in April 1990 as a chemical “known to the
State to cause cancer”.29 Given that the National Institute for Occupational Safety and Health
(NIOSH) has stated that there is no safe level of asbestos exposure (NIOSH, 1980), human
exposure to even very low levels of asbestos increase the risk of toxic effects including cancer, a
finding that also could be applied to similar fibers, such as fibrous talc.


        34.      With respect to asbestos as a constituent of talcum powder products, it had been
known at least by the 1930’s that asbestos exposure caused lung disease (e.g., Cooke, 1927; Oliver,
1927; Seiler, 1928; Wood, 1929; Merewether and Price, 1930; Merewether, 1930; Gloyne, 1935).
As one author described the issue of asbestos exposure and lung disease, “widespread recognition
of asbestosis dates from the work of Merewether and Price in 1930 [emphasis added]” (Hourihane
and McCaughey, 1966). Additionally, it was known at least by the 1950’s that asbestos exposure



28
   The report is entitled “TEM Analysis of Historical 1978 Johnson’s Baby Powder Sample for Amphibole
Asbestos”.
29
   https://oehha.ca.gov/media/downloads/crnr/p65list052518.pdf

                                                                                                        23
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could cause lung cancer (e.g., Gloyne, 1935; Doll, 1955; Selikoff et al. 1964). Additionally, some
studies have reported an increased risk of ovarian cancer in women exposed to asbestos (e.g., Keal
et al. 1960; Graham and Graham, 1967; Newhouse et al. 1972; Acheson et al. 1982; Wignall and
Fox, 1982; Newhouse et al. 1985; Tarchi et al. 1994; Bulbulyan et al. 1999; Germani et al. 1999;
Magnani et al. 2008; Bunderson-Schelvan et al. 2011; Camargo et al. 2011; Wang et al. 2013;
Ferrante et al. 2017; Kim et al. 2024). Regulatory authorities world-wide have identified asbestos
as a known human carcinogen (i.e., IARC, 1987; IARC, 2012; ATSDR, 2001; NTP, 2016;
Canada30; European Union31; Australia32). Given the well-known toxic effects and human health
risks associated with asbestos, the presence of asbestos fibers in talcum powder products is a
significant risk to human health.


        35.      There is a fragrance component added to all Johnson & Johnson talcum powder
products. In the document entitled “Defendant Johnson & Johnson Consumer Inc.’s Supplemental
Answer to Plaintiffs’ Second Set of Interrogatories No. 19” dated December 21, 2017, Johnson &
Johnson provided a list of fragrance chemicals that are added to Johnson’s Baby Powder® products
and a list of chemicals that had been added to Johnson & Johnson’s Shower-To-Shower® products.
Over 50 fragrance chemicals were listed as having been added to the Shower-To-Shower products
while more than 130 fragrance chemicals were listed as being currently used in Johnson’s Baby
Powder. This means that any bottle of talcum powder sold to consumers contained many different
chemicals, not simply platy talc. It should be noted that recent changes to the Johnson & Johnson
website provide disclosure to consumers of what is claimed to be “100%” of their fragrance
ingredients.33 The list on the website, however, is not the same as the list provided in the 2017
documents discussed above, and the website also fails to provide information on the fragrance
chemicals used in the past. Both sources of information, the 2017 document produced by Johnson
& Johnson and their updated website, fail to provide specific information on the amount of each
chemical component in the fragrance component of either Johnson’s Baby Powder or Shower-To-
Shower.



30
   https://www.canada.ca/en/health-canada/services/air-quality/indoor-air-contaminants/health-risks-asbestos.html
31
   https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=LEGISSUM%3Aem0032
32
   https://www.safeworkaustralia.gov.au/asbestos
33
   https://www.johnsonsbaby.com/our-mission/scents-fragrance

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        36.     A review of the chemicals listed in the 2017 document reveals that, in many cases,
the compounds listed are known to have toxic properties. In fact, of the fragrance chemicals listed,
several have been associated with potential carcinogenic activity. These include ethenyl benzene,
also known as styrene, and p-cresol (4-methylphenol). Styrene is a compound that has been
classified by the National Toxicology Program (NTP) as “reasonably anticipated to be a human
carcinogen”34, and classified by IARC as a 2A carcinogen (probable human carcinogen) 35. In the
case of p-cresol, EPA has determined that it is “possibly carcinogenic to humans”.36 Other
chemicals listed as being a part of the fragrance component of Johnson & Johnson talc body
powders have been reviewed by IARC for cancer potential (coumarin, eugenol, d-limonene; all
given a Category 3 classification of “not classifiable”)37. A cancer risk, however, is not the only
human health risk linked to the numerous fragrance chemicals present in Johnson & Johnson talc
body powder products. Even a cursory search of the scientific information available on either non-
governmental sites or regulatory authority sites38 shows that most of the chemicals are known
individually to have irritant properties and/or inflammatory properties when in contact with cells
and tissues. Of the more than 100 chemicals included in the 2017 list of fragrance ingredients, over
70% are compounds that have been linked with some level of irritant hazard to tissues (skin, eye,
mucous membranes; see Appendix D to this report; report of Dr. Michael Crowley). The issue of
irritant properties will be discussed below as it relates to carcinogenesis and mechanisms for cancer
linked to talc and the chemical components of talc. Yet, consumers have never been provided with
information that any of the ingredients in the Johnson & Johnson fragrance posed a potential
human health risk.


        37.     In addition to the presence of asbestos in talcum powder products and the presence
of dozens of fragrance chemicals, evidence shows that the products manufactured by Imerys and
sold by Johnson & Johnson contained detectable levels of heavy metals (e.g., JNJ000245268-274;
JNJMX68_000004996-5031; IMERYS223869-883; IMERYS265938-993; IMERYS194090-095;

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   https://ntp.niehs.nih.gov/ntp/roc/content/profiles/styrene.pdf;
https://www.atsdr.cdc.gov/substances/toxsubstance.asp?toxid=74
35
   https://monographs.iarc.fr/list-of-classifications-volumes/
36
   https://www.atsdr.cdc.gov/substances/toxsubstance.asp?toxid=196
37
   https://monographs.iarc.fr/wp-content/uploads/2018/06/ClassificationsAlphaOrder.pdf
38
   Searches of publicly available databases were performed including TOXNET, PUBCHEM, HSDB, The Good
Scents Company (www.thegoodscentscompany.com), the Environmental Working Group (https://www.ewg.org/),
cosmeticsinfo.org (PCPC sponsored site), and the Cosmetic Ingredient Review (https://www.cir-safety.org).

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IMERYS032928;               IMERYS094601;              IMERYS053387-88;                  IMERYS098115-116;
IMERYS219720-722;                IMERYS304036;               IMERYS-A_0015663;               JNJ000265171;
JNJTALC000869376; JNJ000025132; JNJ000347962-963; P-68;                            exhibits and deposition
testimony of Ms. Julie Pier dated 9/12/2018; Cralley et al. 1968; Pooley and Rowlands, 1975; Rohl
et al. 1976; Gondal et al. 2012; Rehman et al. 2013) as well as levels of silica (JNJ000260573
through 574; NJN000260570; JNJ000260709). The levels of heavy metals have varied across
different processed lots of talcum powders, but internal company documents show that certain
heavy metals have been repeatedly detected, such as chromium (Cr), cobalt (Co), and nickel (Ni).
These heavy metals are known to be toxic to human cells and tissues. Some of these heavy metals
are known to be carcinogenic in animals and/or humans. Chromium (Cr) and nickel (Ni) have been
classified as “known human carcinogens” by IARC39. Cobalt (Co) has been classified by IARC
as Group 2B, or “possibly carcinogenic to humans”.40 The NTP has listed chromium (Cr) and
nickel (Ni) as “known to be human carcinogens”, while cobalt is listed as “reasonably anticipated
to be human carcinogens”. 41 With respect to silica, levels also appeared to vary across lots. Like
asbestos and fibrous talc, silica is a known human carcinogen (IARC, 1997; IARC, 2012; NTP,
1991).


         38.     Focusing now on talc itself as a toxic compound, a review of the scientific literature
reveals that in many cases, the compound being tested or discussed is usually described simply as
talc, with no description of the purity or physical state of the compound (fibrous or platy). In the
following discussion of the literature that relates to the toxicity of talc, I will mention the specific
type of talc (i.e., mined talc, milled talc, fibrous talc, talc of certain purity levels, cosmetic grade
talc, etc.), if reported.


         39.     A review of the published scientific literature shows that the human health hazards
associated with exposure to talc dust has been known for decades, well before the 1970’s. In fact,
as far back as the first half of the 20th century (before 1950), scientists had discovered that:




39
   https://monographs.iarc.fr/wp-content/uploads/2018/06/ClassificationsAlphaOrder.pdf
40
   https://monographs.iarc.fr/wp-content/uploads/2018/06/ClassificationsAlphaOrder.pdf
41
   https://ntp.niehs.nih.gov/ntp/roc/content/listed_substances_508.pdf

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       •     talc particles produced adverse tissue reactions in cells or tissues, and in humans and
             animals (e.g., tremolite talc: Dreessen, 1933; Miller and Sayers, 1936; Greenburg,
             1947; mining talc: Porro et al. 1942; Porro and Levine, 1946; Schepers and Durkan,
             1955; industrial grade talc: Schulz and Williams, 1942; McLaughlin et al. 1949; Jaques
             and Benirschke, 1952; Sax, 1957; cosmetic grade talc: Roberts, 1947; Saxen and
             Tuovinen, 1947; Eiseman et al. 1947; U.S. Patent No. 2,621,333 filed June 27, 1947;
             Eberl et al. 1948; Graham and Jenkins, 1952; U.S. Patent No. 2,626,257 filed May 21,
             1952 by Johnson & Johnson; Cless and Anger, 1954; Creery et al. 1957; Sax, 1957);
       •     exposure to talc dusts in an occupational setting was linked to an increased risk of lung
             disease, including cancer (e.g., tremolite talc: Dreessen, 1933; Greenburg, 1947;
             mining talc: Dreessen and Dalla Valle, 1935; Porro et al. 1942; Porro and Levine, 1946;
             Kleinfeld et al. 1955; Schepers and Durkan, 1955; industrial grade talc: McLaughlin
             et al. 1949; Hogue and Mallette, 1949; Jaques and Benirschke, 1952; Mann and Deasy,
             1954; Seeler et al. 1959; cosmetic grade talc: Millman, 1947);
       •     the risks associated with occupational exposures to talc were higher when fibrous forms
             of magnesium silicate minerals (talc as well as asbestos) were present (e.g., Dreessen
             and Dalla Valle, 1935; Schulz and Williams, 1942; Saxen and Tuovinen, 1947;
             Millman, 1947; Greenburg, 1947; Hogue and Mallette, 1949; Schepers and Durkan,
             1955); and
       •     exposure to cosmetic grade talcum powders themselves were associated with adverse
             tissue responses and adverse human health effects, including cancer in some cases (e.g.,
             Roberts, 1947; Greenburg, 1947; Eiseman et al. 1947; U.S. Patent 2,621,333; Eberl,
             1948; Graham and Jenkins, 1952; U.S. Patent No. 2,626,257; Cless and Anger, 1954;
             Creery et al. 1957).


       40.      Upon review of the scientific literature available since 1960, the evidence has
continued to accumulate showing that:
       •     talc has adverse effects in cells, tissues, animals and humans (e.g., cosmetic grade talc:
             Molnar et al. 1962; Blumel et al. 1962; Jenkins, 1963; Tye et al. 1966; Trautwein and
             Helmboldt, 1967; Migaki and Garner, 1969; Merliss, 1971; Pott and Friedrichs, 1972;
             Wagner et al. 1975; Stenback and Rowland, 1978; Kaiser et al. 1982; Davies et al.

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           1983; Hamilton et al. 1984; Stenback et al. 1986; Pelling and Evans, 1986; NTP, 1993;
           Hamilton et al. 2001; Buz’Zard and Lau, 2007; Shukla et al. 2009; Shim et al. 2015;
           Fletcher et al. 2018; Fletcher and Saed, 2018; Fletcher et al. 2019; Mandarino et al.
           2020, Harper et al. 2021; Emi et al. 2021, ; mining or milling talc: Kleinfeld et al. 1963;
           Beck et al. 1987; unspecified: Henderson et al. 1971; Blejer and Arlon, 1973; Pott et
           al. 1974; Henderson et al. 1979; Abraham and McEuen, 1986);
       •   exposure to talc dusts in an occupational setting was linked to an increased risk of lung
           disease, including cancer (e.g., mining or milling talc: Kleinfeld et al. 1963; Kleinfeld
           et al. 1964; Kleinfeld et al. 1967; Kleinfeld et al. 1973; Rubino et al. 1976: cosmetic
           grade talc: Miller et al. 1971; Nam and Gracey, 1972);
       •   the risks associated with occupational exposures were higher when fibrous forms of
           magnesium silicate minerals (talc as well as asbestos) were present (e.g., Kleinfeld et
           al. 1963; Kleinfeld et al. 1964; Pott and Friedrichs, 1972; Blejer and Arlon, 1973; Pott
           et al. 1974; Wagner et al. 1975; Stanton et al. 1981), being linked to fibrotic diseases
           of the lungs, such as talcosis and pneumoconiosis (e.g., Dreesen and Dalla Valle, 1935;
           Porro and Levine 1946; Greenburg, 1947; Kleinfeld et al. 1973); and
       •   exposure to cosmetic grade talcum powders themselves were associated with adverse
           tissue responses and adverse human health effects, including deaths in some cases (e.g.,
           Molnar et al. 1962; Blumel et al. 1962; Jenkins, 1963; Hughes and Kalmer, 1966;
           Migaki and Garner, 1969; Moss, 1969; Miller et al. 1971; Nam and Gracey, 1972;
           Wagner et al. 1975; Brouillette and Weber, 1978; Mofenson et al. 1981; Cramer et al.
           1982; Kaiser et al. 1982; Pelling and Evans, 1986; Kupryjanczyk, 1989; Buz’Zard and
           Lau, 2007; Shukla et al. 2009; Shim et al. 2015).


Also relevant to this discussion of what was known based on review of studies published in the
scientific literature is the fact that Johnson & Johnson itself published a review article in 1976
(Hildick-Smith, 1976).     In that paper, Dr. Hildick-Smith provided a summary of the scientific
literature from the 1940’s to the 1970’s, listing many studies that provide proof that talc has toxic
properties at certain doses and by different routes of exposure, i.e., talc itself is a toxic compound.




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        41.     Considered together, there is a large body of reliable scientific information, of all
types (studies in cells, tissues, animals and humans), that identifies talcum powder products as
posing a hazard to human health. The types of toxicity produced are dependent on the route of
exposure and the purity of the talc product. Yet, there is no controversy concerning the existence
of a hazard and a need to control exposures to talc dusts and powders. Exposure to talc body
powders internally (direct tissue contact) can cause a variety of adverse effects that are related to
the known irritant and inflammatory properties of talc itself as well as the presence of other
chemical components that exist in cosmetic grade talcum powder products. It is important to note
as well that in 2007, the Canadian government took action to require warning on talc product
labeling for cosmetics that warned of the dangers of inhaling talc particles. Then, in 2018,
Canadian regulators performed a new risk assessment for talc and published its findings in both
draft (December 2018) and final (April 2021) form. As described in those documents, Canadian
authorities in two agencies, Environment and Climate Change Canada and Health Canada, found
that talc exposure posed a risk to human health, leading Canada to initiate actions to amend the
talc listing on its cosmetic ingredient Hotlist as it relates to perineal use of talc body powders.42
The amendments to the Hotlist for talc are still ongoing as of the date of this report.


V.      Talcum Powder Products: Perineal Application and Internal Exposure
        42.     The human health concern with talcum powder products in the current case is
ovarian cancer in women who applied the products repeatedly to the perineal area. The first step
to consider in the process of producing ovarian cancer with perineal talc dusting is exposure.
Although dermal exposure is also a potential route of concern, the absorption of talc particles
across skin has been assumed to not be of consequence when assessing toxicity of talcum powder
products unless the skin has been damaged in some way. Instead, exposure assessments of talc
applied dermally have focused on entry into the body through portals such as the lungs, the vagina
or the mouth (IARC, 1987; EPA, 1992; IARC, 2010). The toxicity potential of talc has been shown
to be affected by the route of exposure, with more significant toxicity linked to penetration of small
talc particles into tissues and triggering of cytotoxic responses at the local site of tissue interactions
(EPA, 1992). Therefore, consistent with existing data, talc would be less toxic following oral


42
 https://www.canada.ca/en/environment-climate-change/services/evaluating-existing-substances/risk-management-
approach-talc.html

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exposure where the interaction with stomach acids, and presence of the gastrointestinal barrier,
would affect the expected toxicity potential.


       43.     When assessing the potential for human exposure to talc applied to the perineal
area, the focus has been on entry into the body through the vagina. There also is evidence that
application of talcum powder products results in inhalation exposure of talc dusts (e.g., the
September 2017 study by Longo and colleagues entitled “Below the Waist Application of Johnson
& Johnson Baby Powder”; Jasuja et al. 2017; Frank and Jorge, 2011; van Huisstede et al. 2010;
Wells et al. 1979). An early study by the National Institute of Occupational Safety and Health
(NIOSH) in 1972 showed that talcum powder products samples available commercially contained
fibers and that exposure to fibers would occur during diapering (JNJ000231304-318); this study
was received by Johnson and Johnson at least by March of 1974. Based on its chemical nature,
talc delivered as a powder in consumer products can be inhaled while being applied (EPA, 1992;
IARC, 2010). Regardless of the portal of entry, lungs versus the vagina, talc-induced local tissue
toxicity would be expected to be produced in tissues that are accessed following perineal dusting
with talc. With respect to inhalation exposure of talcum powder products and the potential for
inhaled particles to migrate to the ovaries, studies have shown that asbestos fibers can move from
the lung to other body organs via the lymphatic system (Suzuki and Kohyama, 1991; Bunderson-
Schelvan et al. 2011). The lymphatic system is known to be involved in the transport of inhaled
particles from the lung to distant sites (Leak, 1980; Stuart, 1984; Adamson and Prieditis, 1998;
JNJ000046293). Thus, it is biologically plausible that talc particles that embed or deposit within
lung tissue could be transported away from the lungs through the lymphatic system in the same
way that other particles, and even asbestos, have been shown to travel to sites distant from their
portal of entry, the lungs. With respect to genital dusting of talcum powder products, I considered
the available evidence related to the ability of talc to migrate from the site of application, i.e.,
perineal or vaginal application, to the ovaries. When considering that evidence, it is important to
note that there are often misconceptions about female anatomy with respect to the vagina as an
entry point for chemicals and particles. In fact. it is important to consider the following discussion
of the anatomy of the female reproductive tract (Alexander et al. 2004):
       “A common misperception is that the vagina is a straight tube pointing upward to the
       sacral promontory. Most illustrations (in both patient and clinician educational materials)

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       are inaccurate and perpetuate this image. They give the impression that items placed in
       the vagina could easily fall out…Radiographic colpography (18, 19) has shown that the
       vagina is normally a curved organ with two distinct portions: a lower convex portion and
       a wider upper portion that lies in an almost horizontal plane when the woman is standing.
       The angle between the upper and lower axes is 130 degrees”.


       44.     The migration of talc internally after perineal application was discussed by
scientific and regulatory bodies that reviewed the toxicokinetics of talc (EPA, 1992; IARC, 2010)
as well as by FDA in a recent letter (P-47). As FDA concluded in 2014, “…the potential for
particulates to migrate from the perineum and vagina to the peritoneal cavity is indisputable. It
is, therefore, plausible that perineal talc (and other particulate) that reaches the endometrial
cavity, Fallopian Tubes, ovaries and peritoneum may elicit a foreign body type reaction and
inflammatory response that, in some exposed women, may progress to epithelial cancers.”
[emphasis added]. A review of the scientific literature revealed that FDA’s conclusion is
supported by a variety of studies that include, but are not limited to, studies examining or reviewing
the migration of particles in humans (i.e., Egli and Newton, 1961; de Boer, 1972; Parmley and
Woodruff, 1974; Venter and Iturrulde, 1979; Blumenkrantz et al. 1980; Gardner et al. 1981;
Iturralde and Venter, 1981; Halme et al. 1984; McCalley et al. 1985; Wright et al. 1996; Kunz et
al. 1996; Heller et al. 1996; Kunz et al. 1997; Kadanali et al. 2001; Kunz and Leydendecker,
2002; Kissler et al. 2004; Sjosten et al. 2004; Kunz et al. 2007; Zervomanolakis et al. 2007;
McDonald et al. 2019a; McDonald et al. 2019b; Johnson et al. 2020). Additionally, authors have
described the potential for abdominal exposure to talc particles following perineal application of
talcum powder products in women (Longo and Young, 1979); the abdominal cavity in humans is
reached directly through migration of particles from the vagina, through the reproductive tract and
up towards the ovaries, which are suspended within the peritoneal space. These studies are
important because they demonstrate that inert particles routinely move from the lower female
reproductive tract (vagina) up into fallopian tubes and towards the ovaries. There also are data
demonstrating the presence of talc particles in the ovaries of women who had reported use of
talcum powder products on the genital area (e.g., Heller et al. 1996; Cramer et al. 2007), as well
as animal studies showing that in some species talc can migrate from the lower to the upper genital
tract (e.g., Phillips et al. 1978; Gardner et al. 1981; Henderson et al. 1986; Edelstam et al. 1997).

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Given the differences between animals and humans in terms of anatomy of the genital tract, the
studies in humans are the most reliable in terms of human health risk assessment and the
toxicokinetics of talc applied externally to the perineal area. The weight-of-the-evidence shows
that inert particles routinely move from the lower female reproductive tract (vagina) up into the
uterus, the fallopian tubes and towards the ovaries. Therefore, in terms of the potential for exposure
following perineal application of talc body powders, the available data support statements by the
FDA that particulates can move from the vagina up the reproductive tract in women to provide for
exposure to internal organs, including the ovaries.


       45.     An early study examining the issue of migration of substances through the female
reproductive tract was undertaken to better understand the time relationships and precise
mechanisms of transport of inert particles or spermatozoa in humans (Egli and Newton, 1961).
The study was designed to determine whether, under reasonably controlled conditions, carbon
particles could be transported quickly from the vagina to the fallopian tubes. Three women who
were scheduled for hysterectomy voluntarily participated and were administered carbon particles
under anesthesia after being positioned on their backs. Three to four milliliters of sterile carbon
particles in a Dextran suspension were deposited in the upper portion of the vagina. Oxytocin was
administered intra-muscularly at that time as well. Immediately after injection, the fallopian tubes
were removed and examined for the presence of carbon particles; a very short time was allowed
for potential transport. In two of the three women, carbon particles were recovered from the
fallopian tubes 28 and 34 minutes after injection into the vagina. The authors concluded: “These
data, together with other work in animals and humans, support the belief that the motility of
spermatozoa is not the chief factor in sperm transport. Contractions of the muscle of the uterus
or other reproductive organs may be very important, and it is possible that oxytocin may play a
part in this process.”[emphasis added] A similar study was performed a decade later (DeBoer,
1972) where the author reported on the movement of carbon material up the genital tract in a series
of patients undergoing abdominal surgical procedures. The women were injected (some cervical
instillations and some uterine instillations) with a colloidal carbon suspension (India ink), and in
some cases women also were given an injection of oxytocin. Surgeries were performed at various
times after injection, from 15 minutes l to 24 hours after injection. The authors stated “…there
was no doubt that the inert carbon material was frequently and rapidly transported from the

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uterus to the tubes in both phases of the menstrual cycle.” [emphasis added] Passage of particles
from the vagina to the uterus was observed in two of 37 patients examined, while particles were
detected in the fallopian tubes in 30% of patients with cervical instillation and in 50% of patients
with uterine instillation. Two years later, the migration of environmental substances externally in
women was discussed in connection with the origins of ovarian mesotheliomas (Parmley and
Woodruff, 1974). In the discussion section the authors stated: “The uniqueness of the female
peritoneal cavity is that environmental substances may more easily reach it by passage through
the vagina and Fallopian tubes (Fig. 13). Conversely, no such entry is available in the male…”
[emphasis added] All three of these studies provided early notice of the ability of particles to move
up the female reproductive tract.


        46.     In addition to studies in humans, experiments were conducted in different animal
species to examine the ability of talc to be distributed beyond the site of exposure, oral or intra-
vaginal application (Phillips et al. 1978). As discussed by the authors, their studies were prompted
by the safety concerns raised in the scientific literature with respect to talc, specifically they
indicate that “the possibility of a causal relationship between particular types of tumours and the
presence of talc has caused disquiet about its safety-in-use”. With respect to the issue of movement
of talc within the reproductive tract, rabbits were administered either a single intra-vaginal dose
(50 mg total talc in 0.5 ml volume; three rabbits tested) or six daily doses of the same amount of
talc (also 3 rabbits). In all cases, the animals were sacrificed 72 hours after the dosing ceased. The
urogenital tracts were dissected to determine if radioactivity could be detected. After one dose of
radiolabeled talc, radioactivity was detected only in the vagina. In the rabbits administered multiple
doses of radiolabeled talc, radioactivity was detected at the site of application but also in the cervix,
the uterus and the fallopian tubes, but not the ovaries. Thus, migration or translocation occurred in
the rabbit reproductive tract to a limited extent, although not all the way to the ovaries. Even though
studies in animals are not ideal in terms of modeling the female reproductive tract, this study again
provided notice of the ability of particles to move within the reproductive tract.


        47.     In another human study in 1979, scientists reported use of a radionuclide procedure
designed to evaluate the migration of a particulate radioactive tracer from the vagina to the
peritoneal cavity and ovaries, as well as the determination of the patency of the pathways between

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these two extremes of the female reproductive system (Venter and Iturralde, 1979). The procedure
employed radiolabeled human albumin microspheres that were deposited into the vaginas of 24
patients one day before they were to undergo a gynecological surgery. Sequential images were
obtained during the 24-hour period, and after the surgeries were completed radioactivity levels in
the removed organs and tissues were counted with a scintillation detector. The authors reported
that in 14 out of 21 cases it was possible to measure radioactivity levels in the adnexa (i.e., fallopian
tubes, ovaries) separately from the uterus. Nine patients showed marked radioactivity in the tubes
and ovaries, while in five patients the radioactivity levels were not much higher than the
background. In all five of these patients with background levels of radioactivity detected, the
authors reported that severe tubal occlusion was confirmed. As the authors discussed: “Evidence
is available for migration of different substances in either direction within the female
reproductive system between the peritoneal cavity and ovaries via the tubes, uterus and vagina,
and the outside. Various living organisms actively follow this pathway in both directions. Gases,
fluids, dyes and contrast media can easily be introduced from the vagina into the peritoneal cavity.
If transit can take place so easily, it is probably the same for many chemical substances used for
hygienic, cosmetic or medicinal purposes, many of which may have potential carcinogenic or
irritating properties.” [emphasis added] This paper provided evidence that migration of talc
upwards into the female reproductive tract was considered more than a possibility at this point in
time.


        48.     In a similar study reported in 1985 (McCalley et al. 1985), scientists performed a
prospective study to evaluate the efficacy of radionuclide hysterosalpingography (RNHSG) using
a technique with some modification that had been described by Venter and Iturralde (1979). The
authors state: “As these investigators demonstrated, technetium labeled human albumin
microspheres will normally migrate spontaneously from the vagina to the ovaries.” [emphasis
added] This new study confirmed the findings of the 1979 study and showed that if the fallopian
tubes are not patent, migration cannot continue. Most importantly, the authors provided the
following conclusions: “Our work confirms the observation of Iturralde and Venter that inert
particles are easily and spontaneously transported from the vagina through the genital tract to the
ovaries. This implies that sperm motility, although possibly essential, e.g., for penetration of the
ovum, may not be the basic factor in sperm transport. It also confirms that pathogenic materials

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deposited in the vagina can be transported onto the ovary and may play a role in the etiology of
some ovarian carcinomas. [emphasis added] The scientific studies providing notice on the ability
of particles to migrate continued to build.


       49.     Another source of human data related to migration of substances upwards in the
female reproductive tract is found in a book chapter that was prepared from a presentation made
at the 7th International Symposium on Controlled release of Bioactive Materials (July 27-30, 1980)
(Gardner et al. 1981). The chapter provides an overview of what was known at the time regarding
movement of particles and other materials up the female reproductive tract from the vagina. The
chapter was focused on using that route of exposure as a method for delivery of drugs in women.
The author stated: “The concept of a particulate drug-delivery system is further supported by
studies in humans, which demonstrate the movement of inert particles through the reproductive
tract. Following placement in either the vagina, cervix, or uterus, particles such as carmine or
carbon black have been observed to migrate into the fallopian tubes or peritoneal cavity.”
[emphasis added] Additionally, the authors described new studies in Stumptail monkeys. They
reported that vaginally delivered drug particles were able to migrate through the cervix into the
uterus. They stated: “Transcervical migration from the vagina to the uterus (24 hours post-
insertion) was observed to some degree in six out of eleven animals. In these studies, it appeared
that capsule diameters less than 300 microns in diameter showed preferential migration. However,
one animal out of three at the largest capsule diameter did show migration of greater than three
percent of the inserted microcapsules.” In a study in one baboon, the authors reported that six
hours after insertion of two different sizes of tracer microcapsules there was essentially no
difference in transcervical migration between the two sizes, and that migration was rapid (within
six hours) into the cervix, uterus, and fallopian tubes. These studies provided additional evidence
for migration of substances from the vagina upwards into the reproductive tract, including a study
in primates.


       50.     Three additional animal studies appeared in the scientific literature in 1985 and
1986 that are relevant to the issue of talc migration in the female reproductive tract (Wehner et al.
1985; Henderson et al. 1986; Wehner et al. 1986). Henderson and colleagues from the Tenovus
Institute reported on the ability of talc to migrate from the vagina to the ovary in rats (Henderson

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et al. 1986); this same research group had published data on the finding of talc in the human ovary
(Henderson et al. 1971; Henderson et al. 1979). The authors stated: “Direct communication
between the external environment and the peritoneal cavity exists in the female via her genital
tract.” [emphasis added] The study was undertaken after Henderson and colleagues (1984)
showed that injection of talc beneath the bursal sac around the ovary in rats was accompanied by
“associated epithelial changes not inconsistent with the histological picture of premalignancy.”
In the first of this new set of experiments by Henderson and colleagues in 1986, eight rats received
intra-uterine talc (100 mg/ml suspension; 250 µl volume) injections. Rats in Group I (four rats)
were sacrificed five days after talc exposure, and their ovaries were removed. Rats in Group II
(four rats) received further talc uterine injections six days or 15 days after initial treatment. On day
20, two rats were sacrificed, and the remaining two rats were sacrificed 22 or 30 days after initial
treatment. In all cases, ovaries were removed and analyzed for the presence of talc particles. In a
second experiment employing vaginal delivery of talc, twelve rats were divided into two groups
of six. Rats in Group I had a 250 µl suspension of talc (100 mg/ml) deposited into their vagina,
while rats in Group II received vehicle treatment. Two animals in each group were sacrificed 24
hours, 48 hours and four days after treatment. Their ovaries were removed and processed for
detection of talc particles. Particles of talc were identified in the ovaries of all rats at all time points
where talc had been instilled into the uterus. With vaginal instillation, talc particles were detected
in two of the animals when sacrificed after four days.


           51.     In the two studies published in 1985 and 1986, Wehner and colleagues (Wehner et
al. 1985; Wehner et al. 1986) investigated the translocation of talc in animals. As noted in the
studies, these were commissioned and funded by PCPC.43 At the time these studies were
conducted, Dr. Wehner was also a consultant with Johnson & Johnson. Wehner et al. (1985) first
examined the ability of bone black particles to translocate from the vagina upwards into the
oviducts in monkeys. Five monkeys were instilled with 0.3 ml of a 4% bone black suspension in
the posterior fornix during their mid-menstrual cycle, followed by injection of oxytocin intra-
muscularly. Animals were sacrificed either one hour (n=3) or 72 hours (n=2) after vaginal
instillation was performed. The authors stated that they did not believe any translocation had
occurred but could not rule it out with certainty. Thus, two additional monkeys were administered

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     The PCPC was known at the time as the CTFA (see footnote on page 329 of Wehner et al. (1986)).

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radiolabeled talc in a pilot study (single doses of talc) and the animals were sacrificed after 72
hours. Again, the authors reported no translocation occurred in the animals. In a follow-up study,
Wehner et al. (1986) again examined talc migration in monkeys. Unlike the monkey studies of
Gardner et al. (1981) and the studies in rats and rabbits discussed above, this was the only animal
study published up to this time where the authors reported no translocation of talc to the oviducts.
Six monkeys were used by Wehner and colleagues in this in vivo study where low doses of
radiolabeled talc (125 mg) were instilled into the vagina of the monkeys under sedation, 30 times
over 45 days. In three of six monkeys tested, there was no talc found and the investigators believed
it may have been due to menstrual flow that had occurred in the monkeys at different times during
the experiment. The authors also stated that their results differed from those of an earlier group
(Gardner et al. 1981) and suggested the differences may have been due to use of much lower doses
of talc, different materials, and longer sedation times. The data by this group were inconsistent
with other animal data but most importantly they were inconsistent with the human data which is
the most relevant data in terms of the issue of movement of particles in women.


       52.     By the 1990’s the issue of migration of substances upwards in the female
reproductive tract was discussed in the medical literature in review articles, indicative of the
general acceptance in the scientific community of the ability of particles to migrate up the female
reproductive tract. In a 1994 review, Lauchlan (1994) states that talc can reach the ovaries through
a patent vagina and describes the action of genital application of talc powder as a mode for internal
exposure to talc particles. In another review (Wright et al. 1996), the authors began by stating:
“Dusting powders are used…These powders can gain access to the abdominal cavity through
the vagina and during surgery, and they have caused numerous complications that have serious,
life-threatening consequences.” [emphasis added] In the discussion section of this paper the
authors pointed out that the known toxicity of talc in human tissue and “the ability of the female
genital tract to transport particles to the abdominal cavity” should lead to physicians discouraging
their patients to use talcum powder in the perineal area or when dusting diaphragms.


       53.     In a 1996 article, scientists directly addressed the issue of perineal talc usage and
ovarian talc particle burden (Heller et al. 1996). The scientists examined ovarian tissue from 24
women undergoing ovary removal; the patients were interviewed regarding talc usage. Twelve

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women reported frequent perineal talc applications, while twelve reported no use, although
diapering history was not available in all women (the authors considered baby powder use during
diapering as a potential source of talc powder exposure in the past). The authors conclusions were
stated in their abstract as follows: “The detection of talc in all ovaries demonstrates that it can
reach the upper genital tract. Widespread exposure to talc during diapering may contribute to the
ubiquitous presence of talc in ovarian tissue.” This paper has been criticized based on the issue of
potential laboratory contamination that could have contributed to the results, as well as the fact
that women reporting no perineal use had talc detected in ovarian tissue. Regardless of these
limitations, however, the results showing higher overall particles counts in women reporting
perineal application of talc are nevertheless consistent with the ability of talc particles to migrate
up the female reproductive tract. More importantly, this study is but a small piece of the overall
evidence that supports the ability of talc to migrate from the vagina to the ovaries.


       54.     In a series of studies conducted in the 1990’s and into the 2000’s, Dr. Kunz reported
on the importance of the uterine peristaltic pump to the ability of sperm to be rapidly transported
through the female reproductive tract (Kunz et al. 1996; Kunz et al. 1997; Kunz and Leyendecker,
2002; Kunz et al. 2007). In the initial studies, Kunz and colleagues (Kunz et al. 1996) used
hysterosalpingoscintigraphy as a tool to examine transport of particles up the reproductive tract in
women. Technetium-labelled albumin spheres from 5 to 40 microns (a size similar to talc particles
found in body powders) were instilled at the posterior vaginal fornix (upper vaginal area) and the
path of the spheres was followed. The authors reported immediate movement of the spheres up the
tract, with spheres detected in the fallopian tubes within minutes. The movement was greatest
during the follicular phase of a woman’s cycle. The authors stated: “Furthermore, our studies with
inert particles suggest that this directed ascension is not a property of the spermatozoa and is thus
not provided by mechanisms such as chemotaxis, but rather constitutes a specific utero-tubal
function controlled by the dominant follicle in that the uterine myometrium with its specific
architecture (Goerttler, 1930) is activated and contracts in a manner providing this directed
transport.” [emphasis added] In other words, the motility of the sperm was not needed for
transport to occur. In a 2007 study (Kunz et al. 2007), Dr. Kunz used methods similar to ones
employed in his 1996 study. He again showed that technetium-labelled albumin spheres from 5 to
40 microns (a size similar to talc particles found in body powders) that had been instilled into the

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vagina were transported up the female genital tract, both with and without oxytocin use. The paper
describes the now well-established ability of small particles to migrate upwards, with greatest
movement occurring during the follicular phase of a woman’s cycle (see reviews of the role of the
uterine peristaltic pump, e.g., Kunz et al. 1997; Kunz and Leyendecker, 2002; Zervomanolakis et
al. 2007).


       55.     Several additional studies were identified in the scientific literature that related to
particle migration in women (Kadanali et al. 2001; Sjosten et al. 2004; McDonald et al. 2019a;
McDonald et al. 2019b; Johnson et al. 2020). Kadanali and colleagues (2001) discussed upwards
transport in the genital tract in women. Although the focus of their paper was on movement of
sperm in women with IUD devices in place, one group of women were treated by intra-vaginal
instillation of albumin microspheres (referencing use of the method of Iturralde and Venter)
instead of sperm. The microspheres were from 10 to 90 microns in size (also in the size range of
talc particles found in body powders). The authors reported that while active sperm migration was
greatly inhibited (9 of 14 subjects, 65%) in the presence of an IUD, passive transport of the
particles was not affected (10 of 10 subjects, 100%) in IUD-bearing women. These data provided
additional support for the migration of particles upwards into the fallopian tubes of women, even
women with an IUD device implanted. With respect to powder migration specifically, Sjösten and
colleagues (2004) reported results of a study in humans to confirm migration that had been
observed in an animal model. In the study, one group of women (n=12) underwent a gynecological
exam with powdered gloves the day before an abdominal hysterectomy and another group was
examined with powdered gloves four days before surgery (n=12). Two control groups were
examined with powder-free gloves (n=12 or n=14). Cell smears were taken from the peritoneal
fluid and during the operation further smears were taken from the fallopian tubes, uterine cavity
and cervical canal. The authors reported that retrograde migration of starch particles had occurred
in humans after examination with powdered gloves. The authors concluded: “Consequently,
powder or any other potentially harmful substance that can migrate from the vagina should be
avoided.” Of the more recent studies, the studies by McDonald and colleagues (2019a, 2019b)
addressed the issue of migration of talc in women with ovarian cancer that reported perineal use
of talc body powders. The studies aimed to differentiate the presence of talc in pelvic lymph nodes
due to talc exposure versus contamination. Considered together these studies showed that talc

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particle burden in nodes correlated with perineal usage of talc powder. These studies provide
additional support for the ability of talc to translocate from the genital area of women up the
reproductive tract. The most recent study (Johnson et al. 2020) was discussed by Health Canada
in its 2021 talc risk assessment (Health Canada, 2021). The regulators stated with respect to this
study:
           “Some further work was done (Johnson et al. 2020) to compare talc particles from
           commercially available powders to those found in pelvic tissues taken from 11 randomly
           selected ovarian cancer patients with a known history of long-term perineal talc use. PLM
           and SEM/EDX were employed to measure the talc particles, and extensive measures were
           taken to control for contamination. The talc particles taken from tissues of the patients
           were most often located within benign tissue, reactive fibroblastic tissue, or chronically
           inflamed tissue near a tumour, rather than within tumours; the presumption is that talc
           accumulates in benign tissue some time prior to the tumour developing. The particle size
           and dimensions of talc particles found in the commercial samples are consistent with those
           found in the pelvic tissues of the patients: 77.7% of commercial samples and 83.5% of talc
           from tissues fall within the same ranges for aspect ratio and area. This lends support to
           the idea that externally-applied talc can migrate from the perineal area.”44


           56.      Considered together, these studies conducted in both humans (in vivo and ex vivo
studies) and in animals demonstrate the ability of particles to be transported upwards against
gravity in the female reproductive tract. These studies provide support for the FDA statement in
2014 that the potential for particulates to migrate from the perineum and vagina to the peritoneal
cavity “is indisputable”, and for Health Canada’s conclusions in 2021 that genital talc use poses
a potential health risk to humans that will be addressed with new risk mitigation actions.45 More
importantly, studies going as far back as the 1960’s provided direct evidence for the potential of
particles to migrate from the vagina to the ovaries in humans. At least in 2004, Imerys was
acknowledging that “compelling evidence” for migration had been published (IMERYS288328-
330).




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     See pages 21-22 of the Canadian 2021 Talc Screening Assessment.
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     https://healthycanadians.gc.ca/recall-alert-rappel-avis/hc-sc/2021/75453a-eng.php

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           57.     Before leaving this discussion of talc migration, it is important to point out that in
its review of the issue of talc migration in the genital tract of women, the CIR panel mentions many
of the same studies described above; however, there is no mention of eight additional human
studies and reviews of the issue (i.e., Parmley and Woodruff, 1974; McCalley et al. 1985;
Lauchlan, 1994; Wright et al. 1996; Kunz et al. 1996; Kunz et al. 1997, Kadanali et al. 2001; Kunz
and Leyendecker, 2002; Kunz et al. 2007). All eight of these papers were available by the time of
the CIR review. Therefore, it appears the CIR panel failed to account for all the studies that
informed on the issue of migration of particles, such as talc moving upwards through the
reproductive tract. This omission is particularly important given the fact that the CIR panel stated
the following with respect to the epidemiological studies and how that data was considered:
           “The Panel stated that causation would depend on the migration of talc from the perineum
           to the ovaries. There is no conclusive explanation for the presence of talc in the ovaries
           reported in some studies. However, the Panel agreed that there is no known physiological
           mechanism by which talc can plausibly migrate from the perineum to the ovaries.” [see
           page 23 of the CIR Final Report dated April 12, 2013]
The CIR process (discussed in detail below) was limited by the omission of a series of human
studies and scientific review papers directly relevant to the issue of talc particle migration. Based
on the totality of the scientific evidence, which includes more than the data available to or even
considered by the CIR panel in 2013, I agree with the FDA’s conclusions on this issue and assign
little weight to the conclusions reached by the CIR panel concerning talc migration. As already
discussed above, in the recent talc risk assessment performed by Health Canada with respect to
perineal exposure to talc in cosmetic body powders, they concluded that “there is the potential for
perineal exposure to talc from the use of various self-care products”46, a finding consistent with
the FDA.


VI.        Talc and Cancer
           58.     In this case, the toxicity of concern for talcum powder products exposure in humans
is cancer. The specific risk issue for this case is exposure to powdered talc products through
perineal or genital application, as well as inhalation exposure, leading to migration of talc
internally, resulting in ovarian cancer. The issue of talc and cancer risk in humans has been

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     See page 43 of the Screening Assessment document

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recognized for decades (see papers discussed in reviews such as EPA, 1992; IARC, 2010; IARC,
2012). Although ovarian cancer is the focus of the current case, other forms of cancer have also
been linked to talc exposure (i.e., lung cancer with inhalation exposure to talc; IARC, 2010) To
determine whether there is a reasonable basis to conclude there may be a health hazard associated
with talcum powder products, it is important to review the totality of the evidence to determine
whether there is scientific support. Therefore, I have considered available in vitro and in vivo
toxicology data, mechanistic data, epidemiological studies, and other evidence. In reviewing the
evidence, I employed the methodology as discussed earlier in my report (e.g., paragraphs 11, 12,
and 13).


       59.      There is a body of mechanistic data that also needs to be considered when looking
at the issue of talcum powder products and risks to human health. It is important to remember that
administration of even a single dose of talc in animals has been shown to produce adverse effects
locally, at the site of exposure, that have included granulomatous reactions, cellular proliferation,
and adhesions (as reviewed by EPA, 1992). Thus, evidence shows that talc exposure induces local
tissue responses that are adverse effects, not simple adaptive effects, and those effects lead to tissue
damage.


       60.      Talc can induce toxicity in tissues and cells through direct contact. The studies
discussed above related to the ability of talc to migrate from the vagina upwards in the reproductive
tract in women are important evidence that talc can arrive at sites where local tissue toxicity would
be produced, such as the fallopian tubes and the ovaries. Studies looking at local tissue effects of
talc would be important when examining a mechanistic basis for talc carcinogenicity in humans.
Starting in the 1980’s, studies appeared in the scientific literature related to understanding the local
tissue effects of talc. In an early study, the cytotoxicity of seven different respirable talc products
(expected to be of high purity) provided to researchers by the PCPC were studied (Davies et al.
1983). Specifically, the fibrogenic potential of talc was investigated through use of a cell bioassay
(macrophage toxicity) using murine peritoneal macrophages. All seven talc samples tested were
found to be cytotoxic and the authors stated they “would be expected to be fibrogenic in vivo”. In
another study (Hamilton et al. 1984), direct exposure to what was claimed to be asbestos-free talc
(via single intra-bursal injection) on the surface of the ovaries of rats was associated with adverse

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effects including “focal areas of papillary change” on the surface epithelium of the ovaries, often
discussed as pre-neoplastic lesions; thus, talc was toxic to ovarian tissue in mammals. Beck and
colleagues (1987) examined the local tissue toxicity of talc dust (stated to be asbestos-free and
granite-free dust), as well as other mineral dusts,47 in vivo in animals (hamsters) following a single
intra-tracheal instillation of a dust into lung tissue. The experiments examined the dose-response
relationship (0.15, 0.75 and 3.75 mg talc/100 g body weight) and the time course (1 to 14 days
post-exposure) of the effects of dust exposure in lung tissue. The authors stated: “One day after
exposure, both talc and granite dust resulted in elevated enzyme levels and pulmonary cell
numbers in BAL [bronchial alveolar lavage fluid]. Macrophage phagocytosis was also inhibited.
Based on results from earlier studies, response levels were either intermediate between nontoxic
iron oxide and toxic a-quartz or comparable with n-quartz. The response to granite dust
diminished fairly rapidly over time. By contrast, after talc exposure, there was a more persistent
elevation in enzyme levels, and macrophage phagocytosis remained depressed. These results
indicate that when a similar mass was deposited in the lungs, talc caused more lung injury than
did granite.” [emphasis added] In another study (Radic et al. 1988), talc was shown to suppress
immune system function in rats injected subcutaneously with talc. Talc induced granulomatous
reactions in the animals, and spleen cells from talc-treated rats suppressed the immune response.
Each of these studies provided evidence that talc is toxic to cells and tissues that are contacted with
talc dusts/particles, including ovarian tissue.


            61.      In 1993, the results of chronic GLP-quality studies conducted from 1984-1986 in
rats and mice were reported (NTP, 1993; P-0832 was the draft report). In these studies, using
standard study methods of the time, the potential for talc (stated to be asbestos-free) to produce
cancer following inhalation was studied. The study rationale was stated as follows: “Talc was
nominated by NIOSH in 1978 for testing by NTP because of the paucity of adequate information
on its carcinogenicity and because of widespread human exposure. The inhalation route was
chosen because it is the most common route for human exposure.” Although earlier studies had
investigated the cancer potential of talc (see review in IARC, 1987), limitations in study design
affected their utility for human health risk assessment (i.e., less than lifetime exposures, small
group sizes, etc.). An important feature of this study was the interim sacrifices performed in both

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     Granite dust was tested in this study as well.

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rats and mice in all three exposure groups of both sexes (see Table 5 and Table 11 of NTP, 1993).
This meant that the evolution of lung lesions was examined in the animals, allowing for
identification of a potential mechanism for lesions that developed in lung tissue. The study authors
concluded:
       “Under the conditions of these inhalation studies, there was some evidence of carcinogenic
       activity of talc in male F344/N rats based on an increased incidence of benign or malignant
       pheochromocytomas of the adrenal gland. There was clear evidence of carcinogenic
       activity of talc in female F344/N rats based on increased incidences of alveolar
       bronchiolar adenomas and carcinomas of the lung and benign or malignant
       pheochromocytomas of the adrenal gland.”
This information alone is significant for human health risk assessment; however, the findings from
the interim sacrifices in both rats and mice were extremely useful in terms of identifying a
mechanism for lung tumors in rats and mice. The text from the study is quoted below as it provides
important support for a mechanism for talc-induced carcinogenesis.
       “Although the inflammatory response was basically similar in rats and mice, there were
       important species differences. The lesions in rats were generally more extensive and more
       severe than those in mice at similar exposure concentrations. In rats, foreign body giant
       cells were occasionally observed and some of the alveolar macrophages developed the
       morphological characteristics of epithelioid macrophages. More importantly, the
       inflammatory lesions in rats were accompanied by interstitial fibrosis, hyperplasia of
       alveolar type I1 epithelial cells, and, infrequently, squamous metaplasia of the alveolar
       epithelium.” [emphasis added; see page 51 of NTP 1993]


       “A potential mechanism for the development of pulmonary neoplasms associated with
       insoluble particulate substances is that the prolonged stimulus for cell replication, due
       not only to cell injury but to the release of mitogenic growth factors from alveolar
       macrophages, provides a favorable environment for the promotion and progression of
       spontaneously initiated cells. The interim evaluations in the NTP talc study clearly
       demonstrate a progressive impairment of homeostatic growth regulation in the areas of
       chronic inflammation and fibrosis associated with talc deposition in rats. Hyperplasia of
       the alveolar epithelium was evident at 6 months and became more extensive and severe

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       with duration of exposure. Not only were there increased numbers of cells (hyperplasia),
       but some cells assumed morphologic features atypical of regenerating or differentiated
       type I1 cells (epithelial dysplasia). The altered or dysplastic epithelium was particularly
       evident in areas of fibrosis. The squamous metaplasia observed in female rats also
       represents altered differentiation of populations of alveolar epithelial cells and is notable
       in light of the development of squamous cysts and squamous cell carcinomas.” [emphasis
       added; see pages 54-55 of NTP, 1993]
Thus, these data from interim sacrifices in rats and mice provided an important signal for human
safety. The 1993 NTP study has been criticized and conclusions reached by the original authors
have been questioned (i.e., Carr, 1995; CIR, 2013). Yet, even with its limitations, the study
provides important information on talc toxicity that is relevant to assessing the risks of cancer in
humans. In fact, scientists that initially reviewed the study supported the use of the data for listing
of talc in NTP’s Report on Carcinogens (RoC; discussed in more detail below). It also should be
noted that based on an inhalation route of exposure in rats and mice that was employed in the
studies (NTP, 1993), the studies would not be expected to produce ovarian tumors in rats or mice
given the route of exposure that would severely limit any perineal exposure to talc. Moreover,
unlike humans, the ovaries of rats and mice are completely covered by a bursal sac, making direct
access to ovarian tissue unlikely when exposure is assumed to be due to vaginal penetration and
migration to the ovaries.


       62.     In more recent studies, the biologic basis of effects in cells and tissues associated
with exposure to talc that could be linked to carcinogenesis were evaluated. In one study,
(Buz’Zard and Lau, 2007) normal ovarian cells in culture were treated with increasing
concentrations of talc in solution, either with or without the presence of a chemotherapeutic agent
that has been shown to have anti-cancer activity (i.e., inhibits oxidative damage in cells, induces
apoptosis of cancer cells). The authors reported that talc treatment increased generation of reactive
oxygen species in ovarian cells and induced neoplastic transformation. In another study looking at
cellular changes associated with mineral exposure, Shukla and colleagues (2009) examined
mineral pathogenicity of four different particles, including asbestos and non-fibrous talc. Human
lung mesothelial cells and human ovarian epithelial cells in culture were employed. Both types of
cells were exposed to increasing concentrations of asbestos, talc, titanium oxide and glass beads.

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The asbestos was identified as crocidolite asbestos with a mean size of 7.4 µm and had greater
than 3:1 length to width ratio. The talc was stated to have a mean size of 1.1 µm and was stated to
occur as “platy particles that were uniform in appearance” (by field emission scanning electron
microscopy). The results of most interest in terms of mechanism of action that relates to the
potential to produce a carcinogenic response in tissue included the cell viability data and the
changes in gene expression induced by exposure to asbestos and talc. As expected, asbestos fibers
were toxic to human cells, both lung and ovarian cells; asbestos is a known human carcinogen.
The authors reported that the lung cells were more sensitive to the toxic effects of asbestos;
however, testing of only two doses of asbestos limit the conclusions that can be drawn about
differences between cells. In the case of talc, lung cell viability was decreased in a dose-dependent
manner; decreased viability was reported at talc doses of 15 and 20 µg/m2. When two lower doses
of talc, 1 and 5 µg/m2, were tested in ovarian cells, there was no effect on cell viability. Gene
expression changes in lung mesothelial cells also were examined, and exposure to asbestos for up
to 24 hours was associated with significant effects on gene expression. The authors reported that
fewer gene expression changes occurred in ovarian cells exposed to asbestos. They also reported
that fewer gene expression changes were observed in lung cells following exposure to talc at a
dose of less than 5 µg/m2 for up to 8 hours, and no significant changes in ovarian cell gene
expression were observed with talc exposure. However, when the list of genes whose expression
was affected by asbestos and talc was examined, it is seen that some of the genes affected are
involved in cellular processes that relate to oxidative stress and inflammation. The authors of this
study failed to test talc with the same rigor that asbestos was tested in their study, limiting the data
collected on talc itself. Nevertheless, the study did reveal statistically significant increases in ATF3
and IL8 expression by asbestos and non-fibrous talc at certain concentrations. The data collected
with asbestos exposure supports known toxicity of induction of oxidative stress as a mechanism
underlying carcinogenesis (IARC, 2012). In a more recent study examining the biologic basis of
effects in cells and tissues associated with exposure to talc that could be linked to carcinogenesis,
Mandarino and colleagues (2020) focused on the effect of talc exposure on immunosurveillance
and the activity of macrophages in a high estrogen environment; in addition to the release of tissue-
damaging factors from macrophages, these cells could have compromised immunosurveillance
activity that results in decreased tumoricidal activity. The authors stated:



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        “We found that murine ovarian surface epithelial cells (MOSEC), a prototype of certain
       forms of ovarian cancer, were present in larger numbers after co-culture with
       macrophages treated to a combination of talc and estradiol than to either agent alone or
       vehicle. Control particles (titanium dioxide, concentrated urban air particulates or diesel
       exhaust particles) did not have this effect. Co-exposure of macrophages to talc and
       estradiol has led to increased production of reactive oxygen species and changes in
       expression    of    macrophage      genes    pertinent   in   cancer    development      and
       immunosurveillance. These findings suggest that in vitro exposure to talc, particularly in
       a high-estrogen environment, may compromise immunosurveillance functions of
       macrophages and prompt further studies to elucidate this mechanism.”


       63.     The same research group (Hillegass et al. 2010) further examined the pathogenicity
of asbestos as compared to other particles, including talc. The authors reported that their analysis
of microarray data confirmed that lung cells were “more responsive than ovarian cells to
crocidolite asbestos or non-fibrous talc, and that crocidolite asbestos elicited greater responses
in both cell types when compared to non-fibrous talc”. As before, however, the group failed to test
talc across a range of doses that would be necessary to examine its effects in these assays, using
only doses that were equivalent to asbestos even though it was known that the crocidolite asbestos
would be expected to be more potent in terms of biological reactivity than talc. The authors did,
however, report that “the pathogenesis of asbestos-associated diseases is most commonly
associated with a persistent inflammatory response initiated by ROS, growth factors, and/ or
various pro-inflammatory factors such as cytokines or chemokines”. Therefore, this paper
provided further evidence supporting the mechanism of inflammation and generation of reactive
oxygen species as important to the tissue responses induced with exposure to particles that would
include both asbestos and talc.


       64.     In a more recent study (Shim et al. 2015), the effect of talc to induce oxidative
stress in vivo following administration of talc was examined. Rats were exposed to talc via whole-
body inhalation at concentrations of 0, 5, 50 and 100 mg/m3, six hours per day, five days per week,
for four weeks. It should be remembered that in a GLP-quality lifetime study in rodents (NTP,
1993), rats were exposed to talc via whole-body inhalation at doses of 0, 6 and 18 mg/m3, six hours

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per day, five days per week, and there was clear evidence of talc-induced chronic inflammation,
reparative processes and cellular proliferation (as evidenced by lung pathological changes
observed at interim sacrifices of 6, 11, and 18 months). This shorter-term study in rats by Shim et
al. (2015) focused on understanding the role of oxidative stress in the tissue responses to talc, a
general mechanism that has been linked to chronic inflammation and cancer, including ovarian
cancer (e.g., Saed et al. 2017; Saed et al. 2018; Fernandes et al. 2015; Landskron et al. 2014;
Kamp et al. 2011; Grivennikov et al. 2010; Lu et al. 2006; Rakoff-Nahoum, 2006; Senthil et al.
2004; Ness et al. 2000; Savant et al. 2018; Ding et al. 2021). Shim and colleagues (2015) reported
that inhalation of talc for four weeks was associated with macrophage aggregation and oxidative
damage in the lung, including significantly increased expression of superoxide dismutase 2 (SOD
2), a biological indicator of oxidative damage.


           65.      In several references authored by the same research group, the effects of talc
exposure to induce oxidative stress in ovarian cancer cells have been investigated and described
(Fletcher et al. 2018; Fletcher and Saed, 2018; Fletcher et al. 2019). The first reference describes
a presentation at a scientific meeting in March of 2018; the researchers reported on the ability of
talc to affect markers of oxidative stress in ovarian cancer cells in culture (Fletcher et al. 2018).
Both normal ovarian epithelial cells and cancerous ovarian epithelial cells were incubated with
talc at concentrations of 0, 200 and 500 µg/ml for 24, 48 and 72 hours. The talc was purchased
from Sigma Aldrich.48 There was a marked increase in mRNA levels of pro-oxidant enzymes in
both ovarian cell lines as compared to controls (untreated), and a marked decrease in mRNA levels
of anti-oxidant enzymes in both cell lines as compared to controls (untreated cells). These changes,
indicative of a pro-oxidant state in the cells (oxidative stress), were reported to occur as early as
24 hours after exposure. The authors concluded: “This is the first report to show that talcum
powder induces biological effect by further enhancing the redox state in both normal ovarian
epithelial cells as well as ovarian cancer cells. The results of this study will provide a molecular
basis to previous reports that link genital use of talcum powder to increased risk of epithelial
ovarian cancer.” In the second presentation in 2018 by this same laboratory (Fletcher and Saed,
2018), additional investigation of the effects of talcum powder on ovarian cancer cells was
discussed. The objective of the studies performed was to determine the effects of talcum powder

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     The Sigma Aldrich website indicates that the talc sold is pharmaceutical grade talc.

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on levels of the cancer antigen, CA-125, in both normal ovarian cells and ovarian cancer cells. The
authors stated that levels of CA-125 are elevated in more than 80% of women with advanced
ovarian cancer and 50% of women with early-stage cancers. Ovarian cells were exposed to 0 or
1000 µg/ml talc for 72 hours and levels of CA-125 were determined by ELISA methods. The
authors reported that there were increases in CA-125 levels in response to talc treatment in both
normal and cancerous cells. The authors concluded: “Talcum powder induces a biological effect
by further enhancing CA-125 levels in ovarian cancer cells as well as in normal ovarian epithelial
cells. This will provide a molecular basis to previous reports that link genital use of talcum powder
to increased risk of epithelial cancer.” The 2019 publication with the same authors (Fletcher et
al. 2019) is a peer-reviewed paper describing the 2018 studies49 related to the effects of talc on the
expression of key redox enzymes, CA-125 levels, and cell proliferation and apoptosis in normal
and ovarian cancer cells. The authors stated: “These findings are the first to confirm the cellular
effect of talc and provide a molecular mechanism to previous reports linking genital use to
increased ovarian cancer risk.” In a review of the pathogenesis of ovarian cancer by Dr. Saed and
colleagues (Saed et al. 2018), the importance of oxidative stress to pathogenesis and prognosis of
ovarian cancer is discussed. Thus, the effects of talc in cells and tissues that are linked to oxidative
stress provide additional insight into the molecular basis of talc-induced ovarian cancer in humans.


         66.      Talc body powders manufactured and sold by Imerys and Johnson & Johnson were
a mixture of compounds, many of which have toxic properties. There is consistent evidence linking
talc as well as the other components of talc with initiation of inflammation at the local site of
exposure (discussed above), as well as evidence that talc induces biologic effects that result in pre-
cancerous lesions (NTP, 1993). Inflammation is a well-studied mechanism of carcinogenesis (e.g.,
Fernandes et al. 2015; Grivvennikov et al. 2010; Fleming et al. 2006; Lu et al. 2006; Rakoff-
Nahoum, S. 2006; Ness and Cottreau, 1999). As discussed in a recent review of the topic of
inflammation and cancer (Grivennikov et al. 2010), there are several basic facts about
inflammation and cancer that include the following: (1) chronic inflammation increases cancer
risk; (2) subclinical, often undetectable inflammation may be as important in increasing cancer
risk; (3) various types of immune and inflammatory cells are frequently present within tumors; (4)


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 It is common for scientists to first publish their findings in the form of an abstract or presentation for a scientific
meeting and then follow with a full paper that is published in the peer-reviewed literature.

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immune cells affect malignant cells through production of cytokines, chemokines, growth factors,
prostaglandins, and reactive oxygen and nitrogen species; (5) inflammation impacts every single
step of tumorigenesis, from initiation through tumor promotion, all the way to metastatic
progression; (6) in developing tumors anti-tumorigenic and pro-tumorigenic immune and
inflammatory mechanisms coexist, but if the tumor is not rejected, the pro-tumorigenic effect
dominates; (7) signaling pathways that mediate the pro-tumorigenic effects of inflammation are
often subject to a feed-forward loop; and (8) certain immune and inflammatory components may
be dispensable during one stage of tumorigenesis but absolutely critical in another stage.
Therefore, in the case of talc, even if tissue samples from ovarian tumors fail to exhibit signs of
active chronic inflammation, an inflammatory role for talc is not ruled out. Instead, the role of talc
in inducing the tumorigenic response could be linked to earlier stages of cancer progression.


       67.     With respect to inflammation and ovarian cancer specifically, a recent prospective
epidemiological study performed by investigators at the National Institutes of Health has linked
specific pro-inflammatory markers in blood with the presence of ovarian cancer in women (Trabert
et al. 2014); the authors suggest that these pro-inflammatory mechanisms may be linked to the
increased risk of ovarian cancer seen in women exposed to compounds such as talc and asbestos.
Other supporting evidence for a link of inflammation with carcinogenesis following talc exposure
in women are the studies that have shown that talc exposure can induce oxidative stress in cells
(discussed above). Therefore, there are multiple plausible mechanisms that may be related to the
cancer hazard posed by perineal talc body powder exposure in women. Additionally, the fact that
talc can act as a cancer promoter is also relevant (Stenback et al. 1986). Finally, it is important to
note that the link of talc with inflammatory processes is an underlying toxic insult that can lead to
cancer. This mechanism is consistent with mechanisms linked to other particles that induce cancer
(i.e., asbestos and silica; Moller et al. 2010, Moller et al. 2013; IARC, 1987; IARC, 2010; IARC,
2012). It is also important to realize that there is latency associated with cancer pathogenesis
which would also apply in the case of talc.


       68.     When considered together, the scientific literature on the biological effects of talc,
as well as asbestos and other constituents routinely found in talc (discussed above), provide
sufficient evidence to show that these chemicals produce cellular changes that have been linked to

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carcinogenesis and that the biological mechanism for carcinogenesis (ovarian and/or lung)
following exposure to talcum powder products likely involves induction of a chronic inflammatory
response. A review of the IARC monographs for talcum powder product constituents, such as
asbestiform talc and non-asbestiform talc, nickel, cobalt, and chromium, reveals similarities in the
biological effects that are discussed as underlying the carcinogenic potential of the individual
compounds. Moreover, available evidence indicates that local exposure to talc particles is likely
involved, where “local exposure” means exposure at or near the site of injury, in this case exposure
of the ovary and ovarian cancer. It is important to realize as well that in the case of almost any
human drug used to treat a disease or symptoms of some condition, the exact molecular mechanism
by which the drug produces its effects also are not known. Thus, not knowing every detail about
the molecular mechanism underlying talcum powder products and carcinogenesis does not mean
that the available data fail to provide support for a likely mechanism. In fact, we know some
important things about talc, information that supports the biologic plausibility of the relationship
between talc exposure and human cancer. This mechanistic data provides highly plausible
biological support for the signal for human cancer risk identified from the epidemiological
(discussed below) and animal data.


       69.     When considered together with general principles of toxicology, the available data
relating to mechanism of carcinogenicity of talcum powder products, where the body powders are
a mixture of compounds with carcinogenic hazard, indicate that the various compounds in talcum
powder products would be expected to produce at least an additive effect on the risk of cancer
based on their ability to induce similar biological responses that underly carcinogenesis (Eaton,
D.L. and S.G. Gilbert. 2013. Principles of toxicology. In: Casarett & Doull’s Toxicology: The
Basic Science of Poisons, 8th edition. Klaassen, C.D. (ed.). McGraw-Hill: New York: NY. Chapter
2, pp. 19-20; EPA, 2000). The likely mechanism for cancer is related to the similar cellular events
that have been linked to carcinogenesis in the case of the known components of talcum powder
products.


       70.     It is well-established that there are two types of chemical carcinogens: genotoxic
and non-genotoxic (Klaunig, 2013). A genotoxic carcinogen is one that is mutagenic, may be a
complete carcinogen, produces tumors that exhibit a dose-response relationship with exposure,

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and for which there is no threshold for cancer initiation50. A non-genotoxic carcinogen is one that
is not a direct mutagen, exhibits a threshold for tumor development, produces tumors that exhibit
a dose-response relationship with exposure, may only function as a tumor promoter, does not
directly damage DNA, and may exhibit species, strain and tissue specificity in response. The
available evidence indicates that talc may be a non-genotoxic carcinogen, as defined here, based
on the evidence showing that it is not genotoxic (in most assays), requires repeated dosing of
sufficient duration for tumors to be produced, has been shown to exhibit activity as a tumor
promoter for known carcinogens (i.e., benzo(a)pyrene; Stenback et al. 1986), exhibits species and
tissue specificity in tumor responses (associated with local site of exposure), and has not been
shown to directly damage DNA. The available animal cancer data has not been assessed for a
threshold for tumor development, but the NTP study data did indicate that the tumor response was
a high dose effect. Human studies, however, have indicated that ovarian cancer exhibits a dose-
response in terms of being associated with an increased duration of use and frequency of use of
talc-based products (e.g., Cramer et al. 1999; Terry et al. 2013; Wu et al. 2015; Schildkraut et al.
2016; Berge et al. 2018; Penninkilampi and Eslick 2018). Therefore, the available evidence
indicates that talc’s plausible mechanism of action to induce cancer would be through non-
genotoxic (indirect) pathways.


        71.     I also would like to point out that talc powder is used clinically to cause an acute
inflammatory response in a procedure known as pleurodesis. This procedure is designed to cause
the two layers of the lung pleura, parietal and visceral layers, to stick together so that the space
between the layers is filled with scar tissue. Typically, only a few ounces of fluid would be found
between the parietal and visceral pleural membranes, but the fluid can build up to as much as a
few liters and is known as a pleural effusion. Both mechanical and chemical means are used to
initiate the lung scarring that is needed to treat these effusions. In the case of chemical pleurodesis,
a substance such as talc powder can be placed into the chest cavity near the lungs to produce an
acute inflammatory response that leads to scarring. The size of the talc particles used in the
procedure are important; severe inflammatory effects were more likely when a talc powder with
smaller particles, about 50% less than 10 µm, was employed (Arellano-Orden et al. 2013). It is


50
  Asbestos has been identified as a genotoxic carcinogen.
(https://www.atsdr.cdc.gov/csem/asbestos/how_does_asbestos_induce_pathogenic_changes.html).

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important to note that typical talcum powder products, including those manufactured and sold by
Imerys and Johnson & Johnson, contain mostly small particles, less than 10 µm (Zazenski et al.
1995; JNJ000326966; IMERYS095244; IMERYS120564-565). Thus, the pleurodesis literature
provide further support for inflammation as a known tissue response to talc, even though the type
of inflammatory response produced in pleurodesis procedures is acute, not a chronic response as
is characteristic of carcinogenesis.


       72.     As discussed above in paragraph 33, an increased human cancer risk has been
linked to components of talcum powder products, such as asbestos. By the 1930’s, evidence was
available linking asbestos exposure with lung disease, including lung cancer; by the mid 1950’s,
the majority of scientists believed that asbestos could cause lung cancer, and likely other forms of
cancer, in humans (Doll, 1955); and by the 1960’s, evidence had accumulated linking asbestos
exposure with ovarian cancer, with some studies reporting an increased incidence in women
exposed to asbestos. Beginning in the 1970’s, the issue of ovarian cancer in women began to be
discussed with respect to talcum powder product exposure (Henderson et al. 1971; Henderson et
al. 1979). Since that time, the study of, evidence for, and discussion of, a cause and effect
relationship between talc exposure and human ovarian cancer risk has continued to develop in light
of the totality of the data (e.g., Cramer et al. 1982; Hartge et al. 1983; Natow, 1986; Whittemore
et al. 1988; Booth et al. 1989; Harlow and Weiss, 1989; Harlow et al. 1992; Chen et al. 1992;
Rosenblatt et al. 1992; Tzonou et al. 1993; Cramer and Xu, 1995; Purdie et al. 1995; Shushan et
al. 1996; Chang and Risch, 1997; Cook et al. 1997; Green et al. 1997; Daly and Obrams, 1998;
Eltabbakh et al. 1998; Godard et al. 1998; Cramer, 1999; Wong et al. 1999; Ness et al. 2000;
Langseth and Kjaerheim, 2004; Mills et al. 2004; Jordan et al. 2007; Merritt et al. 2008; Wu et al.
2009; Rosenblatt et al. 2011; Kurta et al. 2012; Terry et al. 2013; Houghton et al. 2014; Wu et al.
2015; Schildkraut et al. 2016; Berge et al. 2018; Penninkilampi and Eslick, 2018; Taher et al.
2020; O’Brien et al. 2020; Davis et al. 2021; Woolen et al. 2022; Phung et al. 2022; O’Brien et
al. 2024). A review of these studies as a whole shows that exposure to talc by routine genital
application is reported to increase the risk of ovarian cancer in women by about 30% (e.g., Cramer
et al. 1982; Whittemore et al. 1988; Booth et al. 1989; Harlow and Weiss, 1989; Harlow et al.
1992; Rosenblatt et al. 1992; Purdie et al. 1995; Shushan et al. 1996; Chang and Risch, 1997;
Cook et al. 1997; Cramer et al. 1999; Gertig et al. 2000; Ness et al. 2000; Mills et al. 2004; Merritt

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et al. 2008; Wu et al. 2009; Rosenblatt et al. 2011; Kurta et al. 2012; Terry et al. 2013; Schildkraut
et al. 2016; Berge et al. 2018; Penninkilampi and Eslick, 2018; Davis et al. 2021;Woolen et al.
2022; O’Brien et al. 2024). Not all studies identified in the published scientific literature have
reported a statistically significant increased risk of ovarian cancer following talc exposure in
women (e.g., Hartge et al., 1983; Chen et al. 1992; Tzonou et al. 1993; Godard et al. 1998; Wong
et al. 1999; Langseth and Kjaerheim, 2004; Houghton et al. 2014; O’Brien et al. 2020). With such
a large group of epidemiological studies, with varying designs, sizes of the populations studied,
and varying measures of exposure, it is not surprising that there are studies that show both an
increase in risk as well as those that failed to report such results. Yet, in the large group of studies
(more than 25 studies) reporting statistically significant findings, the increased risk is consistently
seen to be in the range of 30%. Even in the studies that reported non-statistically significant
findings, there often was a trend towards an increased risk in women who used talcum powder
products. As recent as 2020, statistically significant findings regarding the association between
genital use of talc powder and risk of ovarian cancer were published after analysis of pooled data
results from four cohort studies. The paper included a subgroup analysis of the data that focused
on women with patent reproductive tracts (O’Brien et al. 2020). In response to comments made to
Dr. O’Brien regarding her findings she responds as follows:
       “We completely agree with Dr. Harlow and colleagues that our results, particularly the
       analyses limited to women with intact reproductive tracts, should not be discounted
       because of a lack of statistical significance. For all estimates, we reported 95% Cis so
       readers could consider size and precision. The qualifier that there was no statistically
       significant association between ever genital powder use and ovarian cancer is a factual
       report of a test of the null hypothesis; we never equated the lack of statistical significance
       to evidence of no association.
       We conducted subgroup analyses with an a priori hypothesis that intact reproductive tracts
       are required to be susceptible to the exposure. Therefore, even though we stated that
       findings from subgroup analyses should be interpreted as exploratory, we do not consider
       them all equally important and agree that the positive association among women with
       patent reproductive tracts (HR 1.13; 95% CI 1.10-1.26) is consistent with the hypothesis
       that there is an association between genital powder use and ovarian cancer.”



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In their most recent work, O’Brien and colleagues (2024) have reported results of an assessment
of recall bias in the prospective cohort study known as the “Sister Study” and found that “although
results show how differential recall would upwardly bias estimates, corrected results support a
positive association between use of intimate care products, including genital talc, and ovarian
cancer.” In a recent meta-analysis and systematic review of eleven different studies (Woolen et
al. 2022), the authors reported a statistically significant increased risk of ovarian cancer associated
with frequent perineal powder use by women (31% to 65% increased risk). Based on the totality
of the data, which includes human epidemiological data related to talcum powder product use and
cancer risk in women that is considered in conjunction with the biological data on talc migration,
as well as cellular and animal data regarding inflammation and talc’s induction of carcinogenicity,
the weight-of-the-evidence supports the conclusion that use of talcum powder products may pose
a health hazard to women.


       73.     As a part of my risk assessment, I also considered whether there is a dose response.
In the current case where the chemical of concern is a particle, and the route of exposure of concern
is external application of a powder that then migrates internally, and the powder itself is a mixture
of a variety of compounds some of which are known human carcinogens, the concept of dose is
more complex. The human studies do not provide a measure of a single dose in terms that are
typical of the cellular (in vitro) or animal studies, i.e., mg talc per kg body weight, or mg talc per
m3 inhaled air, or mg talc per ml of solution. In the case of the talc database, dose for human is
expressed terms of frequency and duration of exposure. It is a general principle of pharmacology
and toxicology that just as the likelihood of a response increases with dose, the likelihood of a
response increases with longer term use, and more frequent use (Eaton and Gilbert, 2013). The
available in vitro and animal study data show that there is a dose-response relationship for talc
toxicity (e.g., EPA, 1992; NTP, 1993; IARC, 2010; Buz’Zard and Lau, 2007; Shukla et al. 2009;
Shim et al. 2015). The animal cancer data, when considered in conjunction with the cellular data,
indicate that talc is a carcinogen and there likely is a dose-response threshold for tumor
development in rodents (NTP, 1993). There are several human studies that provide evidence of a




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dose-response relationship51 for talc exposure and ovarian cancer in women (e.g., Cramer et al.
1999; Terry et al. 2013; Schildkraut et al. 2016; Cramer et al. 2016; Berge et al. 2018;
Penninkilampi and Eslick, 2018; Woolen et al. 2022; O’Brien et al. 2024). Therefore, there are
sufficient scientific data supporting the existence of a dose-response relationship for genital talc
use and an increased risk of ovarian cancer.


         74.      In 1978, the U.S. Congress amended Section 301(b)(4) of the Public Health Service
Act, to require the Secretary of the Department of Health and Human Services (DHHS) to publish
an annual report that contains a list of all substances that “are known to be human carcinogens or
may reasonably be anticipated to be human carcinogens and to which a significant number of
persons residing in the United States are exposed”.52 The process of producing the list, known as
the Report on Carcinogens, or RoC, results from periodic meetings and is a process managed by
the NTP on behalf of DHHS. There have been 15 RoC processes to date, the 15th RoC being
published in 2021.53 Talc was considered as part of the 10th and 12th RoC processes. The 10th RoC
meeting where talc was discussed was held in 2000, while the 12th RoC meeting on talc was held
in 2005. The 10th RoC deferred action to list talc as a carcinogen, citing a need for additional
information; the 12th RoC also deferred action to list talc. It is important to note that the NTP RoC
nominated talc for consideration for listing in the 10th RoC based on a review of the available data
by a body of scientists without input from industry, and without any direct interaction with other
industry groups or representatives with a conflict of interest, consistent with the procedures set
forth by IARC (IARC, 2006). Johnson & Johnson, Imerys, and PCPC influenced the 10th RoC
process as I discuss later in paragraph 96. It is also important to note that a review of the minutes
of the 10th RoC indicates that even though the only public comments made to the panel were from
industry representatives, many of the reviewers supported listing non-asbestiform talc as
reasonably anticipated to be a human carcinogen (IMERYS 039060 through 085).




51
   Given the nature of talc as particles and fibers that cannot be metabolized in the body and remain in tissues where
they deposit, duration and frequency of exposure are appropriate surrogates for assessing the dose-response
relationship between talc use and an increased risk of cancer in human epidemiological studies.
52
   https://ntp.niehs.nih.gov/pubhealth/roc/history/index.htm
53
   https://ntp.niehs.nih.gov/whatwestudy/assessments/cancer/roc

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           75.      In 2010, the International Agency for Research on Cancer (IARC) Working Group
published its assessment of the carcinogenic potential of non-asbestiform talc. The review of talc
had occurred in 2006 and included only those papers available up to 2006. In its 2012 statements
about cancer and fibers of the type that are known to occur in talc (IARC, 2012), IARC pointed
out that conclusions about asbestos and carcinogenic risk applied to six types of fibers, including
“talc containing asbestiform fibres” (see page 219 in IARC, 2012). It is important to note here
that the IARC review process is not open for public comment and all conclusions reflect the
consensus decisions made by global experts in their field and without influence from industry.
Additionally, this review occurred after the NTP talc reviews had been completed. Unlike the NTP
RoC reviews, the IARC panel was able to reach a consensus regarding the cancer risks posed by
talc. The IARC panel concluded that perineal use of non-asbestiform talcum powder products was
“possibly carcinogenic to humans” (a Group 2B classification) and inhalation of non-asbestiform
talc was “not classifiable as to its carcinogenicity” (a Group 3 classification). This finding
provided additional evidence for the weight-of-the evidence assessment I performed. It should be
noted that the 2006 IARC panel did not have access to studies performed after 2006 which include
but are not limited to Langseth et al. (2008), Terry et al. (2013), Wu et al. (2009 and 2015),
Schildkraut et al. (2016), Cramer et al. (2016), Berge et al. (2018), Penninkilampi and Eslick
(2018), Taher et al. 2019, O’Brien et al. (2020), Health Canada (2021), Davis et al. 2021; Phung
et al. (2022); Woolen et al. (2022), and O’Brien et al. (2024).54 These additional studies and/or
analyses provide further evidence of the link of talc exposure in women and an increased risk of
ovarian cancer. Langseth et al. (2008) points to the need for additional study of the relationship
between talc use and ovarian cancer as the studies available as of 2008 indicated that use of
cosmetic talc in the perineal area may be associated with ovarian cancer risk. Terry et al. (2013)
performed one of the largest meta-analyses with the talc database. The authors reported that genital
use of talcum powder products significantly increased the risk of all types of ovarian cancer. The
paper by Schildkraut et al. (2016) provided support for the existence of a dose-response
relationship between talc use and increased risk of ovarian cancer in women. The papers by Wu
and colleagues (2009 and 2015) describe population-based case-control studies of the relationship
of ovarian cancer risk to exposures that included use of talc; in both papers the authors reported a
statistically significant association between talc use and ovarian cancer. Schildkraut and colleagues

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     See also paragraph 72.

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(2016) reported results from a case-control study where there was a statistically significant increase
in risk of epithelial ovarian cancer linked to use of talc body powders, including genital talc use,
with duration and frequency of use being important. Cramer et al. (2016) reported results from a
retrospective case-control study of talc use and the risk of ovarian cancer; the authors reported
there was a statistically significant increased risk of ovarian cancer with talc use and the trend
increased with longer-term use. Berge et al. (2018) reported a statistically significant increased
risk of serous carcinoma of the ovary, as well as the identification of a dose-response relationship
(increased duration of use). Penninkilampi and Eslick (2018) performed another meta-analysis of
the studies in women exposed to talc through perineal dusting with talc body powders and reported
that “there is a consistent association between perineal talc use and ovarian cancer”. Taher et al.
(2019) reviewed the available scientific literature studies on the epidemiology of talc and ovarian
cancer risk and concluded that perineal talc use is a possible cause of ovarian cancer. O’Brien et
al. (2020) performed a pooled analysis of available prospective cohort studies and found that in
the subgroup of women who reported ever use of talc powder in the genital area and had a patent
reproductive tract, there was a statistically significant increased risk of ovarian cancer. Health
Canada’s talc screening assessment was reported in final form in April of 2021; it was stated in
the report that: “With regards to perineal exposure, analyses of the available human studies in the
peer-reviewed literature indicate a consistent and statistically significant positive association
between perineal exposure to talc and ovarian cancer. The available data are indicative of a
causal effect.” Davis et al. (2021) was a pooled analysis including the largest number of African
American cancer cases. The authors reported a statistically significant increased risk of ovarian
cancer in women (African American and White) that had used talc-based body powders. The recent
meta-analysis by Woolen and colleagues (2022) also included a large number of ovarian cancer
cases and focused on frequent (at least two times per week) perineal use of talc body powders and
ovarian cancer; they reported a statistically significant increased risk of ovarian cancer in women
that were frequent users of talc products. Additionally, Phung and colleagues (2022) evaluated the
effect of genital talcum powder use in women with and without endometriosis and reported that
the risk of ovarian cancer was increased in women that reported genital use of talc-based body
powder. They also reported that the risk of ovarian cancer was higher in women with endometriosis
who applied talcum body powder to their genitals. Finally, as already mentioned above, O’Brien
and colleagues’ analysis of recall bias in the prospective cohort study known as the Sister Study

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(O’Brien et al. 2024) also found that results “support a positive association between use of
intimate care products, including genital talc, and ovarian cancer.” These additional studies and
evaluations add to the weight of evidence that genital use of talcum powder products may be a
health hazard.


       76.       Therefore, the weight-of-the-evidence indicates that genital exposure to talcum
powder products increases the risk of ovarian cancer in women. This conclusion is supported by
data that includes, but is not limited to the following: (1) the known toxic effects of talc and the
other components of talcum powder products; (2) studies that have identified the biologically
plausible mechanisms for cancer in humans; (3) the likelihood that talc particles can reach the
ovaries; (4) the existence of a dose-response relationship for toxicity including the risk of cancer;
and (5) the large human database that includes studies conducted over a period of 40 years showing
a consistent signal for ovarian cancer in women exposed to talcum powder products.


VII.   The Role of Industry in Talcum Powder Product Safety Assessments
       77.       In support of my opinions, I have reviewed and considered thousands of documents
related to the actions of Johnson & Johnson, Imerys, and PCPC with respect to talc and human
health risks and safety assessment. The documents related to Johnson & Johnson date back into
the 1950’s and 1960’s (e.g., patents filed by the company; studies published by company
employees; internal company documents). Documents related to Johnson & Johnson and the PCPC
date back to the 1970’s (e.g., internal company documents; exhibits to depositions of company
employees or corporate representatives). Documents related to Imerys and the PCPC date back to
the 1990’s (e.g., internal company documents; exhibits to depositions of company employees or
corporate representatives). The evidence shows that the defendants worked both individually and
collaboratively to present a uniform position to regulators, the scientific and medical community,
and consumers, that talcum powder product use did not present a risk of ovarian cancer in humans.


       78.       Evidence supporting Johnson & Johnson’s early efforts to influence the safety
information disseminated publicly about talc in the late 1970’s involved the 1975 U.S.
Pharmacopeia (USP) listing for talc. Based on their efforts, the USP listing was changed in 1980
to omit the warnings “Do not apply to open wounds” and “Do not inhale” (JNJ000343613;

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JNJNL61_000030770;        JNJ000343580;       JNJ000343612;      JNJ000343614;      JNJ000343946;
JNJ000343611; trial testimony of Dr. John Hopkins dated February 8, 2018). Johnson & Johnson
relied on their assertion that there was no asbestos present in talc that met the USP standards, even
though evidence shows they were aware of the presence of some level of asbestos in their products
at that time (as discussed above). Moreover, by the 1970’s Johnson & Johnson was aware that
some scientists believed that exposure standards for asbestos should be applied to fibrous talc
(JNJ000231422-428). Evidence suggests that industry knew or should have known about the
significant human health risks posed by exposure to cosmetic talc body powders well before 1975.
Therefore, the evidence suggest that Johnson & Johnson failed to provide accurate information to
the USP regarding the issue of the presence of asbestos in talc. Moreover, in asserting that “normal
exposure to cosmetic talc presents no inhalation hazard” (JNJNL61_000030770), the company
was making statements that were not scientifically defensible given the knowledge available by
1975 concerning talc and the hazards of inhalation exposure (as discussed above). Therefore, it is
my opinion that Johnson & Johnson knew or should have known that use of cosmetic talc body
powders had been reported to lead to lung injury when the talc was inhaled, and to lead to adverse
tissue reactions when internal tissues were exposed to talcum powder products.


       79.     Also, in the 1970’s, documents show that Johnson & Johnson made efforts to
influence the science around the issue of asbestos in talc and the link of talc with ovarian cancer
(P-0055; P-0344; P-0002). The efforts included a discussion with the FDA Commissioner in 1974
where Johnson & Johnson stated: “Our very preliminary calculation indicates that substantial
asbestos can be allowed safely in a baby powder.” (P-0660). Later in the same document Johnson
& Johnson states that “if the results of any scientific studies show any questions of safety talc,
Johnson & Johnson will not hesitate to take it off the market” (P-0660). Given the fact that Johnson
& Johnson was aware, or should have been aware, of the science that had accumulated by that time
linking asbestos exposure with both ovarian cancer and lung cancer, the position by the company
regarding the presence of any asbestos in talc body powders is inconsistent with protecting public
health when the issue involved exposure to a cosmetic product, one without any benefit.
Importantly, consumers were not informed of the safety concerns regarding the presence of
asbestos in talcum powder products.



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        80.      In discussing the issues related to industry and its actions to influence the public
perception of talc safety, it is important to understand the role of the CIR in cosmetic ingredient
safety assessments. As already mentioned above, the CIR process is industry-funded and is
administered independent of the FDA. While FDA may consider CIR conclusions, the FDA does
not adopt their findings (PCPC_MDL00096145, PCPC_MDL00044971, Deposition of Dr. Linda
Loretz). The panel’s role is to review the available safety information for the ingredient and to
come to a consensus about its safety. The CIR reports are open for public comment before they
are finalized. Over the years, the CIR has reviewed and reported on over 5,00055 ingredients, yet
only 12 have been found to be “unsafe” for use.56 The current CIR meetings involve no more
than two days of discussion for ingredients and ingredient groups (talc was one ingredient amongst
a multitude of ingredients in 17 ingredient groups) during which time the panel reviews the data
and comes to its conclusions regarding ingredient safety (deposition testimony of Dr. Linda Loretz
October 1 and 2, 2018). None of the CIR expert panel members personally review the relevant
published studies; instead, the members review only the report drafted by CIR staff (transcript of
the testimony of Dr. Andersen at pages 3157-3158, Echeverria v. Johnson & Johnson). This is a
much more abbreviated review process than is employed by IARC when it is making a cancer
hazard assessment.57 For example, in the IARC reviews, the Working Group, drafts the consensus
document as a group while working together for seven to eight days (MDL_KELLY00002701-
2702). Care is taken to ensure that detailed summaries of studies are written by relevant experts,
unlike the CIR reports which are written by employees of the PCPC instead of the experts on the
panel. Also, unlike the IARC review process, where panel members chosen for a review are ones
with specific expertise in the scientific issues that are addressed for a chemical (IARC, 2006), the
CIR panel typically includes less specialized scientists; and the make up of the panel changes little
from meeting to meeting even though the issues raised for individual ingredients could be very
different (deposition testimony of Dr. Linda Loretz in 2018). Therefore, from a scientific
perspective, the IARC process involves a much more detailed scientific evaluation of the issues
surrounding a cancer hazard than the issues addressed by any CIR review.



55
   Testimony of CIR Director from 1993 to 2013, Dr. Alan Andersen dated 8/10/2017 (Echeverria v. Johnson &
Johnson).
56
   https://www.cir-safety.org/cir-findings
57
   See description of the process at: http://monographs.iarc.fr/ENG/Preamble/currentbscientificintro0706.php

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        81.      In deposition testimony over several days in 201858, corporate representatives of
the PCPC provided detailed descriptions of the CIR process. The testimony of the former Director
of the CIR (Dr. Andersen in Echeverria v. Johnson & Johnson dated 8/10/2018) also provided
details about the CIR process, including the talc process, and the close relationship with industry.
Additional information can be found in internal company documents as well (e.g., P-0561; P-
0595). The lack of independence of the CIR process from PCPC operations and influence by
industry is apparent after review of these sources, even though a different impression is given
through the CIR website. For example, at the CIR website the following is stated:
        “The Cosmetic Ingredient Review was established in 1976 by the industry trade
        association (then the Cosmetic, Toiletry, and Fragrance Association, now the Personal
        Care Products Council), with the support of the U.S. Food and Drug Administration and
        the Consumer Federation of America. Although funded by the Council, CIR and the review
        process are independent from the Council and the cosmetics industry.”
As will be discussed below with respect to the talc CIR review, the process was not independent
of industry, did not include physicians with expertise in gynecological cancer or female pelvic
anatomy, and involved a truncated discussion among the panel members as compared to the IARC
assessment process.


        82.      The CIR has set forth procedures for its safety assessments (CIR 2018; IMERYS
118788). As discussed in the CIR procedures document, the purpose of the CIR is to “determine
those cosmetic ingredients for which there is a reasonable certainty in the judgement of competent
scientists that the ingredient is safe under its conditions of use”. The same document defines
“safety” or “safe” to mean that there is “no evidence in the available information that
demonstrates or suggests reasonable grounds to suspect a hazard to the public under the
conditions of use that are now current or that might reasonably be expected in the future”
[emphasis added]. Based on this definition of “safe” and the purpose stated by the CIR, this
means that the standard applied to a CIR review, and that should guide the outcome of that review,
is whether there is evidence that demonstrates or suggests a hazard. If there is any such evidence



58
  Dr. Linda Loretz of the PCPC was deposed as a corporate representative of the PCPC on 17 July 2018, 1 October
2018, and 2 October 2018. Mr. Mark Pollack was deposed as a corporate representative of the PCPC on 28 July
2018.

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of a hazard under conditions of use, then the standard would not be met, and the ingredient should
not be deemed safe for use in cosmetics.


       83.     In the case of talc, a final version of the CIR panel report was published in 2013
(CIR, 2013) and then appeared in the published literature in 2015 (Fiume et al. 2015). The CIR
panel stated that talc is “safe in the present practices of use and concentration in cosmetic
products” (CIR, 2013). There was no CIR report published on talc before 2013 even though there
was evidence for concern about the safety of talcum powder products that had been voiced within
the scientific community for decades and that reliable evidence had been published in peer-
reviewed journals even before the CIR came into being in 1978 (as discussed above). Based solely
on the CIR standard for safety, existing evidence provided a reasonable basis for finding that the
perineal use of talcum powder products increases the risk of ovarian cancer. Moreover, as
discussed above with respect to the issue of talc migration, I described how that assessment was
incomplete and resulted in conclusions that are not supported by available science.


       84.     Important evidence in support of my opinions comes from admissions contained in
documents and testimony by the trade organization known in the past as the CTFA, and since 2007
known as the PCPC. Publicly available documents show that PCPC has been intimately involved
with talc safety issues over the period from the early 1970’s up to today (see deposition testimony
of Dr. Linda Loretz, page 700). Together with Johnson & Johnson and Imerys, PCPC coordinated
and presented a position to regulators and the medical community that talc was safe. This position
was presented regardless of significant evidence to the contrary.


       85.     In their deposition testimony in 2016 and 2018, Mr. Mark Pollak and Dr. Linda
Loretz, the designated PCPC corporate representatives, provided details on the close relationship
between the CIR panel work generally and the PCPC, as well as the talc review itself. Other
documents available for review confirm the close relationship (e.g., IMERYS 329339 through
329342;      IMERYS315001;         IMERYS320614;          IMERYS281069;          IMERYS281536;
IMERYS283501; IMERYS322846; IMERYS298968; IMERYS065205; IMERYS118788;
PCPC_MDL00103539; PCPC_MDL00009859; PCPC_MDL00009893; PCPC_MDL00009914;
PCPC_MDL00009950). This is an important consideration in this case given the role that the CIR

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plays in cosmetic safety assessments, assessments that are used by manufacturers to assert that
their ingredients are safe as required by FDA.


        86.      Testimony and admissions from PCPC corporate representatives including exhibits
to their depositions, are relevant to my opinions because they outline the level of influence on the
purportedly independent processes for talc safety assessment by the CIR. To start, the PCPC’s
president is the chairman of the CIR steering committee that is responsible for choosing the experts
that are on the CIR panel, including the talc review in 2013 (deposition of Dr. Loretz pages 842-
845; IMERYS118788; trial testimony of Dr. Andersen dated 8/10/2018 at pages 3130-3031). The
CIR review documents are written not by the expert panel but by CIR staff, who are employees of
the PCPC (PCPC0004567; IMERYS118788; trial testimony of Dr. Andersen 8/10/2018). The CIR
panel scientists are a standing committee, meaning that the scientists involved do not change that
much from review to review, regardless of the issues to be addressed (deposition of Dr. Linda
Loretz pages 842-845; trial testimony of Dr. Andersen 8/10/2018 pages 3132-3133). This is
important because the issues related to talc safety are not the typical issues linked to cosmetic
ingredients. For most cosmetic ingredients, the issue is not migration internally after perineal
application or even use of large amounts of product that can easily suspend in air with each use.
Additionally, much of the data that was important in the evaluation of talc as an ingredient in body
powders and perineal dusting was human epidemiological data. Yet, the expert panel reviewing
talcum powder products and talc as an ingredient in those powders did not include anyone with
specific expertise in the unique exposure issues presented or expertise in epidemiology (deposition
testimony of Dr. Loretz pages 781, and 838-842). All CIR panel members are paid through the
PCPC which in turn is funded by industry, including Johnson & Johnson and Imerys 59. In fact,
records show that many of the CIR panel members made tens of thousands of dollars each year
that they served on the CIR panels (deposition testimony of Dr. Loretz pages 964-974), and that
Johnson & Johnson and Imerys were major sources of funding for the PCPC (deposition testimony
of Dr. Loretz pages 829-834) and, consequently, the CIR panel activities. The CIR review of talc




59
  Although Imerys is no longer a member of the PCPC (see deposition testimony of Dr. Loretz), Imerys was a member
of the PCPC during the years that talc safety was at issue (1980’s, 1990’s, 2000’s) and during the time of the CIR
review of talc (2010-2013). See also IMERYS311275.

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was initially started in 2009 but was put on hold for three years before beginning again in 2012
(trial testimony of Dr. Andersen dated 8/10/2018 page 3148).


           87       Another example of influence on the FDA comes from the industry’s response to
the filing of two Citizen’s Petitions related to adding a cancer warning to talcum powder products.
Before continued discussion of the CIR process and industry influences, these events should be
examined. This was discussed in the deposition of Dr. Linda Loretz on October 1, 2018.


           88.      Two Citizen Petitions were filed related to cosmetic talc products, one in 1994 and
a second in 2008. In 2014, the FDA finally issued a response to those Petitions. In my experience,
this is a very long time to wait for an FDA response. As background, the Citizen’s Petition process
is one that anyone outside of the FDA can use to ask FDA to take, or refrain from taking, an action
related to any of the products regulated by FDA (21 CFR Part 10). The two Citizen Petitions were
filed by the Cancer Prevention Coalition, and both related to adding a cancer warning to cosmetic
talc products. In the case of the 1994 Petition, Dr. John Bailey, then Acting Director of the Office
of Cosmetics and Colors within CFSAN at FDA, responded to the November 1994 Petition on
July 11, 1995. Dr. Bailey stated that FDA had not been able to reach a decision on the Petition
within the first 180 days of the filing (as required by the regulations) and the reason given was
“because of the limited availability of resources and other agency priorities” (P-240). In the case
of the 1994 and the 2008 Petitions, the FDA did not formally respond to the Petitioner until April
1, 2014 (P-47). The FDA’s 2014 response indicated that FDA was not requiring addition of the
specific cancer warning requested by petitioner.


           89.       In support of my opinions regarding the influence of industry on FDA’s actions
are the following accounts. In July 1994, six months after the filing of the first Citizen’s Petition,
a meeting sponsored by both FDA and industry (including Defendants in this case) was held that
focused on the safety of cosmetic talc. A delegation from PCPC (staff of the PCPC, members of
the organization, as well as consultants) met with representatives of the FDA (John Bailey60 and




60
     This is the same John Bailey that a few years later leaves FDA and becomes a senior staff member of the PCPC.

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Ron Lorentzen) and representatives of the NTP (Dr. Gary Boorman61) to discuss the NTP talc
study data (JNJ000016687 through 688). Contained in the minutes to that meeting, PCPC reported
that FDA admitted they were under pressure from within the agency to fully investigate the
association between talc and ovarian cancer. Topics of discussion at the meeting were directed
towards the use of the NTP study tissues for further analysis to help “reduce uncertainty about
human risk”, whether it was feasible to analyze rodent tissues for the presence of talc particles,
whether if analytical procedures for rodent tissue analysis were set up by FDA/ NTP it would be
feasible to analyze human ovarian tissue, and what issues or problems might be raised by such
studies. Interestingly, the PCPC stated in the meeting minutes that the discussion around analysis
of talc in the animal tissues “seemed to dampen enthusiasm by Dr. Novotny for conducting analysis
of human tissue” (JMJ000016688). The only work product resulting from this meeting appears to
be the NTP’s analysis of archived ovarian tissue samples from rats and mice that were part of the
NTP study (Boorman et al. 1995; the paper was submitted in October 1994 to the journal
Regulatory Toxicology and Pharmacology and the concerns with this journal regarding talc safety
is discussed below in paragraph 91). No work on human ovarian tissue analysis appears to have
been initiated at this time.


         90.      The influence of industry on FDA actions was evident in the early 2000’s during
the time when the NTP was considering the addition of talc to the Report on Carcinogens. In an e-
mail dated 17 October 2000 (JNJ000013664 through 665), the PCPC was discussing the NTP’s
recent draft background document on talc wherein the NTP scientists concluded that “non-
asbestiform talc is reasonably anticipated to be a human carcinogen” and proposed listing the
ingredient in the 10th Report on Carcinogens (RoC). This e-mail was directed to gathering funding
commitments from industry to undertake actions aimed at stopping the listing proposed by NTP.
This e-mail was followed by further communications on same topic later in October of 2000
(IMERYS303895 through 898) where industry representatives discussed experts that could assist
in their efforts but where they also acknowledged that a new study had been published concerning
the mortality of German rubber workers that had been exposed to talc and asbestos dust (combined
dust exposure) where the results were stated to be “not very good for the talc industry.” The issue


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  Other NTP staff were there as well, as were a pathologist from the University of North Carolina (there to discuss
analysis of human tissues in a future study) and an epidemiologist from NIEHS.

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was stomach cancer mortality was important because, as the employee of Luzenac Europe62
explained, an internal study that the company had failed to publish also found an association
between talc dust and stomach cancer; this information would not have been available to the FDA
or the NTP. In an e-mail dated February 5, 2001, PCPC again was discussing the NTP process
and the need to “pressure” the NTP to include Dr. John Bailey in its Executive Committee meeting,
where it would be decided whether to accept the recommendations for a listing of talc in the 10th
RoC. Note that, as discussed in more detail in paragraphs 94-96, NTP deferred the listing of talc
as part of the 10th RoC.


        91.     Industry influence on FDA actions also was evident in 2008. On May 8, 2008, the
PCPC attended a meeting with FDA to discuss the FDA response to the 2008 Citizen’s Petition
(PCPC0061912 through 91663). The meeting minutes state the meeting’s purpose: “The Council
requested the meeting solely to present scientific data to support the safety of talc and at the
request of the Talc Interested Party.” (PCPC0061912). A review of the minutes to the meeting
show that the PCPC and other industry representatives failed to provide FDA with accurate
description of their knowledge of cosmetic talc safety; examples would be their knowledge that
US samples of cosmetic talc were not asbestos-free (some asbestos had been detected), and the
issues behind NTP’s failure to list talc in its 10th Report on Carcinogens. An email dated
November 3, 2008, reveals Kathy Wille, Senior Director, Scientific and External Regulatory
Policy, Product Stewardship, from Johnson & Johnson, had another interaction with FDA later in
2008. The e-mail states: “had a side conversation with a key figure from the FDA cosmetic group
that is responsible for responding to the Citizen’s Petition.” The email further states: “He
indicated that the FDA would rule against the petition and would not require warning labels on
cosmetic products. But the FDA is looking for scientific support from industry that will help justify
their position. She suggested that there is a collective group working to have comments submitted
to the FDA.” (IMERYS 250983; IMERYS 281179). [emphasis added] In her 2021 deposition
testimony, and affidavit executed in 2018 (affidavit of August 24, 2018; DX-1097), 10 years after
this reported encounter, Kathy Willie denied that she had such a side conversation with FDA. On


62
  This company was a sister company to Luzenac in the US which was a predecessor to Imerys.
63
  At the meeting were PCPC employees including Dr. John Bailey, formerly head of the FDA’s Office of Cosmetics
and Color, and Dr. Linda Loretz, Dr. Kathy Wille, an employee of Johnson & Johnson, Dave Mallon an employee of
Unilever, and Craig Bernard a Shirpal Shirma, and two employees of Rio Tinto (Imerys) that joined by phone.

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July 21, 2009, the PCPC submitted comments on the Petitions to FDA (PCPC_MDL00015494; P-
342). A review of the cover letter for the comments reveals that Dr. John Bailey, the same Dr.
Bailey that was Acting Director of the Office of Cosmetics and Colors in 1995 and that responded
to the first Petition by the Cancer Prevention Coalition, signed the 2009 letter as an employee of
the PCPC. The letter was accompanied by a report prepared by Dr. Michael Huncharek and Dr.
Joshua Muscat, consultants that had been hired by the PCPC to prepare a response. The defendant’s
response to the Citizens Petition contained misleading and inaccurate information, including that
asbestos had been eliminated from talc which was an issue that was of concern to the FDA (see
deposition of Dr. Linda Loretz).


       92.     Other documents reveal that Dr. Huncharek and Dr. Muscat had been working as
consultants for Johnson & Johnson and Imerys for years (e.g., JNJ000377405; JNJ000375565;
JNJ000391641; deposition of Dr. Muscat dated September 25, 2018), providing the companies
and/or the PCPC with consulting services related to talc and cancer risk as part of the NTP process
in 2000 and 2005 and the IARC process in 2006 (see deposition testimony of Dr. Nicholson dated
July 26, 2018; deposition testimony of Dr. Linda Loretz, Ph.D. October 1, 2018; deposition
testimony of Dr. Muscat dated September 25, 2018, among others), as well as the talc Citizen
Petition response process. Another document shows that in May 2009, PCPC members, including
Johnson & Johnson and Imerys, met with FDA to discuss their comments before they were
submitted in July 2009 (PCPC0028174-28176; JNJ000092018), even though FDA denied the
Cancer Prevention Coalition the opportunity for a public hearing to discuss their scientific
evidence that the Petitioner had requested both in 1994 and in 2008. The failure of FDA to afford
the Petitioner a public hearing and request a more detailed examination of the Petitioner’s scientific
evidence to elicit a response to questions raised about talc safety in 1994 and in 2008 resulted in a
process wherein industry was the sole source of information.


       93.     The evidence reviewed shows that the FDA did not hold a public hearing which
would have allowed for more detailed input from scientists outside of industry. Moreover, as
discussed above in some detail, the FDA was not, and has not even today, provided with all
available evidence of the existence of the presence of toxic constituents such as asbestos in
cosmetic talcum powder products. As a result, it is my opinion that the conclusions reached by

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FDA in its 2014 response were not based on an accurate and complete understanding of the
composition of talcum powder products. In addition, evidence shows that the FDA was not fully
informed about the key role that certain industry consultants had played in generating some of the
scientific studies and review papers that industry has used to support their assertions regarding the
safety of talc. For example, the 2003 paper by Huncharek and colleagues (Huncharek et al. 2003.
Anticancer Res. 23:1955-1960) failed to acknowledge that industry had provided support for their
work, while later papers failed to acknowledge the full list of industry sponsors of their work (i.e.,
Huncharek et al. 2007. Eur. J. Cancer Prevent. 16:422-429; Muscat and Huncharek. 2008. Eur. J.
Cancer Prevent. 17:139-146; Huncharek and Muscat. 2011. Eur. J. Cancer Prevent. 20:501-507;
see deposition testimony of Dr. Nicholson dated July 26, 2018). A 2005 response written by Dr.
Muscat and Dr. Huncharek to critique the work of Dr. Cramer (Muscat and Huncharek, 2005) also
failed to disclose the financial relationship between his work and industry (JNJ000368327; see
depositions of Dr. Nicholson and Dr. Loretz). Related activities included the work of Huncharek
and Muscat with respect to critiques of Dr. Cramer’s work on the talc and ovarian cancer issue.
An e-mail dated 30 September 2008 from Dr. Muscat to employees of Johnson & Johnson
(JNJ000368327) reveals that Dr. Muscat clearly understood the importance of Dr. Cramer’s
positive study results concerning the association between genital talc use and ovarian cancer. The
e-mail also addressed the data from the Nurse’s Health Study (abbreviated as “NHS” in the e-
mails), a cohort study which was described as a major reason why IARC in 2006 failed to assign
a rating higher than “2B” to talc. Despite the evidence of an association seen in the Cramer study
Dr. Muscat chose to ignore the Cramer results and presented a one-sided presentation of the
scientific evidence to the FDA.


       94.     Prior to the CIR review of talc, there were significant events in the 1980’s and early
1990’s that triggered the need for a safety assessment of the products. The NTP had performed
cancer studies in mice and rats in the 1980’s that were published in 1993 (NTP, 1993; the report
was discussed in detail above). In addition, by 1993, several scientific and/or epidemiological
studies had appeared in the scientific literature linking perineal talcum powder product use with
ovarian cancer in women (e.g., Henderson et al. 1971; Cramer et al. 1982; Hartge et al. 1983;
Whittemore et al. 1988; Booth et al. 1989; Harlow and Weiss, 1989; Harlow et al. 1992; Chen et
al. 1992; Rosenblatt et al. 1992). As a result, a workshop was held in 1994 that was sponsored by

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industry and the FDA (PCPC_MDL00026142; PCPC_MDL00028481; PCPC_MDL00028665;
PCPC0072694; PCPC0075364; P-14). FDA’s opening remarks at the workshop indicated that the
FDA was wanting input on the “validity and significance of the existing knowledge regarding the
safety of cosmetic talc” (Carr, 1995). The workshop was run by a group known as the ISRTP, the
International Society for Regulatory Toxicology and Pharmacology. The ISRTP has been
described as “an association dominated by scientists who work for industry trade groups and
consulting firms” (Michaels, 2008; Michaels, 2020). Sponsors of the organization in the past have
included major tobacco companies, chemical companies, and drug manufacturing companies
(Axelson et al. 2003). The ISRTP also publishes a journal (Regulatory Pharmacology and
Toxicology) and as pointed out by Axelson and colleagues (2003) the articles published often failed
to list complete conflicts of interest disclosures. As a result, the ISTRP’s activities have been
questioned in terms of the level of industry influence that exists (Axelson et al. 2003).


       95.     The ISRTP talc workshop was held in 1994 (January 31 to February 1). The minutes
to the meeting are available for review as are the papers that were published after that meeting in
the ISRTP journal (1995; volume 21; pages 211-260). One day of the meeting was devoted to the
issues related to the NTP cancer studies with talc and the issue of mechanisms of lung
carcinogenesis (January 31, 1994), while the second day was devoted to the epidemiological data
that had accumulated with respect to talc exposure in women and ovarian cancer and the issue of
talc migration (February 1, 1994). Industry-sponsored scientists were among those attending and
making comments during the meeting (P-0017). My review of the minutes to the workshop
(PCPC0076689-76908; JNJ000008704-8864) as compared to the published summary of the
workshop (Carr, 1995) reveals important differences in the actual statements made by scientists at
the meeting and the published paper. The paper acknowledges that not all presentations were
published. The workshop attendees are listed by Dr. Carr (Carr, 1995) and included 109
participants. At least 67 were from industry or were consultants to industry. Other participants
were from government agencies (25 participants) and from academics or public interest groups
(17 participants). Key differences in the minutes versus the published summary of the meeting
included the fact that not all participants were present at the end of the meeting when the group
discussed the workshop findings. Contrary to the statements in the Carr publication regarding
“unanimous assessment” (Carr, 1995), the statement made on the second afternoon of the

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workshop was as follows: “It is not our intent, certainly not mine to strive for consensus, either as
a unanimous consensus or a partial consensus which I understand you have to have to use now in
describing a consensus…” (JNJ000008843). Questions were raised by scientists at the meeting on
the first day related to the fact that the animal data had limitations but that it still had relevance in
terms of raising questions about the ability of talc to cause lung injury that could lead to cancer.
On the second day, one speaker, Dr. Austin, indicated the epidemiological data provided some
evidence of an association between talc and ovarian cancer (JNJ000008727). Then, Dr. Brown,
another presenter, discussed the issue of talc migration to the ovaries and specifically stated “the
summary of my conclusions is that I believe it can” (JNJ000008734)). In contrast, the Carr
publication states: “Following a presentation by Dr. Brown (University of Wisconsin), the
discussion made it clear that available histologic and physiologic studies provide no basis to
conclude that talc can migrate to the ovaries from the perineal region” (page 215 of Carr, 1995).
Thus, based on the large amount of information that was not discussed at the ISRTP workshop but
was known to industry, it is my opinion that the Carr publication fails to provide an accurate and
complete description of the state of the science with respect to talc safety in 1994. Moreover, an
important outcome of this workshop was that the signal of talc and human cancer risk existed and
could not be ruled out based on discussion at the workshop.


        96.     Additional evidence which supports my opinions comes from documents
describing the industry response to the 1993 NTP publication of findings on talc and cancer in
rodents, wherein the NTP concluded that talc was carcinogenic in animals. PCPC along with
industry members re-activated the group known as the Talc Interested Party Task Force (e.g., P-
14; P-83; P-57; JNJ000016687 through 688). The Talc Interested Party Task Force was first
established in the 1970’s and reconvened in response to the publication of the paper by Dr. Cramer
(Cramer et al. 1982), where use of cosmetic talc had been linked with ovarian cancer (P-0845). At
this time, the group was led by Johnson & Johnson and the talc ingredient supplier Imerys.
Documents from that time show that the goal was to mount a defense strategy around talc and to
ensure that the products continued to be sold without regulation (e.g., P-57; P-122; P-86; P-87; P-
88; P-90; P-20; JNJ000016687 through 688). Yet, at least in the case of Johnson & Johnson, an
outside consultant that had worked with the company for years on talc issues (Dr. Wehner) had
suggested in 1994 that studies be performed to answer questions about talc safety, specifically with

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respect to the risk of ovarian cancer (P-0435). From my review of the depositions and documents,
there is evidence that industry had no interest in sponsoring any new research or did not want to
spend the money on such research (P-32, deposition of Dr. Linda Loretz). As previously mentioned
in paragraph 21 (above) it is the manufacturer’s duty to conduct whatever testing is necessary to
ensure the safety of their products. Evidence in this case shows that Defendants failed to perform
such testing, despite awareness of safety concerns with cosmetic talc.


           97.      In formulating my opinions, it was relevant to consider evidence surrounding the
activities by industry in the 2000’s when NTP was considering whether or not to classify and list
talc as a carcinogen as part of its Report on Carcinogens process. As of 1978, Section 301(b)(4) of
the Public Health Service Act, as amended, requires that the Secretary of the Department of Health
and Human Services (DHHS) publish an annual report on substance use and abuse. The Report on
Carcinogens (RoC) is a report that lists all substances that are known to be human carcinogens or
may reasonably be anticipated to be human carcinogens. As discussed on the NTP website 64, the
first RoC was published in 1980, and since that time, the process has evolved in terms of the way
that reviews are performed. In the early RoC process (up through the 7th RoC in 1994), there were
formal listing criteria and two categories (“known human carcinogen” and “reasonably
anticipated to be a human carcinogen”) that were determined based on evaluation of cancer
studies in humans and/or experimental animals. Starting with the 8th RoC process, the criteria for
listing were expanded to include consideration of all relevant information such as mechanistic
data. During the period that talc was reviewed as part of the 10th RoC in 2000, the review process
included two federal review groups providing initial input on listing recommendations, followed
by review by the NTP Board of Scientific Counselors Subcommittee that provided input on listings
in a public forum, giving additional opportunities for public and/or industry input. As a result, the
first two reviews undertaken were by government scientists and free from outside influence, while
the last step in 2000 involved public input and review by a Board that included members from
industry (as discussed in more detail below).


           98.      Deposition testimony and documents show that, in the context of my opinions that
industry undertook significant efforts to influence regulatory bodies and the science concerning

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     https://ntp.niehs.nih.gov/pubhealth/roc/history/index.html

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the safety assessment of talcum powder products, the Center for Regulatory Effectiveness (CRE)
played an important role. Based out of Washington, DC, the CRE is a “consulting firm”
(http://www.thecre.com/about.html; C&M-LUZ 00013326; IMERYS 226115). The CRE’s
primary purpose is to provide advice to companies and to intervene on regulatory issues that
threaten their business (IMERYS 226115). With respect to talcum powder products, documents
show there were two individuals from CRE that were involved: the company’s founder and owner,
James “Jim” Tozzi and William “Bill” G. Kelly, Jr. Imerys initially retained the CRE in 2000 to
assist with the 10th RoC process at NTP (IMERYS 100237) and the CRE’s consulting work with
Imerys continued for more than a decade. Yet, documents show that the CRE represented
themselves as being an “independent” organization and “not affiliated” with any particular
industry, company, or other entity. (IMERYS 100151 and MDL_KELLY00014222). Documents
also show that CRE efforts on behalf of Imerys led to sufficient confusion regarding the definition
of talc such that NTP’s Executive Committee reversed the scientists’ classification of talc as a
carcinogen (IMERYS 330351, IMERYS 303828, IMERYS 110806, IMERYS 209930). CRE
efforts on behalf of industry continued with their interaction with the CIR and the production of
the   2013    CIR    safety   assessment    of   talc   (IMERYS      226115;     MBS-CRE000031,
MDL_KELLY00017550, MDL_KELLY00014222, MBS-CRE000271).


       99.     There had been 15 RoC processes up to 2021, the 15th RoC being published in
December 2021. No additional RoC reports were publicly listed at the NTP website as of May
2024. Talc was considered as part of the 10th and 12th RoC processes. The 10th RoC meeting where
talc was discussed was held in 2000, while the 12th RoC meeting was held in 2005. The 10th RoC
deferred action to list talc as a carcinogen, citing a need for additional information; the 12 th RoC
also deferred action to list talc. It is important to note that the NTP RoC nominated talc for
consideration for listing in the 10th RoC based on a review of the available data by a body of
scientists without input from industry, and without any direct interaction with other industry
groups or representatives with a conflict of interest, consistent with the procedures set forth by
IARC for its cancer reviews (IARC, 2006). It is also important to note that a review of the minutes
of the 10th RoC indicates that even though the only public comments made to the panel were from
industry representatives, many of the reviewers supported listing non-asbestiform talc as
reasonably anticipated to be a human carcinogen (IMERYS 039060 through 085). During the 2000

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NTP review of talc for listing in the 10th RoC, it is my opinion that Imerys, the PCPC, and Johnson
& Johnson made efforts to influence the process and prevent talc from being listed as a carcinogen
(e.g., P-0255; P-0012; P-0013; P-0089; P-0317). Documents show that Imerys, with the full
knowledge of Johnson & Johnson and PCPC, hired the Center for Regulatory Effectiveness (CRE)
in 2000 to submit comments to influence the RoC process without disclosing that defendants
coordinated and were directly involved in both the strategy for and the drafting of those comments
(IMERYS024243; IMERYS-A_0024244; JNJ 000242897; JNJ 000404803; JNJ 000001699;
PCPC0072893; NTP Summary Minutes, Dec. 13-15, 2000). This effort to influence the process
continued into 2001 when the Executive Committee of NTP met and made the decision to defer
talc even though the scientists that had reviewed talc had overwhelmingly voted to list talc as a
carcinogen (e.g., IMERYS024367; IMERYS 303895-898; P-27; JNJ000013664; JNJ000404511-
512;     PCPC0066630-672;            IMERYS-A_0024411;              IMERYS303842;             IMERYS288570;
IMERYS239852; IMERYS239750; IMERYS239749; IMERYS026529; IMERYS024243;
JNJ000008350; JNJ000008344; JNJ000000636; JNJ000368187; JNJ000404425; NTP minutes
2000;      IMERYS303828;            IMERYS179104;             IMERYS208830;             IMERYS-A_0024244;
PCPC0035777; PCPC0066630). At least by 2002, evidence shows that Imerys was aware of the
consequences of listing talc as a carcinogen in terms of product liability issues (P-26; P-3).
Evidence shows that industry was aware that, the NTP was more vulnerable to such influence than
other bodies such as IARC (P-27). Additional documents provide evidence that efforts to influence
the NTP cancer listing process by industry continued in 2004-2005 when talc was scheduled to be
considered as part of the 12th RoC process (JNJ00003646-348; IMERYS288692;
IMERYS271234;            IMERYS035406;            JNJ000003436;          JNJ000003472;          JNJ000375565;
JNJ000369203; IMERYS287089; IMERYS324762; IMERYS 236653).


        100.     IARC has reviewed talc twice, and its conclusions were published first in 1987 and
again in 2010.65 In contrast to the CIR review process which involved a much more cursory review
of the science behind over 5000 cosmetic ingredients in the 40 plus years of its existence and only
12 were found to be unsafe for use in cosmetics, IARC was founded in 1965 and in that time has
published 122 volumes describing the cancer hazard posed by 1016 different compounds. Of those


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  IARC’s website indicates that IARC will be evaluating talc and carcinogenicity again in June of 2024
(https://monographs.iarc.who.int/news-events/meeting-136-talc-and-acrylonitrile-is-announced/).

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compounds reviewed by IARC, 120 were found to be “carcinogenic to humans”, 82 were found
to be “probably carcinogenic to humans”, 302 were found to be “possibly carcinogenic to
humans”, 501 were found to be “not classifiable as to its carcinogenicity to humans”, and one
compound was found to be “probably not carcinogenic to humans”66. IARC focuses solely on
the issue of cancer hazard and prioritizes its reviews based on compounds where evidence has
accumulated indicating there may be a cancer hazard.


           101.      In the first assessment of talc (IARC, 1987), the panel met in 1986 and concluded
that there was sufficient evidence for human carcinogenicity for talc containing asbestiform fibers
(asbestos and fibrous talc) but inadequate evidence for talc not containing asbestiform fibers. Talc
with asbestiform fibers was listed as Group 1 (known human carcinogen); talc without asbestiform
fibers was listed as Group 3 (not classifiable as to human carcinogenicity).                   The IARC
classification system used to define evidence of carcinogenicity was discussed by Johnson &
Johnson in a 2002 communication from Bill Ashton, an employee of Johnson & Johnson:
           “IARC classified crystalline silica as a potential human carcinogen in 1986. That same
           year they reviewed talc and concluded there was “inadequate evidence” to classify talc as
           a potential human carcinogen. That was not a “non-carcinogen classification”; it just
           means they did not have enough evidence to conclude that talc was a potential carcinogen.
           In 1986, they also concluded that “talc containing asbestiform fibres” was a known human
           carcinogen.” [emphasis added]
In 2006, IARC again considered the classification of talc as a carcinogen. The working group
considered a large body of data available up until 2006, which included a large group of human
epidemiological studies examining the risk of ovarian cancer with perineal talc use in women.
Although industry was aware that the IARC process was less political (P-27), evidence shows that,
consistent with my opinions regarding industry’s influence on the talc regulatory processes,
industry still initiated efforts to influence the science surrounding talc and cancer risk
(JNJ000003914-315; JNJ000004015-4019; JNJ000003969; JNJ000369087; JNJ 000003911; JNJ
000003969). These efforts included having Dr. Muscat, a consultant to industry (IMA-
NA0000571;             JNJ000369543;          deposition         of   Joseph   Muscat;   Muscat000001494;
Muscat000001204) attend as an observer and to attempt to influence reviewers with his comments.

66
     https://monographs.iarc.fr/agents-classified-by-the-iarc/

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Other documents provide additional information about the attempts by industry to influence the
IARC process in 2006 (e.g., P-0650; P-0204; P-0035; WG-IMA-NA0001554). It is notable that
the IARC panel, with less chance of outside influence being asserted, listed talc without
asbestiform fibers as a carcinogen (Group 2B; possibly carcinogenic to humans). Following the
IARC classification of talc, Imerys elected to add a cancer listing to its MSDS sheet for talc as a
possible human carcinogen. Johnson & Johnson has refused to do the same on its MSDS for
finished products (JNJ000390337-338; JNJ4T5_000004521-522). The failure of Johnson &
Johnson to warn consumers, and even workers that are involved in handling of their products,
about the cancer risk associated with use or exposure to talcum powder products is a public health
concern. In addition, when talc was listed as a possible human carcinogen by IARC in 2006,
documents show that industry continued to promote a message about talc safety by recruiting
scientists to publish articles that raised doubt about the link of perineal talc use and ovarian cancer
(e.g., P-78; P-92).


       102.    Returning now to consideration of the CIR process for talc in 2012-2013,
documents suggest that industry was intimately involved with the CIR process and its review of
talc safety. Important details related to the influence exerted by industry on the overall CIR process
as well as the talc review itself is found in the trial testimony of Dr. Alan Andersen (dated August
11, 2017). Dr. Andersen was in charge of the CIR process and was an employee of the PCPC. Dr.
Andersen was responsible for implementation of the talc CIR review process. His testimony and
the accompanying documents showed that at least two of the CIR expert panelists that he allowed
to participate had conflicts of interest that were not publicly disclosed, and that Mr. Kelly of the
CRE provided assistance to the CIR during its talc review. Some of the language in the final CIR
talc review documents was copied directly from comments made by the CRE. Additionally, Dr.
Andersen was not aware of the fact that the CRE had been hired by Imerys and the talc industry to
provide comments to CIR. Additionally, evidence shows that in submitting comments to the CIR,
Mr. Kelly of the CRE claimed that “The Center for Regulatory Effectiveness is not representing a
particular company or industry segment in filing these comments [,]” even though he was working
for Imerys at the time (IMERYS 062429). Then, before the review even began, he commented that
CRE had established a “strong relationship with the Cosmetic Ingredient Review.” (IMERYS
226115). Monice Fiume of the CIR staff told Mr. Kelly in 2011, before the review began, “that

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CIR would welcome any input from industry on the review at any time.” (IMERYS 065205).
Further evidence shows that CIR staff and not the expert panel itself, wrote the talc safety
assessment report, and then provided the expert panel with that review as well as comments on the
document that had only been made by industry or by consultants to industry (PCPC0004567;
IMERYS14817;       IMERYS118788;       IMERYS065205;        IMERYS315001;        IMERYS320614;
IMERYS281536; IMERYS283501; IMERYS322846; IMERYS298968).


       103.    It is my opinion as well that information contained in other industry documents,
reveal industry efforts to influence scientists and regulators making decisions about talc and its
human health risks, were not limited to interactions with the NTP, the FDA and the IARC panel
(JNJ000024397; JNJ000379382-384; IMERYS-A_0005090; JNJ000003405; JNJ000381275-276;
P-0021; P-0030; P-0031).


VIII. Talc’s Human Health Risks and Regulatory Concerns
       104.    A review of scientific literature and internal company documents from Imerys,
Johnson & Johnson, and PCPC shows that the defendants were aware of the human health hazards
associated with talc powder products for many decades. Given the presence of asbestos, fibrous
talc, nickel, chromium, and cobalt in the talc body powders manufactured by Imerys and Johnson
& Johnson, it is my opinion that a significant human health risk was identified as a hazard related
to talcum powder products use at least by the 1940’s. These risks included a risk of cancer with
exposure to constituents of talcum powder products, and even death with acute inhalation of large
amounts of the powder. The following chronology supports my opinion that there is adequate
evidence that talcum powder product use poses a hazard to human health.
   •   By 1940, the scientific literature contained studies showing that mineral dust exposure,
       including exposure to talc and asbestos, was associated with lung diseases that could be
       fatal, and that talc used to manufacture body powders contained both platy talc and fibrous
       components, including tremolite. Studies by Johnson & Johnson scientists themselves in
       the 1940’s had identified talc as a hazard to human health (Eberl et al. 1948).
   •   By 1950, the scientific literature contained studies showing that talc was associated with
       adverse tissue reactions in both humans and animals, that the fibrous component of talc
       was of concern, that exposure to talc in the cosmetic industry itself could produce lung

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       disease, that lung disease due to talc and asbestos was similar, that tremolite dust was an
       industrial hazard in terms of lung disease, and that even small doses of talc from surgical
       gloves was linked with adverse tissue reactions, even being described as “a serious menace
       in surgery” (Saxen and Tuovinen, 1947) and as posing a “grave danger” (Eberl et al. 1948).
   •   By 1952, Johnson & Johnson was aware of the adverse tissue reactions linked to talc
       powders, including the dangers of inhalation of talc (U.S. Patent 2,626,257), even filing a
       patent for a replacement for talc as a medical dusting powder.
   •   By 1954, the scientific literature included an adverse report of death in a 10-month old
       infant due to asphyxiation after aspiration of a large amount of baby powder. It should be
       noted that reports of such deaths and serious injuries in children continued to occur into
       the 1960’s and 1970’s. In 1966, the medical community was concerned about the risks of
       asphyxiation and urged that talcum powder be withdrawn: “In conclusion, it is strongly
       urged that talcum powder be removed from the environment of children and the traditional
       association of talcum powder and babies be abandoned. It has no medicinal value;
       wherever placed it serves as a foreign body; and at least three deaths and an unknown
       morbidity have resulted from this silicate powder.” Later in 1969, another physician
       recommended the following: “The widespread ignorance of the dangers of talc aspiration
       is not surprising, and it is my opinion that these dangers should be better publicized. The
       direct means of accomplishing this would be a warning statement on each container.”
       (Moss, 1969).
   •   By the mid 1950’s, the majority of scientists believed that asbestos could cause lung cancer,
       and likely other forms of cancer, in humans (Doll, 1955). Evidence for a link of asbestos
       exposure with lung disease, including lung cancer, was available by the 1930’s.
   •   By the 1950’s the scientific literature indicated that asbestos was present in talc, including
       milled powders (e.g., Dreessen and Dalla Valle, 1935; Millman, N. 1947; Hogue and
       Mallette, 1949; Schepers and Durkan, 1955). Evidence shows that even today, talcum
       powder products, including products manufactured and sold by Imerys and Johnson &
       Johnson included asbestos, fibrous talc, nickel, chromium and cobalt.
   •   In 1960, the scientific literature included a paper describing the link of ovarian cancer with
       asbestos exposure (Keal, 1960). Given that it was known that asbestos was present in talc
       powder, this paper provided notice that the talcum powder products sold by Johnson &

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        Johnson posed a risk for ovarian cancer as well as lung cancer. Further support for the
        association of ovarian cancer with exposure to asbestos also was provided in the 1960’s
        (Graham and Graham, 1967).


        105.     Based on the knowledge available by the 1950’s, it is my opinion that talcum
powder products manufactured and sold by Imerys and Johnson & Johnson should have warned
consumers about the toxic constituents, such as asbestos, fibrous talc, cobalt, nickel, and
chromium, in their products and the effects that could be produced by exposure to talc dusts. It is
noted that in the 1953 Johnson & Johnson patent, U.S. Patent No. 2,626,257 (filed May 21, 1952),
statements warning of adverse human health effects are provided including the following
statement: “Even persons who were not subjected to internal application of talcum have suffered
severely from it. Talcum in the respiratory tract is dangerous and has caused severe breathing
difficulties to infants, hospital patients and nurses when used carelessly and/or permitted to
contaminate the air in large amounts.” Although these statements were made in the patent
documents, which may have been seen by lawyers and others involved in intellectual property
evaluations, no warnings related to any adverse effect of talcum powder products was made
available to the scientific and medical community, regulators, and consumers through statements
on packaging of Johnson & Johnson talcum powder products until the 1980’s (JNJ000450199-
205). Even in 2021, despite the large body of data that has accumulated since the 1950’s linking
talcum body powder exposure with a risk of cancer, Johnson & Johnson talcum powder products
failed to warn consumers about the risks of cancer linked to talc exposure.67 It should be noted as
well that with respect solely to the presence of toxic constituents in talc such as asbestos, fibrous
talc, nickel, chromium, and cobalt, and as discussed above in paragraph 19, Johnson & Johnson’s
failure to list those talc constituents on its labeling would be consistent with the FDA’s definition
of a misbranded product as well as an adulterated product.




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   Although Johnson & Johnson recently has indicated that their talc-based body powders will no longer be sold
globally (see the Press Release by Johnson & Johnson dated August 11, 2022), the talc-based powder products already
released to the market and sold were not recalled by the company, As a result, any bottles of Johnson & Johnson’s
Baby Powder or Shower-to-Shower that remained in the market or were in the homes of consumers in 2023 would
not include a warning for consumers about the risk of cancer that has been associated with use of their product.

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       106.    The issue of safety concerns related to talcum powder products and the failure of
companies to warn consumers about serious adverse health effects is of particular importance in
the case of a cosmetic product, such as Johnson’s Baby Powder, Shower-To-Shower and Shimmer.
This is due to the regulatory process in place in the United States related to cosmetics. Unlike the
regulation of drugs, devices, and food additives, the responsibility for safety assessment of
cosmetic ingredients and products is the responsibility of the cosmetic ingredient and product
manufacturers, not the FDA. Cosmetics do not undergo any premarket approval process at FDA.
As a result, it is the cosmetic manufacturer, and/or the cosmetic ingredient manufacturer, that is
responsible for assuring that the products sold to the consumers, and the ingredients in those
products, are safe for use (Federal Register 40(42) March 3, 1975). Moreover, there is no benefit
assessment made for cosmetic products. In 1966, Johnson & Johnson was aware that their products
were considered to have no health benefit (JNJNL61_000039194). This is consistent with the
cosmetic regulatory paradigm that is only based on weighing risks of ingredients and products, not
benefits.


       107.    Manufacturers of cosmetic ingredients and finished cosmetic products have a
responsibility to continually monitor the scientific information that develops over time to
determine if the risks associated with an ingredient, and/or a product, changes due to things such
as previously unknown information, development of additional supporting information that may
alter the existing safety profile of a product, and even identification of unanticipated safety
concerns that can arise with real world use of products. In other words, the responsibility of the
manufacturer does not end once an initial safety determination has been made.


       108.    As already discussed, the US regulation related to labeling of cosmetics and
warnings is as follows (21 CFR 740.1(a)): “The label of a cosmetic product shall bear a warning
statement whenever necessary or appropriate to prevent a health hazard that may be associated
with the product.” This statement means that the standard that must be met when deciding whether
to add a warning to the label of a cosmetic warning is whether there is a possibility of a health
hazard and that it could be prevented. In the current case, that “possibility” is of cancer occurring
in humans using the body powders for genital dusting. The prevention issue would be related to
warning consumers not to use the powders for genital dusting. As discussed in detail above, based

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on the available scientific data as well as my education, training, and experience, it is my opinion
to a reasonable degree of scientific certainty that Imerys and Johnson & Johnson should have
initiated actions to add a warning to the labeling of talcum powder products at least by the 1950’s
that described the adverse health effects linked to talc body powder exposure. Specifically, a
warning about serious tissue toxicity and the increased risk of ovarian cancer with use of talcum
powder products should have been included on the product labeling. It also is important to note
that my earliest report on the safety and regulatory concerns associated with Johnson & Johnson
body powder products (dated October 5, 2016) focused on the addition of a specific ovarian cancer
warning with genital talc use and discussed the need for a warning by at least 1982. Consistent
with these opinions, my reports dated August 29, 2018, November 16, 2018, and June 30, 2021,
as well as my deposition and trial testimony in 2018 and 2019, addressed questions raised
regarding the need for warnings on Johnson & Johnson talcum body powder products in the period
prior to 1982. The basis for my warning opinions is derived from additional review of many
internal company documents that pre-dated and post-dated 1982 in conjunction with my review of
additional publicly available studies and documents that were dated from the early 1900’s through
the 1970’s.


       109.    In order to add warnings to a product label in the United States, the company must
be aware of the risk, which is why I have outlined what was known and when it was known
(discussed above in detail). A review of internal company documents, documents from Johnson &
Johnson, Imerys, and the PCPC shows that talc ingredient manufacturers and the manufacturers of
talcum powder products were following the published literature and were also intimately involved
in the safety assessments of talc over the years (e.g., IMERYS 052752 through 754; P-81; Shripal
Sharma deposition dated 9/26/2012; John Hopkins depositions dated 10/26/2012, 8/16/2018 and
8/17/2018; and depositions of Dr. Linda Loretz). Thus, the defendants were at least aware for
decades that ovarian cancer may be associated with the use of talcum powder products.


       110.    It is important to note that Johnson & Johnson has undertaken efforts to improve
the safety of its products used on babies, which would include its talcum powder products. In 2012,
Johnson & Johnson made the decision to remove certain harmful chemicals from its baby products
including the IARC Group 2B carcinogen triclosan (see e.g., P-38). This action conflicts with the

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company’s position on talc, also an IARC 2B carcinogen, where Johnson & Johnson did not
include a warning to consumers about the risks associated with genital talc use. Then, in 2018,
Johnson and Johnson initiated actions to overhaul its baby product line to be more “natural,” by
removing artificial ingredients and becoming more transparent in terms of the actual ingredients
in its products, including Johnson’s Baby Powder. These actions did not lead to removal of talc,
or other constituents of its body powder, from its products and their products still failed to provide
a warning to consumers about the cancer risk associated with talcum powder products. Instead, by
using the word “natural” the companies are now suggesting an improved safety profile despite no
substantive changes in the risks linked with the product. It should be noted that at this same time
in 2018, other manufacturers of talc-based body powders had already added warnings to the labels
of their talc body powder products related to the risk of cancer, even though Johnson & Johnson
failed to take such action (see Appendix E). In May 2020, Johnson & Johnson stopped distributing
its talcum body powder products in the United States and Canada; they did not recall the product
from store shelves (see Press Release by Johnson & Johnson dated May 19, 2020)68. Existing
product continued to be sold. Finally, in August of 2022, Johnson & Johnson announced they
would be transitioning to cornstarch globally for all their body powders (see Press Release by
Johnson & Johnson dated August 11, 2022).69


        111.    Another action that Johnson & Johnson had taken early on was developing an
alternative line of body powders based on the use of cornstarch instead of talc. Johnson & Johnson
investigated an alternative body powder product based on cornstarch instead of talc as early as the
1960’s (JNJ000265536-538; see Cornstarch Fact Book JNJTALC000864509). Johnson & Johnson
filed a patent in 1952 that issued in 1953 for medical dusting powders that were cornstarch-based
powders and in that patent identified the significant toxicity associated with talc powders (U.S.
Patent 2,626, 257). The text of the patent describes the toxicity of talc in tissue as a reason for
finding a replacement. On February 21, 1964, a Johnson & Johnson Memo regarding cornstarch


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  https://www.jnj.com/our-company/johnson-johnson-consumer-health-announces-discontinuation-of-talc-based-
johnsons-baby-powder-in-u-s-and-canada

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  https://www.jnj.com/johnson-johnson-consumer-health-to-transition-global-baby-powder-portfolio-to-
cornstarch#:~:text=August%2011%2C%202022%20%E2%80%93%20%22As,be%20discontinued%20globally%20
in%202023

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development states, “…it replaced talc because it was found to be absorbed safely in the vagina
whereas, of course, talc was not.” [emphasis added] (JNJ000265536-265538) Throughout the
1960’s and 1970’s, Johnson & Johnson continued to develop cornstarch as a body powder product
(e.g.,   JNJ000265482-483;      JNJ000253830-832;      JNJ000245901-903;       JNJ000245744-748;
JNJ000244094-095;       JNJ000526750;       JNJ000404860;       JNJ000279507;      JNJ000245762;
JNJ000011150; JNJ000026987; JNJ000245678; JNJTALC000866104; JNJ00006987-7007).
Important in this process was the fact that the company performed test marketing of a cornstarch
Johnson’s Baby Powder product in 1977 and found that the cornstarch product “has been accepted
by the consumer as a formula replacement” (JNJ000245679). In 1978, the FDA’s OTC
Monograph for skin protectant products (i.e., body powders) listed cornstarch as Generally
Recognized as Safe and Effective (GRASE) for use in OTC products (JNJ000470844-846;
JNJ000348778) and even noted that cornstarch was recognized as being superior to talc in terms
of safety and efficacy (JNJ000470846; JNJ000019415). Therefore, at least by the 1970’s, Johnson
& Johnson had identified a replacement ingredient for its talcum powder products that they knew
was safe and provided the desired cosmetic properties. With respect to the issue of talc as compared
to cornstarch powders and ovarian cancer risk, one study has reported that cornstarch is “not
predicted to be a risk factor for ovarian cancer” (Whysner and Mohan, 2000). With respect to
alternative talcum powder products, Imerys has begun work to produce a synthetic talc powder
product (Claverie et al. 2018; Imerys 2017-2018 Annual Report); such synthetic talc powder
should be able to be produced such that it would be free of constituents such as fibrous talc,
asbestos, and heavy metals. These actions by Johnson & Johnson as early as the 1950’s indicate
that the company was aware that there was a safer alternative product, i.e., cornstarch-based body
powders, that was also acceptable to their consumers. Yet, it was not until 2022 that Johnson &
Johnson took action to replace talc-based body powders entirely with the cornstarch-based
products.


         112.   With respect to Imerys specifically and this issue of warning consumers about risks
linked to products, in another internal document (IMERYS 284935 through 937), the importance
of the public safety issues surrounding talc, and women’s health in particular, were acknowledged
by industry. Documents support my opinion that industry was aware of the need to warn consumers
of the cancer risk issue in 2006 (P-0033). Yet, no actions were taken to inform the consumer about

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the risks associated with talc products. Evidence shows that Imerys began drafting a proposal to
FDA wherein industry suggests voluntarily phasing out the production and sale of all cosmetic talc
products used for consumer dusting powders that could reasonably be anticipated to be used by
women for perineal applications and also to assist the FDA in developing a warning label for body
powders containing talc that would warn of the danger of genital dusting (IMERYS 284935
through 937; P-341). Importantly, there is no warning statement on Johnson & Johnson talcum
powder products that refers to the risk of cancer of any type, including ovarian cancer with genital
dusting.


       113.    Johnson & Johnson has never placed a warning on its talcum powder products in
order to inform consumers about the serious health risks associated with use of their products. The
labeling is, and was, inadequate to inform consumers about the risks associated with use of its
products, including the risk of cancer. Given that MSDS sheets are not supplied to consumers of
talcum powder products, Imerys also failed to ensure that consumers were warned of the risk of
cancer associated with genital talc use (IMERYS328096). Placing a warning on the talcum powder
product labels would have been an important step towards informing consumers of the hazard
associated with repeated use of the products for genital dusting. Given that products were not
recalled from consumers, the product may still be in homes, or on the shelves in the United States.
Moreover, the labeling for such talc-based powder products fails to warn consumers of the risk of
cancer with genital application.


       114.    In a survey of the commercial market in 2018, I identified several talcum body
powder products that have included a consumer warning about an increased risk of cancer.
Attached in Appendix E to this report is a series of photographs of bottles of body powder that
contained such warnings. For example, some of these product labels state: “Frequent application
of talcum powder in the female genital area may increase the risk of ovarian cancer”. This is an
example of a warning being placed on talc-based body powder products that was consistent with
21 CFR 740.1(a) in the United States.




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       115.   Evidence from other internal corporate documents support my opinions that the
defendants were aware that talcum powder products may be associated with a health hazard, which
would require a warning on defendants’ products. Examples include:
          •   According to a February 1964 memorandum (P-343), a meeting was held among
              Johnson & Johnson scientists wherein the issue of talc safety is raised in the context
              of a discussion of the use of cornstarch as an alternative powder product. The memo
              stated: “The largest commercial uses of Dry Flo [a cornstarch powder under
              development as a talc replacement at J&J] are in Vitamin A manufacture (5% in
              finished product) and as a condom lubricant where it replaced talc because it was
              found to be absorbed safely in the vagina whereas, of course, talc was not.”
              [emphasis added]
          •   In 1966, in response to a publication in the scientific literature (Hughes and Kalmer,
              1966), Johnson & Johnson’s Dr. Hildick-Smith received a memorandum
              (JNJNL61_000039194) concerning Johnson’s Baby Powder’s hazards. Other
              evidence has shown that Johnson & Johnson routinely followed the published
              literature related to talc. In the memorandum, the author states “Baby Powder
              represents the cornerstone of our baby product franchise. In addition, we have a
              large investment in a talc mine. I am concerned over the conclusion drawn in the
              article…” Importantly, the issue of developing mechanisms to reduce the hazard is
              raised.
          •   In a July 9, 1971, memorandum (JNJ000284105-106), Dr. Hildick-Smith
              memorialized the discussion he had with Dr. Selikoff, an academic scientist who
              had raised questions with industry about the presence of asbestos in talc. Dr.
              Selikoff was proposing that a series of studies be carried out, studies that he was
              willing to perform, to answer critical questions about talc body powder safety.
          •   In a 1971 internal Johnson & Johnson memorandum (authored by Dr. Hildick-
              Smith; P-1186), the issue of talc migration from the vagina to the ovaries is
              discussed. The memorandum describes data that had been collected in women
              undergoing a hysterectomy where talc placed into the vagina was found to migrate
              to the ovaries; these data indicate that talc can move inside the body when particles
              gain entry via the vagina.

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         •   In a March 27, 1972, memorandum (JNJ000468919), Dr. Hildick-Smith confirms
             that Tenovus Institute would be embarking on a research program to study talc and
             its relationship to cancer of the ovaries.
         •   In April of 1972, the National Institute of Occupational Health and Safety (NIOSH)
             reported that samples of Johnson & Johnson Baby Powder contained significant
             amounts of fibers (JNJ000260700). The fibers are not specified as being fibrous
             talc or asbestos. At this point in time, fiber exposure generally was known to pose
             a risk to human health.
         •   In a 1973 Johnson & Johnson document (P-1166), key employees discussed the
             fact that fibrous talc was present in their baby powder as well as the fact that the
             company could not rely on a “clean mine” approach as a “a protective device for
             Baby Powder in the current Asbestos or Asbestos-form controversy.” Defendants
             were aware that both the talc used to make body powder products and the talc
             powder products that they produced had fibers in them that were asbestiform in
             nature and even referred to these as fibrous talc. Also discussed in this document
             was the fact that one answer to the concerns over the presence of fibers in talc
             powder products was to replace the talc with cornstarch because “by its very
             nature” it “does not contain fibers” and “it is assimilated by the body”.
         •   A January 1974 memorandum (P-660) written by Johnson & Johnson captures the
             contents of a meeting held on January 16, 1974, with the Commissioner of the FDA
             regarding data on asbestos in talc that had been brought to the FDA’s attention in
             the early 1970’s. In the document Defendants stated: “If the results of any scientific
             studies show any question of safety of talc, Johnson & Johnson will not hesitate to
             take it off the market.” Despite Defendants suggested commitment in the 1970’s
             to actively monitor talc safety issues the company took no action to inform
             consumers of the potential safety concerns linked to talc body powder.
         •   A December 3, 1975, Johnson & Johnson memorandum (P-55) is titled “talc in the
             ovaries.” Hand-written review notes added by Bruce Semple of Johnson & Johnson
             raise the question of the company now being “on notice re: the talc/ovary
             problem.”



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         •   In a 1986 Johnson & Johnson “Technological Forecast” document (P-9), the
             company admits that there are continuing health concerns with talc and the safety
             of cosmetic powders, and that the powders have no health benefit.
         •   A Johnson & Johnson document dated August 5, 1992 (P-10) described declining
             sales of Baby Powder, including talcum powder products, and the company’s desire
             to grow the powder franchise by targeting minority populations of women; this is a
             concern given that the same document acknowledges the link of the products with
             cancer.
         •   In a document from 1997 written by Johnson & Johnson’s own toxicology
             consultant, Dr. Alfred Wehner, Defendants were informed about false public
             statements being made by the PCPC regarding talc safety (P-20); yet, Johnson &
             Johnson did nothing to correct the false impression left by the PCPC’s statements.
         •   In a 1997 document, Johnson & Johnson downplayed the health risks of talc when
             it responded to media questions about its products (P-115); failing to acknowledge
             the role that industry played in the 1994 evaluation by FDA and the fact that reliable
             scientific evidence had raised a signal for cancer risk.
         •   In a 2000 document from Imerys files, results from a marketing survey discussed
             that “the general public is not aware of any health issues regarding talc” (P-24).
         •   In a 2000 internal Imerys e-mail, Richard Zazenski, a key Luzenac employee that
             was involved in responding to the talc safety concerns agrees with the NTP
             reviewers that the epidemiology studies are concerning, and the data is not
             dismissible. The e-mail also suggested that he may even agree with adding warning
             labels (IMERYS 240341).
         •   A 2000 memorandum prepared by Burson-Marsteller for Johnson & Johnson
             announced the intent to only use cornstarch beginning December 1, 2000, and
             discontinue the use of talc in all consumer products (JNJ000404424 and
             JNJ000404425). Despite their marketing piece, Johnson & Johnson continued to
             use talc in their consumer body powder products for more than two decades (up
             until 2022).
         •   In a 2001 presentation by Steve Jarvis of Imerys, the adverse human health effects
             of talc are acknowledged. He states that “there are some health issues with talc”

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             based on finding for 20 years a “persistent statistical link between the hygienic use
             of talc and ovarian cancer” (IMERYS 178944).
         •   In a January 2, 2001 e-mail (P-317) from Rich Zazenski to Eric Turner (both
             employees of Luzenac, now known as Imerys), the two men discussed the NTP’s
             2000 RoC process and how the industry “dodged a bullet in December based
             entirely on the confusion over the definition issue”, where the definition issue
             referred to the purity of talc that would have been used by women involved in the
             older epidemiology studies where asbestos was more likely to have been found in
             cosmetic talc products. The discussion went on to describe how this issue may be
             addressed by NTP such that cosmetic grade talc would be listed in the future as
             having limited evidence from human studies, a standard that would likely lead to
             a NTP listing of talc in the RoC. Thus, Defendants were aware of the human
             health hazards that had been linked to talc exposure through use of talc body
             powders.
         •   In a February 26, 2002, document (P-26), Mr. Zazenski described an outcome if
             talc without asbestiform fibers were to be listed as a carcinogen by NTP. The
             document addresses the issues surrounding the need to warn consumers about the
             cancer issue.
         •   In a series of e-mails in January 2005 (JNJ000390337-339), Johnson & Johnson
             employees discussed the fact that talc body powder product Material Safety Data
             Sheets (MSDSs) should include a listing for talc as a component(s) that “have
             been defined as a cancer-suspect agent by worldwide reputable agency”. Yet, in
             the same e-mail chain the response from another Johnson & Johnson employee
             was: “Do NOT send out any MSDS with this statement on
             it!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!” [the large number of exclamation points is in the
             document itself at JNJ000390337]
         •   In 2006, Imerys changed their talc Material Safety Data Sheet (MSDS) to add that
             IARC had listed talc body powders as “possibly” carcinogenic to humans
             (IMERYS 188701-705) yet consumers were not provided the same information on
             product labeling.



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           •   In a 2008 email Todd True, former Global Creative Director for Johnson &
               Johnson, Mr. True said: “The reality that talc is unsafe for use on/around babies
               is disturbing. I don’t mind selling talc, I just don’t think we can continue to call it
               Baby Powder and keep it in the baby aisle.” Fred Koberna, another Johnson &
               Johnson employee, responds, “My understanding is that we introduced the
               cornstarch variant as an alternative to talc for use on babies. Due to the talc issue
               and some doctors recommending for moms not use powder on their babies, we
               don’t promote powder to moms.” Mr. True responded, “I am on a bit of a mission
               to strongly consider removing talc from the baby aisle.” (JNJ000457161)
               [emphasis added]
           •   In a 2009 memo, Imerys criticized Johnson & Johnson for preferring to purchase
               talc based on cost rather than quality (P-560)
           •   In 2010, Johnson & Johnson made media recommendations for advertising its talc
               body powder products (P-374). In the document, Defendant discussed a key
               strategy and tactic to be “target overweight women living in hot climates during
               key summery season”. This recommendation was made despite evidence that the
               cosmetic warning standard for a possible human health hazard had been met for
               talcum powder.
           •   In two documents related to Johnson & Johnson’s pharmacovigilance assessments
               in 2012 through 2014 (P-882 and P-883), employees had determined there was a
               causal connection between talc body powder use and certain cases of ovarian cancer
               reported to the company, but the decision was made to remove the language about
               causality from the records for those cases.


       116.    Documents in company files also reveal that in November 1994, Johnson &
Johnson received a letter from Dr. Samuel Epstein, chairman of the group known as the Cancer
Prevention Coalition (P-18), notifying the CEO of Johnson & Johnson of the filing of the Citizens’
Petition. In that letter, Dr. Epstein requested that talc products be withdrawn from the market due
to the concern with human cancer, or that, at least, a label warning should be required for
consumers regarding the concerns of ovarian cancer with talc use. Fifteen years later, in 2009, the
PCPC filed comments on behalf of industry to this 1994 Citizen’s Petition; the same group filed a

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second Citizen’s Petition in 2008 because of developing science in the area and the fact that FDA
had failed to respond to the original petition filed in 1994. Although industry disagreed with Dr.
Epstein’s position, it agreed that reasonable scientists looking at the data could disagree with
industry, that this disagreement was one that was expressed by responsible scientists over decades,
and that defendants could voluntarily change the label without being required to do so by the FDA.
Yet, Johnson & Johnson did not warn about the risk of cancer following receipt of their letter in
1994. Given the expertise of Dr. Epstein and the fact that he was pointing to reliable scientific
information to support his concerns, Johnson & Johnson had a duty to inform consumers of the
potential risks associated with talc use, particularly in women using body powders for genital
application.


        117.     Other industry actions related to talc and the safe use of talc powders in humans
that inform my opinions and warrant discussion include the removal of talc powder as a lubricant
for condoms and for surgical gloves. With respect to use of talc powder on condoms,
manufacturers decided in 1996 to no longer use talc on condoms (IMERYS-A_0011817; 16
January 1996 article in Asbury Park Press; P-0019). The decision was driven in part by the
opinions expressed by scientists in the published literature concerning the health hazards
associated with talc (Kang et al. 1992; Kasper and Chandler, 1995). Talc industry members such
as Johnson & Johnson, Imerys and the PCPC were aware of these actions (PCPC_MDL00062175;
PCPC0075758). With respect to use of talc powders on surgical gloves, the risks to human health
had been recognized in the 1950’s (discussed above). In 2016, FDA acted to formally ban use of
powders, including talc, on surgical gloves (Federal Register December 16, 2016).70


        118.     Documents show that, instead of providing consumers with warnings and safety
information regarding use of talcum powder products, industry performed marketing research
(e.g., PCPC0077761-77926; P-24). From the results of the market research, industry knew that
consumers were unaware of the safety concerns associated with use of talc-based body powders
in the genital area. Importantly, during the process of collecting the consumer data, consumers


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  It is important to realize that the group at FDA that banned the use in 2016 was the FDA’s Center for Devices and
Radiological Health (CDRH) which had very different regulatory authority at the time in 2016
(https://www.govinfo.gov/content/pkg/FR-1998-02-02/pdf/98-2498.pdf) as compared to the Office of Cosmetics
within the FDA’s Center for Food Safety and Nutrition (CFSAN).

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participating were told that the information on the link of talc use with cancer was “hypothetical”,
even though industry was aware of a wide variety of scientific data where well-respected scientists
had concluded that talc posed a cancer hazard to humans. Evidence shows industry also marketed
talcum body powders by targeting populations with a known propensity to use talc body powders
in the genital area (P-10; P-0374; P-771).


       119.    Documents show that Defendants recognized the health hazard of talcum powder
products and the potential consequences of failing to inform the scientific and medical community,
regulators, and consumers of those hazards (P-26; P-27; P-66). They even developed a document
discussing questioning around the safety issue. The document shows that industry understood that
data existed supporting the safety concerns.


IX.    Conclusions
       120.    In conclusion, based on my training and experience in pharmacology, toxicology,
pharmacokinetics, human health risk assessment, and the regulation of cosmetic products in the
United States, it is my opinion to a reasonable degree of scientific certainty that the weight-of-the-
evidence indicates that genital exposure to talcum powder products increases the risk of ovarian
cancer in women. This conclusion is supported by data that includes, but is not limited to the
following: (1) the known toxic effects of talc and the other components of talcum powder products;
(2) studies that have identified biologically plausible mechanisms for cancer in humans; (3) the
likelihood that talc particles can reach the ovaries; (4) the existence of a dose-response relationship
for toxicity including the risk of cancer; and (5) the large human database that includes studies
conducted over a period of 40 years showing a consistent signal for ovarian cancer in women
exposed to talcum powder products.


       121.    It is also my opinion to a reasonable degree of scientific certainty that the use of
talc in cosmetic products does not meet the CIR standard of safety. Given the presence of asbestos,
fibrous talc, cobalt, chromium, and nickel, in the talc body powders manufactured by Imerys and
Johnson & Johnson, a significant biologically plausible human health risk was identified as a
hazard related to talc body powder use at least by the 1940’s. These risks included a risk of cancer
with exposure to constituents of talc body powders, and even death with acute inhalation of large

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amounts of the powder. Based on the knowledge available by the 1950’s, talc body powders
manufactured and sold by Imerys and Johnson & Johnson should have warned consumers about
the toxic constituents, such as asbestos, fibrous talc, nickel, chromium and cobalt and fragrance,
in their products and the effects that could be produced by exposure to talc dusts. There was
evidence from at least the 1960’s of the risk of ovarian cancer in women exposed to components
of talc body powders, evidence that has only gained strength over the last six decades. The CIR
standard states that there is “no evidence” that demonstrates grounds to suspect a hazard to the
public under conditions of use. Failure to meet the CIR standard for safety meant that Johnson &
Johnson failed to properly substantiate and ensure the safety of their cosmetic body powder
products. Given that Johnson & Johnson was aware that cornstarch-based body powder products
represented a safer alternative, their failure to replace talc with cornstarch over the years that they
marketed talc-based body powders put consumer health at risk.


       122.    Based upon my review of the scientific evidence, it also is my opinion within a
reasonable degree of scientific certainty that talc-based cosmetic products, including products used
by women for genital dusting, should have been labeled to warn of the risk of ovarian cancer with
such use. This specific ovarian cancer risk was evident by the 1960’s given the presence of asbestos
in talc body powders. This opinion is based on the FDA regulations that state that “the label of a
cosmetic product shall bear a warning statement whenever necessary or appropriate to prevent a
health hazard that may be associated with the product” (21 CFR 740.1(a)). It is important to note
that cause and effect do not have to be proven for such a warning to be put into place. Given that
Defendants have never placed an adequate warning onto its containers of talcum powder products,
the failure to provide consumers with such information puts public health at risk.


       123.    In addition to failing to warn consumers about the serious health risks that had been
linked to genital use of talc, where evidence had been accumulating for decades, the presence of
carcinogenic constituents in talc such as asbestos, fibrous talc, nickel, chromium, and cobalt meant
that Johnson & Johnson’s failure to list those talc constituents on its labeling was consistent with
the FDA’s definition of a misbranded product, and also consistent with the FDA’s definition of an
adulterated product.



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       124.    Finally, it is my opinion to a reasonable degree of scientific certainty that rather
than perform studies to address talc safety concerns that arose over the years, or provide consumers
with complete and timely safety information about the human health risks of talc when it was used
for genital dusting, industry worked together with the PCPC to influence the scientific and
regulatory processes related to cosmetic talcum powder products such that the scientific and
medical communities, as well as consumers, were not provided with important safety information
about use of the products.


       125.    I hereby certify that this report is a complete and accurate statement of all my
opinions, and the basis and reasons for them, to which I will testify under oath.


X.     Compensation
       126.    My compensation for litigation work, for both defense attorneys and plaintiff
attorneys, is at the rate of $300.00 per hour.




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                                APPENDIX A
                               Curriculum Vita




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                             CURRICULUM VITAE
                           Laura M. Plunkett, Ph.D., D.A.B.T



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                                  Houston, TX 77077


    EDUCATION

    1984           Ph.D.          Pharmacology           University of Georgia

    1980           B.S.           Zoology                University of Georgia


    PROFESSIONAL EXPERIENCE

    Registered Patent Agent        Licata & Tyrrell, P.C., Marlton, N.J., 1999 – present
            Assists clients with obtaining patent protection, specializing in products used in
    medical applications (drugs, devices, dietary supplements). Assists clients with
    developing regulatory strategies for commercialization of their inventions. Provides
    regulatory support for companies engaged in manufacturing and marketing of products
    regulated by the U.S. Food and Drug Administration, the U.S. Environmental Protection
    Agency and other regulatory bodies in the U.S. and worldwide.

    Partner.       BioPolicy Solutions LLC, June 2020 – present
            Consultant to a variety of clients in areas of pharmacology, toxicology, risk
    assessment and regulatory strategy. Focus on products regulated by the U.S. Food and
    Drug Administration. Provides litigation support services as both consulting expert and
    testifying expert.

    President. Integrative Biostrategies (IB) LLC, 2001- May 2020
            Consultant to a variety of clients in areas of pharmacology, toxicology, risk
    assessment and regulatory strategy. Focus on products regulated by the U.S. Food and
    Drug Administration. Provides litigation support services as both consulting expert and
    testifying expert.

    Owner. Plunkett & Associates, Houston, Texas, 1997 – 2001
           Consultant to a variety of clients in areas of pharmacology, toxicology, risk
    assessment and regulatory strategy. Focus on products regulated by the U.S. Food and


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    Drug Administration. Provided litigation support services as both consulting expert and
    testifying expert.

    Manager. ENVIRON Corporation, Houston, Texas, 1992 – 1997
            Consultant to a variety of clients in areas of pharmacology, toxicology, risk
    assessment and regulatory strategy. Focus on products regulated by the U.S. Food and
    Drug Administration. Provided litigation support services as both consulting expert and
    testifying expert.

    Manager. ENVIRON Corporation, Arlington, Virginia, 1989 – 1992
           Consultant to a variety of clients in areas of pharmacology, toxicology, risk
    assessment and regulatory strategy. Focus on products regulated by the U.S. Food and
    Drug administration.

    Assistant Professor. University of Arkansas for Medical Sciences, Department of
    Pharmacology and Toxicology, 1986 – 1989
           Taught medical and graduate student courses in pharmacology (lecture and
    laboratory), neurosciences, cardiovascular pharmacology, and neuropharmacology.
    Performed basic research in area of autonomic control of cardiovascular function and
    neurochemical systems involved in autonomic function. Recipient of extramural
    funding from the Arkansas Heart Association (principal investigator).

    Postdoctoral fellow. National Institute of General Medical Sciences, Pharmacology
    Research Associate Training Program, 1984 – 1986
           Performed basic research in area of neurochemical control of cardiovascular
    function and neurochemical systems involved in autonomic function.

    Research Assistant. University of Georgia, College of Pharmacy, Department of
    Pharmacology and Toxicology 1980 – 1984
           Taught laboratory courses in pharmacology to pharmacy students as part of
    graduate student assistantship responsibilities.


    HONORS AND AWARDS

    Chosen for PRAT program at National Institutes of Health. Pharmacology Research
    Associate Training Program, 1984-1986.

    Rho Chi. The University of Georgia, College of Pharmacy, Initiated, 1984.

    Recipient of Excellence in Graduate Research Award. The University of Georgia,
    College of Pharmacy, 1983.



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    Alpha Lambda Delta. The University of Georgia Chapter, 1978.


    PROFESSIONAL CERTIFICATION

    Registered patent agent, 1999 [Registration No. 45,015]
    Diplomate, American Board of Toxicology, 1993 to present.


    ACADEMIC AFFILIATION

    Adjunct Professor. Baylor University, Department of Environmental Science, 2017-
    present


    PROFESSIONAL MEMBERSHIPS

    Member, Society of Toxicology 1992 – present

    President, Society of Toxicology Risk Assessment Specialty Section (RASS) 2021-2022

    Vice-President, Society of Toxicology Risk Assessment Specialty Section (RASS) 2020-
    2021

    Vice-President Elect, Society of Toxicology Risk Assessment Specialty Section (RASS)
    2019-2020

    Member, Lone Star Chapter Society of Toxicology 2007 – present

    Councilor, Lone Star Chapter Society of Toxicology 2010 - 2013

    Secretary, Lone Star Chapter Society of Toxicology 2013 – 2015

    Vice President, Lone Star Chapter Society of Toxicology 2015-2016

    President, Lone Star Chapter, Society of Toxicology 2016-2017

    Past President, Lone Star Chapter, Society of Toxicology 2017-2018

    Member, American College of Toxicology, 1997 - present

    Member, Society for Risk Analysis, 2007- present



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    President, Lone Star Chapter of the Society for Risk Analysis, 1998

    Councilor, Lone Star Chapter of the Society for Risk Analysis, 1999-2000

    Member, Regulatory Affairs Professionals Society, 2003 - present

    Member, Society for Neuroscience 1985 - present

    Member, American Association for Pharmaceutical Sciences 1992 – present

    Member, Society for Environmental Geochemistry and Health 1992 - present

    Member, ASTM Committee E06, 1990 – present

    Member, International Association of Plumbing and Mechanical Officials (IAPMO)
    Committee Z1123 (Prop 65) Committee, 2020 - present


    PUBLICATIONS


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    2. Rajendran, N, Seagrave, JC, Plunkett, LM, MacGregor, JA. A comparative
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    5. Plunkett, LM, Becker, RA, Kaplan, M. An enhanced tiered toxicity testing
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    7. Krewski, D, Chambers, A, Stern, BA, Aggett, PA, Plunkett, L, Rudenko, L.
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    9. Becker, RA, Plunkett, LM, Borzelleca, JF, Kaplan, AM. Tiered toxicity testing:
       Evaluation of toxicity-based decision triggers for human health hazard
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    10. MacGregor, JA, Plunkett, LM, Youngren, SH, Manley, A, Plunkett, JB, Starr, TB.
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    11. Plunkett, LM. Do current FIFRA guideline tests protect infants and children?
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    12. Plunkett, LM, Seifen E, Kennedy RH. Effect of morphine pretreatment on cocaine
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        FDA law. Association of University Technology Managers (AUTM), Orlando, FL,
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        February 2005.

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        Society for Toxicology, Baltimore, MD March 2004 .

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        December 3-7, 1995




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        regulations, exposure studies, and public perception. SEGH Conference, July, Salt
        Lake City, UT, 1994

    23. Plunkett LM, Wixtrom RN, Cabrera CR. Evaluation of the long-term safety of
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        Congress of Biological Psychiatry, Philadelphia, PA, September, 1985.

    43. Plunkett LM Saavedra JM. 1985. Altered angiotensin II binding in ganglia and
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        Pressure Research, Cleveland, OH, September 1985.

    44. Plunkett LM, Correa FMA, Saavedra JM. Quantification of angiotensin-1-
        converting enzyme kinetics in individual rat pituitary and adrenal glands with 125I-
        MK351A, a specific enzyme inhibitor. Society for Neuroscience, Dallas, Texas,
        October 1985.

    45. McCarty R, Plunkett LM, Shigematsu K, Saavedra JM. Quantitative
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        Society for Neuroscience, Dallas, Texas, October, 1985.

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        1985.

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    50. Plunkett LM, Vallner JJ, Tackett RL. Prazosin lowers plasma digoxin levels.
        American Heart Assoc, pp 15, Savannah, GA, 1983.

    51. Tackett RL, Plunkett LM. 1983. BHT 933 lowers blood pressure and increases
        cerebrospinal fluid norepinephrine levels. American Heart Assoc, pp 16, Savannah
        GA, 1983.

    52. Bayoumi SM, Gokhale R, Plunkett L, Vallner JJ. Pharmacokinetics of
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    53. Plunkett LM, Tackett RL. Central alpha receptors and their role in digitalis
        cardiotoxicity. The Pharmacologist 1982; 24:489A.

    54. Plunkett LM, Tackett RL. Central alpha antagonism decreases blood pressure in
        the dog. Proc. Soc. Exp. Biol. Med. S.E. Sec. 7:12A 1982.




    PRESENTATIONS

    1. Plunkett, LM. Reproductive Toxicology. Invited lecture at NYU, Department of
       Environmental Medicine. October 28, 2020.

    2. Plunkett, L.M. Provided public comments at the FDA-sponsored public meeting on
       “Testing Methods for Asbestos in Talc and Cosmetic Products Containing Talc”,
       February 4, 2020.

    3. Plunkett, L.M. Pesticide Toxicology. Invited lecture at NYU, Department of
       Environmental Medicine. December 4, 2019.

    4. Plunkett, L.M. Practical applications of risk assessment. Lecturer at University of
       Texas Medical Branch at Galveston, Department of Pharmacology and Toxicology.
       October 19, 2018.

    5. Plunkett, LM. Non-obviousness and §103. Lecturer at Rutgers School of Law,
       Camden Campus. November 6, 2012.



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    6. Plunkett, LM. Regulatory primer for pharmacy students: focus on human
       therapeutics. Invited speaker for the AAPS Visiting Scientist Program, Texas A&M
       University, College of Pharmacy, Kingsville, TX, May 1, 2009.

    7. Plunkett, LM. Strategies for reducing adverse drug reactions: Science versus
       regulatory considerations. Invited speaker for the AAPS Visiting Scientist Program,
       Texas A&M University, College of Pharmacy, Kingsville, TX, May 1, 2009.

    8. Plunkett, LM. Novelty requirement of §102. Lecturer at Drexel University School
       of Law. September 22 and 24, 2008.

    9. Plunkett, LM. Novelty requirement of §102. Lecturer at Rutgers School of Law,
       Camden Campus. September 22 and 24, 2008.

    10. Plunkett, LM. Discussion of the Adequacy of Current Regulatory Risk Assessment
        Approaches for Protection of Children’s Health and the Health of Other “Sensitive”
        Human Subpopulations. Testimony before the U.S. Senate Enviornment and Public
        Works Committee. April, 29, 2008.

    11. Plunkett, LM.     Strategies for reducing adverse drug reactions: Science versus
        regulatory considerations. Invited speaker for the AAPS Visiting Scientist Program,
        Florida A&M University, Tallahassee, FL, October 26, 2006.

    12. Plunkett, LM. The guidance as currently implemented: experience with
        Minnesota’s draft risk levels. Presented at the ISRTP workshop entitled: EPA’s New
        (Proposed) Guidance for Assessing Cancer Risks from Early Life Exposures.
        Genotoxic Mode of Action and Implications for Human Health-Based Standards.
        Baltimore, MD February 10, 2005.

    13. Plunkett, LM. An overview of the regulation of products of biotechnology: Who’s
        in charge? Lecturer at University of Houston at Clearlake, November 17, 2004.

    14. Plunkett, LM. Moderator of the symposium entitled “Regulation of genetically
        modified cells, foods, organisms and animals for consumer and therapeutic use.
        Meeting of the American Association of Pharmaceutical Sciences (AAPS),
        Baltimore, MD, November 11, 2004.




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    15. Plunkett, LM. A Road map to the US Food And Drug Administration Regulations.
        Invited Speaker and Session Co-chair, Federation of European Biochemical Societies
        (FEBS), Istanbul, Turkey, October 20-24, 2002.

    16. Plunkett, LM. An overview of the regulation of products of biotechnology: Who’s
        in charge? Lecturer at University of Houston at Clearlake, November 2001.

    17. Plunkett, LM . Differences and Similarities Between Children and Adults in their
        Exposure and Response to Environmental Chemicals: An Update Since 1992.
        Invited Speaker at ToxForum, Aspen CO, July 2001.

    18. Plunkett, LM. Do current FIFRA guideline tests protect infants and children?
        Lead as a case study. Invited speaker at the Sixteenth International Neurotoxicology
        Conference, Pesticides and Susceptible Populations: Who is at Risk and When?
        Little Rock, Arkansas, September 13-16 1998

    19. Plunkett, LM. An overview of biotechnology regulations: the USFDA and the
        USEPA. Lecturer at University of Houston at Clearlake, October 16 1998.

    20. Rodricks, JV, Santamaria, AB, Plunkett, LM. Risk Assessment as a Tool in
        Litigation: A Discussion of the Uses and Their Limits [Presented by Plunkett LM].
        Society for Risk Analysis, , New Orleans, LA. December 10 1996.

    21. Plunkett, LM. Current Issues in Lead Exposure and Risk Assessment. Symposia
        at the annual meeting of The American College of Toxicology, Valley Forge, PA.
        November 9 1996.

    22. Plunkett, LM . An Overview of Biotechnology Regulations: Environmental
        Regulations. Lecturer at the South Texas School of Law, October 1995.

    23. Plunkett, LM. An Overview of Biotechnology Regulations: FDA Regulations.
        Lecturer at the South Texas School of Law, October 1995.

    24. Plunkett, LM . A Discussion of Toxicokinetics. Featured speaker at a symposium
        at the Int. Congress of Toxicol., July 5 1995.

    25. Plunkett, LM. Chutes and Ladders: The Hazardous Journey for R&D to Market.
        Featured speaker at the Futurist's Conference, Irvine, CA, June 28, 1995.

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    BOOK CHAPTERS

    1. Rudenko, L, Plunkett, LM, Kornum, A, Rocklinsberg, H, Sorensen, DB, Gjerris, M.
       2024. An overview of the regulation of genetically altered animals in research. In:
       Biotech Animals in Research: Ethical and Regulatory Aspects. CRC Press: Boca
       Raton. Chapter 3.

    2. Anderson, SA, Plunkett, LM. 2023. Defending Pesticides in Litigation. Thomson
       Reuters, Eagan, MN.

    3. Anderson, SA, Plunkett, LM. 2022. Defending Pesticides in Litigation. Thomson
       Reuters, Eagan, MN.

    4. Anderson, SA, Plunkett, LM. 2021. Defending Pesticides in Litigation. Thomson
       Reuters, Eagan, MN.

    5. Anderson, SA, Plunkett, LM. 2020. Defending Pesticides in Litigation. Thomson
       Reuters, Eagan, MN.

    6. Anderson, SA, Plunkett, LM. 2019. Defending Pesticides in Litigation. Thomson
       Reuters, Eagan, MN.

    7. Plunkett, LM, O’Donnell, JT. 2016. Ketorolac abuse and injury in college athletics.
       In: O’Donnell’s Drug Injury, Fourth Edition. O’donnell and O’Donnell (eds.),
       Lawyers & Judges Publishing Company, Inc: Tucson, AZ, pp. 591-602.

    8. Plunkett, LM, Timmerman, LE. 2011. Pharmacovigilance and Postmarket
       Surveillance in the United States: The Role of the U.S. Food and Drug
       Administration. In: Elements of Pharmacovigilance: Be Vigilant, Be Safe. R. Sehgal
       et al. (Eds.), Kongposh Publications: New Dehli.

    9. Rodricks, JV, Frankos, VH, Plunkett, LM. 1995. Food Additives. In:
       Regulatory Toxicology. C.P. Chengelis, J.F. Holson and S.C. Gad (eds.) Raven
       Press, New York, New York, 51-82.


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    10. Plunkett, LM, Turnbull, D, Rodricks, JV. 1992. Differences between adults and
        children affecting exposure assessment. In: Similarities and Differences Between
        Children and Adults: Implications for Risk Assessment. P.S. Guzelian, C.J. Henry
        and S.S. Olin (eds.) ILSI Press, Washington D.C., 79-96.

    11. Saavedra JM, Plunkett LM, Correa FMA, Israel A, Kurihara M, Shigematsu K.
        1986. Quantitative autoradiography of angiotensin and atrial natriuretic factor
        binding sites in brain nuclei of spontaneously hypertensive rats. In Brain Peptides
        and Catecholamines in Cardiovascular Regulation in Normal and Disease States.


    MISCELLANEOUS

    1. Plunkett LM. 2008. U.S. Senate Committee on Environment & Public Works.
       Oral testimony. Full Committee hearing entitled “Oversight on EPA Toxic
       Chemical Policies”. Tuesday, April 29, 2008.

    2. Plunkett LM, Brett SM. 1991. A new look at lead: sources, exposures, and
       uptake in populations at risk. ENVIRON Report. 5:6-9.

    3. Plunkett LM, Frankos VH. 1991. FDA re-examines the safety of silicone gel-
       filled breast implants. ENVIRON Report. 5:10-13.




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                               APPENDIX B
                                 Trial List




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                 List of Testimony for Dr. Laura M. Plunkett, Ph.D, DABT


 Year                   Case Name                            Law Firm Represented
                   Cell Phone Litigation
                                                         Lundy, Lundy, Soileau & South
 2018              Deposition Testimony
                                                              (Lake Charles, LA)
                    November 15, 2018
                       Gadolinium
                    Kish v. GE Electric                     Power Rogers & Smith, PC
 2018
                   Deposition Testimony
                    27 November 2018
                        Taxotere
                                                              The Lambert Law Firm
 2018              Deposition Testimony
                                                               (New Orleans, LA)
                    10 December 2018
                          Talc
                   Brower case Georgia                            Beasley Allen
 2018
                        Deposition                              (Montgomery, AL)
                    18 December 2018
                         Talc MDL
                                                              Ashcraft & Gerel LLP
 2018                   Deposition
                                                                (Alexandria, VA)
                     19 December 2018
                    Pradaxa Litigation
                                                               The Nemeroff Firm
 2019             Supplemental Deposition
                                                                  (Dallas, TX)
                     07 Janaury 2019
               Kubicki v. Medtronic, Inc. et al
                                                              Ashcraft & Gerel LLP
 2019                    Deposition
                                                                (Alexandria, VA)
                      06 March 2019
                 McCants v. Vitacost, Inc.
                                                                 Miller Weisbrod
 2019                Trial Testimony
                                                                  (Dallas, TX)
                 29 March ; 01 April 2019




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 Year                    Case Name                            Law Firm Represented
        Daniels-Feasel et al v. Forest Pharmaceuticals,
                           Inc., et al                          Nidel & Nace PLLC
 2019
                          Deposition                             (Washington, DC)
                        12 April 2019
                          Taxotere
                                                                David F. Miceli, LLC
 2019                    Deposition
                                                                  (Carrollton, GA)
                        22 April 2019
                      Pradaxa Litigation
                                                          Humphreys, Farrington & McClain
 2019                  Ridings v. BIPI
                                                               (Independence, MO)
                        27 April 2019
                       Roberto v. BIPI
                                                                   Ury, Moskow
 2019                  Trial Testimony
                                                                   (Fairfield, CT)
                        1-3 May 2019
         Emley, Donna v. Wal-Mart Stores, Inc., et al.
                                                             Childers, Schlueter & Smith
 2019                    Deposition
                                                                    (Atlanta, GA)
                       14 May 2019
                      Ruiz v. TEVA, et al                 Searcy, Denney, Scarola, Barnhart
 2019                     Deposition                                 & Shipley
                        10 June 2019                           (West Palm Beach, FL)
        Pleasant v. Wellington Regional Med Ctr, et al.   Searcy, Denney, Scarola, Barnhart
 2019                     Deposition                                 & Shipley
                         02 July 2019                          (West Palm Beach, FL)
            Thomas, et al. v. Mobil Oil Corp, et al
                                                               Fransen & Hardin, PLC
 2019                    Deposition
                                                                 (New Orleans, LA)
                        10 July 2019
                      Ruiz v. TEVA, et al                 Searcy, Denney, Scarola, Barnhart
 2019   Deposition (continuation of 10 June deposition)              & Shipley
                         31 July 2019                          (West Palm Beach, FL)
                Coleman case (Cook Medical)
                                                               Matthews & Associates
 2019                   Deposition
                                                                   (Houston, TX)
                      01 August 2019


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 Year                    Case Name                         Law Firm Represented
                           Talc
                 Brower case Georgia (J&J)                      Beasley, Allen
 2019
                           Trial                              (Montgomery, AL)
                   12-16 September 2019
                       Taxotere MDL
                                                            David F. Miceli, LLC
 2019                       Trial
                                                              (Carrollton, GA)
                     18 September 2019
                 Lilla v. Cordis Corporation
                                                                Freese & Goss
 2019                     Deposition
                                                                 (Dallas, TX)
                       16 October 2019
                       Ridings v. BIPI
                                                       Humphreys, Farrington & McClain
 2019                     Hearing
                                                            (Independence, MO)
                     28-29 October 2019
                Lilla v. Cordis Corporation
                                                                Freese & Goss
 2019          Deposition (CONTINUATION)
                                                                 (Dallas, TX)
                      31 October 2019
            Seegert, et al. V. Rexall Sundown, Inc.
                                                        Blood Hurst & O'Reardon, LLP
 2019                      Deposition
                                                              (San Diego, CA)
                      06 November 2019
                   Six v. CSX Corporation
                                                             Franklin Law, LLC
 2019                     Deposition
                                                              (Savannah, GA)
                     11 November 2019
            Cadigan v. Johnson & Johnson (Talc)
                                                                Beasley Allen
 2019                    Deposition
                                                              (Montgomery, AL)
                    13 November 2019
            Crayton & Thibodeaux case (Taxotere)
                                                            David F. Miceli, LLC
 2019                    Deposition
                                                              (Carrollton, GA)
                     19 November 2019
                   Lyons v. BIPI (Pradaxa)
                                                                Ury, Moskow
 2019                    Deposition
                                                                (Fairfield, CT)
                     25 November 2019


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 Year                    Case Name                         Law Firm Represented
             Forrest v. Johnson & Johnson (Talc)
                                                                Beasley Allen
 2019                   Trial Testimony
                                                              (Montgomery, AL)
                  06, 09-10 December 2019
            Crayton & Thibodeaux case (Taxotere)
                                                             David F. Miceli, LLC
 2019          Deposition (CONTINUATION)
                                                               (Carrollton, GA)
                     13 December 2019
                       McDermitt case
                                                           Goldenberg Law, PLLC
 2020                     Deposition
                                                            (Minneapolis, MN)
                       21 January 2020
                 Benitez v. Dr. Ronald Seguar
                                                           Orrill & Malbrough, LLC
 2020                     Deposition
                                                                 (Metairie, LA)
                       23 January 2020
         State of Hawai’i (Clare E. Connors, Attorney
         General) v. Bristol-Myers Squibb (BMS) et al.         Baron and Budd
 2020
                           Deposition                           (Encino, CA)
                       21 February 2020
                    Kahn case (Taxotere)
                                                             David F. Miceli, LLC
 2020                   Deposition
                                                               (Carrollton, GA)
                       27 April 2020
                Sandra Sutter v. Cordis (IVC)
                                                            Blankenship Law Firm
 2020                   Deposition
                                                                (Dallas, TX)
                27 May 2020 and 8 June 2020
                      Roney v. Provient
                                                              Smith, LaCien LLP
 2020                    Deposition
                                                                (Chicago, IL)
                        20 July 2020
                    Taxotere 505b2 Cases                     David F. Miceli, LLC
 2020
                   03 & 08 September 2020                      (Carrollton, GA)
         State of Hawai’i (Clare E. Connors, Attorney
         General) v. Bristol-Myers Squibb (BMS) et al.         Baron and Budd
 2020
                             Trial                              (Encino, CA)
                      26-27 October 2020


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 Year                    Case Name                       Law Firm Represented
                    Kahn case (Taxotere)
                                                           David F. Miceli, LLC
 2021                   Deposition
                                                             (Carrollton, GA)
                       7 April 2021
            Cadigan v. Johnson & Johnson (Talc)
                                                              Beasley Allen
 2021                 Trial Testimony
                                                            (Montgomery, AL)
                      14-16 July 2021
                                                          Ashcraft & Gerel LLP
                         Talc MDL                           (Alexandria, VA)
 2021                    Deposition
                       10 August 2021                         Beasley Allen
                                                            (Montgomery, AL)
             Kleiner v. Johnson & Johnson (Talc)
                                                              Beasley Allen
 2021                   Trial Testimony
                                                            (Montgomery, AL)
                18-20 and 23-24 August 2021
           Geise et al. v. Johnson & Johnson (Talc)
                                                              Beasley Allen
 2021                    Trial Testimony
                                                            (Montgomery, AL)
                  10, 13-14 September 2021
         Guilbault and Plaisance v. 505b2 Defendants
                                                           David F. Miceli, LLC
 2021                    Deposition
                                                             (Carrollton, GA)
                     24 September 2021
                   Kahn v. Sanofi Aventis
                                                           David F. Miceli, LLC
 2021                Trial Testimony
                                                             (Carrollton, GA)
                    12 November 2021
         State of New Mexico v. Bristol-Myers Squibb
                         (BMS) et al.                         Baron & Budd
 2021
                          Deposition                          (Encino, CA)
                      19 November 2021
                   Mooneyham v. Bactolac                      Beasley Allen
 2021
                     9 December 2021                        (Montgomery, AL)
                   Earnest case (Taxotere)
                                                           David F. Miceli, LLC
 2022                   Deposition
                                                             (Carrollton, GA)
                       01 June 2022
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 Year                     Case Name                          Law Firm Represented
                                                                Levin, Papantonio
                       Valsartan MDL                             (Pensacola, FL)
 2023                     Deposition                               Hollis Firm
                       12 January 2023                          (Kansas City, KS)


                                                                Levin, Papantonio
                       Valsartan MDL                             (Pensacola, FL)
 2023               Deposition (continued)                         Hollis Firm
                      10 February 2023                          (Kansas City, KS)


                    Earnest case (Taxotere)
                                                                Milberg Coleman
 2023              Deposition (Continuation)
                                                                (Knoxville, TN)
                       28 March 2023
                  Norwood v. Albertson’s Inc.
                                                                  Lundy. Soileau
 2023                    Deposition
                                                                (Lake Charles, LA)
                        17 May 2023
                 Jackson v. Bayer HealthCare
                                                                    Yerrid Law
 2023             Pharmaceuticals Inc., et al.,
                                                                   (Tampa, FL)
                        20 July 2023
         State of Hawai’i (Attorney General) v. Bristol-
                   Myers Squibb (BMS) et al.                      Baron & Bud
 2023
                           Deposition                             (Encino, CA)
                        29 August 2023
         State of Hawai’i (Attorney General) v. Bristol-
                   Myers Squibb (BMS) et al.                      Baron & Bud
 2023
                              Trial                               (Encino, CA)
             25, 29 September and 2 October 2023
                    Blakely, et al v. Lifecell
                                                                  Cohen Malad
 2023                     Deposition
                                                                (Indianapolis, IN)
                       19 October 2023




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 Year                    Case Name                       Law Firm Represented
          Mississippi AG v. Johnson & Johnson (Talc)
                                                              Beasley Allen
 2023                     Deposition
                                                            (Montgomery, AL)
                       24 October 2023




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                                 APPENDIX C
                      List of Materials and Data Considered




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 Documents



 C&M-LUZ00013326             IMERYS 026527              IMERYS 032719

 CYWM-MA60414-0001           IMERYS 026529              IMERYS 032928

 CYWM-MA60523-0001           IMERYS 026536              IMERYS 033027

 FDA00003187                 IMERYS 026663              IMERYS 033192

 FDA00003300                 IMERYS 027063              IMERYS 033263

 FDA00003326                 IMERYS 027080              IMERYS 033295

 FDA00003426                 IMERYS 027216              IMERYS 033416

 FDAFOIA 000001              IMERYS 027349              IMERYS 033423

 IMA-NA0000082               IMERYS 027412              IMERYS 033456

 IMA-NA0000114               IMERYS 027504              IMERYS 033690

 IMA-NA0000232               IMERYS 027596              IMERYS 034215

 IMA-NA0000241               IMERYS 027850              IMERYS 034472

 IMA-NA0000528               IMERYS 027894              IMERYS 034549

 IMA-NA0000532               IMERYS 028080              IMERYS 034569

 IMA-NA0000558               IMERYS 028358              IMERYS 034656

 IMA-NA0000570               IMERYS 028485              IMERYS 034749

 IMA-NA0000594               IMERYS 028813              IMERYS 034754

 IMA-NA0000598               IMERYS 029459              IMERYS 035369

 IMA-NA0001554               IMERYS 029664              IMERYS 035406

 IMA-NA0005412               IMERYS 030336              IMERYS 035899

 IMERYS 024243               IMERYS 030338              IMERYS 036048

 IMERYS 024367               IMERYS 030340              IMERYS 036155

 IMERYS 026517               IMERYS 030860              IMERYS 036197

 IMERYS 026518               IMERYS 030938              IMERYS 036199

 IMERYS 026519               IMERYS 030973              IMERYS 037199

 IMERYS 026520               IMERYS 031355              IMERYS 037204

 IMERYS 026521               IMERYS 032302              IMERYS 037302

                                        1

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 IMERYS 037398               IMERYS 039469              IMERYS 045397

 IMERYS 037427               IMERYS 039526              IMERYS 045526

 IMERYS 037435               IMERYS 039528              IMERYS 045563

 IMERYS 037958               IMERYS 039530              IMERYS 045611

 IMERYS 037983               IMERYS 039566              IMERYS 045721

 IMERYS 037996               IMERYS 039568              IMERYS 045780

 IMERYS 038009               IMERYS 039863              IMERYS 047791

 IMERYS 038028               IMERYS 039867              IMERYS 049952

 IMERYS 038035               IMERYS 039929              IMERYS 049977

 IMERYS 038132               IMERYS 040759              IMERYS 050709

 IMERYS 038141               IMERYS 041356              IMERYS 050730

 IMERYS 038170               IMERYS 041754              IMERYS 050835

 IMERYS 038174               IMERYS 041912              IMERYS 050955

 IMERYS 038563               IMERYS 043273              IMERYS 051007

 IMERYS 038976               IMERYS 043822              IMERYS 051052

 IMERYS 038992               IMERYS 043973              IMERYS 051058

 IMERYS 038997               IMERYS 044381              IMERYS 051071

 IMERYS 038999               IMERYS 044412              IMERYS 051170

 IMERYS 039004               IMERYS 044595              IMERYS 051370

 IMERYS 039018               IMERYS 044633              IMERYS 051412

 IMERYS 039052               IMERYS 044636              IMERYS 051436

 IMERYS 039060               IMERYS 044642              IMERYS 051442

 IMERYS 039086               IMERYS 044645              IMERYS 051594

 IMERYS 039088               IMERYS 044648              IMERYS 051700

 IMERYS 039206               IMERYS 044875              IMERYS 052750

 IMERYS 039247               IMERYS 045182              IMERYS 052752

 IMERYS 039351               IMERYS 045184              IMERYS 053245

 IMERYS 039440               IMERYS 045200              IMERYS 053387

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 IMERYS 056660               IMERYS 058620              IMERYS 063220

 IMERYS 056672               IMERYS 058629              IMERYS 063499

 IMERYS 056732               IMERYS 058646              IMERYS 063836

 IMERYS 058244               IMERYS 058663              IMERYS 064377

 IMERYS 058256               IMERYS 058667              IMERYS 064765

 IMERYS 058356               IMERYS 058679              IMERYS 065205

 IMERYS 058373               IMERYS 058692              IMERYS 065906

 IMERYS 058400               IMERYS 058702              IMERYS 066054

 IMERYS 058404               IMERYS 058714              IMERYS 066089

 IMERYS 058409               IMERYS 058724              IMERYS 066531

 IMERYS 058416               IMERYS 058731              IMERYS 068097

 IMERYS 058420               IMERYS 058749              IMERYS 068497

 IMERYS 058423               IMERYS 058790              IMERYS 068634

 IMERYS 058426               IMERYS 058801              IMERYS 069988

 IMERYS 058428               IMERYS 058859              IMERYS 069994

 IMERYS 058436               IMERYS 058863              IMERYS 070238

 IMERYS 058455               IMERYS 061756              IMERYS 070459

 IMERYS 058473               IMERYS 061757              IMERYS 072240

 IMERYS 058484               IMERYS 061796              IMERYS 072292

 IMERYS 058495               IMERYS 061935              IMERYS 072418

 IMERYS 058516               IMERYS 062074              IMERYS 072434

 IMERYS 058528               IMERYS 062161              IMERYS 072566

 IMERYS 058549               IMERYS 062247              IMERYS 073555

 IMERYS 058555               IMERYS 062334              IMERYS 073648

 IMERYS 058562               IMERYS 062429              IMERYS 074844

 IMERYS 058568               IMERYS 062480              IMERYS 074887

 IMERYS 058583               IMERYS 062527              IMERYS 075251

 IMERYS 058602               IMERYS 062702              IMERYS 075433

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 IMERYS 076533               IMERYS 080149              IMERYS 084260

 IMERYS 077283               IMERYS 080187              IMERYS 085604

 IMERYS 077298               IMERYS 080191              IMERYS 088092

 IMERYS 077485               IMERYS 080219              IMERYS 088207

 IMERYS 077538               IMERYS 080234              IMERYS 088293

 IMERYS 077541               IMERYS 080382              IMERYS 088380

 IMERYS 077630               IMERYS 080399              IMERYS 088416

 IMERYS 077644               IMERYS 080995              IMERYS 088456

 IMERYS 077645               IMERYS 081005              IMERYS 088846

 IMERYS 077664               IMERYS 081126              IMERYS 088907

 IMERYS 077676               IMERYS 081142              IMERYS 089052

 IMERYS 077819               IMERYS 081205              IMERYS 089146

 IMERYS 078159               IMERYS 081292              IMERYS 089154

 IMERYS 078167               IMERYS 081362              IMERYS 089459

 IMERYS 078400               IMERYS 081364              IMERYS 089689

 IMERYS 078633               IMERYS 081573              IMERYS 089792

 IMERYS 078986               IMERYS 081574              IMERYS 089798

 IMERYS 079040               IMERYS 081729              IMERYS 089801

 IMERYS 079052               IMERYS 081903              IMERYS 089967

 IMERYS 079065               IMERYS 081968              IMERYS 090653

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 IMERYS 079482               IMERYS 082001              IMERYS 091351

 IMERYS 079529               IMERYS 082062              IMERYS 091571

 IMERYS 079671               IMERYS 082064              IMERYS 092001

 IMERYS 079746               IMERYS 082269              IMERYS 092039

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 IMERYS 094601               IMERYS 100237              IMERYS 124174

 IMERYS 094789               IMERYS 100245              IMERYS 125162

 IMERYS 095079               IMERYS 101372              IMERYS 125222

 IMERYS 095086               IMERYS 101416              IMERYS 125334

 IMERYS 095244               IMERYS 101435              IMERYS 125401

 IMERYS 095244               IMERYS 101489              IMERYS 125487

 IMERYS 095392               IMERYS 101980              IMERYS 125539

 IMERYS 095545               IMERYS 102166              IMERYS 125885

 IMERYS 095728               IMERYS 105215              IMERYS 125887

 IMERYS 097809               IMERYS 106797              IMERYS 125888

 IMERYS 097912               IMERYS 109482              IMERYS 125890

 IMERYS 098115               IMERYS 110806              IMERYS 125894

 IMERYS 098716               IMERYS 110837              IMERYS 126044

 IMERYS 098774               IMERYS 111050              IMERYS 126108

 IMERYS 098857               IMERYS 111076              IMERYS 126583

 IMERYS 098925               IMERYS 111096              IMERYS 126593

 IMERYS 099113               IMERYS 111131              IMERYS 126599

 IMERYS 099134               IMERYS 113816              IMERYS 126621

 IMERYS 099300               IMERYS 114447              IMERYS 126659

 IMERYS 099495               IMERYS 118256              IMERYS 126789

 IMERYS 099540               IMERYS 118260              IMERYS 126846

 IMERYS 099988               IMERYS 118374              IMERYS 126885

 IMERYS 100130               IMERYS 118639              IMERYS 127027

 IMERYS 100151               IMERYS 118788              IMERYS 127028

 IMERYS 100163               IMERYS 120564              IMERYS 127176

 IMERYS 100195               IMERYS 122016              IMERYS 127357

 IMERYS 100201               IMERYS 122749              IMERYS 127394

 IMERYS 100204               IMERYS 123614              IMERYS 127450

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 IMERYS 128727               IMERYS 139643              IMERYS 148476

 IMERYS 129253               IMERYS 140471              IMERYS 148816

 IMERYS 129399               IMERYS 140629              IMERYS 148825

 IMERYS 129753               IMERYS 141826              IMERYS 148834

 IMERYS 129947               IMERYS 142126              IMERYS 148976

 IMERYS 130504               IMERYS 145488              IMERYS 149509

 IMERYS 131215               IMERYS 145558              IMERYS 150249

 IMERYS 131629               IMERYS 145791              IMERYS 150457

 IMERYS 131835               IMERYS 145961              IMERYS 150628

 IMERYS 131879               IMERYS 146092              IMERYS 150859

 IMERYS 131975               IMERYS 146390              IMERYS 151236

 IMERYS 132566               IMERYS 146513              IMERYS 151321

 IMERYS 132608               IMERYS 146648              IMERYS 151775

 IMERYS 136242               IMERYS 146889              IMERYS 151913

 IMERYS 136480               IMERYS 146895              IMERYS 152055

 IMERYS 136822               IMERYS 146996              IMERYS 152380

 IMERYS 136824               IMERYS 147008              IMERYS 152406

 IMERYS 136837               IMERYS 147112              IMERYS 152422

 IMERYS 137122               IMERYS 147287              IMERYS 152814

 IMERYS 137434               IMERYS 147317              IMERYS 152819

 IMERYS 137677               IMERYS 147350              IMERYS 152842

 IMERYS 137727               IMERYS 147353              IMERYS 153057

 IMERYS 137832               IMERYS 147395              IMERYS 153877

 IMERYS 137981               IMERYS 147517              IMERYS 153987

 IMERYS 137993               IMERYS 147616              IMERYS 155189

 IMERYS 138017               IMERYS 147678              IMERYS 155734

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 IMERYS 155981               IMERYS 167112              IMERYS 173548

 IMERYS 156034               IMERYS 167241              IMERYS 173644

 IMERYS 156037               IMERYS 167244              IMERYS 173648

 IMERYS 156038               IMERYS 167294              IMERYS 173765

 IMERYS 156039               IMERYS 167659              IMERYS 173801

 IMERYS 156285               IMERYS 169045              IMERYS 174026

 IMERYS 156508               IMERYS 169373              IMERYS 174040

 IMERYS 156511               IMERYS 169410              IMERYS 174047

 IMERYS 156517               IMERYS 169882              IMERYS 174050

 IMERYS 156520               IMERYS 169890              IMERYS 174052

 IMERYS 156562               IMERYS 169990              IMERYS 174054

 IMERYS 156563               IMERYS 169993              IMERYS 174062

 IMERYS 157643               IMERYS 169996              IMERYS 174154

 IMERYS 158654               IMERYS 170003              IMERYS 174864

 IMERYS 162190               IMERYS 170470              IMERYS 174897

 IMERYS 162489               IMERYS 171530              IMERYS 175187

 IMERYS 162701               IMERYS 171532              IMERYS 175475

 IMERYS 163359               IMERYS 171996              IMERYS 175476

 IMERYS 164104               IMERYS 172043              IMERYS 175554

 IMERYS 165443               IMERYS 172249              IMERYS 175595

 IMERYS 165856               IMERYS 172756              IMERYS 175601

 IMERYS 166429               IMERYS 172765              IMERYS 175679

 IMERYS 166476               IMERYS 172966              IMERYS 175694

 IMERYS 166559               IMERYS 173217              IMERYS 175750

 IMERYS 166595               IMERYS 173356              IMERYS 176259

 IMERYS 166628               IMERYS 173455              IMERYS 176280

 IMERYS 166766               IMERYS 173520              IMERYS 176326

 IMERYS 166840               IMERYS 173521              IMERYS 177481

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 IMERYS 178294               IMERYS 178937              IMERYS 180600

 IMERYS 178296               IMERYS 178953              IMERYS 181115

 IMERYS 178307               IMERYS 178969              IMERYS 184188

 IMERYS 178312               IMERYS 178971              IMERYS 184217

 IMERYS 178343               IMERYS 178976              IMERYS 184381

 IMERYS 178379               IMERYS 178980              IMERYS 184452

 IMERYS 178390               IMERYS 178985              IMERYS 185277

 IMERYS 178401               IMERYS 178992              IMERYS 186778

 IMERYS 178412               IMERYS 179005              IMERYS 187326

 IMERYS 178422               IMERYS 179075              IMERYS 188701

 IMERYS 178453               IMERYS 179104              IMERYS 189001

 IMERYS 178484               IMERYS 179112              IMERYS 190454

 IMERYS 178515               IMERYS 179120              IMERYS 190703

 IMERYS 178546               IMERYS 179122              IMERYS 191171

 IMERYS 178611               IMERYS 179124              IMERYS 191221

 IMERYS 178630               IMERYS 179126              IMERYS 192024

 IMERYS 178635               IMERYS 179149              IMERYS 193347

 IMERYS 178640               IMERYS 179173              IMERYS 193566

 IMERYS 178645               IMERYS 179205              IMERYS 193604

 IMERYS 178656               IMERYS 179353              IMERYS 193699

 IMERYS 178687               IMERYS 179417              IMERYS 193715

 IMERYS 178723               IMERYS 179420              IMERYS 194090

 IMERYS 178750               IMERYS 179442              IMERYS 194129

 IMERYS 178786               IMERYS 179450              IMERYS 194260

 IMERYS 178821               IMERYS 179465              IMERYS 194357

 IMERYS 178823               IMERYS 180206              IMERYS 195424

 IMERYS 178825               IMERYS 180236              IMERYS 195479

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 IMERYS 195522               IMERYS 206536              IMERYS 209897

 IMERYS 195523               IMERYS 206584              IMERYS 209899

 IMERYS 195864               IMERYS 206818              IMERYS 209910

 IMERYS 195998               IMERYS 208547              IMERYS 209913

 IMERYS 196001               IMERYS 208563              IMERYS 209917

 IMERYS 196009               IMERYS 208585              IMERYS 209930

 IMERYS 196129               IMERYS 208621              IMERYS 209937

 IMERYS 196353               IMERYS 208626              IMERYS 209939

 IMERYS 196394               IMERYS 208683              IMERYS 209971

 IMERYS 196588               IMERYS 208830              IMERYS 210136

 IMERYS 197145               IMERYS 208834              IMERYS 210472

 IMERYS 197432               IMERYS 208845              IMERYS 210700

 IMERYS 200065               IMERYS 208853              IMERYS 210701

 IMERYS 200214               IMERYS 208857              IMERYS 210707

 IMERYS 203590               IMERYS 208882              IMERYS 210724

 IMERYS 203746               IMERYS 208927              IMERYS 210758

 IMERYS 204247               IMERYS 209096              IMERYS 210788

 IMERYS 204436               IMERYS 209122              IMERYS 210794

 IMERYS 204602               IMERYS 209195              IMERYS 210801

 IMERYS 204982               IMERYS 209398              IMERYS 210810

 IMERYS 205305               IMERYS 209448              IMERYS 210824

 IMERYS 205382               IMERYS 209601              IMERYS 210856

 IMERYS 205516               IMERYS 209635              IMERYS 210858

 IMERYS 205540               IMERYS 209732              IMERYS 210870

 IMERYS 205609               IMERYS 209735              IMERYS 211157

 IMERYS 205727               IMERYS 209751              IMERYS 211166

 IMERYS 206480               IMERYS 209779              IMERYS 211285

 IMERYS 206514               IMERYS 209789              IMERYS 211295

 IMERYS 206517               IMERYS 209893              IMERYS 211302

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 IMERYS 211312               IMERYS 221276              IMERYS 223577

 IMERYS 211386               IMERYS 221349              IMERYS 223613

 IMERYS 211477               IMERYS 221454              IMERYS 223657

 IMERYS 211495               IMERYS 221799              IMERYS 223687

 IMERYS 211957               IMERYS 221806              IMERYS 223869

 IMERYS 211971               IMERYS 221842              IMERYS 224307

 IMERYS 212006               IMERYS 221873              IMERYS 224314

 IMERYS 212058               IMERYS 221956              IMERYS 226087

 IMERYS 212062               IMERYS 223242              IMERYS 226115

 IMERYS 212190               IMERYS 223266              IMERYS 227451

 IMERYS 212202               IMERYS 223290              IMERYS 227605

 IMERYS 212333               IMERYS 223315              IMERYS 228458

 IMERYS 212335               IMERYS 223318              IMERYS 228624

 IMERYS 212347               IMERYS 223322              IMERYS 230285

 IMERYS 212353               IMERYS 223326              IMERYS 230291

 IMERYS 212369               IMERYS 223333              IMERYS 230334

 IMERYS 212378               IMERYS 223339              IMERYS 230366

 IMERYS 212559               IMERYS 223354              IMERYS 230381

 IMERYS 212625               IMERYS 223361              IMERYS 230591

 IMERYS 212652               IMERYS 223370              IMERYS 231329

 IMERYS 212659               IMERYS 223381              IMERYS 235557

 IMERYS 212669               IMERYS 223390              IMERYS 236014

 IMERYS 213209               IMERYS 223405              IMERYS 236037

 IMERYS 213284               IMERYS 223417              IMERYS 236074

 IMERYS 213431               IMERYS 223442              IMERYS 236082

 IMERYS 214720               IMERYS 223477              IMERYS 236113

 IMERYS 216754               IMERYS 223495              IMERYS 236151

 IMERYS 219720               IMERYS 223528              IMERYS 236170

 IMERYS 220123               IMERYS 223550              IMERYS 236280

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                                                                            147
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 IMERYS 236298               IMERYS 238457              IMERYS 240127

 IMERYS 236303               IMERYS 238468              IMERYS 240272

 IMERYS 236317               IMERYS 238478              IMERYS 240334

 IMERYS 236342               IMERYS 238940              IMERYS 240339

 IMERYS 236372               IMERYS 239512              IMERYS 240342

 IMERYS 236385               IMERYS 239517              IMERYS 240361

 IMERYS 236406               IMERYS 239612              IMERYS 240370

 IMERYS 236432               IMERYS 239613              IMERYS 240374

 IMERYS 236476               IMERYS 239614              IMERYS 240375

 IMERYS 236525               IMERYS 239625              IMERYS 240376

 IMERYS 236558               IMERYS 239638              IMERYS 240377

 IMERYS 236599               IMERYS 239657              IMERYS 240378

 IMERYS 236653               IMERYS 239660              IMERYS 240388

 IMERYS 236689               IMERYS 239670              IMERYS 240400

 IMERYS 236738               IMERYS 239729              IMERYS 240406

 IMERYS 236880               IMERYS 239749              IMERYS 240415

 IMERYS 237018               IMERYS 239750              IMERYS 240453

 IMERYS 237036               IMERYS 239751              IMERYS 240768

 IMERYS 237124               IMERYS 239757              IMERYS 240959

 IMERYS 238104               IMERYS 239787              IMERYS 241052

 IMERYS 238167               IMERYS 239791              IMERYS 241064

 IMERYS 238176               IMERYS 239792              IMERYS 241192

 IMERYS 238178               IMERYS 239812              IMERYS 241248

 IMERYS 238187               IMERYS 239852              IMERYS 241322

 IMERYS 238193               IMERYS 239867              IMERYS 241536

 IMERYS 238199               IMERYS 239881              IMERYS 241812

 IMERYS 238205               IMERYS 239883              IMERYS 241870

 IMERYS 238211               IMERYS 239917              IMERYS 241968

 IMERYS 238270               IMERYS 240105              IMERYS 242107

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 IMERYS 242256               IMERYS 249613              IMERYS 258681

 IMERYS 242307               IMERYS 249653              IMERYS 258965

 IMERYS 242376               IMERYS 249657              IMERYS 259142

 IMERYS 242450               IMERYS 251651              IMERYS 259181

 IMERYS 242748               IMERYS 251920              IMERYS 259252

 IMERYS 242854               IMERYS 252030              IMERYS 260159

 IMERYS 244151               IMERYS 252352              IMERYS 260446

 IMERYS 244343               IMERYS 252369              IMERYS 261641

 IMERYS 244543               IMERYS 252464              IMERYS 261852

 IMERYS 244724               IMERYS 252466              IMERYS 262592

 IMERYS 244749               IMERYS 253172              IMERYS 262680

 IMERYS 244759               IMERYS 253283              IMERYS 262775

 IMERYS 244790               IMERYS 254543              IMERYS 262806

 IMERYS 245014               IMERYS 254994              IMERYS 263525

 IMERYS 245144               IMERYS 254995              IMERYS 264171

 IMERYS 245445               IMERYS 254996              IMERYS 264196

 IMERYS 246005               IMERYS 255121              IMERYS 265938

 IMERYS 246774               IMERYS 255191              IMERYS 266074

 IMERYS 246785               IMERYS 255242              IMERYS 266099

 IMERYS 247470               IMERYS 255246              IMERYS 266109

 IMERYS 248153               IMERYS 255251              IMERYS 266119

 IMERYS 248157               IMERYS 255256              IMERYS 266129

 IMERYS 248161               IMERYS 255375              IMERYS 266139

 IMERYS 248165               IMERYS 256375              IMERYS 266149

 IMERYS 248539               IMERYS 256456              IMERYS 266294

 IMERYS 248550               IMERYS 256458              IMERYS 266452

 IMERYS 248604               IMERYS 256470              IMERYS 267135

 IMERYS 248607               IMERYS 257649              IMERYS 268215

 IMERYS 248710               IMERYS 258162              IMERYS 268747

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                                                                            149
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 IMERYS 270212               IMERYS 275543              IMERYS 280863

 IMERYS 270313               IMERYS 276289              IMERYS 281069

 IMERYS 270963               IMERYS 277800              IMERYS 281073

 IMERYS 271063               IMERYS 277824              IMERYS 281084

 IMERYS 271233               IMERYS 277827              IMERYS 281102

 IMERYS 271234               IMERYS 277834              IMERYS 281126

 IMERYS 272174               IMERYS 277981              IMERYS 281128

 IMERYS 272188               IMERYS 278079              IMERYS 281179

 IMERYS 272189               IMERYS 278102              IMERYS 281537

 IMERYS 272855               IMERYS 278214              IMERYS 281558

 IMERYS 272877               IMERYS 278512              IMERYS 281613

 IMERYS 272880               IMERYS 279150              IMERYS 281778

 IMERYS 273063               IMERYS 279282              IMERYS 281790

 IMERYS 273102               IMERYS 279435              IMERYS 281865

 IMERYS 274433               IMERYS 279660              IMERYS 281964

 IMERYS 274447               IMERYS 279673              IMERYS 282004

 IMERYS 274691               IMERYS 279682              IMERYS 282355

 IMERYS 274780               IMERYS 279682              IMERYS 282494

 IMERYS 274991               IMERYS 279881              IMERYS 282497

 IMERYS 275288               IMERYS 279882              IMERYS 282579

 IMERYS 275344               IMERYS 280105              IMERYS 283501

 IMERYS 275357               IMERYS 280204              IMERYS 283510

 IMERYS 275402               IMERYS 280256              IMERYS 283624

 IMERYS 275404               IMERYS 280306              IMERYS 283633

 IMERYS 275465               IMERYS 280556              IMERYS 283807

 IMERYS 275502               IMERYS 280615              IMERYS 283808

 IMERYS 275503               IMERYS 280639              IMERYS 283809

 IMERYS 275527               IMERYS 280786              IMERYS 284319

 IMERYS 275535               IMERYS 280786              IMERYS 284350

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 IMERYS 284402               IMERYS 285757              IMERYS 286948

 IMERYS 284442               IMERYS 285769              IMERYS 287008

 IMERYS 284473               IMERYS 285815              IMERYS 287048

 IMERYS 284581               IMERYS 285827              IMERYS 287066

 IMERYS 284673               IMERYS 285839              IMERYS 287089

 IMERYS 284675               IMERYS 285851              IMERYS 287091

 IMERYS 284686               IMERYS 285862              IMERYS 287096

 IMERYS 284697               IMERYS 285879              IMERYS 287133

 IMERYS 284854               IMERYS 285906              IMERYS 287251

 IMERYS 284935               IMERYS 285918              IMERYS 287654

 IMERYS 284963               IMERYS 286264              IMERYS 287784

 IMERYS 284988               IMERYS 286292              IMERYS 287826

 IMERYS 285001               IMERYS 286320              IMERYS 287870

 IMERYS 285014               IMERYS 286353              IMERYS 287960

 IMERYS 285027               IMERYS 286365              IMERYS 288001

 IMERYS 285041               IMERYS 286390              IMERYS 288186

 IMERYS 285082               IMERYS 286407              IMERYS 288233

 IMERYS 285096               IMERYS 286445              IMERYS 288240

 IMERYS 285152               IMERYS 286514              IMERYS 288288

 IMERYS 285192               IMERYS 286680              IMERYS 288329

 IMERYS 285212               IMERYS 286752              IMERYS 288393

 IMERYS 285305               IMERYS 286772              IMERYS 288492

 IMERYS 285357               IMERYS 286784              IMERYS 288545

 IMERYS 285450               IMERYS 286796              IMERYS 288570

 IMERYS 285543               IMERYS 286872              IMERYS 288588

 IMERYS 285658               IMERYS 286886              IMERYS 288590

 IMERYS 285685               IMERYS 286901              IMERYS 288624

 IMERYS 285708               IMERYS 286916              IMERYS 288627

 IMERYS 285755               IMERYS 286932              IMERYS 288645

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                                                                            151
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 IMERYS 288673               IMERYS 296618              IMERYS 301224

 IMERYS 288692               IMERYS 297407              IMERYS 301229

 IMERYS 288758               IMERYS 297421              IMERYS 301237

 IMERYS 288860               IMERYS 298855              IMERYS 301314

 IMERYS 289018               IMERYS 298872              IMERYS 301315

 IMERYS 289186               IMERYS 298892              IMERYS 301347

 IMERYS 289356               IMERYS 298908              IMERYS 301396

 IMERYS 289539               IMERYS 298943              IMERYS 301412

 IMERYS 289873               IMERYS 299277              IMERYS 303749

 IMERYS 290091               IMERYS 299318              IMERYS 303753

 IMERYS 290689               IMERYS 299322              IMERYS 303755

 IMERYS 290983               IMERYS 299613              IMERYS 303811

 IMERYS 291093               IMERYS 300079              IMERYS 303814

 IMERYS 291311               IMERYS 300462              IMERYS 303824

 IMERYS 291328               IMERYS 300561              IMERYS 303826

 IMERYS 291388               IMERYS 300667              IMERYS 303828

 IMERYS 291390               IMERYS 300701              IMERYS 303829

 IMERYS 291490               IMERYS 300713              IMERYS 303842

 IMERYS 291573               IMERYS 300736              IMERYS 303848

 IMERYS 293661               IMERYS 301004              IMERYS 303861

 IMERYS 293792               IMERYS 301042              IMERYS 303862

 IMERYS 293803               IMERYS 301052              IMERYS 303872

 IMERYS 293804               IMERYS 301068              IMERYS 303876

 IMERYS 294651               IMERYS 301098              IMERYS 303881

 IMERYS 294657               IMERYS 301149              IMERYS 303890

 IMERYS 294661               IMERYS 301198              IMERYS 303895

 IMERYS 294665               IMERYS 301203              IMERYS 303917

 IMERYS 295162               IMERYS 301210              IMERYS 303935

 IMERYS 296138               IMERYS 301217              IMERYS 303957

                                        15

                                                                            152
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 IMERYS 304036               IMERYS 311528              IMERYS 321487

 IMERYS 304036               IMERYS 312053              IMERYS 321506

 IMERYS 304061               IMERYS 313551              IMERYS 321549

 IMERYS 304077               IMERYS 313805              IMERYS 321820

 IMERYS 304108               IMERYS 313942              IMERYS 321847

 IMERYS 304137               IMERYS 314083              IMERYS 321946

 IMERYS 304180               IMERYS 314128              IMERYS 321952

 IMERYS 304279               IMERYS 314151              IMERYS 322017

 IMERYS 304418               IMERYS 314155              IMERYS 322029

 IMERYS 305010               IMERYS 314160              IMERYS 322036

 IMERYS 305364               IMERYS 314180              IMERYS 322047

 IMERYS 305379               IMERYS 314233              IMERYS 322116

 IMERYS 305385               IMERYS 314487              IMERYS 322134

 IMERYS 306216               IMERYS 314502              IMERYS 322155

 IMERYS 306386               IMERYS 315037              IMERYS 322201

 IMERYS 306881               IMERYS 319465              IMERYS 322241

 IMERYS 307362               IMERYS 319483              IMERYS 322334

 IMERYS 307770               IMERYS 319518              IMERYS 322404

 IMERYS 307812               IMERYS 319525              IMERYS 322470

 IMERYS 308163               IMERYS 319854              IMERYS 322514

 IMERYS 308446               IMERYS 319998              IMERYS 322534

 IMERYS 308463               IMERYS 320685              IMERYS 322574

 IMERYS 309669               IMERYS 320780              IMERYS 322613

 IMERYS 309699               IMERYS 320873              IMERYS 322718

 IMERYS 310040               IMERYS 320984              IMERYS 322719

 IMERYS 310062               IMERYS 321055              IMERYS 322720

 IMERYS 311275               IMERYS 321177              IMERYS 322916

 IMERYS 311328               IMERYS 321197              IMERYS 322929

 IMERYS 311515               IMERYS 321463              IMERYS 323132

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                                                                            153
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 IMERYS 323260               IMERYS 327726              IMERYS 331315

 IMERYS 323288               IMERYS 327924              IMERYS 331318

 IMERYS 323397               IMERYS 328096              IMERYS 331354

 IMERYS 323467               IMERYS 328147              IMERYS 331407

 IMERYS 323485               IMERYS 328241              IMERYS 331412

 IMERYS 323947               IMERYS 328282              IMERYS 331546

 IMERYS 324089               IMERYS 328560              IMERYS 331563

 IMERYS 324635               IMERYS 328783              IMERYS 331568

 IMERYS 324710               IMERYS 328866              IMERYS 331670

 IMERYS 324762               IMERYS 328870              IMERYS 331764

 IMERYS 324766               IMERYS 328886              IMERYS 332039

 IMERYS 324828               IMERYS 328993              IMERYS 336690

 IMERYS 324930               IMERYS 329108              IMERYS 337024

 IMERYS 324941               IMERYS 329307              IMERYS 337462

 IMERYS 324944               IMERYS 329339              IMERYS 338004

 IMERYS 324971               IMERYS 329339              IMERYS 338013

 IMERYS 325018               IMERYS 329753              IMERYS 338018

 IMERYS 325084               IMERYS 330333              IMERYS 338281

 IMERYS 325211               IMERYS 330351              IMERYS 338303

 IMERYS 325335               IMERYS 330548              IMERYS 338312

 IMERYS 325350               IMERYS 330769              IMERYS 338994

 IMERYS 325470               IMERYS 330830              IMERYS 339592

 IMERYS 325492               IMERYS 330878              IMERYS 340454

 IMERYS 325946               IMERYS 330891              IMERYS 340502

 IMERYS 325989               IMERYS 330973              IMERYS 340610

 IMERYS 326653               IMERYS 331268              IMERYS 340635

 IMERYS 326997               IMERYS 331284              IMERYS 340650

 IMERYS 327712               IMERYS 331285              IMERYS 340652

 IMERYS 327717               IMERYS 331290              IMERYS 340655

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                                                                            154
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 IMERYS 340657               IMERYS 407119              IMERYS-A_0000170

 IMERYS 340663               IMERYS 407126              IMERYS-A_0000250

 IMERYS 340666               IMERYS 422289              IMERYS-A_0000263

 IMERYS 340669               IMERYS 422289              IMERYS-A_0000303

 IMERYS 340676               IMERYS 440731              IMERYS-A_0000338

 IMERYS 340680               IMERYS 441830              IMERYS-A_0000387

 IMERYS 340701               IMERYS 442232              IMERYS-A_0000428

 IMERYS 340703               IMERYS 442776              IMERYS-A_0000473

 IMERYS 340715               IMERYS 443620              IMERYS-A_0000505

 IMERYS 340798               IMERYS 446665              IMERYS-A_0000506

 IMERYS 340836               IMERYS 446794              IMERYS-A_0000522

 IMERYS 340843               IMERYS 451330              IMERYS-A_0000533

 IMERYS 340845               IMERYS 462678              IMERYS-A_0000568

 IMERYS 340846               IMERYS 463164              IMERYS-A_0000828

 IMERYS 342524               IMERYS 467323              IMERYS-A_0000877

 IMERYS 342919               IMERYS 467337              IMERYS-A_0001017

 IMERYS 344280               IMERYS 467511              IMERYS-A_0001055

 IMERYS 346016               IMERYS 467525              IMERYS-A_0001140

 IMERYS 346016               IMERYS 467529              IMERYS-A_0001304

 IMERYS 352762               IMERYS 469478              IMERYS-A_0001326

 IMERYS 352764               IMERYS 469530              IMERYS-A_0001394

 IMERYS 354777               IMERYS 477879              IMERYS-A_0001441

 IMERYS 381971               IMERYS 499264              IMERYS-A_0001573

 IMERYS 381973               IMERYS 499486              IMERYS-A_0001637

 IMERYS 383014               IMERYS 500801              IMERYS-A_0001770

 IMERYS 386112               IMERYS-A_0000004           IMERYS-A_0001785

 IMERYS 392159               IMERYS-A_0000100           IMERYS-A_0001820

 IMERYS 406170               IMERYS-A_0000126           IMERYS-A_0001841

 IMERYS 406170               IMERYS-A_0000168           IMERYS-A_0001907

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                                                                            155
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 IMERYS-A_0002045            IMERYS-A_0003550           IMERYS-A_0005696

 IMERYS-A_0002122            IMERYS-A_0003609           IMERYS-A_0005886

 IMERYS-A_0002129            IMERYS-A_0003617           IMERYS-A_0005949

 IMERYS-A_0002225            IMERYS-A_0003623           IMERYS-A_0005988

 IMERYS-A_0002331            IMERYS-A_0003645           IMERYS-A_0006003

 IMERYS-A_0002429            IMERYS-A_0003817           IMERYS-A_0006042

 IMERYS-A_0002436            IMERYS-A_0003854           IMERYS-A_0006053

 IMERYS-A_0002540            IMERYS-A_0003978           IMERYS-A_0006057

 IMERYS-A_0002606            IMERYS-A_0004018           IMERYS-A_0006083

 IMERYS-A_0002609            IMERYS-A_0004101           IMERYS-A_0006091

 IMERYS-A_0002611            IMERYS-A_0004177           IMERYS-A_0006094

 IMERYS-A_0002656            IMERYS-A_0004388           IMERYS-A_0006105

 IMERYS-A_0002733            IMERYS-A_0004415           IMERYS-A_0006107

 IMERYS-A_0002806            IMERYS-A_0004430           IMERYS-A_0006117

 IMERYS-A_0002858            IMERYS-A_0004446           IMERYS-A_0006441

 IMERYS-A_0003024            IMERYS-A_0004533           IMERYS-A_0006478

 IMERYS-A_0003045            IMERYS-A_0004683           IMERYS-A_0009505

 IMERYS-A_0003135            IMERYS-A_0004788           IMERYS-A_0009576

 IMERYS-A_0003141            IMERYS-A_0004844           IMERYS-A_0010067

 IMERYS-A_0003202            IMERYS-A_0004917           IMERYS-A_0010102

 IMERYS-A_0003220            IMERYS-A_0004966           IMERYS-A_0010145

 IMERYS-A_0003232            IMERYS-A_0005028           IMERYS-A_0010149

 IMERYS-A_0003281            IMERYS-A_0005047           IMERYS-A_0010178

 IMERYS-A_0003284            IMERYS-A_0005074           IMERYS-A_0010206

 IMERYS-A_0003356            IMERYS-A_0005090           IMERYS-A_0010817

 IMERYS-A_0003375            IMERYS-A_0005097           IMERYS-A_0010819

 IMERYS-A_0003394            IMERYS-A_0005109           IMERYS-A_0010829

 IMERYS-A_0003434            IMERYS-A_0005118           IMERYS-A_0010835

 IMERYS-A_0003436            IMERYS-A_0005234           IMERYS-A_0010837

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                                                                            156
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 IMERYS-A_0010853            IMERYS-A_0012599           IMERYS-A_0013646

 IMERYS-A_0011022            IMERYS-A_0012623           IMERYS-A_0013647

 IMERYS-A_0011203            IMERYS-A_0012784           IMERYS-A_0013659

 IMERYS-A_0011269            IMERYS-A_0012794           IMERYS-A_0013686

 IMERYS-A_0011298            IMERYS-A_0012839           IMERYS-A_0013870

 IMERYS-A_0011306            IMERYS-A_0012851           IMERYS-A_0013905

 IMERYS-A_0011596            IMERYS-A_0012867           IMERYS-A_0013924

 IMERYS-A_0011598            IMERYS-A_0012897           IMERYS-A_0014047

 IMERYS-A_0011609            IMERYS-A_0012901           IMERYS-A_0014061

 IMERYS-A_0011765            IMERYS-A_0012903           IMERYS-A_0014071

 IMERYS-A_0011782            IMERYS-A_0012907           IMERYS-A_0014145

 IMERYS-A_0011787            IMERYS-A_0012933           IMERYS-A_0014245

 IMERYS-A_0011817            IMERYS-A_0012937           IMERYS-A_0014263

 IMERYS-A_0011897            IMERYS-A_0012971           IMERYS-A_0014681

 IMERYS-A_0011898            IMERYS-A_0013036           IMERYS-A_0014928

 IMERYS-A_0011903            IMERYS-A_0013061           IMERYS-A_0015376

 IMERYS-A_0011916            IMERYS-A_0013086           IMERYS-A_0015663

 IMERYS-A_0011928            IMERYS-A_0013094           IMERYS-A_0015749

 IMERYS-A_0011931            IMERYS-A_0013096           IMERYS-A_0015753

 IMERYS-A_0011962            IMERYS-A_0013107           IMERYS-A_0015755

 IMERYS-A_0011964            IMERYS-A_0013115           IMERYS-A_0015758

 IMERYS-A_0011966            IMERYS-A_0013143           IMERYS-A_0019727

 IMERYS-A_0011968            IMERYS-A_0013185           IMERYS-A_0020087

 IMERYS-A_0012038            IMERYS-A_0013186           IMERYS-A_0020140

 IMERYS-A_0012042            IMERYS-A_0013367           IMERYS-A_0020182

 IMERYS-A_0012089            IMERYS-A_0013399           IMERYS-A_0020193

 IMERYS-A_0012171            IMERYS-A_0013401           IMERYS-A_0020438

 IMERYS-A_0012219            IMERYS-A_0013501           IMERYS-A_0020440

 IMERYS-A_0012241            IMERYS-A_0013645           IMERYS-A_0020448

                                       20

                                                                            157
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 IMERYS-A_0020468            IMERYS-A_0021930           IMERYS-A_0022661

 IMERYS-A_0020492            IMERYS-A_0021938           IMERYS-A_0022684

 IMERYS-A_0020514            IMERYS-A_0021974           IMERYS-A_0022691

 IMERYS-A_0020575            IMERYS-A_0021976           IMERYS-A_0022704

 IMERYS-A_0020620            IMERYS-A_0022006           IMERYS-A_0022732

 IMERYS-A_0020737            IMERYS-A_0022012           IMERYS-A_0022766

 IMERYS-A_0020795            IMERYS-A_0022044           IMERYS-A_0022834

 IMERYS-A_0020801            IMERYS-A_0022051           IMERYS-A_0022866

 IMERYS-A_0020821            IMERYS-A_0022069           IMERYS-A_0022872

 IMERYS-A_0020867            IMERYS-A_0022098           IMERYS-A_0022903

 IMERYS-A_0020897            IMERYS-A_0022101           IMERYS-A_0022943

 IMERYS-A_0020905            IMERYS-A_0022136           IMERYS-A_0022996

 IMERYS-A_0020921            IMERYS-A_0022145           IMERYS-A_0023033

 IMERYS-A_0020956            IMERYS-A_0022176           IMERYS-A_0023063

 IMERYS-A_0020958            IMERYS-A_0022225           IMERYS-A_0023168

 IMERYS-A_0020960            IMERYS-A_0022382           IMERYS-A_0023738

 IMERYS-A_0020962            IMERYS-A_0022416           IMERYS-A_0023833

 IMERYS-A_0020996            IMERYS-A_0022420           IMERYS-A_0023838

 IMERYS-A_0021128            IMERYS-A_0022430           IMERYS-A_0023852

 IMERYS-A_0021168            IMERYS-A_0022532           IMERYS-A_0023912

 IMERYS-A_0021202            IMERYS-A_0022537           IMERYS-A_0023915

 IMERYS-A_0021222            IMERYS-A_0022553           IMERYS-A_0023919

 IMERYS-A_0021304            IMERYS-A_0022587           IMERYS-A_0023926

 IMERYS-A_0021350            IMERYS-A_0022607           IMERYS-A_0023983

 IMERYS-A_0021424            IMERYS-A_0022613           IMERYS-A_0024003

 IMERYS-A_0021643            IMERYS-A_0022618           IMERYS-A_0024201

 IMERYS-A_0021888            IMERYS-A_0022620           IMERYS-A_0024218

 IMERYS-A_0021890            IMERYS-A_0022638           IMERYS-A_0024224

 IMERYS-A_0021921            IMERYS-A_0022640           IMERYS-A_0024230

                                       21

                                                                            158
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 IMERYS-A_0024244            J&J-000797                  J&J-297

 IMERYS-A_0024281            J&J-0144301                 J&J-299

 IMERYS-A_0024286            J&J-1                       J&J-303

 IMERYS-A_0024287            J&J-100                     J&J-305

 IMERYS-A_0024290            J&J-112                     J&J-309

 IMERYS-A_0024306            J&J-141                     J&J-31

 IMERYS-A_0024367            J&J-15                      J&J-310

 IMERYS-A_0024390            J&J-164                     J&J-311

 IMERYS-A_0024410            J&J-169                     J&J-313

 IMERYS-A_0024411            J&J-175                     J&J-327

 IMERYS-A_0024548            J&J-177                     J&J-33

 IMERYS-A_0024562            J&J-179                     J&J-335

 IMERYS-A_0024631            J&J-182                     J&J-34

 IMERYS-A_0024658            J&J-184                     J&J-341

 IMERYS-A_0024710            J&J-185                     J&J-342

 IMERYS-A_0024825            J&J-19                      J&J-348

 IMERYS-A_0025168            J&J-190                     J&J-36

 IMERYS-A_0025225            J&J-2                       J&J-366

 IMERYS-A_0025237            J&J-202                     J&J-367

 IMERYS-A_0025461            J&J-23                      J&J-368

 IMERYS-A_0025572            J&J-246                     J&J-37

 IMERYS-A_0025638            J&J-255                     J&J-370

 IMERYS-A_0025724            J&J-256                     J&J-373

 IMERYS-MDL-AB_0005560       J&J-257                     J&J-44

 IMERYS-MDL-AB_0006204       J&J-258                     J&J-447

 IMERYS-MDL-AB_0006227       J&J-263                     J&J-47

 IMERYS-MDL-AB_0006980       J&J-28                      J&J-57

 J&J-0007797                 J&J-29                      J&J-58

 J&J-0007801                 J&J-296                     J&J-65

                                           22

                                                                             159
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 J&J-66                      JNJ 000000263              JNJ 000000935

 J&J-74                      JNJ 000000265              JNJ 000000973

 J&J-75                      JNJ 000000279              JNJ 000000990

 J&J-8                       JNJ 000000292              JNJ 000001033

 J&J-89                      JNJ 000000299              JNJ 000001103

 J&J-9                       JNJ 000000325              JNJ 000001106

 J&J-92                      JNJ 000000346              JNJ 000001153

 J&J-97                      JNJ 000000432              JNJ 000001289

 JANSSEN-000001              JNJ 000000467              JNJ 000001301

 JANSSEN-000056              JNJ 000000507              JNJ 000001312

 JNJ 000000001               JNJ 000000523              JNJ 000001323

 JNJ 000000015               JNJ 000000542              JNJ 000001334

 JNJ 000000017               JNJ 000000603              JNJ 000001345

 JNJ 000000023               JNJ 000000619              JNJ 000001356

 JNJ 000000039               JNJ 000000636              JNJ 000001367

 JNJ 000000043               JNJ 000000685              JNJ 000001378

 JNJ 000000044               JNJ 000000695              JNJ 000001389

 JNJ 000000081               JNJ 000000697              JNJ 000001400

 JNJ 000000089               JNJ 000000704              JNJ 000001403

 JNJ 000000096               JNJ 000000705              JNJ 000001408

 JNJ 000000100               JNJ 000000710              JNJ 000001429

 JNJ 000000115               JNJ 000000711              JNJ 000001549

 JNJ 000000119               JNJ 000000745              JNJ 000001629

 JNJ 000000123               JNJ 000000750              JNJ 000001660

 JNJ 000000128               JNJ 000000759              JNJ 000001696

 JNJ 000000160               JNJ 000000767              JNJ 000001699

 JNJ 000000251               JNJ 000000780              JNJ 000001715

 JNJ 000000255               JNJ 000000796              JNJ 000001734

 JNJ 000000257               JNJ 000000829              JNJ 000001737

                                        23

                                                                            160
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 JNJ 000001783               JNJ 000003584              JNJ 000006102

 JNJ 000001795               JNJ 000003646              JNJ 000006107

 JNJ 000001816               JNJ 000003715              JNJ 000006164

 JNJ 000001867               JNJ 000003758              JNJ 000006986

 JNJ 000001918               JNJ 000003820              JNJ 000007017

 JNJ 000001923               JNJ 000003911              JNJ 000007377

 JNJ 000001941               JNJ 000003914              JNJ 000007424

 JNJ 000002201               JNJ 000003969              JNJ 000007450

 JNJ 000002203               JNJ 000004015              JNJ 000007571

 JNJ 000002214               JNJ 000004225              JNJ 000007654

 JNJ 000002256               JNJ 000004382              JNJ 000007936

 JNJ 000002257               JNJ 000004384              JNJ 000008344

 JNJ 000002303               JNJ 000004471              JNJ 000008350

 JNJ 000002348               JNJ 000004498              JNJ 000008351

 JNJ 000002359               JNJ 000004527              JNJ 000008458

 JNJ 000002446               JNJ 000004682              JNJ 000008485

 JNJ 000002484               JNJ 000004696              JNJ 000008945

 JNJ 000002527               JNJ 000004699              JNJ 000009228

 JNJ 000002569               JNJ 000004701              JNJ 000009459

 JNJ 000002679               JNJ 000004703              JNJ 000009470

 JNJ 000002757               JNJ 000004705              JNJ 000009561

 JNJ 000002774               JNJ 000005210              JNJ 000009622

 JNJ 000003024               JNJ 000005342              JNJ 000009636

 JNJ 000003274               JNJ 000005574              JNJ 000009746

 JNJ 000003401               JNJ 000005855              JNJ 000009770

 JNJ 000003405               JNJ 000005870              JNJ 000009773

 JNJ 000003427               JNJ 000005878              JNJ 000009796

 JNJ 000003436               JNJ 000005982              JNJ 000009847

 JNJ 000003472               JNJ 000006020              JNJ 000009892

                                        24

                                                                            161
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 JNJ 000009972               JNJ 000011093              JNJ 000012446

 JNJ 000010002               JNJ 000011141              JNJ 000012612

 JNJ 000010109               JNJ 000011150              JNJ 000012944

 JNJ 000010293               JNJ 000011209              JNJ 000013339

 JNJ 000010339               JNJ 000011704              JNJ 000013357

 JNJ 000010356               JNJ 000011742              JNJ 000013360

 JNJ 000010498               JNJ 000011748              JNJ 000013578

 JNJ 000010545               JNJ 000011755              JNJ 000013579

 JNJ 000010695               JNJ 000011761              JNJ 000013640

 JNJ 000010712               JNJ 000011768              JNJ 000013664

 JNJ 000010784               JNJ 000011775              JNJ 000013698

 JNJ 000010789               JNJ 000011777              JNJ 000013719

 JNJ 000010808               JNJ 000011872              JNJ 000013725

 JNJ 000010821               JNJ 000011884              JNJ 000013758

 JNJ 000010831               JNJ 000011889              JNJ 000013807

 JNJ 000010832               JNJ 000011890              JNJ 000013816

 JNJ 000010834               JNJ 000011896              JNJ 000013859

 JNJ 000010841               JNJ 000011956              JNJ 000013873

 JNJ 000010849               JNJ 000011963              JNJ 000013884

 JNJ 000010850               JNJ 000011968              JNJ 000013895

 JNJ 000010852               JNJ 000011970              JNJ 000013906

 JNJ 000010925               JNJ 000011995              JNJ 000013917

 JNJ 000011037               JNJ 000012092              JNJ 000013930

 JNJ 000011037               JNJ 000012222              JNJ 000013964

 JNJ 000011052               JNJ 000012235              JNJ 000014074

 JNJ 000011053               JNJ 000012277              JNJ 000014081

 JNJ 000011072               JNJ 000012286              JNJ 000014253

 JNJ 000011079               JNJ 000012337              JNJ 000014320

 JNJ 000011087               JNJ 000012346              JNJ 000014364

                                        25

                                                                            162
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 JNJ 000014423               JNJ 000015742              JNJ 000016559

 JNJ 000014454               JNJ 000015745              JNJ 000016566

 JNJ 000014471               JNJ 000015747              JNJ 000016580

 JNJ 000014554               JNJ 000015750              JNJ 000016581

 JNJ 000014633               JNJ 000015753              JNJ 000016583

 JNJ 000015035               JNJ 000015758              JNJ 000016603

 JNJ 000015040               JNJ 000015759              JNJ 000016604

 JNJ 000015048               JNJ 000015765              JNJ 000016631

 JNJ 000015055               JNJ 000015766              JNJ 000016638

 JNJ 000015056               JNJ 000015770              JNJ 000016645

 JNJ 000015060               JNJ 000015902              JNJ 000016656

 JNJ 000015218               JNJ 000015990              JNJ 000016657

 JNJ 000015379               JNJ 000016018              JNJ 000016687

 JNJ 000015398               JNJ 000016045              JNJ 000016690

 JNJ 000015414               JNJ 000016158              JNJ 000016693

 JNJ 000015418               JNJ 000016277              JNJ 000016696

 JNJ 000015429               JNJ 000016281              JNJ 000016908

 JNJ 000015437               JNJ 000016335              JNJ 000017243

 JNJ 000015441               JNJ 000016381              JNJ 000017250

 JNJ 000015530               JNJ 000016393              JNJ 000017380

 JNJ 000015538               JNJ 000016449              JNJ 000017394

 JNJ 000015543               JNJ 000016451              JNJ 000017457

 JNJ 000015565               JNJ 000016466              JNJ 000017539

 JNJ 000015566               JNJ 000016470              JNJ 000017552

 JNJ 000015577               JNJ 000016508              JNJ 000017628

 JNJ 000015595               JNJ 000016511              JNJ 000017691

 JNJ 000015624               JNJ 000016514              JNJ 000017715

 JNJ 000015647               JNJ 000016524              JNJ 000017739

 JNJ 000015652               JNJ 000016548              JNJ 000018031

                                        26

                                                                            163
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 JNJ 000018082               JNJ 000019133              JNJ 000020074

 JNJ 000018091               JNJ 000019135              JNJ 000020159

 JNJ 000018179               JNJ 000019147              JNJ 000020161

 JNJ 000018185               JNJ 000019212              JNJ 000020172

 JNJ 000018221               JNJ 000019228              JNJ 000020227

 JNJ 000018228               JNJ 000019266              JNJ 000020278

 JNJ 000018259               JNJ 000019280              JNJ 000020313

 JNJ 000018265               JNJ 000019323              JNJ 000020397

 JNJ 000018267               JNJ 000019384              JNJ 000020398

 JNJ 000018283               JNJ 000019415              JNJ 000020439

 JNJ 000018353               JNJ 000019416              JNJ 000020475

 JNJ 000018486               JNJ 000019479              JNJ 000020491

 JNJ 000018514               JNJ 000019497              JNJ 000020629

 JNJ 000018576               JNJ 000019592              JNJ 000020665

 JNJ 000018666               JNJ 000019616              JNJ 000020669

 JNJ 000018679               JNJ 000019726              JNJ 000020678

 JNJ 000018691               JNJ 000019732              JNJ 000020726

 JNJ 000018716               JNJ 000019738              JNJ 000020733

 JNJ 000018820               JNJ 000019744              JNJ 000020759

 JNJ 000018894               JNJ 000019747              JNJ 000020763

 JNJ 000018904               JNJ 000019790              JNJ 000020907

 JNJ 000018944               JNJ 000019825              JNJ 000020969

 JNJ 000018963               JNJ 000019827              JNJ 000020973

 JNJ 000018965               JNJ 000019915              JNJ 000020984

 JNJ 000018966               JNJ 000019926              JNJ 000021004

 JNJ 000019025               JNJ 000019950              JNJ 000021008

 JNJ 000019075               JNJ 000019993              JNJ 000021035

 JNJ 000019094               JNJ 000020037              JNJ 000021067

 JNJ 000019128               JNJ 000020073              JNJ 000021074

                                        27

                                                                            164
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 JNJ 000021087               JNJ 000022272              JNJ 000023436

 JNJ 000021088               JNJ 000022277              JNJ 000023492

 JNJ 000021089               JNJ 000022297              JNJ 000023493

 JNJ 000021090               JNJ 000022338              JNJ 000023528

 JNJ 000021093               JNJ 000022381              JNJ 000023555

 JNJ 000021097               JNJ 000022464              JNJ 000023559

 JNJ 000021100               JNJ 000022581              JNJ 000023563

 JNJ 000021235               JNJ 000022584              JNJ 000023566

 JNJ 000021285               JNJ 000022587              JNJ 000023574

 JNJ 000021286               JNJ 000022594              JNJ 000023578

 JNJ 000021340               JNJ 000022597              JNJ 000023578

 JNJ 000021342               JNJ 000022603              JNJ 000023580

 JNJ 000021346               JNJ 000022606              JNJ 000023731

 JNJ 000021350               JNJ 000022612              JNJ 000023733

 JNJ 000021388               JNJ 000022658              JNJ 000023739

 JNJ 000021402               JNJ 000022667              JNJ 000023743

 JNJ 000021502               JNJ 000022670              JNJ 000023784

 JNJ 000021823               JNJ 000022759              JNJ 000023918

 JNJ 000021826               JNJ 000022770              JNJ 000024007

 JNJ 000021837               JNJ 000022781              JNJ 000024028

 JNJ 000022043               JNJ 000022783              JNJ 000024029

 JNJ 000022092               JNJ 000022785              JNJ 000024045

 JNJ 000022107               JNJ 000023020              JNJ 000024069

 JNJ 000022185               JNJ 000023079              JNJ 000024072

 JNJ 000022216               JNJ 000023139              JNJ 000024073

 JNJ 000022223               JNJ 000023182              JNJ 000024081

 JNJ 000022233               JNJ 000023186              JNJ 000024187

 JNJ 000022266               JNJ 000023187              JNJ 000024213

 JNJ 000022269               JNJ 000023191              JNJ 000024293

                                        28

                                                                            165
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 JNJ 000024294               JNJ 000024626              JNJ 000025189

 JNJ 000024295               JNJ 000024659              JNJ 000025195

 JNJ 000024304               JNJ 000024690              JNJ 000025510

 JNJ 000024307               JNJ 000024698              JNJ 000025513

 JNJ 000024310               JNJ 000024701              JNJ 000025636

 JNJ 000024315               JNJ 000024706              JNJ 000025657

 JNJ 000024397               JNJ 000024711              JNJ 000025746

 JNJ 000024405               JNJ 000024723              JNJ 000025751

 JNJ 000024418               JNJ 000024746              JNJ 000025827

 JNJ 000024420               JNJ 000024750              JNJ 000025890

 JNJ 000024423               JNJ 000024755              JNJ 000025951

 JNJ 000024458               JNJ 000024757              JNJ 000026092

 JNJ 000024462               JNJ 000024761              JNJ 000026111

 JNJ 000024464               JNJ 000024765              JNJ 000026178

 JNJ 000024490               JNJ 000024772              JNJ 000026196

 JNJ 000024491               JNJ 000024775              JNJ 000026202

 JNJ 000024493               JNJ 000024779              JNJ 000026211

 JNJ 000024495               JNJ 000024782              JNJ 000026241

 JNJ 000024508               JNJ 000024783              JNJ 000026246

 JNJ 000024510               JNJ 000024811              JNJ 000026249

 JNJ 000024512               JNJ 000024814              JNJ 000026473

 JNJ 000024513               JNJ 000024819              JNJ 000026483

 JNJ 000024526               JNJ 000024833              JNJ 000026493

 JNJ 000024530               JNJ 000024881              JNJ 000026604

 JNJ 000024560               JNJ 000024918              JNJ 000026619

 JNJ 000024600               JNJ 000024922              JNJ 000026623

 JNJ 000024623               JNJ 000025132              JNJ 000026625

 JNJ 000024624               JNJ 000025181              JNJ 000026638

 JNJ 000024625               JNJ 000025185              JNJ 000026658

                                        29

                                                                            166
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 JNJ 000026755               JNJ 000029076              JNJ 000030368

 JNJ 000026757               JNJ 000029080              JNJ 000030418

 JNJ 000026764               JNJ 000029090              JNJ 000030424

 JNJ 000026767               JNJ 000029205              JNJ 000030436

 JNJ 000026771               JNJ 000029215              JNJ 000030460

 JNJ 000026775               JNJ 000029264              JNJ 000030476

 JNJ 000026780               JNJ 000029270              JNJ 000030483

 JNJ 000026862               JNJ 000029299              JNJ 000030487

 JNJ 000026870               JNJ 000029321              JNJ 000030494

 JNJ 000026885               JNJ 000029330              JNJ 000030495

 JNJ 000026899               JNJ 000029370              JNJ 000030548

 JNJ 000026904               JNJ 000029521              JNJ 000030560

 JNJ 000026929               JNJ 000029534              JNJ 000030565

 JNJ 000026949               JNJ 000029535              JNJ 000030571

 JNJ 000026968               JNJ 000029539              JNJ 000030581

 JNJ 000026987               JNJ 000029542              JNJ 000030582

 JNJ 000027008               JNJ 000029640              JNJ 000030587

 JNJ 000027380               JNJ 000029649              JNJ 000030601

 JNJ 000027390               JNJ 000029662              JNJ 000030653

 JNJ 000027451               JNJ 000029701              JNJ 000030672

 JNJ 000027477               JNJ 000029706              JNJ 000030717

 JNJ 000027493               JNJ 000029825              JNJ 000030721

 JNJ 000027499               JNJ 000029966              JNJ 000030726

 JNJ 000028146               JNJ 000029970              JNJ 000030730

 JNJ 000028355               JNJ 000030008              JNJ 000030810

 JNJ 000028371               JNJ 000030027              JNJ 000030833

 JNJ 000028403               JNJ 000030036              JNJ 000030834

 JNJ 000028424               JNJ 000030288              JNJ 000030851

 JNJ 000028964               JNJ 000030290              JNJ 000030878

                                        30

                                                                            167
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 JNJ 000030880               JNJ 000032929              JNJ 000034778

 JNJ 000030883               JNJ 000033366              JNJ 000034846

 JNJ 000030922               JNJ 000033390              JNJ 000034856

 JNJ 000030940               JNJ 000033391              JNJ 000034871

 JNJ 000031001               JNJ 000033396              JNJ 000034886

 JNJ 000031004               JNJ 000033411              JNJ 000034942

 JNJ 000031005               JNJ 000033549              JNJ 000035107

 JNJ 000031087               JNJ 000033552              JNJ 000035171

 JNJ 000031107               JNJ 000033573              JNJ 000035173

 JNJ 000031109               JNJ 000033575              JNJ 000035232

 JNJ 000031110               JNJ 000033620              JNJ 000035263

 JNJ 000031125               JNJ 000033681              JNJ 000035346

 JNJ 000031294               JNJ 000033702              JNJ 000035507

 JNJ 000031309               JNJ 000033744              JNJ 000035510

 JNJ 000031371               JNJ 000033761              JNJ 000035515

 JNJ 000031380               JNJ 000033765              JNJ 000035574

 JNJ 000031390               JNJ 000034041              JNJ 000035633

 JNJ 000031397               JNJ 000034043              JNJ 000035635

 JNJ 000031419               JNJ 000034090              JNJ 000035640

 JNJ 000031443               JNJ 000034158              JNJ 000035652

 JNJ 000031917               JNJ 000034293              JNJ 000035675

 JNJ 000032016               JNJ 000034297              JNJ 000035679

 JNJ 000032017               JNJ 000034461              JNJ 000035684

 JNJ 000032018               JNJ 000034489              JNJ 000035686

 JNJ 000032333               JNJ 000034538              JNJ 000035689

 JNJ 000032369               JNJ 000034579              JNJ 000035693

 JNJ 000032393               JNJ 000034718              JNJ 000035703

 JNJ 000032806               JNJ 000034755              JNJ 000035707

 JNJ 000032876               JNJ 000034776              JNJ 000035710

                                        31

                                                                            168
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 JNJ 000035711               JNJ 000036600              JNJ 000037715

 JNJ 000035754               JNJ 000036676              JNJ 000037721

 JNJ 000035756               JNJ 000036677              JNJ 000037726

 JNJ 000035763               JNJ 000036731              JNJ 000037730

 JNJ 000035766               JNJ 000036734              JNJ 000037750

 JNJ 000035771               JNJ 000036763              JNJ 000037753

 JNJ 000035785               JNJ 000036765              JNJ 000037760

 JNJ 000035837               JNJ 000036769              JNJ 000037761

 JNJ 000035877               JNJ 000036785              JNJ 000037808

 JNJ 000036094               JNJ 000036802              JNJ 000037815

 JNJ 000036100               JNJ 000037232              JNJ 000037841

 JNJ 000036106               JNJ 000037247              JNJ 000037845

 JNJ 000036113               JNJ 000037253              JNJ 000037849

 JNJ 000036187               JNJ 000037279              JNJ 000037853

 JNJ 000036192               JNJ 000037281              JNJ 000037859

 JNJ 000036195               JNJ 000037290              JNJ 000038283

 JNJ 000036275               JNJ 000037293              JNJ 000038327

 JNJ 000036305               JNJ 000037297              JNJ 000038329

 JNJ 000036415               JNJ 000037300              JNJ 000038342

 JNJ 000036440               JNJ 000037433              JNJ 000038364

 JNJ 000036458               JNJ 000037468              JNJ 000038373

 JNJ 00003646                JNJ 000037470              JNJ 000038514

 JNJ 000036463               JNJ 000037476              JNJ 000038523

 JNJ 000036490               JNJ 000037554              JNJ 000038528

 JNJ 000036519               JNJ 000037574              JNJ 000038575

 JNJ 000036535               JNJ 000037614              JNJ 000038585

 JNJ 000036589               JNJ 000037695              JNJ 000038587

 JNJ 000036592               JNJ 000037703              JNJ 000038707

 JNJ 000036595               JNJ 000037710              JNJ 000038708

                                        32

                                                                            169
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 JNJ 000038748               JNJ 000040498              JNJ 000041711

 JNJ 000038751               JNJ 000040508              JNJ 000041937

 JNJ 000038754               JNJ 000040560              JNJ 000041943

 JNJ 000038766               JNJ 000040578              JNJ 000042338

 JNJ 000038772               JNJ 000040596              JNJ 000042353

 JNJ 000038788               JNJ 000040598              JNJ 000042393

 JNJ 000038972               JNJ 000040609              JNJ 000042457

 JNJ 000039218               JNJ 000040636              JNJ 000042588

 JNJ 000039511               JNJ 000040639              JNJ 000042605

 JNJ 000039516               JNJ 000040817              JNJ 000043014

 JNJ 000039523               JNJ 000040844              JNJ 000043104

 JNJ 000039530               JNJ 000040851              JNJ 000043107

 JNJ 000039575               JNJ 000040936              JNJ 000043267

 JNJ 000039585               JNJ 000040984              JNJ 000043280

 JNJ 000039672               JNJ 000040988              JNJ 000043389

 JNJ 000039763               JNJ 000040999              JNJ 000043493

 JNJ 000039819               JNJ 000041025              JNJ 000043496

 JNJ 000039984               JNJ 000041112              JNJ 000043682

 JNJ 000040012               JNJ 000041115              JNJ 000043715

 JNJ 000040338               JNJ 000041131              JNJ 000043791

 JNJ 000040341               JNJ 000041232              JNJ 000043804

 JNJ 000040343               JNJ 000041245              JNJ 000043882

 JNJ 000040346               JNJ 000041267              JNJ 000043921

 JNJ 000040355               JNJ 000041298              JNJ 000044114

 JNJ 000040361               JNJ 000041339              JNJ 000044128

 JNJ 000040362               JNJ 000041537              JNJ 000044162

 JNJ 000040424               JNJ 000041541              JNJ 000044249

 JNJ 000040433               JNJ 000041608              JNJ 000044299

 JNJ 000040490               JNJ 000041657              JNJ 000044309

                                        33

                                                                            170
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 JNJ 000044328               JNJ 000046157              JNJ 000047075

 JNJ 000044387               JNJ 000046158              JNJ 000047085

 JNJ 000044458               JNJ 000046160              JNJ 000047086

 JNJ 000044539               JNJ 000046164              JNJ 000047202

 JNJ 000044628               JNJ 000046167              JNJ 000047204

 JNJ 000044648               JNJ 000046179              JNJ 000047257

 JNJ 000044653               JNJ 000046180              JNJ 000047354

 JNJ 000044659               JNJ 000046257              JNJ 000047376

 JNJ 000044705               JNJ 000046260              JNJ 000047388

 JNJ 000044732               JNJ 000046271              JNJ 000047389

 JNJ 000044746               JNJ 000046291              JNJ 000047515

 JNJ 000044755               JNJ 000046293              JNJ 000048075

 JNJ 000044775               JNJ 000046307              JNJ 000048244

 JNJ 000044777               JNJ 000046366              JNJ 000048311

 JNJ 000044786               JNJ 000046393              JNJ 000048449

 JNJ 000044793               JNJ 000046408              JNJ 000048454

 JNJ 000044817               JNJ 000046444              JNJ 000048478

 JNJ 000045623               JNJ 000046825              JNJ 000048969

 JNJ 000045825               JNJ 000046862              JNJ 000049023

 JNJ 000045855               JNJ 000046911              JNJ 000049030

 JNJ 000045880               JNJ 000046942              JNJ 000049033

 JNJ 000045920               JNJ 000046944              JNJ 000049152

 JNJ 000045971               JNJ 000046959              JNJ 000049907

 JNJ 000045982               JNJ 000046963              JNJ 000049920

 JNJ 000045984               JNJ 000047005              JNJ 000050132

 JNJ 000046060               JNJ 000047016              JNJ 000050135

 JNJ 000046101               JNJ 000047039              JNJ 000050303

 JNJ 000046111               JNJ 000047045              JNJ 000050327

 JNJ 000046154               JNJ 000047064              JNJ 000050330

                                        34

                                                                            171
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 JNJ 000050359               JNJ 000051973              JNJ 000055183

 JNJ 000050364               JNJ 000051974              JNJ 000055282

 JNJ 000050366               JNJ 000052000              JNJ 000055640

 JNJ 000050420               JNJ 000052010              JNJ 000055655

 JNJ 000050464               JNJ 000052107              JNJ 000055777

 JNJ 000050469               JNJ 000052389              JNJ 000055792

 JNJ 000050471               JNJ 000052542              JNJ 000055795

 JNJ 000050483               JNJ 000052549              JNJ 000055863

 JNJ 000050590               JNJ 000052562              JNJ 000055924

 JNJ 000050693               JNJ 000052639              JNJ 000057773

 JNJ 000050696               JNJ 000052644              JNJ 000057791

 JNJ 000050711               JNJ 000052678              JNJ 000058023

 JNJ 000050727               JNJ 000052894              JNJ 000058033

 JNJ 000050764               JNJ 000052896              JNJ 000058185

 JNJ 000050928               JNJ 000052899              JNJ 000058201

 JNJ 000050935               JNJ 000053077              JNJ 000058361

 JNJ 000050948               JNJ 000053189              JNJ 000058364

 JNJ 000051030               JNJ 000053418              JNJ 000058377

 JNJ 000051084               JNJ 000053422              JNJ 000058418

 JNJ 000051090               JNJ 000053441              JNJ 000058760

 JNJ 000051099               JNJ 000053468              JNJ 000058767

 JNJ 000051146               JNJ 000053522              JNJ 000060254

 JNJ 000051181               JNJ 000053564              JNJ 000060260

 JNJ 000051796               JNJ 000054156              JNJ 000060267

 JNJ 000051815               JNJ 000054438              JNJ 000060494

 JNJ 000051873               JNJ 000054844              JNJ 000060497

 JNJ 000051885               JNJ 000054951              JNJ 000062076

 JNJ 000051937               JNJ 000055117              JNJ 000062176

 JNJ 000051951               JNJ 000055164              JNJ 000062359

                                        35

                                                                            172
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 JNJ 000062359               JNJ 000085695              JNJ 000092590

 JNJ 000062436               JNJ 000085724              JNJ 000092776

 JNJ 000062436               JNJ 000086280              JNJ 000092918

 JNJ 000062736               JNJ 000086545              JNJ 000092942

 JNJ 000063410               JNJ 000086555              JNJ 000092968

 JNJ 000063435               JNJ 000086568              JNJ 000092980

 JNJ 000063608               JNJ 000087166              JNJ 000093004

 JNJ 000063916               JNJ 000087710              JNJ 000093065

 JNJ 000063951               JNJ 000087716              JNJ 000093406

 JNJ 000063951               JNJ 000087928              JNJ 000093556

 JNJ 000064544               JNJ 000087959              JNJ 000094811

 JNJ 000064567               JNJ 000087989              JNJ 000096914

 JNJ 000064762               JNJ 000087991              JNJ 000097988

 JNJ 000065112               JNJ 000088509              JNJ 000099042

 JNJ 000065264               JNJ 000088570              JNJ 000100785

 JNJ 000065300               JNJ 000089299              JNJ 000101401

 JNJ 000065601               JNJ 000089347              JNJ 000101798

 JNJ 000065666               JNJ 000089413              JNJ 000106697

 JNJ 000065670               JNJ 000089418              JNJ 000108067

 JNJ 000066259               JNJ 000089419              JNJ 000109468

 JNJ 000066264               JNJ 000090186              JNJ 000119604

 JNJ 00006987                JNJ 000090269              JNJ 000124172

 JNJ 000084990               JNJ 000092008              JNJ 000124538

 JNJ 000085279               JNJ 000092010              JNJ 000124976

 JNJ 000085294               JNJ 000092018              JNJ 000130781

 JNJ 000085374               JNJ 000092071              JNJ 000131573

 JNJ 000085448               JNJ 000092160              JNJ 000132123

 JNJ 000085643               JNJ 000092224              JNJ 000132237

 JNJ 000085657               JNJ 000092227              JNJ 000132607

                                        36

                                                                            173
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 JNJ 000133064               JNJ 000222894              JNJ 000235202

 JNJ 000133066               JNJ 000222900              JNJ 000236810

 JNJ 000133077               JNJ 000223449              JNJ 000236843

 JNJ 000133079               JNJ 000224655              JNJ 000237055

 JNJ 000133088               JNJ 000224967              JNJ 000237076

 JNJ 000133095               JNJ 000227880              JNJ 000237379

 JNJ 000133097               JNJ 000229914              JNJ 000237627

 JNJ 000133628               JNJ 000231253              JNJ 000237629

 JNJ 000134404               JNJ 000231304              JNJ 000238011

 JNJ 000135332               JNJ 000231388              JNJ 000238021

 JNJ 000135335               JNJ 000231422              JNJ 000238022

 JNJ 000135340               JNJ 000231429              JNJ 000238065

 JNJ 000135342               JNJ 000231465              JNJ 000238235

 JNJ 000135571               JNJ 000231474              JNJ 000238256

 JNJ 000135574               JNJ 000231513              JNJ 000238826

 JNJ 000135579               JNJ 000232897              JNJ 000238940

 JNJ 000135581               JNJ 000232955              JNJ 000239175

 JNJ 000140068               JNJ 000232961              JNJ 000239202

 JNJ 000147232               JNJ 000232996              JNJ 000239229

 JNJ 000174186               JNJ 000233250              JNJ 000239271

 JNJ 000181347               JNJ 000233697              JNJ 000239315

 JNJ 000181570               JNJ 000233738              JNJ 000239319

 JNJ 000190984               JNJ 000234239              JNJ 000239703

 JNJ 000218532               JNJ 000234240              JNJ 000239723

 JNJ 000218592               JNJ 000234241              JNJ 000239730

 JNJ 000218593               JNJ 000234242              JNJ 000240224

 JNJ 000222062               JNJ 000234243              JNJ 000240230

 JNJ 000222667               JNJ 000234245              JNJ 000240236

 JNJ 000222851               JNJ 000234805              JNJ 000240242

                                        37

                                                                            174
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 JNJ 000240248               JNJ 000242959              JNJ 000246564

 JNJ 000240293               JNJ 000243003              JNJ 000246808

 JNJ 000240311               JNJ 000243134              JNJ 000246844

 JNJ 000240405               JNJ 000244014              JNJ 000246984

 JNJ 000240437               JNJ 000244094              JNJ 000246984

 JNJ 000240585               JNJ 000244095              JNJ 000247375

 JNJ 000240610               JNJ 000244131              JNJ 000247390

 JNJ 000240850               JNJ 000244747              JNJ 000247495

 JNJ 000240893               JNJ 000244766              JNJ 000248023

 JNJ 000240967               JNJ 000244793              JNJ 000248105

 JNJ 000241048               JNJ 000244828              JNJ 000248584

 JNJ 000241056               JNJ 000244829              JNJ 000249201

 JNJ 000241394               JNJ 000245002              JNJ 000249493

 JNJ 000241395               JNJ 000245158              JNJ 000249916

 JNJ 000242001               JNJ 000245171              JNJ 000250075

 JNJ 000242415               JNJ 000245268              JNJ 000250105

 JNJ 000242437               JNJ 000245293              JNJ 000250161

 JNJ 000242438               JNJ 000245513              JNJ 000250177

 JNJ 000242551               JNJ 000245517              JNJ 000250310

 JNJ 000242576               JNJ 000245678              JNJ 000250356

 JNJ 000242578               JNJ 000245679              JNJ 000250399

 JNJ 000242595               JNJ 000245744              JNJ 000250428

 JNJ 000242597               JNJ 000245747              JNJ 000250447

 JNJ 000242598               JNJ 000245748              JNJ 000250471

 JNJ 000242613               JNJ 000245762              JNJ 000250491

 JNJ 000242618               JNJ 000245901              JNJ 000250666

 JNJ 000242620               JNJ 000245903              JNJ 000250841

 JNJ 000242856               JNJ 000246437              JNJ 000250924

 JNJ 000242897               JNJ 000246467              JNJ 000251362

                                        38

                                                                            175
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 JNJ 000251372               JNJ 000259231              JNJ 000260709

 JNJ 000251382               JNJ 000259267              JNJ 000260710

 JNJ 000251888               JNJ 000259272              JNJ 000260711

 JNJ 000252341               JNJ 000260569              JNJ 000260713

 JNJ 000252564               JNJ 000260570              JNJ 000260715

 JNJ 000252586               JNJ 000260573              JNJ 000260717

 JNJ 000252604               JNJ 000260573              JNJ 000260720

 JNJ 000252632               JNJ 000260575              JNJ 000260722

 JNJ 000252742               JNJ 000260578              JNJ 000260723

 JNJ 000252992               JNJ 000260580              JNJ 000260725

 JNJ 000253027               JNJ 000260581              JNJ 000260726

 JNJ 000253086               JNJ 000260602              JNJ 000260727

 JNJ 000253830               JNJ 000260622              JNJ 000260728

 JNJ 000253832               JNJ 000260624              JNJ 000260729

 JNJ 000254304               JNJ 000260645              JNJ 000260731

 JNJ 000254361               JNJ 000260663              JNJ 000260732

 JNJ 000257505               JNJ 000260678              JNJ 000260733

 JNJ 000257730               JNJ 000260686              JNJ 000260734

 JNJ 000257792               JNJ 000260693              JNJ 000260737

 JNJ 000257836               JNJ 000260693              JNJ 000260740

 JNJ 000258101               JNJ 000260695              JNJ 000260742

 JNJ 000258914               JNJ 000260696              JNJ 000260745

 JNJ 000258933               JNJ 000260697              JNJ 000260747

 JNJ 000258978               JNJ 000260698              JNJ 000260748

 JNJ 000259030               JNJ 000260700              JNJ 000260749

 JNJ 000259042               JNJ 000260701              JNJ 000260753

 JNJ 000259100               JNJ 000260704              JNJ 000260756

 JNJ 000259154               JNJ 000260705              JNJ 000260757

 JNJ 000259168               JNJ 000260707              JNJ 000260759

                                        39

                                                                            176
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 JNJ 000260807               JNJ 000267199              JNJ 000279507

 JNJ 000260944               JNJ 000267334              JNJ 000280349

 JNJ 000261010               JNJ 000268545              JNJ 000280352

 JNJ 000261147               JNJ 000268624              JNJ 000280369

 JNJ 000261163               JNJ 000268746              JNJ 000280370

 JNJ 000261166               JNJ 000268973              JNJ 000280371

 JNJ 000261178               JNJ 000269071              JNJ 000280373

 JNJ 000261312               JNJ 000269904              JNJ 000281154

 JNJ 000261322               JNJ 000270494              JNJ 000281463

 JNJ 000261390               JNJ 000270588              JNJ 000281579

 JNJ 000261538               JNJ 000271044              JNJ 000281919

 JNJ 000261539               JNJ 000271088              JNJ 000281921

 JNJ 000261640               JNJ 000271090              JNJ 000284105

 JNJ 000261856               JNJ 000271192              JNJ 000284497

 JNJ 000261860               JNJ 000271546              JNJ 000285351

 JNJ 000261924               JNJ 000272157              JNJ 000285942

 JNJ 000262094               JNJ 000272811              JNJ 000287436

 JNJ 000262489               JNJ 000272930              JNJ 000288690

 JNJ 000263381               JNJ 000272945              JNJ 000288703

 JNJ 000263527               JNJ 000274590              JNJ 000288719

 JNJ 000264149               JNJ 000274701              JNJ 000288733

 JNJ 000264433               JNJ 000275511              JNJ 000288801

 JNJ 000264653               JNJ 000275517              JNJ 000288815

 JNJ 000264747               JNJ 000276506              JNJ 000288874

 JNJ 000265171               JNJ 000277220              JNJ 000289284

 JNJ 000265482               JNJ 000277247              JNJ 000289390

 JNJ 000265483               JNJ 000277941              JNJ 000289964

 JNJ 000265536               JNJ 000277959              JNJ 000290508

 JNJ 000267139               JNJ 000279282              JNJ 000291891

                                        40

                                                                            177
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 JNJ 000291914               JNJ 000299206              JNJ 000310040

 JNJ 000291916               JNJ 000299824              JNJ 000310146

 JNJ 000292668               JNJ 000301858              JNJ 000310152

 JNJ 000293570               JNJ 000301971              JNJ 000311818

 JNJ 000293683               JNJ 000302441              JNJ 000311829

 JNJ 000294395               JNJ 000302645              JNJ 000311878

 JNJ 000294439               JNJ 000302789              JNJ 000311917

 JNJ 000295357               JNJ 000302931              JNJ 000312468

 JNJ 000295365               JNJ 000303401              JNJ 000313060

 JNJ 000295376               JNJ 000303433              JNJ 000313381

 JNJ 000295834               JNJ 000303758              JNJ 000313474

 JNJ 000295902               JNJ 000304000              JNJ 000314315

 JNJ 000295942               JNJ 000304305              JNJ 000314315

 JNJ 000296346               JNJ 000304364              JNJ 000314365

 JNJ 000296388               JNJ 000304421              JNJ 000314406

 JNJ 000296390               JNJ 000304741              JNJ 000314517

 JNJ 000296531               JNJ 000306919              JNJ 000314680

 JNJ 000296898               JNJ 000306944              JNJ 000314698

 JNJ 000296901               JNJ 000307255              JNJ 000314805

 JNJ 000296941               JNJ 000307277              JNJ 000322751

 JNJ 000297194               JNJ 000307413              JNJ 000323136

 JNJ 000297328               JNJ 000307890              JNJ 000323217

 JNJ 000297380               JNJ 000307989              JNJ 000323354

 JNJ 000297413               JNJ 000308280              JNJ 000323359

 JNJ 000297431               JNJ 000308360              JNJ 000323748

 JNJ 000297806               JNJ 000308461              JNJ 000323762

 JNJ 000297910               JNJ 000308540              JNJ 000323883

 JNJ 000298951               JNJ 000308811              JNJ 000323886

 JNJ 000299018               JNJ 000309836              JNJ 000324150

                                        41

                                                                            178
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 JNJ 000325447               JNJ 00033174               JNJ 000343613

 JNJ 000326211               JNJ 000332183              JNJ 000343614

 JNJ 000326262               JNJ 000333845              JNJ 000343946

 JNJ 000326278               JNJ 000333953              JNJ 000344522

 JNJ 000326574               JNJ 000334062              JNJ 000345152

 JNJ 000326613               JNJ 000334161              JNJ 000345319

 JNJ 000326688               JNJ 000334246              JNJ 000345506

 JNJ 000326702               JNJ 000334265              JNJ 000346130

 JNJ 000326798               JNJ 000334290              JNJ 000346572

 JNJ 000326966               JNJ 000334943              JNJ 000346747

 JNJ 000326966               JNJ 000334945              JNJ 000346836

 JNJ 000327753               JNJ 000335446              JNJ 000346905

 JNJ 000327766               JNJ 000335466              JNJ 000346918

 JNJ 000327788               JNJ 000335487              JNJ 000347962

 JNJ 000328270               JNJ 000336128              JNJ 000347962

 JNJ 000328466               JNJ 000336218              JNJ 000348778

 JNJ 000328618               JNJ 000336820              JNJ 000353364

 JNJ 000329671               JNJ 000336835              JNJ 000356251

 JNJ 000329692               JNJ 000336912              JNJ 000356523

 JNJ 000329879               JNJ 000338813              JNJ 000356880

 JNJ 000329900               JNJ 000338821              JNJ 000358013

 JNJ 000329923               JNJ 000342310              JNJ 000358018

 JNJ 000329956               JNJ 000342525              JNJ 000358021

 JNJ 000330448               JNJ 000342748              JNJ 000358049

 JNJ 000330927               JNJ 000343008              JNJ 000358072

 JNJ 000331460               JNJ 000343056              JNJ 000358084

 JNJ 000331575               JNJ 000343580              JNJ 000358091

 JNJ 000331581               JNJ 000343611              JNJ 000358115

 JNJ 000331619               JNJ 000343612              JNJ 000358851

                                        42

                                                                            179
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 JNJ 000358887               JNJ 000368550              JNJ 000369080

 JNJ 000359338               JNJ 000368553              JNJ 000369087

 JNJ 000359805               JNJ 000368556              JNJ 000369088

 JNJ 000362407               JNJ 000368559              JNJ 000369108

 JNJ 000362616               JNJ 000368597              JNJ 000369155

 JNJ 000362624               JNJ 000368637              JNJ 000369157

 JNJ 000362627               JNJ 000368642              JNJ 000369159

 JNJ 000362749               JNJ 000368646              JNJ 000369184

 JNJ 000362811               JNJ 000368650              JNJ 000369203

 JNJ 000364641               JNJ 000368667              JNJ 000369207

 JNJ 000364690               JNJ 000368693              JNJ 000369329

 JNJ 000367355               JNJ 000368703              JNJ 000369346

 JNJ 000367472               JNJ 000368757              JNJ 000369393

 JNJ 000367483               JNJ 000368764              JNJ 000369396

 JNJ 000367538               JNJ 000368772              JNJ 000369401

 JNJ 000367664               JNJ 000368796              JNJ 000369438

 JNJ 000368162               JNJ 000368801              JNJ 000369441

 JNJ 000368187               JNJ 000368805              JNJ 000369452

 JNJ 000368327               JNJ 000368810              JNJ 000369459

 JNJ 000368340               JNJ 000368873              JNJ 000369469

 JNJ 000368353               JNJ 000368945              JNJ 000369476

 JNJ 000368375               JNJ 000368950              JNJ 000369529

 JNJ 000368438               JNJ 000368955              JNJ 000369541

 JNJ 000368451               JNJ 000369028              JNJ 000369543

 JNJ 000368453               JNJ 000369033              JNJ 000369581

 JNJ 000368457               JNJ 000369071              JNJ 000369856

 JNJ 000368461               JNJ 000369073              JNJ 000369859

 JNJ 000368506               JNJ 000369075              JNJ 000369882

 JNJ 000368546               JNJ 000369079              JNJ 000369926

                                        43

                                                                            180
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 JNJ 000370042               JNJ 000376624              JNJ 000379340

 JNJ 000373203               JNJ 000376668              JNJ 000379344

 JNJ 000373214               JNJ 000376672              JNJ 000379348

 JNJ 000373220               JNJ 000376770              JNJ 000379352

 JNJ 000373416               JNJ 000376890              JNJ 000379356

 JNJ 000373629               JNJ 000376954              JNJ 000379382

 JNJ 000373663               JNJ 000376960              JNJ 000379382

 JNJ 000373682               JNJ 000377123              JNJ 000379407

 JNJ 000373683               JNJ 000377125              JNJ 000379423

 JNJ 000374512               JNJ 000377198              JNJ 000379425

 JNJ 000374975               JNJ 000377405              JNJ 000379488

 JNJ 000375118               JNJ 000377405              JNJ 000379505

 JNJ 000375383               JNJ 000377512              JNJ 000379536

 JNJ 000375389               JNJ 000377515              JNJ 000379728

 JNJ 000375389               JNJ 000377551              JNJ 000379731

 JNJ 000375565               JNJ 000377782              JNJ 000380132

 JNJ 000375565               JNJ 000377801              JNJ 000380140

 JNJ 000375566               JNJ 000377810              JNJ 000380188

 JNJ 000375618               JNJ 000378082              JNJ 000380277

 JNJ 000375694               JNJ 000378347              JNJ 000380390

 JNJ 000376095               JNJ 000378350              JNJ 000381046

 JNJ 000376133               JNJ 000378366              JNJ 000381048

 JNJ 000376185               JNJ 000378419              JNJ 000381059

 JNJ 000376229               JNJ 000378445              JNJ 000381090

 JNJ 000376232               JNJ 000378500              JNJ 000381092

 JNJ 000376268               JNJ 000378534              JNJ 000381252

 JNJ 000376355               JNJ 000378690              JNJ 000381275

 JNJ 000376466               JNJ 000378955              JNJ 000381275

 JNJ 000376619               JNJ 000379333              JNJ 000381321

                                        44

                                                                            181
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 JNJ 000381331               JNJ 000383292              JNJ 000384763

 JNJ 000381454               JNJ 000383396              JNJ 000384866

 JNJ 000381537               JNJ 000383406              JNJ 000384892

 JNJ 000381591               JNJ 000383489              JNJ 000384901

 JNJ 000381592               JNJ 000383573              JNJ 000384924

 JNJ 000381594               JNJ 000383579              JNJ 000385402

 JNJ 000381743               JNJ 000383693              JNJ 000386284

 JNJ 000381826               JNJ 000383709              JNJ 000386481

 JNJ 000381975               JNJ 000383726              JNJ 000386859

 JNJ 000381990               JNJ 000383730              JNJ 000387218

 JNJ 000381995               JNJ 000383796              JNJ 000387958

 JNJ 000382035               JNJ 000383891              JNJ 000387976

 JNJ 000382054               JNJ 000383963              JNJ 000387998

 JNJ 000382139               JNJ 000384016              JNJ 000388173

 JNJ 000382183               JNJ 000384030              JNJ 000388208

 JNJ 000382269               JNJ 000384166              JNJ 000388216

 JNJ 000382355               JNJ 000384166              JNJ 000388320

 JNJ 000382438               JNJ 000384175              JNJ 000388413

 JNJ 000382888               JNJ 000384175              JNJ 000388513

 JNJ 000382894               JNJ 000384178              JNJ 000388518

 JNJ 000382895               JNJ 000384178              JNJ 000388524

 JNJ 000383006               JNJ 000384225              JNJ 000388559

 JNJ 000383057               JNJ 000384708              JNJ 000388571

 JNJ 000383096               JNJ 000384715              JNJ 000388578

 JNJ 000383104               JNJ 000384724              JNJ 000388581

 JNJ 000383109               JNJ 000384729              JNJ 000388621

 JNJ 000383192               JNJ 000384731              JNJ 000388622

 JNJ 000383282               JNJ 000384743              JNJ 000388994

 JNJ 000383288               JNJ 000384750              JNJ 000389224

                                        45

                                                                            182
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 JNJ 000389246               JNJ 000390400              JNJ 000393335

 JNJ 000389251               JNJ 000390403              JNJ 000393363

 JNJ 000389255               JNJ 000390914              JNJ 000393371

 JNJ 000389258               JNJ 000391038              JNJ 000393591

 JNJ 000389264               JNJ 000391191              JNJ 000393797

 JNJ 000389300               JNJ 000391561              JNJ 000393820

 JNJ 000389312               JNJ 000391596              JNJ 000393868

 JNJ 000389469               JNJ 000391623              JNJ 000394098

 JNJ 000389739               JNJ 000391631              JNJ 000394406

 JNJ 000389794               JNJ 000391634              JNJ 000394488

 JNJ 000389845               JNJ 000391641              JNJ 000394883

 JNJ 000389847               JNJ 000391715              JNJ 000395300

 JNJ 000389877               JNJ 000392121              JNJ 000400335

 JNJ 000389947               JNJ 000392127              JNJ 000400371

 JNJ 000389973               JNJ 000392133              JNJ 000400466

 JNJ 000389975               JNJ 000392431              JNJ 000400470

 JNJ 000390128               JNJ 000392443              JNJ 000400478

 JNJ 000390161               JNJ 000392446              JNJ 000400482

 JNJ 000390210               JNJ 000392452              JNJ 000400486

 JNJ 000390265               JNJ 000392458              JNJ 000400864

 JNJ 000390309               JNJ 000392462              JNJ 000400869

 JNJ 000390315               JNJ 000392464              JNJ 000400893

 JNJ 000390317               JNJ 000392466              JNJ 000400896

 JNJ 00039033                JNJ 000392468              JNJ 000400899

 JNJ 000390337               JNJ 000392470              JNJ 000400902

 JNJ 000390339               JNJ 000392472              JNJ 000400904

 JNJ 000390340               JNJ 000393227              JNJ 000400908

 JNJ 000390346               JNJ 000393254              JNJ 000401196

 JNJ 000390362               JNJ 000393269              JNJ 000402399

                                        46

                                                                            183
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 JNJ 000403578               JNJ 000405423              JNJ 000418566

 JNJ 000403770               JNJ 000405425              JNJ 000419844

 JNJ 000403772               JNJ 000405475              JNJ 000422578

 JNJ 000404425               JNJ 000405487              JNJ 000422581

 JNJ 000404486               JNJ 000405501              JNJ 000423296

 JNJ 000404511               JNJ 000405557              JNJ 000423482

 JNJ 000404565               JNJ 000405610              JNJ 000423495

 JNJ 000404641               JNJ 000407282              JNJ 000423521

 JNJ 000404649               JNJ 000407324              JNJ 000423629

 JNJ 000404658               JNJ 000407472              JNJ 000423637

 JNJ 000404735               JNJ 000409301              JNJ 000423670

 JNJ 000404765               JNJ 000412801              JNJ 000423721

 JNJ 000404803               JNJ 000413261              JNJ 000424610

 JNJ 000404860               JNJ 000413276              JNJ 000424948

 JNJ 000405038               JNJ 000413320              JNJ 000425064

 JNJ 000405051               JNJ 000413623              JNJ 000425313

 JNJ 000405062               JNJ 000413625              JNJ 000425474

 JNJ 000405071               JNJ 000413678              JNJ 000425709

 JNJ 000405073               JNJ 000413704              JNJ 000425863

 JNJ 000405087               JNJ 000413759              JNJ 000425888

 JNJ 000405104               JNJ 000413781              JNJ 000425894

 JNJ 000405108               JNJ 000413874              JNJ 000425938

 JNJ 000405140               JNJ 000413876              JNJ 000425941

 JNJ 000405171               JNJ 000416828              JNJ 000426110

 JNJ 000405191               JNJ 000417294              JNJ 000426237

 JNJ 000405196               JNJ 000417320              JNJ 000426315

 JNJ 000405235               JNJ 000417971              JNJ 000426464

 JNJ 000405420               JNJ 000418487              JNJ 000433993

 JNJ 000405422               JNJ 000418563              JNJ 000434038

                                        47

                                                                            184
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                                PageID: 194760



 JNJ 000434180               JNJ 000444252              JNJ 000446016

 JNJ 000437838               JNJ 000444270              JNJ 000446031

 JNJ 000437990               JNJ 000444327              JNJ 000446306

 JNJ 000438247               JNJ 000444419              JNJ 000446330

 JNJ 000438936               JNJ 000444427              JNJ 000446636

 JNJ 000438938               JNJ 000444694              JNJ 000446662

 JNJ 000438941               JNJ 000444714              JNJ 000446679

 JNJ 000441432               JNJ 000444724              JNJ 000446681

 JNJ 000441436               JNJ 000444740              JNJ 000446880

 JNJ 000441458               JNJ 000444764              JNJ 000446889

 JNJ 000441555               JNJ 000444801              JNJ 000447011

 JNJ 000441710               JNJ 000444820              JNJ 000447039

 JNJ 000442664               JNJ 000444876              JNJ 000447434

 JNJ 000443284               JNJ 000444892              JNJ 000447624

 JNJ 000443349               JNJ 000444902              JNJ 000447642

 JNJ 000443680               JNJ 000445117              JNJ 000447657

 JNJ 000443695               JNJ 000445131              JNJ 000447661

 JNJ 000443739               JNJ 000445206              JNJ 000447683

 JNJ 000443886               JNJ 000445209              JNJ 000447702

 JNJ 000443905               JNJ 000445265              JNJ 000447755

 JNJ 000443924               JNJ 000445317              JNJ 000447771

 JNJ 000443953               JNJ 000445321              JNJ 000447815

 JNJ 000443971               JNJ 000445327              JNJ 000447936

 JNJ 000444016               JNJ 000445489              JNJ 000448059

 JNJ 000444088               JNJ 000445669              JNJ 000448217

 JNJ 000444128               JNJ 000445677              JNJ 000448225

 JNJ 000444185               JNJ 000445680              JNJ 000448226

 JNJ 000444191               JNJ 000445771              JNJ 000448557

 JNJ 000444241               JNJ 000445789              JNJ 000448611

                                        48

                                                                            185
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 JNJ 000448786               JNJ 000452555              JNJ 000459341

 JNJ 000448794               JNJ 000452557              JNJ 000459349

 JNJ 000448839               JNJ 000452558              JNJ 000460077

 JNJ 000448855               JNJ 000452559              JNJ 000460461

 JNJ 000448872               JNJ 000452560              JNJ 000460466

 JNJ 000448893               JNJ 000452561              JNJ 000460549

 JNJ 000448974               JNJ 000452562              JNJ 000460656

 JNJ 000449057               JNJ 000452563              JNJ 000460665

 JNJ 000449140               JNJ 000452564              JNJ 000461175

 JNJ 000449480               JNJ 000452628              JNJ 000461330

 JNJ 000450120               JNJ 000452629              JNJ 000461522

 JNJ 000450199               JNJ 000452693              JNJ 000463225

 JNJ 000450216               JNJ 000452757              JNJ 000463452

 JNJ 000451296               JNJ 000452821              JNJ 000463456

 JNJ 000451810               JNJ 000452822              JNJ 000463459

 JNJ 000451872               JNJ 000456305              JNJ 000463460

 JNJ 000451934               JNJ 000456993              JNJ 000463517

 JNJ 000451941               JNJ 000457929              JNJ 000463760

 JNJ 000451945               JNJ 000458009              JNJ 000464412

 JNJ 000452170               JNJ 000458312              JNJ 000464417

 JNJ 000452238               JNJ 000458326              JNJ 000464418

 JNJ 000452251               JNJ 000458328              JNJ 000466816

 JNJ 000452264               JNJ 000459024              JNJ 000466819

 JNJ 000452297               JNJ 000459146              JNJ 000466821

 JNJ 000452361               JNJ 000459151              JNJ 000466906

 JNJ 000452492               JNJ 000459234              JNJ 000466949

 JNJ 000452534               JNJ 000459318              JNJ 000467065

 JNJ 000452553               JNJ 000459319              JNJ 000467104

 JNJ 000452554               JNJ 000459324              JNJ 000467357

                                        49

                                                                            186
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 JNJ 000467368               JNJ 000471845              JNJ 000521616

 JNJ 000467593               JNJ 000471912              JNJ 000525310

 JNJ 000467600               JNJ 000471967              JNJ 000526750

 JNJ 000467708               JNJ 000471989              JNJ 000526777

 JNJ 000467710               JNJ 000471994              JNJ 000530371

 JNJ 000468044               JNJ 000472025              JNJ 000546130

 JNJ 000468223               JNJ 000472031              JNJ 000547079

 JNJ 000468235               JNJ 000472036              JNJ 000560485

 JNJ 000468243               JNJ 000472255              JNJ 000562821

 JNJ 000468560               JNJ 000474039              JNJ 000562946

 JNJ 000468691               JNJ 000476134              JNJ 000564091

 JNJ 000468717               JNJ 000477304              JNJ 000564181

 JNJ 000468813               JNJ 000482995              JNJ 000564375

 JNJ 000468918               JNJ 000488174              JNJ 000564647

 JNJ 000468930               JNJ 000488188              JNJ 000566815

 JNJ 000469343               JNJ 000488207              JNJ 000566816

 JNJ 000470844               JNJ 000488208              JNJ 000576214

 JNJ 000471271               JNJ 000488252              JNJ 000576272

 JNJ 000471335               JNJ 000488326              JNJ 000576297

 JNJ 000471338               JNJ 000488347              JNJ 000576308

 JNJ 000471342               JNJ 000488349              JNJ 000576317

 JNJ 000471396               JNJ 000488362              JNJ 000576398

 JNJ 000471487               JNJ 000488378              JNJ 000576402

 JNJ 000471544               JNJ 000488401              JNJ 000576623

 JNJ 000471692               JNJ 000488722              JNJ 000576624

 JNJ 000471701               JNJ 000489313              JNJ 000576637

 JNJ 000471712               JNJ 000517347              JNJ 000576769

 JNJ 000471716               JNJ 000521601              JNJ 000576831

 JNJ 000471786               JNJ 000521602              JNJ 000576851

                                        50

                                                                            187
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 JNJ 000629030               JNJMX68_000004296          JNJNL61_000030770

 JNJ 000629214               JNJMX68_000004996          JNJNL61_000032036

 JNJ 000632403               JNJMX68_000006930          JNJNL61_000033289

 JNJ 000646046               JNJMX68_000009760          JNJNL61_000033574

 JNJ 000646063               JNJMX68_000012858          JNJNL61_000033604

 JNJ 000647609               JNJMX68_000013019          JNJNL61_000033836

 JNJ 000680542               JNJMX68_000014093          JNJNL61_000039194

 JNJ 000682901               JNJMX68_000014358          JNJNL61_000042256

 JNJ 000686665               JNJMX68_000018834          JNJNL61_000042576

 JNJ 000696417               JNJMX68_000019867          JNJNL61_000043029

 JNJ 000879930               JNJMX68_000020276          JNJNL61_000043243

 JNJ 000885939               JNJNL61_00000134           JNJNL61_000043244

 JNJ 000886067               JNJNL61_000001341          JNJNL61_000043245

 JNJ 00232996                JNJNL61_000001534          JNJNL61_000043246

 JNJ 26057000                JNJNL61_00000266           JNJNL61_000043271

 JNJAZ55_000000577           JNJNL61_000005258          JNJNL61_000043272

 JNJAZ55_000000905           JNJNL61_000005343          JNJNL61_000045174

 JNJAZ55_000004563           JNJNL61_000006591          JNJNL61_000050241

 JNJAZ55_000008177           JNJNL61_000006792          JNJNL61_000052427

 JNJAZ55_000010413           JNJNL61_000012386          JNJNL61_000064012

 JNJAZ55_000012423           JNJNL61_000014431          JNJNL61_000064161

 JNJAZ55_000014597           JNJNL61_000021921          JNJNL61_000064162

 JNJH29W_000002920           JNJNL61_000023234          JNJNL61_000079334

 JNJH29W_000005350           JNJNL61_000024449          JNJNL61_000088674

 JNJH29W_000005406           JNJNL61_000024650          JNJNL61_000101028

 JNJI4T5_000004521           JNJNL61_000024657          JNJNL61_000102681

 JNJI4T5_000006453           JNJNL61_000024836          JNJS71R_000000139

 JNJI4T5_000006853           JNJNL61_000025152          JNJS71R_000001978

 JNJMX68_000003728           JNJNL61_000027053          JNJS71R_000002199

                                        51

                                                                            188
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 JNJS71R_000007083           JNJTALC000292656           JNJTALC000869376

 JNJS71R_000009825           JNJTALC000292886           JNJTALC000880204

 JNJS71R_000011316           JNJTALC000293276           JNJTALC000880208

 JNJS71R_000011452           JNJTALC000293589           JNJTALC000880209

 JNJS71R_000015401           JNJTALC000295034           JNJTALC000880227

 JNJTALC_000001246           JNJTALC000295068           JNJTALC000880235

 JNJTALC_000001247           JNJTALC000296067           JNJTALC000880697

 JNJTALC_000001294           JNJTALC000297438           JNJTALC000881980

 JNJTALC_000001395           JNJTALC000298949           JNJTALC000923782

 JNJTALC_000001548           JNJTALC000298949           JNJTALC000956289

 JNJTALC_000001554           JNJTALC000301172           JNJTALC000956418

 JNJTALC_000001560           JNJTALC000326920           JNJTALC000987848

 JNJTALC_000001561           JNJTALC000326922           JNJTALC000989970

 JNJTALC_000001562           JNJTALC000350389           JNJTALC000990036

 JNJTALC000063332            JNJTALC000393163           JNJTALC000992613

 JNJTALC000089988            JNJTALC000418919           JNJTALC001053984

 JNJTALC000090135            JNJTALC000439164           JNJTALC001085440

 JNJTALC000090172            JNJTALC000446917           JNJTALC001085965

 JNJTALC000090936            JNJTALC000446934           JNJTALC001089587

 JNJTALC000094741            JNJTALC000446938           JNJTALC001091911

 JNJTALC000097923            JNJTALC000494340           JNJTALC001116842

 JNJTALC000119026            JNJTALC000568775           JNJTALC001243340

 JNJTALC000100909            JNJTALC000594968           JNJTALC001243432

 JNJTALC000169986            JNJTALC000737483           JNJTALC001243438

 JNJTALC000182046            JNJTALC000771468           JNJTALC001243440

 JNJTALC000187924            JNJTALC000851939           JNJTALC001243441

 JNJTALC000249640            JNJTALC000864509           JNJTALC001243442

 JNJTALC000286905            JNJTALC000866104           JNJTALC001243596

 JNJTALC000288075            JNJTALC000868940           JNJTALC001244509

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 JNJTALC001244512            LUZ006507                  MBS-CRE000199

 JNJTALC001244516            LUZ010145                  MBS-CRE000204

 JNJTALC001266313            LUZ011964                  MBS-CRE000205

 JNJTALC001281994            LUZ012006                  MBS-CRE000206

 JNJTALC001282134            LUZ012732                  MBS-CRE000216

 JNJTALC001282136            LUZ012863                  MBS-CRE000217

 JNJTALC001282147            LUZ012865                  MBS-CRE000220

 JNJTALC001282151            LUZ013036                  MBS-CRE000221

 JNJTALC001282155            LUZ013094                  MBS-CRE000222

 JNJTALC001317184            LUZ013115                  MBS-CRE000223

 JNJTALC001317207            LUZ013186                  MBS-CRE000224

 JNJTALC00131809             LUZ013367                  MBS-CRE000225

 JNJTALC001321070            LUZ021921                  MBS-CRE000226

 JNJTALC001412693            LUZ021974                  MBS-CRE000227

 JNJTALC001412761            LUZ022044                  MBS-CRE000228

 JNJTALC001458669            LUZ022207                  MBS-CRE000229

 JOJO-MA2330                 LUZ023912                  MBS-CRE000230

 JOJO-MA2347                 MBS-CRE000014              MBS-CRE000240

 JOJO-MA90013                MBS-CRE000020              MBS-CRE000250

 LUZ000250                   MBS-CRE000024              MBS-CRE000252

 LUZ000566                   MBS-CRE000031              MBS-CRE000271

 LUZ001298                   MBS-CRE000046              MBS-CRE000273

 LUZ001326                   MBS-CRE000186              MBS-CRE000339

 LUZ001441                   MBS-CRE000188              MBS-CRE000481

 LUZ002733                   MBS-CRE000189              MBS-CRE000496

 LUZ003202                   MBS-CRE000191              MBS-CRE000497

 LUZ004656                   MBS-CRE000194              MDL_KELLY00002701

 LUZ005109                   MBS-CRE000197              MDL_KELLY00014222

 LUZ006056                   MBS-CRE000198              MDL_KELLY00017550

                                         53

                                                                            190
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 MDL_Royston000003202        PCPC0000861                PCPC0002868

 MDL_Royston000009886        PCPC0000923                PCPC0003019

 MDL_Royston000018424        PCPC0000985                PCPC0003582

 MDL_Royston000025656        PCPC0001045                PCPC0003746

 MUSCAT000001204             PCPC0001106                PCPC0003779

 MUSCAT000001494             PCPC0001162                PCPC0003831

 PCPC_MDL00015494            PCPC0001181                PCPC0003977

 PCPC_MDL00015752            PCPC0001217                PCPC0004050

 PCPC_MDL00015753            PCPC0001278                PCPC0004522

 PCPC_MDL00025710            PCPC0001399                PCPC0004537

 PCPC_MDL00026142            PCPC0001524                PCPC0004567

 PCPC_MDL00028481            PCPC0001645                PCPC0004590

 PCPC_MDL00028665            PCPC0001699                PCPC0004591

 PCPC_MDL00037478            PCPC0001751                PCPC0004664

 PCPC_MDL00044965            PCPC0001808                PCPC0004671

 PCPC_MDL00044971            PCPC0001870                PCPC0004684

 PCPC_MDL00062175            PCPC0001932                PCPC0004686

 PCPC_MDL00096145            PCPC0002011                PCPC0004719

 PCPC0000218                 PCPC0002067                PCPC0004835

 PCPC0000280                 PCPC0002129                PCPC0004836

 PCPC0000382                 PCPC0002187                PCPC0004874

 PCPC0000482                 PCPC0002249                PCPC0004930

 PCPC0000556                 PCPC0002307                PCPC0004982

 PCPC0000584                 PCPC0002369                PCPC0005032

 PCPC0000595                 PCPC0002463                PCPC0005086

 PCPC0000649                 PCPC0002546                PCPC0005141

 PCPC0000685                 PCPC0002556                PCPC0005197

 PCPC0000745                 PCPC0002613                PCPC0005250

 PCPC0000803                 PCPC0002615                PCPC0005304

                                       54

                                                                            191
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 PCPC0005361                 PCPC0011952                PCPC0013942

 PCPC0005380                 PCPC0012018                PCPC0014020

 PCPC0005418                 PCPC0012124                PCPC0014073

 PCPC0005453                 PCPC0012204                PCPC0014125

 PCPC0005505                 PCPC0012268                PCPC0014178

 PCPC0005508                 PCPC0012347                PCPC0014230

 PCPC0005513                 PCPC0012408                PCPC0014287

 PCPC0005516                 PCPC0012469                PCPC0014345

 PCPC0005542                 PCPC0012527                PCPC0014347

 PCPC0005598                 PCPC0012597                PCPC0014352

 PCPC0005652                 PCPC0012676                PCPC0014408

 PCPC0005707                 PCPC0012751                PCPC0014461

 PCPC0005800                 PCPC0012803                PCPC0014511

 PCPC0005855                 PCPC0012882                PCPC0014563

 PCPC0005857                 PCPC0012963                PCPC0014614

 PCPC0005913                 PCPC0013048                PCPC0014620

 PCPC0005966                 PCPC0013131                PCPC0014699

 PCPC0006022                 PCPC0013198                PCPC0014792

 PCPC0006050                 PCPC0013283                PCPC0014846

 PCPC0006078                 PCPC0013336                PCPC0014900

 PCPC0011095                 PCPC0013415                PCPC0014955

 PCPC0011259                 PCPC0013471                PCPC0015011

 PCPC0011270                 PCPC0013563                PCPC0015064

 PCPC0011277                 PCPC0013619                PCPC0015115

 PCPC0011421                 PCPC0013669                PCPC0015198

 PCPC0011431                 PCPC0013722                PCPC0015250

 PCPC0011582                 PCPC0013777                PCPC0015255

 PCPC0011835                 PCPC0013833                PCPC0015307

 PCPC0011910                 PCPC0013889                PCPC0015357

                                       55

                                                                            192
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 PCPC0015407                 PCPC0017271                PCPC0018617

 PCPC0015463                 PCPC0017331                PCPC0018653

 PCPC0015516                 PCPC0017389                PCPC0018656

 PCPC0015569                 PCPC0017447                PCPC0018691

 PCPC0015622                 PCPC0017509                PCPC0018774

 PCPC0015682                 PCPC0017571                PCPC0018832

 PCPC0015734                 PCPC0017629                PCPC0018884

 PCPC0015784                 PCPC0017720                PCPC0018946

 PCPC0015836                 PCPC0017737                PCPC0018991

 PCPC0015891                 PCPC0017773                PCPC0019036

 PCPC0015892                 PCPC0017776                PCPC0019078

 PCPC0015948                 PCPC0017827                PCPC0019122

 PCPC0016004                 PCPC0017889                PCPC0019160

 PCPC0016058                 PCPC0017942                PCPC0019207

 PCPC0016115                 PCPC0017998                PCPC0019255

 PCPC0016168                 PCPC0018068                PCPC0019305

 PCPC0016266                 PCPC0018071                PCPC0019358

 PCPC0016375                 PCPC0018086                PCPC0019413

 PCPC0016437                 PCPC0018107                PCPC0019470

 PCPC0016494                 PCPC0018178                PCPC0019521

 PCPC0016551                 PCPC0018179                PCPC0019575

 PCPC0016613                 PCPC0018241                PCPC0019631

 PCPC0016714                 PCPC0018411                PCPC0019692

 PCPC0016779                 PCPC0018417                PCPC0019754

 PCPC0016841                 PCPC0018482                PCPC0019816

 PCPC0016936                 PCPC0018533                PCPC0019874

 PCPC0017040                 PCPC0018555                PCPC0019934

 PCPC0017155                 PCPC0018577                PCPC0019996

 PCPC0017211                 PCPC0018596                PCPC0020213

                                       56

                                                                            193
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 PCPC0020263                 PCPC0022772                PCPC0026335

 PCPC0020299                 PCPC0022780                PCPC0026416

 PCPC0020349                 PCPC0023866                PCPC0026500

 PCPC0020360                 PCPC0023874                PCPC0026558

 PCPC0020370                 PCPC0023995                PCPC0026611

 PCPC0020380                 PCPC0024105                PCPC0026675

 PCPC0020471                 PCPC0024210                PCPC0026708

 PCPC0020559                 PCPC0024294                PCPC0026752

 PCPC0020642                 PCPC0024404                PCPC0026766

 PCPC0020727                 PCPC0024509                PCPC0026794

 PCPC0020816                 PCPC0024691                PCPC0026859

 PCPC0020901                 PCPC0024898                PCPC0026911

 PCPC0020985                 PCPC0024907                PCPC0027069

 PCPC0021070                 PCPC0024929                PCPC0027092

 PCPC0021221                 PCPC0024947                PCPC0027259

 PCPC0021474                 PCPC0024974                PCPC0027281

 PCPC0021549                 PCPC0025025                PCPC0027336

 PCPC0021802                 PCPC0025054                PCPC0027592

 PCPC0021954                 PCPC0025068                PCPC0027650

 PCPC0022029                 PCPC0025150                PCPC0027725

 PCPC0022234                 PCPC0025437                PCPC0027845

 PCPC0022390                 PCPC0025815                PCPC0027850

 PCPC0022652                 PCPC0025868                PCPC0027855

 PCPC0022730                 PCPC0025947                PCPC0027924

 PCPC0022737                 PCPC0026021                PCPC0028001

 PCPC0022745                 PCPC0026108                PCPC0028009

 PCPC0022752                 PCPC0026141                PCPC0028012

 PCPC0022760                 PCPC0026173                PCPC0028036

 PCPC0022765                 PCPC0026254                PCPC0028046

                                       57

                                                                            194
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 PCPC0028063                 PCPC0029547                PCPC0030829

 PCPC0028122                 PCPC0029553                PCPC0030887

 PCPC0028174                 PCPC0029559                PCPC0030945

 PCPC0028177                 PCPC0029620                PCPC0031004

 PCPC0028203                 PCPC0029622                PCPC0031063

 PCPC0028211                 PCPC0029684                PCPC0031121

 PCPC0028219                 PCPC0029718                PCPC0031161

 PCPC0028247                 PCPC0029763                PCPC0031213

 PCPC0028253                 PCPC0029794                PCPC0031264

 PCPC0028261                 PCPC0029825                PCPC0031316

 PCPC0028300                 PCPC0029853                PCPC0031369

 PCPC0028398                 PCPC0029905                PCPC0031424

 PCPC0028583                 PCPC0029961                PCPC0031484

 PCPC0028614                 PCPC0030020                PCPC0031536

 PCPC0028624                 PCPC0030081                PCPC0031590

 PCPC0028634                 PCPC0030142                PCPC0031630

 PCPC0028974                 PCPC0030182                PCPC0031682

 PCPC0029060                 PCPC0030223                PCPC0031743

 PCPC0029067                 PCPC0030264                PCPC0031804

 PCPC0029100                 PCPC0030316                PCPC0031858

 PCPC0029316                 PCPC0030372                PCPC0031905

 PCPC0029344                 PCPC0030417                PCPC0031947

 PCPC0029372                 PCPC0030477                PCPC0032003

 PCPC0029403                 PCPC0030532                PCPC0032036

 PCPC0029444                 PCPC0030572                PCPC0032097

 PCPC0029476                 PCPC0030630                PCPC0032159

 PCPC0029507                 PCPC0030688                PCPC0032221

 PCPC0029538                 PCPC0030732                PCPC0032274

 PCPC0029542                 PCPC0030777                PCPC0032328

                                       58

                                                                            195
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 PCPC0032388                 PCPC0033828                PCPC0035380

 PCPC0032429                 PCPC0033883                PCPC0035436

 PCPC0032475                 PCPC0033927                PCPC0035480

 PCPC0032531                 PCPC0033987                PCPC0035544

 PCPC0032586                 PCPC0034049                PCPC0035588

 PCPC0032642                 PCPC0034105                PCPC0035638

 PCPC0032703                 PCPC0034163                PCPC0035663

 PCPC0032745                 PCPC0034220                PCPC0035705

 PCPC0032802                 PCPC0034275                PCPC0035717

 PCPC0032828                 PCPC0034325                PCPC0035731

 PCPC0032883                 PCPC0034388                PCPC0035742

 PCPC0032945                 PCPC0034426                PCPC0035754

 PCPC0032987                 PCPC0034470                PCPC0035777

 PCPC0033049                 PCPC0034486                PCPC0035780

 PCPC0033111                 PCPC0034544                PCPC0035831

 PCPC0033147                 PCPC0034583                PCPC0036133

 PCPC0033209                 PCPC0034641                PCPC0036138

 PCPC0033252                 PCPC0034705                PCPC0036140

 PCPC0033307                 PCPC0034769                PCPC0036152

 PCPC0033344                 PCPC0034833                PCPC0036186

 PCPC0033381                 PCPC0034878                PCPC0036201

 PCPC0033438                 PCPC0034938                PCPC0036238

 PCPC0033475                 PCPC0034994                PCPC0036269

 PCPC0033523                 PCPC0035044                PCPC0036284

 PCPC0033585                 PCPC0035105                PCPC0036291

 PCPC0033634                 PCPC0035162                PCPC0036298

 PCPC0033678                 PCPC0035220                PCPC0036307

 PCPC0033716                 PCPC0035270                PCPC0036314

 PCPC0033773                 PCPC0035329                PCPC0036326

                                       59

                                                                            196
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 PCPC0036492                 PCPC0047090                PCPC0049309

 PCPC0036497                 PCPC0047174                PCPC0049322

 PCPC0036502                 PCPC0047258                PCPC0049335

 PCPC0036610                 PCPC0047342                PCPC0049445

 PCPC0036774                 PCPC0047430                PCPC0049550

 PCPC0036830                 PCPC0047518                PCPC0049660

 PCPC0036914                 PCPC0047606                PCPC0049745

 PCPC0043877                 PCPC0047694                PCPC0049866

 PCPC0044806                 PCPC0047782                PCPC0049976

 PCPC0044817                 PCPC0047870                PCPC0050086

 PCPC0044853                 PCPC0047958                PCPC0050191

 PCPC0045812                 PCPC0048046                PCPC0050296

 PCPC0045899                 PCPC0048217                PCPC0050401

 PCPC0045982                 PCPC0048326                PCPC0050511

 PCPC0046066                 PCPC0048339                PCPC0050616

 PCPC0046153                 PCPC0048350                PCPC0050699

 PCPC0046241                 PCPC0048361                PCPC0050818

 PCPC0046328                 PCPC0048445                PCPC0050938

 PCPC0046412                 PCPC0048528                PCPC0050949

 PCPC0046496                 PCPC0048611                PCPC0051070

 PCPC0046834                 PCPC0048695                PCPC0051234

 PCPC0046855                 PCPC0048779                PCPC0051361

 PCPC0046945                 PCPC0048863                PCPC0051704

 PCPC0046955                 PCPC0048947                PCPC0051715

 PCPC0046965                 PCPC0049031                PCPC0052169

 PCPC0046975                 PCPC0049115                PCPC0052214

 PCPC0046985                 PCPC0049199                PCPC0052224

 PCPC0046995                 PCPC0049283                PCPC0052234

 PCPC0047005                 PCPC0049296                PCPC0052247

                                       60

                                                                            197
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 PCPC0052273                 PCPC0053361                PCPC0054607

 PCPC0052300                 PCPC0053424                PCPC0054637

 PCPC0052347                 PCPC0053487                PCPC0054683

 PCPC0052379                 PCPC0053551                PCPC0054714

 PCPC0052397                 PCPC0053597                PCPC0055727

 PCPC0052400                 PCPC0053640                PCPC0055783

 PCPC0052405                 PCPC0053680                PCPC0055821

 PCPC0052407                 PCPC0053723                PCPC0055829

 PCPC0052410                 PCPC0053769                PCPC0055835

 PCPC0052413                 PCPC0053814                PCPC0055865

 PCPC0052415                 PCPC0053855                PCPC0055872

 PCPC0052516                 PCPC0053898                PCPC0055880

 PCPC0052559                 PCPC0053933                PCPC0055884

 PCPC0052609                 PCPC0053971                PCPC0055890

 PCPC0052652                 PCPC0054016                PCPC0055892

 PCPC0052690                 PCPC0054049                PCPC0056058

 PCPC0052739                 PCPC0054096                PCPC0056135

 PCPC0052821                 PCPC0054143                PCPC0057034

 PCPC0052861                 PCPC0054183                PCPC0058289

 PCPC0052901                 PCPC0054219                PCPC0058334

 PCPC0052948                 PCPC0054262                PCPC0058366

 PCPC0052995                 PCPC0054301                PCPC0058376

 PCPC0053042                 PCPC0054337                PCPC0058503

 PCPC0053090                 PCPC0054375                PCPC0058556

 PCPC0053132                 PCPC0054413                PCPC0058604

 PCPC0053169                 PCPC0054462                PCPC0058655

 PCPC0053219                 PCPC0054508                PCPC0058705

 PCPC0053259                 PCPC0054524                PCPC0058753

 PCPC0053310                 PCPC0054567                PCPC0058804

                                       61

                                                                            198
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 PCPC0058844                 PCPC0059878                PCPC0061172

 PCPC0058872                 PCPC0059926                PCPC0061250

 PCPC0058957                 PCPC0059974                PCPC0061512

 PCPC0058959                 PCPC0059992                PCPC0061735

 PCPC0058998                 PCPC0060002                PCPC0061852

 PCPC0059000                 PCPC0060011                PCPC0061912

 PCPC0059002                 PCPC0060059                PCPC0061917

 PCPC0059004                 PCPC0060414                PCPC0061955

 PCPC0059063                 PCPC0060430                PCPC0061962

 PCPC0059102                 PCPC0060452                PCPC0061971

 PCPC0059141                 PCPC0060513                PCPC0061975

 PCPC0059145                 PCPC0060518                PCPC0062020

 PCPC0059220                 PCPC0060563                PCPC0062062

 PCPC0059222                 PCPC0060610                PCPC0062118

 PCPC0059224                 PCPC0060702                PCPC0062174

 PCPC0059349                 PCPC0060808                PCPC0062213

 PCPC0059411                 PCPC0060893                PCPC0062275

 PCPC0059472                 PCPC0060905                PCPC0062328

 PCPC0059483                 PCPC0060918                PCPC0062409

 PCPC0059485                 PCPC0060934                PCPC0062418

 PCPC0059487                 PCPC0060950                PCPC0062420

 PCPC0059609                 PCPC0060966                PCPC0064296

 PCPC0059682                 PCPC0060978                PCPC0064382

 PCPC0059708                 PCPC0061001                PCPC0064465

 PCPC0059719                 PCPC0061003                PCPC0064475

 PCPC0059729                 PCPC0061009                PCPC0064563

 PCPC0059757                 PCPC0061031                PCPC0064576

 PCPC0059790                 PCPC0061054                PCPC0064659

 PCPC0059830                 PCPC0061136                PCPC0064742

                                       62

                                                                            199
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 PCPC0064852                 PCPC0066630                PCPC0069284

 PCPC0064936                 PCPC0066705                PCPC0069336

 PCPC0065041                 PCPC0066711                PCPC0069350

 PCPC0065381                 PCPC0066715                PCPC0069366

 PCPC0065419                 PCPC0066737                PCPC0069397

 PCPC0065469                 PCPC0066809                PCPC0069398

 PCPC0065470                 PCPC0066811                PCPC0069485

 PCPC0065510                 PCPC0066896                PCPC0069552

 PCPC0065551                 PCPC0066952                PCPC0069659

 PCPC0065596                 PCPC0066973                PCPC0069663

 PCPC0065634                 PCPC0067013                PCPC0069814

 PCPC0065673                 PCPC0067025                PCPC0069827

 PCPC0065679                 PCPC0067673                PCPC0069829

 PCPC0065690                 PCPC0067813                PCPC0069832

 PCPC0065775                 PCPC0067818                PCPC0069933

 PCPC0065795                 PCPC0067986                PCPC0069996

 PCPC0065806                 PCPC0068067                PCPC0070120

 PCPC0065884                 PCPC0068118                PCPC0070134

 PCPC0065939                 PCPC0068296                PCPC0070180

 PCPC0065944                 PCPC0068389                PCPC0070234

 PCPC0065997                 PCPC0068445                PCPC0070296

 PCPC0066265                 PCPC0068459                PCPC0070307

 PCPC0066322                 PCPC0068466                PCPC0070312

 PCPC0066332                 PCPC0068473                PCPC0070326

 PCPC0066405                 PCPC0068522                PCPC0070547

 PCPC0066467                 PCPC0068675                PCPC0070564

 PCPC0066567                 PCPC0068696                PCPC0070568

 PCPC0066591                 PCPC0069080                PCPC0070611

 PCPC0066630                 PCPC0069267                PCPC0070615

                                       63

                                                                            200
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 PCPC0070634                 PCPC0073463                PCPC0075382

 PCPC0070855                 PCPC0073483                PCPC0075385

 PCPC0071076                 PCPC0073486                PCPC0075387

 PCPC0071802                 PCPC0073516                PCPC0075412

 PCPC0072022                 PCPC0073578                PCPC0075421

 PCPC0072154                 PCPC0073703                PCPC0075440

 PCPC0072211                 PCPC0074396                PCPC0075453

 PCPC0072293                 PCPC0074456                PCPC0075613

 PCPC0072307                 PCPC0074468                PCPC0075614

 PCPC0072311                 PCPC0074619                PCPC0075615

 PCPC0072344                 PCPC0074626                PCPC0075617

 PCPC0072449                 PCPC0074713                PCPC0075620

 PCPC0072462                 PCPC0074734                PCPC0075634

 PCPC0072531                 PCPC0074936                PCPC0075644

 PCPC0072563                 PCPC0074941                PCPC0075680

 PCPC0072594                 PCPC0074947                PCPC0075683

 PCPC0072641                 PCPC0074980                PCPC0075694

 PCPC0072659                 PCPC0074981                PCPC0075717

 PCPC0072694                 PCPC0075088                PCPC0075730

 PCPC0072744                 PCPC0075099                PCPC0075742

 PCPC0072747                 PCPC0075121                PCPC0075753

 PCPC0072780                 PCPC0075159                PCPC0075758

 PCPC0072811                 PCPC0075197                PCPC0075773

 PCPC0072817                 PCPC0075245                PCPC0075781

 PCPC0072893                 PCPC0075296                PCPC0075782

 PCPC0073193                 PCPC0075328                PCPC0075812

 PCPC0073313                 PCPC0075364                PCPC0075827

 PCPC0073405                 PCPC0075371                PCPC0075827

 PCPC0073438                 PCPC0075374                PCPC0075828

                                       64

                                                                            201
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 PCPC0075828                 PCPC0077932                PCPC0078683

 PCPC0075838                 PCPC0077964                PCPC0078687

 PCPC0075852                 PCPC0077965                PCPC0078717

 PCPC0075856                 PCPC0077968                PCPC0078728

 PCPC0075879                 PCPC0077978                PCPC0078764

 PCPC0075882                 PCPC0077984                PCPC0079301

 PCPC0075887                 PCPC0077985                PCPC0079524

 PCPC0075959                 PCPC0077987                PCPC0079541

 PCPC0075960                 PCPC0077988                PCPC0079543

 PCPC0075967                 PCPC0077990                PCPC0079590

 PCPC0075977                 PCPC0078007                PCPC0079673

 PCPC0076001                 PCPC0078030                PCPC0079676

 PCPC0076026                 PCPC0078031                PCPC0079688

 PCPC0076057                 PCPC0078037                PCPC0079765

 PCPC0076069                 PCPC0078039                PCPC0080118

 PCPC0076072                 PCPC0078042                PCPC0080173

 PCPC0076077                 PCPC0078043                PCPC0080212

 PCPC0076082                 PCPC0078060                PCPC0080226

 PCPC0076085                 PCPC0078218                PCPC0080264

 PCPC0076101                 PCPC0078246                PCPC0080272

 PCPC0076323                 PCPC0078257                PCPC0080349

 PCPC0076546                 PCPC0078324                PCPC0080350

 PCPC0076558                 PCPC0078446                PCPC0080396

 PCPC0076689                 PCPC0078493                PCPC0080412

 PCPC0077326                 PCPC0078498                PCPC0080419

 PCPC0077359                 PCPC0078559                PCPC0080426

 PCPC0077645                 PCPC0078588                PCPC0080464

 PCPC0077761                 PCPC0078638                PCPC0080503

 PCPC0077927                 PCPC0078653                PCPC0080509

                                       65

                                                                            202
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                                    APPENDIX D
   Chemicals in the Johnson & Johnson Body Powder Fragrance with Irritant Properties




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                                                                  Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
         Chemical                Baby    Shower-
                                Powder     to-
                                         Shower
(d)-Limonene                      Y                https://pubchem.ncbi.nlm.nih.gov/compound/440917#section=Safety-and-Hazards
                                                                     H315 (100%): Causes skin irritation [Warning Skin corrosion/irritation]
                                                                     H317 (96.26%): May cause an allergic skin reaction [Warning Sensitization, Skin]

                                                             Health Hazard
                                                                      SYMPTOMS: Symptoms of exposure to this compound may include irritation and sensitization of the skin. It may also cause eye
                                                                      irritation and damage.

                                                                       The substance is irritating to the skin and is mildly irritating to the eyes.
                                                                       IPCS, CEC; International Chemical Safety Card on d-Limonene. (April 2005). Available from, as of February 3, 2006:
                                                                       http://www.inchem.org/documents/icsc/icsc/eics0918.htm
                                                                       from HSDB

                                                   https://toxnet.nlm.nih.gov/cgi-bin/sis/search/a?dbs+hsdb:@term+@DOCNO+4186

                                                   HUMAN EXPOSURE AND TOXICITY: Skin irritation or sensitizing potential was reported following widespread use of this agent in various consumer
                                                   products. In humans, oxidation products or metabolites of d-limonene were shown to act as skin irritants. The potential occurrence of skin irritation
                                                   necessitates regulation of this chemical as an ingredient in cosmetics.

                                                   http://www.thegoodscentscompany.com/data/rw1013772.html#tosafty
                                                            European information :
                                                            Most important hazard(s):
                                                                    R 36/38 - Irritating to skin and eyes.
                                                                    R 43 - May cause sensitization by skin contact.

                                                             GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                                      Skin irritation (Category 2), H315
                                                                      Skin sensitisation (Category 1), H317

                                                   https://www.ewg.org/guides/substances/151421-dLimonene#.W37iIuhKiUk
                                                            Recognized by the European Union as a skin allergen Allergen list - EU Cosmetics Directive

                                                   https://cosmeticsinfo.org/ingredient/limonene-0
                                                             The safety of Limonene has been evaluated by the Research Institute for Fragrance Materials Expert Panel (REXPAN).
                                                             Based on this evaluation, an International Fragrance Association (IFRA) Standard has been established. The IFRA Standard restricts the use
                                                             of Limonene in fragrances because of potential sensitization.

                                                             In Europe, Limonene is included on the list of "allergenic" substances. The European Cosmetics Directive requires manufacturers of
                                                             cosmetics and personal care products to indicate the presence of certain "allergenic" substances in the list of ingredients if they are
                                                             present above certain levels in the product (see Annex III). The presence of Limonene must be indicated in the list of ingredients when its
                                                             concentration exceeds: 0.001% in leave-on the skin products 0.01% in products that are rinsed off the skin
1-(2,6,6-Trimethylcyclohex-2-     Y                https://pubchem.ncbi.nlm.nih.gov/compound/5375218#section=Safety-and-Hazards
en-1-yl)pent-1-en-3-one                                      Signal: Warning
                                                             GHS Hazard Statements

                                                                       H315 (17.53%): Causes skin irritation [Warning Skin corrosion/irritation]
                                                                       H317 (81.57%): May cause an allergic skin reaction [Warning Sensitization, Skin]

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                                                               Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
          Chemical            Baby    Shower-
                             Powder     to-
                                      Shower
                                                http://www.thegoodscentscompany.com/data/rw1032741.html#tosafty
                                                         European information :
                                                         Most important hazard(s):
                                                                 R 36/37/38 - Irritating to eyes, respiratory system, and skin.
1,2-Dimethoxy-4-prop-1-en-     Y                http://www.thegoodscentscompany.com/data/rw1011132.html#tosafty
1-ylbenzene                                              European information :
                                                         Most important hazard(s):
                                                                 S 24/25 - Avoid contact with skin and eyes.

                                                https://chem.nlm.nih.gov/chemidplus/rn/93-16-3
                                                          Skin/eye irritant

                                                https://pubchem.ncbi.nlm.nih.gov/compound/cis-Methylisoeugenol#section=Hazards-Identification
                                                          Signal: Warning
                                                          GHS Hazard Statements

                                                                    H317 (86.67%): May cause an allergic skin reaction [Warning Sensitization, Skin]
1, 7, 7-                       Y                https://chem.nlm.nih.gov/chemidplus/rn/124-76-5
Trimethylbicyclol[2.2.1                                   Skin/eye irritant
]heptan-2-ol
(Isocamphol, Isobornyl                          http://www.thegoodscentscompany.com/data/rw1002092.html#tosafty
alcohol)                                                 European information :
                                                         Most important hazard(s):
                                                                 Xi - Irritant
                                                                 R 36/37/38 - Irritating to eyes, respiratory system, and skin.
                                                                 R 42/43 - May cause sensitization by inhalation and skin contact.

                                                          GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                                   Skin irritation (Category 2), H315
1-Acetonaphthone               Y                https://pubchem.ncbi.nlm.nih.gov/compound/1 -Acetonaphthone#section=Safety-and-Hazards

                                                         GHS Hazard Statements

                                                                  H315 (11.59%): Causes skin irritation [Warning Skin corrosion/irritation]
                                                                  H317 (80.69%): May cause an allergic skin reaction [Warning Sensitization, Skin]
1-Benzazole                    Y         Y      https://pubchem.ncbi.nlm.nih.gov/compound/798#section=Safety-and-Hazards
(Indole)                                                  GHS Hazard Statements
                                                                  H311 (98.88%): Toxic in contact with skin [Danger Acute toxicity, dermal]

                                                https://chem.nlm.nih.gov/chemidplus/rn/120-72-9
                                                          Skin/eye irritant

                                                http://www.thegoodscentscompany.com/data/rw1006511.html#tosafty

                                                         European information :
                                                         Most important hazard(s):
                                                                                                                                                           249
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                                                              Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
          Chemical           Baby    Shower-
                            Powder     to-
                                     Shower
                                                                  R 21/22 - Harmful in contact with skin and if swallowed.
                                                                  R 37/38 - Irritating to respiratory system and skin.
                                                                  S 24/25 - Avoid contact with skin and eyes.

                                                         GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                                  Skin irritation (Category 2), H315
1-Cedr-8-en-9-yl ethenone     Y         Y      https://pubchem.ncbi.nlm.nih.gov/compound/107065#section=Safety-and-Hazards
(Methyl cedryl ketone,                                   Signal: Warning
vertofix)                                                GHS Hazard Statements

                                                                H317 (94.26%): May cause an allergic skin reaction [Warning Sensitization, Skin]
                                               http://www.thegoodscentscompany.com/data/rw1026472.html#tosafty

                                                         European information :
                                                         Most important hazard(s):
                                                                  Xi - Irritant
                                                                  R 36/38 - Irritating to skin and eyes.
                                                                  S 24/25 - Avoid contact with skin and eyes.
1-Methoxy-4-methylbenzene               Y      https://pubchem.ncbi.nlm.nih.gov/compound/7731#section=Safety-and-Hazards
(p-methylanisole)                                        Signal: Warning
                                                         GHS Hazard Statements
                                                                  H315 (99.65%): Causes skin irritation [Warning Skin corrosion/irritation]

                                               https://chem.nlm.nih.gov/chemidplus/rn/104-93-8
                                                         Skin/eye irritant

                                               http://www.thegoodscentscompany.com/data/rw1003932.html#tosafty
                                                        European information :
                                                        Most important hazard(s):
                                                                R 38 - Irritating to skin.
                                                                S 24/25 - Avoid contact with skin and eyes.

                                                        GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                                 Skin irritation (Category 2), H315
1-Methyl-1-(4-                Y                http://www.thegoodscentscompany.com/data/rw1011272.html#tosafty
methylcyclohex-3-en-1-                                  European information :
yl)ethyl acetate                                        Most important hazard(s):
                                                                 Xi - Irritant
(alpha-Terpinyl acetate)                                         R 36/38 - Irritating to skin and eyes.
                                                                 S 24/25 - Avoid contact with skin and eyes.

                                                        GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                                 Skin irritation (Category 2), H315

                                                        GHS Label elements, including precautionary statements
                                                        Signal word Warning

                                                        Hazard statement(s)
                                                                                                                                                            250
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                                                                 Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
          Chemical              Baby    Shower-
                               Powder     to-
                                        Shower
                                                                     H315 - Causes skin irritation
2,6-Dimethylheptan-2-ol                    Y      https://pubchem.ncbi.nlm.nih.gov/compound/83268#section=Safety-and-Hazards
                                                            Signal: Warning
(2,6-Dimethyl-2-heptano                                     GHS Hazard Statements
Freesia heptanol
Dimetol (Givaudan)l)                                                 H315 (100%): Causes skin irritation [Warning Skin corrosion/irritation]

                                                  https://chem.nlm.nih.gov/chemidplus/rn/13254-34-7
                                                            Skin/eye irritant

                                                  http://www.thegoodscentscompany.com/data/rw1024471.html#tosafty
                                                            European information :
                                                            Most important hazard(s):
                                                                     Xi - Irritant
                                                                     R 36/38 - Irritating to skin and eyes.
                                                                     S 24/25 - Avoid contact with skin and eyes.
2-Isopropenyl-5-                 Y                https://pubchem.ncbi.nlm.nih.gov/compound/24585#section=Safety-and-Hazards
methylcyclohexanol                                          Signal: Warning
                                                            GHS Hazard Statements
(Isopulegol)                                                         H315 (82.31%): Causes skin irritation [Warning Skin corrosion/irritation]

                                                  http://www.thegoodscentscompany.com/data/rw1449811.html#tosafty
                                                            European information :
                                                            Most important hazard(s):
                                                                     Xn - Harmful.
                                                                     R 36/38 - Irritating to skin and eyes.
                                                                     S 24/25 - Avoid contact with skin and eyes.
2-Isopropyl-5-                   Y                https://pubchem.ncbi.nlm.nih.gov/compound/1254#section=GHS-Classification
methylcyclohexanol                                          Signal: Warning
(Menthol, Menthol, (1 alpha,                                GHS Hazard Statements
2 beta, 5 alpha)-Isomer)
                                                                     H315 (97.9%): Causes skin irritation [Warning Skin corrosion/irritation]

                                                            Health Hazard
                                                                      SYMPTOMS: Symptoms of exposure to this compound may include irritation of the skin, eyes, mucous membranes and upper
                                                                      respiratory tract.
                                                                      from CAMEO Chemicals
                                                  https://chem.nlm.nih.gov/chemidplus/rn/89-78-1
                                                            Skin/eye irritant

                                                  http://www.thegoodscentscompany.com/data/rw1029672.html#tosafty
                                                           European information :
                                                           Most important hazard(s):
                                                                   Xi - Irritant
                                                                   R 37/38 - Irritating to respiratory system and skin.
                                                                   R 41 - Risk of serious damage to eyes.
                                                                   S 24/25 - Avoid contact with skin and eyes.

                                                                                                                                                                                251
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                                                                               PageID: 194827
                                                               Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
          Chemical              Baby    Shower-
                               Powder     to-
                                        Shower
                                                            GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                                     Skin irritation (Category 2), H315
2-Nonanone,3-                              Y      https://pubchem.ncbi.nlm.nih.gov/compound/106823#section=Safety-and-Hazards
(hydroxymethyl)                                             Signal: Warning
                                                            GHS Hazard Statements
(2-Acetyl-1-octanol
Herbal ketone                                                      H315 (100%): Causes skin irritation [Warning Skin corrosion/irritation]
Methyl lavender ketone -
(IFF))
2-Octanol,2,6-dimethyl                     Y      https://pubchem.ncbi.nlm.nih.gov/compound/86751#section=Safety-and-Hazards
(2,6-Dimethyloctan-2-ol)                                    Signal: Warning
                                                            GHS Hazard Statements

                                                                   H315 (100%): Causes skin irritation [Warning Skin corrosion/irritation]

                                                  http://www.thegoodscentscompany.com/data/rw1030292.html#tosafty
                                                           European information :
                                                           Most important hazard(s):
                                                                   Xi - Irritant
                                                                   R 36/38 - Irritating to skin and eyes.
                                                                   S 24/25 - Avoid contact with skin and eyes.
2-Phenylethyl 3-                 Y
methylbutanoate                                   http://www.thegoodscentscompany.com/data/rw1010091.html#tosafty
(Phenethyl Isovalerate)                                     European information :
                                                            Most important hazard(s):
                                                                     Xi - Irritant
                                                                     R 36/38 - Irritating to skin and eyes.
                                                                     S 24/25 - Avoid contact with skin and eyes.
2-Phenylethyl formate            Y                https://pubchem.ncbi.nlm.nih.gov/compound/7711#section=Safety-and-Hazards
                                                            Signal: Warning
(Phenethyl formate                                          GHS Hazard Statements

formic acid, 2-phenylethyl                                         H317 (100%): May cause an allergic skin reaction [Warning Sensitization, Skin]
ester)
                                                  http://www.thegoodscentscompany.com/data/rw1026431.html#tosafty
                                                           European information :
                                                           Most important hazard(s):
                                                                   Xi - Irritant
                                                                   R 36/38 - Irritating to skin and eyes.
                                                                   S 24/25 - Avoid contact with skin and eyes.
2-Phenylethyl phenylacetate      Y                http://www.thegoodscentscompany.com/data/rw1010111.html#tosafty
(Phenethyl phenylacetate)                                  European information :
                                                           Most important hazard(s):
                                                                   Xi N - Irritant, Dangerous for the environment.
                                                                   R 36/38 - Irritating to skin and eyes.

                                                          GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                                   Skin irritation (Category 2), H315
                                                                                                                                                               252
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                                                                                  PageID: 194829
                                                                Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
         Chemical              Baby    Shower-
                              Powder     to-
                                       Shower

                                                                    H315 (95.35%): Causes skin irritation [Warning Skin corrosion/irritation]
                                                                    H317 (99.55%): May cause an allergic skin reaction [Warning Sensitization, Skin]

                                                          Skin, Eye, and Respiratory Irritations
                                                                     /Skin/ moderately irritating.
                                                                     Opdyke, D.L.J. (ed.). Monographs on Fragrance Raw Materials. New York: Pergamon Press, 1979., p. 235
                                                                     from HSDB

                                                          Toxicity Summary
                                                                    HUMAN EXPOSURE AND TOXICITY: Adult male volunteers with no known allergic reactions were patch-tested on their back for
                                                                    48 hr with 32% citronellol. After 48 hr, patches were removed and the skin was cleaned of any residual test material. Moderate
                                                                    irritation was observed. A patch test using a 1% concentration of citronellol in acetone gave a positive reaction in subjects
                                                                    allergic to citronella oil. ANIMAL STUDIES: Citronellol applied full strength to intact or abraded rabbit skin for 24 hr under
                                                                    occlusion was moderately irritating. Severe irritation was observed in rabbits and guinea pigs exposed to 100% compound
                                                                    (unoccluded) for 24, 48 or 72 hr.
                                                                    from HSDB

                                                 https://chem.nlm.nih.gov/chemidplus/rn/106-22-9
                                                           Skin/eye irritant

                                                 https://www.ewg.org/guides/substances/1285-CITRONELLOL#.W38ssuhKiUk
                                                          Recognized by the European Union as a skin allergen Allergen list - EU Cosmetics Directive

                                                          The European Commission's Scientific Committee on Consumer Safety reports this substance is an established contact allergen in humans.
                                                          Opinion on Fragrance allergens in cosmetics (2011) - EU Cosmetics Directive

                                                          The European Commission's Scientific Committee on Consumer Safety reports this substance shows some evidence of causing contact
                                                          allergy in humans. Opinion on Fragrance allergens in cosmetics (2011) - EU Cosmetics Directive

                                                 https://cosmeticsinfo.org/ingredient/citronellol-0
                                                           The safety of Citronellol has been evaluated by the Research Institute for Fragrance Materials Expert Panel (REXPAN). Based on this
                                                           evaluation, an International Fragrance Association (IFRA) Standard has been established. The IFRA Standard restricts the use of Citronellol
                                                           in fragrances because of potential sensitization.

                                                 http://www.thegoodscentscompany.com/data/rw1007032.html#tosafty
                                                          European information :
                                                          Most important hazard(s):

                                                                    R 36/38 - Irritating to skin and eyes.
                                                                    R 43 - May cause sensitisation by skin contact.
                                                                    S 24/25 - Avoid contact with skin and eyes.

                                                          GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                                   Skin irritation (Category 2), H315
                                                                   Skin sensitisation (Category 1), H317
3, 7-Dimethylocta-2,6-dien-     Y                Neryl Acetate
1-yl acetate
                                                                                                                                                                                           254
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                                                                                  PageID: 194830
                                                                 Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
            Chemical            Baby    Shower-
                               Powder     to-
                                        Shower
                                                  https://pubchem.ncbi.nlm.nih.gov/compound/1549025#section=GHS-Classification
(Neryl Acetate                                              Signal: Warning
Nerol Acetate)                                              GHS Hazard Statements

                                                                     H315 (15.29%): Causes skin irritation [Warning Skin corrosion/irritation]
                                                                     H317 (15.29%): May cause an allergic skin reaction [Warning Sensitization, Skin]

                                                           Skin, Eye, and Respiratory Irritations
                                                                      In human patch test, geraniol @ 32% concn was severely irritating & geranyl acetate mildly irritating.
                                                                      Motoyoski et al; Cosmet Toiletries 94(8): 41 (1979)
                                                                      from HSDB

                                                  http://www.thegoodscentscompany.com/data/rw1033552.html#tosafty
                                                            European information :
                                                            Most important hazard(s):
                                                                    Xi - Irritant
                                                                    R 36/38 - Irritating to skin and eyes.
3,7-Dimethylocta-2,6-dien-1-     Y                Trans-3,7-Dimethylocta-2,6-dien-1-yl benzoate or Geranyl Benzoate ????
yl benzoate
                                                  https://pubchem.ncbi.nlm.nih.gov/compound/5353011#section=Safety-and-Hazards
(Trans-3,7-Dimethylocta-2,6-                                Signal: Warning
dien-1-yl benzoate,                                         GHS Hazard Statements
Geranyl Benzoate)
                                                                     H315 (100%): Causes skin irritation [Warning Skin corrosion/irritation]

                                                  http://www.thegoodscentscompany.com/data/rw1024871.html#tosafty
                                                            European information :
                                                            Most important hazard(s):
                                                                     S 24/25 - Avoid contact with skin and eyes.
3-Methyl-1H-indole               Y                https://pubchem.ncbi.nlm.nih.gov/compound/6736#section=GHS-Classification
                                                            Signal: Warning
(Skatole)                                                   GHS Hazard Statements
                                                                     with hazard statement code(s):

                                                                     H315 (96.3%): Causes skin irritation [Warning Skin corrosion/irritation]
                                                  http://www.thegoodscentscompany.com/data/rw1006331.html#tosafty
                                                            European information :
                                                            Most important hazard(s):
                                                                     Xi - Irritant
                                                                     R 36/37/38 - Irritating to eyes, respiratory system, and skin.
                                                                     S 20/21 - When using do not eat, drink or smoke.
                                                                     S 24/25 - Avoid contact with skin and eyes.
3-Methyl-5-(2,2,3-               Y                https://pubchem.ncbi.nlm.nih.gov/compound/103212#section=Safety-and-Hazards
trimethylcyclopent-3-en-1-                                  Signal: Warning
yl)pentan-2-ol
                                                  http://www.thegoodscentscompany.com/data/rw1026291.html#tosafty
(Sandal pentanol, Sandalore)                               European information :
                                                           Most important hazard(s):
                                                                                                                                                                               255
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                                                                  Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
          Chemical               Baby    Shower-
                                Powder     to-
                                         Shower
                                                                    Xi - Irritant
                                                                    R 36/37/38 - Irritating to eyes, respiratory system, and skin.
3-Methylbutyl salicylate                    Y      http://www.thegoodscentscompany.com/data/rw1006772.html#tosafty

(Isoamyl Salicylate)
3-Phenylpropan-1-ol               Y                https://pubchem.ncbi.nlm.nih.gov/compound/31234#section=Safety-and-Hazards
                                                             Signal: Warning
                                                             GHS Hazard Statements

                                                                      H315 (98.51%): Causes skin irritation [Warning Skin corrosion/irritation]

                                                            Toxicity Summary
                                                                      HUMAN EXPOSURE AND TOXICITY: In a multicenter study, 218 fragrance sensitive patients with proven contact dermatitis were
                                                                      patch tested. Reactions (0.9%) in fragrance sensitive patients were observed with 3-phenylpropanol at 5% in petrolatum.
                                                                      ANIMAL STUDIES: In an irritation study in rabbits 3-phenylpropanol was applied for 24 hr under occlusion at dose levels of 2.5
                                                                      and 5 g/kg. At 2.5 g/kg, moderate erythema and slight to moderate edema were observed. At 5 g/kg, moderate to severe
                                                                      erythema and moderate edema were observed. In another study in rabbits, 3-phenyl-1-propanol was applied for 24 hr under
                                                                      occlusion at 5 g/kg. Moderate to severe erythema, severe edema, scaling and necrosis were observed. A 0.5 mL aliquot of 3-
                                                                      phenylpropanol was applied to intact and abraded skin for 24 hr under occlusion. Moderate irritation was observed. Necrosis
                                                                      was also observed.
                                                                      from HSDB

                                                   https://chem.nlm.nih.gov/chemidplus/rn/122-97-4
                                                             Skin/eye irritant

                                                   http://www.thegoodscentscompany.com/data/rw1010172.html#tosafty
                                                            European information :
                                                            Most important hazard(s):
                                                                    Xi - Irritant
                                                                    R 36/38 - Irritating to skin and eyes.
                                                                    S 24/25 - Avoid contact with skin and eyes.

                                                             GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                                       Skin irritation (Category 2), H315
4-(2,6,6-Trimethylcyclohex-2-     Y                https://pubchem.ncbi.nlm.nih.gov/compound/5282108#section=Safety-and-Hazards
en-1-yl)but-3-en-2-one                                       Signal: Danger
                                                             GHS Hazard Statements
(alpha-ionone)
                                                            Skin, Eye, and Respiratory Irritations
                                                                       alpha-Ionone was found to be a moderate /skin/ irritant.
                                                                       Lalko J et al; Food Chem Toxicol 45 Suppl 1: S235-40 (2007)
                                                                       from HSDB

                                                            Toxicity Summary
                                                                      HUMAN EXPOSURE AND TOXICITY: AI (32 % in acetone) was found to be a moderate irritant. No reactions were observed with
                                                                      1% AI; 5% AI produced one irritant/questionable reaction. ANIMAL STUDIES: No skin irritation was observed in miniature swine
                                                                      using neat AI. In guinea pigs AI was reported to be moderately irritating in skin test. AI produced severe skin irritation reaction in
                                                                      rabbits. AI was tested in a 90-days oral toxicity study using male and female rats.
                                                                                                                                                                                                256
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                                                                 Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
            Chemical            Baby    Shower-
                               Powder     to-
                                        Shower
                                                                     from HSDB

                                                  http://www.thegoodscentscompany.com/data/rw1011952.html#tosafty
                                                            European information :
                                                            Most important hazard(s):
                                                                      Xi - Irritant
                                                                      R 36/38 - Irritating to skin and eyes.
                                                                      R 42/43 - May cause sensitization by inhalation and skin contact.
                                                                      S 24/25 - Avoid contact with skin and eyes.
4,7-Methano-IH-indenol,                    Y      https://pubchem.ncbi.nlm.nih.gov/compound/86579#section=Safety-and-Hazards
3a,4,5,6, 7, 7a-hexahydro-,                                 Signal: Warning
propanoate                                                  GHS Hazard Statements
                                                  https://chem.nlm.nih.gov/chemidplus/rn/17511-60-3
(Tricyclodecenyl Propionate)                                Skin/eye irritant

                                                  https://www.ewg.org/guides/substances/6105-TRICYCLODECENYLPROPIONATE#.W4QRzuhKiUk
                                                           The European Commission's Scientific Committee on Consumer Safety reports this substance lacks data on contact allergy in humans.
                                                           lOpinion on Fragrance allergens in cosmetics (2011) - EU Cosmetics Directive

                                                  http://www.thegoodscentscompany.com/data/rw1011151.html#tosafty
                                                            European information :
                                                            Most important hazard(s):
                                                                      Xi - Irritant
                                                                      R 36/38 - Irritating to skin and eyes.
                                                                      S 24/25 - Avoid contact with skin and eyes.
4-Methyl phenyl 2-               Y                http://www.thegoodscentscompany.com/data/rw1035021.html#tosafty
methylpropanoate                                            European information :
                                                            Most important hazard(s):
(p-Tolyl isobutyrate                                                  Xi - Irritant
P-Cresyl isobutyrate)                                                 R 36/37/38 - Irritating to eyes, respiratory system, and skin.
5-Isopropenyl-2-                 Y                https://pubchem.ncbi.nlm.nih.gov/compound/7439#section=Hazards-Identification
methylcyclohex-2-en-1-one                                   Signal: Danger
                                                            GHS Hazard Statements
(Carvone)                                                             H315 (99.37%): Causes skin irritation [Warning Skin corrosion/irritation]
                                                                      H317 (92.11%): May cause an allergic skin reaction [Warning Sensitization, Skin]

                                                            Toxicity Summary
                                                                      HUMAN EXPOSURE AND TOXICITY: The sensitizing potential of l-carvone has been considered low, but it has occasionally caused
                                                                      contact allergy in users of spearmint toothpaste and chewing gum. ANIMAL STUDIES: Clinical signs after acute exposure in mice
                                                                      and rats were different depending on the route of exposure.. After acute dermal exposure no systemic or skin effects were
                                                                      observed
                                                                      from HSDB
8-Cyclohexadecen-1-one           Y                https://pubchem.ncbi.nlm.nih.gov/compound/534634#section=Safety-and-Hazards
                                                            Signal: Warning
                                                            GHS Hazard Statements

                                                                     H315 (68.75%): Causes skin irritation [Warning Skin corrosion/irritation]
                                                                                                                                                                                      257
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                                                           Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
         Chemical         Baby    Shower-
                         Powder     to-
                                  Shower
                                                      GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                               Skin irritation (Category 2), H315
Aldehyde C-7               Y                https://pubchem.ncbi.nlm.nih.gov/compound/8130#section=Safety-and-Hazards
                                                      Signal: Warning
(Heptanal)                                            GHS Hazard Statements
                                                               H315 (99.71%): Causes skin irritation [Warning Skin corrosion/irritation]

                                            https://chem.nlm.nih.gov/chemidplus/rn/111-71-7
                                                      Skin/eye irritant

                                            http://www.thegoodscentscompany.com/data/rw1014291.html#tosafty
                                                      European information :
                                                      Most important hazard(s):
                                                               Xi - Irritant
                                                               R 36/37/38 - Irritating to eyes, respiratory system, and skin.
                                                               R 50/53 - Very toxic to aquatic organisms, may cause long-term adverse effects in the aquatic environment.
Alpha-Isomethyl lonone     Y                https://pubchem.ncbi.nlm.nih.gov/compound/5372174#section=Hazards-Identification
                                                      Signal: Warning
                                                      GHS Hazard Statements

                                                               H315 (80.27%): Causes skin irritation [Warning Skin corrosion/irritation]
                                                               H317 (90.98%): May cause an allergic skin reaction [Warning Sensitization, Skin]

                                            http://www.thegoodscentscompany.com/data/rw1594731.html#tosafty
                                                     (50% minimum alpha-isomethyl ionone)
                                                              European information :
                                                              Most important hazard(s):
                                                                      Xi N - Irritant, Dangerous for the environment.
                                                                      R 38 - Irritating to skin.
                                                                      R 43 - May cause sensitisation by skin contact.

                                                               GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                                        Skin sensitisation (Category 1), H317

                                                     (70% minimum alpha-isomethyl ionone)
                                                              European information :
                                                              Most important hazard(s):
                                                                      Xi - Irritant
                                                                      R 38 - Irritating to skin.
                                                                       02 - Keep out of the reach of children.
                                                                      S 24/25 - Avoid contact with skin and eyes.

                                                     (80% minimum alpha-isomethyl ionone)
                                                              European information :
                                                              Most important hazard(s):
                                                                      Xi - Irritant
                                                                      R 38 - Irritating to skin.
                                                                      S 24/25 - Avoid contact with skin and eyes.
                                                                                                                                                                            259
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                                                              Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
         Chemical             Baby    Shower-
                             Powder     to-
                                      Shower

                                                         (90% minimum alpha-isomethyl ionone)
                                                                  European information :
                                                                  Most important hazard(s):
                                                                          Xi - Irritant
                                                                          R 38 - Irritating to skin.
                                                                          S 24/25 - Avoid contact with skin and eyes.

                                                https://cosmeticsinfo.org/ingredient/alpha-isomethyl-ionone-0
                                                          The safety of Alpha-Isomethyl Ionone has been evaluated by the Research Institute for Fragrance Materials Expert Panel (REXPAN). Based
                                                          on this evaluation, an International Fragrance Association (IFRA) Standard has been established. The IFRA Standard restricts the use of
                                                          mixed isomers of methyl ionone (including Alpha-Isomethyl Ionone) in fragrances because of potential sensitization.

                                                         The Flavor and Extract Manufacturers Association Expert Panel has reviewed the safety of Alpha-Isomethyl Ionone and determined that it
                                                         was Generally Recognized as Safe (GRAS) for use as a flavoring substance. In Europe, Alpha-Isomethyl Ionone is included on the list of
                                                         "allergenic" substances.

                                                         The European Cosmetics Regulation requires manufacturers of cosmetics and personal care products to indicate the presence of certain
                                                         "allergenic" substances in the list of ingredients if they are present above certain levels in the product (see Annex III). The presence of
                                                         Alpha-Isomethyl Ionone must be indicated in the list of ingredients when its concentration exceeds: 0.001% in leave-on the skin products
                                                         0.01% in products that are rinsed off the skin.

                                                Link to the EU Cosmetic Regulation: https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=LEGISSUM:co0013

                                                https://www.ewg.org/skindeep/ingredient/700295/ALPHA-ISOMETHYL IONONE/#.W4QmbOhKiUl
                                                          Allergies/immunotoxicity
                                                                     Possible human immune system toxicant or allergen SCCPNFP (Scientific Committee On Cosmetic Products And Non-Food
                                                                                                                               Products). 1999. Opinion Concerning Fragrance Allergy In
                                                                                                                               Consumers. . SCCNFP/0017/98 Final, December 1999; and
                                                                                                                               SCCPNFP (Scientific Committee On Cosmetic Products And
                                                                                                                               Non-Food Products). 2000. An Initial List Of Perfumery
                                                                                                                               Materials Which Must Not Form Part Of Fragrances
                                                                                                                               Compounds Used In Cosmetic Products. SCCNFP/0320/00,
                                                                                                                               final May 2000.
Amyl Cinnamal                  Y         Y      https://chem.nlm.nih.gov/chemidplus/rn/122-40-7
                                                          Skin/eye irritant
(alpha-Amyl cinnamaldehyde
                                                https://pubchem.ncbi.nlm.nih.gov/compound/1623625#section=Safety-and-Hazards
alpha-                                                    Signal: Warning
pentylcinnamaldehyde)                                     GHS Hazard Statements

                                                                   H317 (98.8%): May cause an allergic skin reaction [Warning Sensitization, Skin]

                                                         Skin, Eye, and Respiratory Irritations
                                                                    A severe skin irritant.
                                                                    Lewis, R.J. Sr. (ed) Sax's Dangerous Properties of Industrial Materials. 11th Edition. Wiley-Interscience, Wiley & Sons, Inc.
                                                                    Hoboken, NJ. 2004., p. 251
                                                                    from HSDB
                                                                                                                                                                                            260
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                                                      Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
         Chemical    Baby    Shower-
                    Powder     to-
                             Shower

                                       https://www.ewg.org/guides/substances/368-AMYLCINNAMALDEHYDE#.W4QozuhKiUk
                                                Recognized by the European Union as a skin allergen Allergen list - EU Cosmetics Directive

                                                The European Commission's Scientific Committee on Consumer Safety reports this substance is an established contact allergen in humans.
                                                Opinion on Fragrance allergens in cosmetics (2011) - EU Cosmetics Directive

                                                EPA's review of industry submitted toxicity data and the potential for human exposure concludes that this substance poses a moderate
                                                risk for human health. EPA Hazard-Based Prioritizations - Risks - Environmental Protection Agency (EPA)

                                       https://cosmeticsinfo.org/ingredient/amyl-cinnamal-0
                                                 The safety of Amyl Cinnamal has been evaluated by the Research Institute for Fragrance Materials Expert Panel (REXPAN). Based on this
                                                 evaluation, an International Fragrance Association (IFRA) Standard has been established.

                                                The IFRA Standard restricts the use of Amyl Cinnamal in fragrances because of potential sensitization.

                                                More safety Information:
                                                Link to FDA Code of Federal Regulations for alpha-amyl cinnamic aldehyde (Amyl Cinnamal):
                                                https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/CFRSearch.cfm?fr=172.515&SearchTerm=cinnamaldehyde

                                                The Joint FAO/WHO Expert Committee on Food Additives (JECFA) concluded that Amyl Cinnamal does not present a safety concern at
                                                current levels of intake when used as a flavoring agent.

                                                Link to the JECFA safety evaluation of Amyl Cinnamal: http://www.inchem.org/documents/jecfa/jeceval/jec_123.htm

                                                The Flavor and Extract Manufacturers Association Expert Panel has reviewed the safety of Amyl Cinnamal and determined that it was
                                                Generally Recognized as Safe for use as a flavoring substance. In Europe, Amyl Cinnamal is included on the list of "allergenic" substances.

                                                The European Cosmetics Directive requires manufacturers of cosmetics and personal care products to indicate the presence of certain
                                                "allergenic" substances in the list of ingredients if they are present above certain levels in the product (see Annex III). The presence of
                                                Amyl Cinnamal must be indicated in the list of ingredients when its concentration exceeds: 0.001% in leave-on the skin products 0.01% in
                                                products that are rinsed off the skin

                                                Link to the EU Cosmetic Regulation: https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=LEGISSUM:co0013

                                       http://www.thegoodscentscompany.com/data/rw1001011.html#tosafty
                                                European information :
                                                Most important hazard(s):
                                                        Xi - Irritant
                                                        R 36/37/38 - Irritating to eyes, respiratory system, and skin.
                                                        R 43 - May cause sensitisation by skin contact.

                                                Hazards identification

                                                GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                         Skin sensitisation (Category 1), H317
Anisaldehyde          Y
                                       https://chem.nlm.nih.gov/chemidplus/rn/123-11-5
                                                                                                                                                                                 261
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                                                                              PageID: 194838
                                                            Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
          Chemical          Baby    Shower-
                           Powder     to-
                                    Shower
                                                                 from OSHA Chemical Sampling Information

                                                       Skin Symptoms
                                                                Redness.
                                                                from ILO-ICSC

                                                       Toxicity Summary
                                                                 HUMAN EXPOSURE AND TOXICITY: It may cause contact dermatitis.. ANIMAL STUDIES:
                                                                 from HSDB

                                              https://www.ewg.org/guides/substances/7337-BENZALDEHYDE#.W4QxU-hKiUk
                                                       The European Commission's Scientific Committee on Consumer Safety reports this substance is an established contact allergen in humans.
                                                       Opinion on Fragrance allergens in cosmetics (2011) - EU Cosmetics Directive

                                              https://cosmeticsinfo.org/ingredient/benzaldehyde-0

                                                       FDA: Link to the Code of Federal Regulations for Benzaldehyde
                                                       https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/CFRSearch.cfm?fr=182.60&SearchTerm=benzaldehyde

                                                       Benzaldehyde may be used in cosmetics and personal care products marketed in Europe according to the general provisions of the
                                                       Cosmetics Regulation of the European Union.

                                                       Link to the EU Cosmetic Regulation:
                                                       https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=LEGISSUM:co0013

                                                       The Joint FAO/WHO Expert Committee on Food Additives has established an Acceptable Daily Intake of 0-5 mg Benzaldehyde/kg body
                                                       weight. No safety concern was indicated at current levels of intake when used as a flavoring agent.
                                                       http://www.inchem.org/documents/jecfa/jeceval/jec 176.htm

                                              http://www.thegoodscentscompany.com/data/rw1001491.html#tosafty
                                                       European information :
                                                       Most important hazard(s):
                                                               Xn - Harmful.
                                                               S 24 - Avoid contact with skin.

                                                        GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                                 Skin irritation (Category 2), H315
                                                                 Skin sensitisation (Category 1), H317
Benzaldehyde, 2-hydroxy-     Y                https://pubchem.ncbi.nlm.nih.gov/compound/6998#section=Safety-and-Hazards
                                                        Signal: Warning
(Salicylaldehyde)                                       GHS Hazard Statements
                                                                 H312 (49.04%): Harmful in contact with skin [Warning Acute toxicity, dermal]
                                                                 H315 (53.07%): Causes skin irritation [Warning Skin corrosion/irritation]

                                                       Health Hazard
                                                                LIQUID: Irritating to skin and eyes. Harmful if swallowed. (USCG, 1999)
                                                                from CAMEO Chemicals

                                                                                                                                                                                 263
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                                                            Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
          Chemical         Baby    Shower-
                          Powder     to-
                                   Shower
                                             https://chem.nlm.nih.gov/chemidplus/rn/90-02-8
                                                       Skin/eye irritant

                                             http://www.thegoodscentscompany.com/data/rw1028641.html#tosafty
                                                       European information :
                                                       Most important hazard(s):
                                                                Xn - Harmful.
                                                                R 21/22 - Harmful in contact with skin and if swallowed.
                                                                R 36/38 - Irritating to skin and eyes.
                                                                S 24/25 - Avoid contact with skin and eyes.
Benzene, 1,3-dimethoxy-     Y                https://pubchem.ncbi.nlm.nih.gov/compound/9025#section=Safety-and-Hazards
                                                       Signal: Warning
(meta-dimethyl                                         GHS Hazard Statements
hydroquinone
                                                                 H312 (50%): Harmful in contact with skin [Warning Acute toxicity, dermal]
m-dimethoxybenzene)                                              H315 (50%): Causes skin irritation [Warning Skin corrosion/irritation]

                                             http://www.thegoodscentscompany.com/data/rw1027111.html#tosafty
                                                       European information :
                                                       Most important hazard(s):
                                                                 Xi - Irritant
                                                                 R 36/38 - Irritating to skin and eyes.
                                                                 S 24/25 - Avoid contact with skin and eyes.
Benzene, ethenyl-           Y                https://online.personalcarecouncil.org/ctfa-static/online/lists/cir-pdfs/FR673.pdf

(Styrene, vinylbenzene)                      https://chem.nlm.nih.gov/chemidplus/rn/100-42-5
                                                       Skin/eye irritant

                                             https://pubchem.ncbi.nlm.nih.gov/compound/styrene#section=Safety-and-Hazards
                                                       Signal: Danger
                                                       GHS Hazard Statements
                                                                 H315 (100%): Causes skin irritation [Warning Skin corrosion/irritation]

                                                       Health Hazard
                                                                Moderate irritation of eyes and skin. High vapor concentrations cause dizziness, drunkeness, and anesthesia. (USCG, 1999)
                                                                from CAMEO Chemicals

                                                       Skin, Eye, and Respiratory Irritations
                                                                  Irritating to skin ...
                                                                  Commission of the European Communities. Legislation on Dangerous Substances - Classification and Labelling in the European
                                                                  Communities. Vol. II. London and Trotman Ltd., 1989., p. 224
                                                                  from HSDB

                                                       NIOSH Toxicity Data

                                                                                                                                                                             264
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                                                                                   PageID: 194841
                                                                  Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
           Chemical              Baby    Shower-
                                Powder     to-
                                         Shower
(Methyl 2-Phenylacetate
                                                   https://pubchem.ncbi.nlm.nih.gov/compound/7559#section=Safety-and-Hazards
Methyl phenylacetate)                                        Signal: Warning
                                                             GHS Hazard Statements

                                                                       H315 (66.67%): Causes skin irritation [Warning Skin corrosion/irritation]

                                                             Skin, Eye, and Respiratory Irritations
                                                                        A skin irritant.
                                                                        Lewis, R.J. Sr. (ed) Sax's Dangerous Properties of Industrial Materials. 11th Edition. Wiley-Interscience, Wiley & Sons, Inc.
                                                                        Hoboken, NJ. 2004., p. 2388
                                                                        from HSDB

                                                   http://www.thegoodscentscompany.com/data/rw1008431.html#tosafty
                                                            European information :
                                                            Most important hazard(s):
                                                                    Xi - Irritant
                                                                    R 36/38 - Irritating to skin and eyes.
                                                                    S 24/25 - Avoid contact with skin and eyes.

                                                             GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                                      Acute toxicity, dermal (Category 5), H313
                                                                      Skin corrosion/irritation (Category 3), H316
Benzoic acid, 2,4-dihydroxy-      Y
3,6-dimethyl-, methyl ester                        http://www.thegoodscentscompany.com/data/rw1023372.html#tosafty
                                                            European information :
(Methyl 3-methylorsellinate)                                Most important hazard(s):
                                                                    Xi - Irritant
                                                                    R 36/37/38 - Irritating to eyes, respiratory system, and skin.

                                                             GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                                       Skin irritation (Category 2), H315
                                                                       H335
Benzoic acid, 2-hydroxy-, 2-      Y                http://www.thegoodscentscompany.com/data/rw1006892.html#tosafty
methylpropyl ester                                           European information :
                                                             Most important hazard(s):
(Isobutyl Salicylate)                                                  Xn - Harmful.
                                                                       R 36/37/38 - Irritating to eyes, respiratory system, and skin.
Benzoic acid, 2-hydroxy-,         Y                https://chem.nlm.nih.gov/chemidplus/rn/118-61-6
ethyl ester                                                  Skin/eye irritant

(Ethyl salicylate)                                 http://www.thegoodscentscompany.com/data/rw1001561.html#tosafty
                                                            European information :
                                                            Most important hazard(s):
                                                                      Xn - Harmful.
                                                                      R 36/37/38 - Irritating to eyes, respiratory system, and skin.
                                                                      S 24/25 - Avoid contact with skin and eyes.
Benzophenone                                Y      Benzophones-1, -3, -4, -5, -9, and -11
                                                                                                                                                                                                266
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                                                      Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
         Chemical    Baby    Shower-
                    Powder     to-
                             Shower
                                                https://online.personalcarecouncil.org/ctfa-static/online/lists/cir-pdfs/PRN475.pdf
                                                https://online.personalcarecouncil.org/ctfa-static/online/lists/cir-pdfs/pr219.pdf
                                                https://cosmeticsinfo.org/ingredient/benzophenone-1
                                                          The Food and Drug Administration (FDA) has approved the use of Benzophenone-3 and Benzophenone-4 as safe and effective,
                                                          over-the-counter (OTC) sunscreen ingredients. When used as a sunscreen ingredient in the United States, Benzophenone-3 is
                                                          called Oxybenzone, and may be used at concentrations up to 6%, and Benzophenone-4 is called Sulisobenzone, and may be used
                                                          at concentrations up to 10%.

                                                          FDA: Link to Code of Federal Regulations for Benzophenone-3 (Oxybenzone) and Benzophenone-4 (Sulisobenzone)

                                                          https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/CFRSearch.cfm?CFRPart=352&showFR=1

                                                          Benzophenone-3, listed as Oxybenzone, and Benzophenone-4 and -5, listed as Sulisobenzone and Sulisobenzone Sodium,
                                                          respectively, are included in Annex VII, Part 1 (UV filter which cosmetic products may contain) of the Cosmetics Directive of the
                                                          European Union. Oxybenzone may be used at concentrations up to 10%, and products containing 0.5% Oxybenzone when used
                                                          in sunscreen products must be labeled "contains Oxybenzone." Sulisobenzone and Sulisobenzone Sodium may be used at
                                                          concentrations up to 5% as Sulisobenzone.

                                                          There are studies that suggest that some sunscreen ingredients, including Oxybenzone may have activity like the hormone,
                                                          estrogen. Therefore, the European Commission's Scientific Committee for Cosmetic Products and Non-Food Products Intended
                                                          for Consumers (SCCNFP) was asked to consider if UV filters as used in sunscreen products have estrogenic effects which have the
                                                          potential to affect human health. The SCCNFP concluded that UV filters used in sunscreen products allowed in the European
                                                          market have no estrogenic effects that could potentially affect human health.

                                       https://pubchem.ncbi.nlm.nih.gov/compound/3102#section=Exposure-Routes
                                                 Skin Symptoms
                                                          Redness.
                                                          from ILO-ICSC

                                       http://www.thegoodscentscompany.com/data/rw1016332.html#tosafty
                                                 European information :
                                                 Most important hazard(s):
                                                           Xi N - Irritant, Dangerous for the environment.
                                                           R 36/37/38 - Irritating to eyes, respiratory system, and skin.
Benzyl Alcohol        Y                https://online.personalcarecouncil.org/ctfa-static/online/lists/cir-pdfs/pr323.pdf
                                       https://online.personalcarecouncil.org/ctfa-static/online/lists/cir-pdfs/pr323.pdf

                                       https://chem.nlm.nih.gov/chemidplus/rn/100-51-6
                                                 Skin/eye irritant

                                       https://pubchem.ncbi.nlm.nih.gov/compound/244#section=Hazards-Identification
                                                 Signal: Warning
                                                 GHS Hazard Statements
                                                          H312 (17.85%): Harmful in contact with skin [Warning Acute toxicity, dermal]

                                                Skin, Eye, and Respiratory Irritations
                                                           A moderate skin and severe eye irritant.
                                                                                                                                                                               267
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                                                      Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
         Chemical    Baby    Shower-
                    Powder     to-
                             Shower

                                                 The European Commission's Scientific Committee on Consumer Safety reports this substance is an established contact allergen in humans.
                                                 Opinion on Fragrance allergens in cosmetics (2011) - EU Cosmetics Directive

                                       https://cosmeticsinfo.org/ingredient/benzyl-alcohol
                                                 The Food and Drug Administration (FDA) includes Benzoic Acid and Sodium Benzoate on its list of direct food substances affirmed as
                                                 Generally Recognized As Safe (GRAS).

                                                 The safety of Benzyl Alcohol and Benzyl Benzoate has been evaluated by the Research Institute for Fragrance Materials Expert Panel
                                                 (REXPAN).

                                                 Based on these evaluations, International Fragrance Association (IFRA) Standards have been established. The IFRA standards restrict the
                                                 use of Benzyl Alcohol and Benzyl Benzoate in fragrances because of potential sensitization.

                                                 More safety Information:

                                                 Clinical data indicated that in a few individuals these ingredients produced non-immunologic contact urticaria and non-immunologic
                                                 immediate contact reactions, characterized by the appearance of wheals, erythema, and pruritis. In one study, 5% Benzyl Alcohol elicited a
                                                 reaction, and in another study, 2% Benzoic Acid did likewise. Benzyl Alcohol, however, was not a sensitizer at 10%, nor was Benzoic Acid a
                                                 sensitizer at 2%.

                                                 Recognizing that the non-immunologic reactions were strictly cutaneous, likely involve a cholinergic mechanism, it was concluded that
                                                 these ingredients could be used safely at concentrations up to 5%. Additionally, Benzyl Alcohol was considered safe at up to 10% for use in
                                                 hair dyes.

                                                 The limited body exposure, the duration of use, and the frequency of use were considered in concluding that the non-immunologic
                                                 reactions would not be a concern.

                                                 Link to FDA Code of Federal Regulations and the Federal Register for Benzyl Alcohol

                                                 https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/CFRSearch.cfm?fr=172.515&SearchTerm=benzyl%20alcohol

                                                 Benzyl Alcohol may be used as a preservative in cosmetics and personal care products marketed in the European Union at a maximum
                                                 concentration of 1%. Benzoic Acid and its salts and esters are also permitted for use as preservatives in cosmetics and personal care
                                                 products at a maximum concentration (expressed as the acid) of 2.5% in rinse-off products (except oral care products), 1.7% in oral care
                                                 products and 0.5% in leave on products (see Annex VI). Benzyl Alcohol and Benzyl Benzoate are also listed in in Annex III of the European
                                                 Union Cosmetics Directive.When Benzyl Alcohol or Benzyl Benzaote are used as fragrance ingredients, Annex III requires that the presence
                                                 of these fragrance ingredients be indicated on the label of the product when used at greater than 0.001% in leave-on products, and
                                                 greater than 0.01% in rinse-off products.

                                                 The Joint FAO/WHO Expert Committee on Food Additives has established an Acceptable Daily Intake of 0-5 mg/kg for the sum of Benzoic
                                                 Acid, Potassium and Sodium Benzoate: http://www.inchem.org/documents/jecfa/jecmono/40abcj02.htm
Benzyl Benzoate       Y         Y      https://online.personalcarecouncil.org/ctfa-static/online/lists/cir-pdfs/PR574.pdf

                                       https://pubchem.ncbi.nlm.nih.gov/compound/2345#section=Fire-Hazard
                                                 Skin, Eye, and Respiratory Irritations
                                                            Benzyl benzoate is relatively nontoxic but may irritate the skin and eyes.
                                                                                                                                                                              269
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                                                                Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
          Chemical             Baby    Shower-
                              Powder     to-
                                       Shower
                                                           The Joint FAO/WHO Expert Committee on Food Additives (JECFA) concluded that Benzyl Salicylate does not present a safety concern at
                                                           current levels of intake when used as a flavoring agent. http://www.inchem.org/documents/jecfa/jeceval/jec 215.htm

                                                           The Flavor and Extract Manufacturers Association Expert Panel has reviewed the safety of Benzyl Salicylate and determined that it is
                                                           Generally Recognized as Safe (GRAS) for use as a flavoring substance. In Europe, Benzyl Salicylate is included on the list of "allergenic"
                                                           substances. The European Cosmetics Directive requires manufacturers of cosmetics and personal care products to indicate the presence
                                                           of certain "allergenic" substances in the list of ingredients if they are present above certain levels in the product (see Annex III). The
                                                           presence of Benzyl Salicylate must be indicated in the list of ingredients when its concentration exceeds: 0.001% in leave-on the skin
                                                           products 0.01% in products that are rinsed off the skin.

                                                           Link to the EU Cosmetic Regulation: https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=LEGISSUM:co0012

                                                 http://www.thegoodscentscompany.com/data/rw1001792.html#tosafty
                                                          European information :
                                                          Most important hazard(s):
                                                                  Xi - Irritant
                                                                  R 36/37/38 - Irritating to eyes, respiratory system, and skin.
                                                                  R 43 - May cause sensitisation by skin contact.
                                                                  S 24 - Avoid contact with skin.

                                                           GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                                    Skin sensitisation (Category 1), H317
Boswellia Carterii Oil          Y                No Data

(Oils, olibanum                                  http://www.thegoodscentscompany.com/data/es1004051.html#tosafty
Frankincense oil)                                          European information :
                                                           Most important hazard(s):
                                                                     Xn - Harmful.
                                                                     R 10 - Flammable.
                                                                     R 20/21/22 - Harmful by inhalation, in contact with skin and if swallowed.
                                                                     R 36/37/38 - Irritating to eyes, respiratory system, and skin.
                                                                     R 42/43 - May cause sensitization by inhalation and skin contact.
                                                                     S 24/25 - Avoid contact with skin and eyes.
Butanoic acid, ethyl ester      Y                https://chem.nlm.nih.gov/chemidplus/rn/105-54-4
                                                           Skin/eye irritant
(Ethyl n-butyrate
                                                 http://www.thegoodscentscompany.com/data/rw1004792.html#tosafty
Ethyl butanoate)                                          European information :
                                                          Most important hazard(s):
                                                                  Xi - Irritant
                                                                  R 10 - Flammable.
                                                                  R 36/37/38 - Irritating to eyes, respiratory system, and skin.

                                                           GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                                    Skin irritation (Category 2), H315
Butanoic acid, pentyl ester     Y                https://pubchem.ncbi.nlm.nih.gov/compound/10890#section=Health-Hazard

(Amyl Butyrate)
                                                                                                                                                                                          271
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                                                       Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
          Chemical    Baby    Shower-
                     Powder     to-
                              Shower
                                                 Excerpt from ERG Guide 130 [Flammable Liquids (Water-Immiscible / Noxious)]: May cause toxic effects if inhaled or absorbed through
                                                 skin. Inhalation or contact with material may irritate or burn skin and eyes. Fire will produce irritating, corrosive and/or toxic gases. Vapors
                                                 may cause dizziness or suffocation. Runoff from fire control or dilution water may cause pollution. (ERG, 2016)
                                                 from CAMEO Chemicals

                                        http://www.thegoodscentscompany.com/data/rw1004151.html#tosafty
                                                  European information :
                                                  Most important hazard(s):
                                                            Xi - Irritant
                                                            R 36/37/38 - Irritating to eyes, respiratory system, and skin.
Camphor                Y                https://pubchem.ncbi.nlm.nih.gov/compound/2537#section=Hazards-Identification
                                                  Signal: Danger
                                                  GHS Hazard Statements
                                                            H312 (10.82%): Harmful in contact with skin [Warning Acute toxicity, dermal]
                                                            H315 (16.04%): Causes skin irritation [Warning Skin corrosion/irritation]

                                                 Health Hazard
                                                          Excerpt from ERG Guide 133 [Flammable Solids]: Fire may produce irritating and/or toxic gases. Contact may cause burns to skin
                                                          and eyes. Contact with molten substance may cause severe burns to skin and eyes. Runoff from fire control may cause pollution.
                                                          (ERG, 2016)
                                                          from CAMEO Chemicals

                                                 Skin, Eye, and Respiratory Irritations
                                                            The substance is irritating to the eyes, the skin, and the respiratory tract.
                                                            International Program on Chemical Safety/ Commission of the European Union; International Chemical Safety Card on Camphor.
                                                            ( May 2003). Available from, as of June 30, 2014: http://www.inchem.org/documents/icsc/icsc/eics1021.htm
                                                            from HSDB

                                                 Health Effects
                                                           Irritation-Eye, Nose, Throat, Skin---Moderate (HE15) Acute Toxicity---short-term high hazard effects (HE4) CNS Effects (HE7)
                                                           from OSHA Chemical Sampling Information

                                                 Symptoms
                                                        Irritation of eyes, skin, mucous membrane; nausea, vomiting, diarrhea; headache, dizziness, excitement, epileptiform
                                                        convulsions; cough, sore throat; Ingestion Acute: Burning sensation in throat and chest; GI symptoms; confusion, seizures,
                                                        unconsciousness; Skin Absorption; Hepatotoxicity without GI symptoms.
                                                        from OSHA Chemical Sampling Information

                                                           irritation eyes, skin, mucous membrane; nausea, vomiting, diarrhea; headache, dizziness, excitement, epileptiform convulsions
                                                           from The National Institute for Occupational Safety and Health (NIOSH)

                                                 Skin Symptoms
                                                          Redness.
                                                          from ILO-ICSC

                                        https://cosmeticsinfo.org/ingredient/camphor-0
                                                                                                                                                                                 272
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                                                      Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
         Chemical    Baby    Shower-
                    Powder     to-
                             Shower
                                                The Food and Drug Administration (FDA) includes Camphor in its list of flavoring agents and related substances that are permitted for
                                                direct addition to food. Camphor is also approved for use as an active ingredient in Over-The-Counter (OTC) external analgesics, topical
                                                antitussive drug products and in anorectal products at concentrations of 0.1 to 3%.

                                                More safety Information:
                                                The International Programme on Chemical Safety has developed a monograph on the uses and potential effects of Camphor. Fairly large
                                                oral doses of Camphor are needed before adverse effects are observed. Carcinogenicity tests have been negative and Camphor is not
                                                mutagenic in bacteria. http://www.inchem.org/documents/pims/pharm/camphor.htm

                                                Natural Flavoring Substances:
                                                https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/CFRSearch.cfm?fr=172.510&SearchTerm=camphor

                                                Antitussive Active Ingredients
                                                https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/CFRSearch.cfm?fr=341.14&SearchTerm=camphor

                                                Analgesic, Anesthetic, and Antipruritic Active Ingredients
                                                https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/CFRSearch.cfm?fr=346.16&SearchTerm=camphor

                                                Camphor may be used in cosmetics and personal care products marketed in Europe according to the general provisions of the Cosmetics
                                                Regulation of the European Union.

                                                https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=LEGISSUM:co0013

                                                Health Canada permits the use of Camphor in cosmetics and personal care products at concentrations less than or equal to 3%.
                                                https://www.canada.ca/en/health-canada/services/cosmetics.html

                                       http://www.thegoodscentscompany.com/data/rw1056901.html#tosafty
                                                 European information :
                                                 Most important hazard(s):
                                                           Xn - Harmful.
                                                           R 20/21/22 - Harmful by inhalation, in contact with skin and if swallowed.
                                                           R 36/37/38 - Irritating to eyes, respiratory system, and skin.
                                                           R 40 - Limited evidence of a carcinogenic effect.
Caproic Acid          Y                https://chem.nlm.nih.gov/chemidplus/rn/142-62-1
                                                 Skin/eye irritant

                                       https://pubchem.ncbi.nlm.nih.gov/compound/8892#section=Hazards-Identification
                                                 Signal: Danger
                                                 GHS Hazard Statements

                                                          H311 (23.6%): Toxic in contact with skin [Danger Acute toxicity, dermal]
                                                          H314 (100%): Causes severe skin burns and eye damage [Danger Skin corrosion/irritation]

                                                Health Hazard
                                                         Harmful if swallowed, inhaled, or absorbed through skin. Material is extremely destructive to tissue of mucous membranes and
                                                         upper respiratory tract, eyes and skin. Inhalation may be fatal as a result of spasm, inflammation and edema of the larynx and
                                                         bronchia, chemical pneumonitis and pulmonary edema. Symptoms of exposure may include burning sensation, coughing,
                                                         wheezing, laryngitis, shortness of breath, headache, nausea and vomiting. (USCG, 1999)
                                                                                                                                                                              273
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                                                        Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
           Chemical     Baby    Shower-
                       Powder     to-
                                Shower
Cedrus Atlantica         Y                https://chem.nlm.nih.gov/chemidplus/rn/8023-85-6
(Cedarwood) Bark Oil                                Skin/eye irritant

                                          https://www.ewg.org/guides/substances/1083-CEDRUSATLANTICAATLASCEDARBARKOIL#.W4SHeOhKiUk
                                                    The European Commission's Scientific Committee on Consumer Safety reports this substance is an established contact allergen in humans.
                                                    Opinion on Frangrance allergens in cosmetics (2011) - EU Cosmetics Directive
Cinnamal                 Y                https://chem.nlm.nih.gov/chemidplus/rn/104-55-2
                                                    Skin/eye irritant
(Cinnamaldehyde)
                                          https://pubchem.ncbi.nlm.nih.gov/compound/637511#section=Safety-and-Hazards
                                                    Signal: Warning
                                                    GHS Hazard Statements

                                                             H315 (100%): Causes skin irritation [Warning Skin corrosion/irritation]
                                                             H317 (100%): May cause an allergic skin reaction [Warning Sensitization, Skin]

                                                   Health Hazard
                                                            ACUTE/CHRONIC HAZARDS: Exposure to this chemical may cause irritation of the skin, eyes, upper respiratory tract and mucous
                                                            membranes. (NTP, 1992)
                                                            from CAMEO Chemicals

                                                             SYMPTOMS: ACUTE/CHRONIC HAZARDS: This chemical may be harmful by inhalation, ingestion or skin absorption. It may cause
                                                             irritation of the skin, eyes, upper respiratory tract, and mucous membranes. When heated to decomposition it may emit toxic
                                                             fumes of carbon monoxide and carbon dioxide. (NTP, 1992)
                                                             from CAMEO Chemicals

                                                   Skin, Eye, and Respiratory Irritations
                                                              No primary dermal irritation was observed in human subjects exposed for 48 hours to a solution of a 3% active ingredient, while
                                                              severe primary dermal irritation was observed in human subjects after exposure to 8% active ingredient.
                                                              USEPA, Office of Pesticide Programs/ Ombudsman, Biopesticides and Pollution Prevention Division: Active Ingredient Fact Sheet
                                                              for Cinnamaldehyde (040506) (December 2000). Available from, as of July 13, 2009:
                                                              http://www.epa.gov/pesticides/biopesticides/ingredients/index_p-s.htm
                                                              from HSDB

                                                   Toxicological Information
                                                             Health Effects
                                                                       Irritation-Eyes, Nose, Throat, Skin---Moderate (HE15); Allergic Contact Dermatitis (HE3)
                                                                       from OSHA Chemical Sampling Information

                                                             Symptoms
                                                                    Irritation of eyes, skin, nose, throat; skin rash, itching; anaphylaxis (one case); INGES. ACUTE: Sore throat
                                                                    from OSHA Chemical Sampling Information

                                                             Target Organs
                                                                      Eyes, skin, respiratory system
                                                                      from OSHA Chemical Sampling Information

                                          https://www.ewg.org/guides/substances/1258-CINNAMAL#.W4SOauhKiUk
                                                                                                                                                                                    275
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                                                             Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
         Chemical           Baby    Shower-
                           Powder     to-
                                    Shower
                                                       Recognized by the European Union as a skin allergen Allergen list - EU Cosmetics Directive

                                                       The European Commission's Scientific Committee on Consumer Safety reports this substance is an established contact allergen in humans.
                                                       Opinion on Fragrance allergens in cosmetics (2011) - EU Cosmetics Directive

                                              https://cosmeticsinfo.org/ingredient/cinnamal-0
                                                        The Food and Drug Administration (FDA) includes Cinnamal on its list of substances considered Generally Recognized As Safe (GRAS) for
                                                        use as a synthetic flavoring substance. The safety of Cinnamal has been evaluated by the Research Institute for Fragrance Materials Expert
                                                        Panel (REXPAN). Based on this evaluation, an International Fragrance Association (IFRA) Standard has been established. The IFRA Standard
                                                        restricts the use of Cinnamal in fragrances because it of potential sensitization.

                                                       More safety Information:
                                                       Link to FDA Code of Federal Regulations for Cinnamal:
                                                       https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/CFRSearch.cfm?fr=182.60&SearchTerm=cinnamaldehyde

                                                       The Joint FAO/WHO Expert Committee on Food Additives (JECFA) concluded that Cinnamal does not present a safety concern at current
                                                       levels of intake when used as a flavoring agent.

                                                       Link to the JECFA safety evaluation of Cinnamal: http://www.inchem.org/documents/jecfa/jeceval/jec 418.htm

                                                       The Flavor and Extract Manufacturers Association Expert Panel has reviewed the safety of Cinnamal and determined that it was Generally
                                                       Recognized as Safe (GRAS) for use a flavoring substance. In Europe, Cinnamal is included on the list of "allergenic" substances. The
                                                       European Cosmetics Regulation requires manufacturers of cosmetics and personal care products to indicate the presence of certain
                                                       "allergenic" substances in the list of ingredients if they are present above certain levels in the product (see Annex III). The presence of
                                                       Cinnamal must be indicated in the list of ingredients when its concentration exceeds: 0.001% in leave-on the skin products 0.01% in
                                                       products that are rinsed off the skin.

                                                       Link to the EU Cosmetic Regulation: https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=LEGISSUM:co0013

                                              http://www.thegoodscentscompany.com/data/rw1002632.html#tosafty
                                                       European information :
                                                       Most important hazard(s):
                                                               Xn - Harmful.
                                                               R 21/41 - Harmful in contact with skin, risk of serious damage to eyes.
                                                               R 38 - Irritating to skin.
                                                               R 43 - May cause sensitisation by skin contact.
                                                               S 02 - Keep out of the reach of children.
                                                               S 24 - Avoid contact with skin.

                                                        GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                                  Skin irritation (Category 2), H315
                                                                  Skin sensitisation (Category 1), H317
Cinnamyl Alcohol             Y         Y      https://chem.nlm.nih.gov/chemidplus/rn/104-54-1
                                                        Skin/eye irritant
(3-Phenyl-2-propen-1-ol)
                                              https://pubchem.ncbi.nlm.nih.gov/compound/5315892#section=Safety-and-Hazards
                                                        Signal: Warning
                                                        GHS Hazard Statements
                                                                                                                                                                                       276
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                                                          Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
             Chemical    Baby    Shower-
                        Powder     to-
                                 Shower

                                                              H317 (96.97%): May cause an allergic skin reaction [Warning Sensitization, Skin]

                                           https://cosmeticsinfo.org/ingredient/cinnamyl-alcohol-0
                                                     The Food and Drug Administration (FDA) includes Cinnamyl Alcohol on its list of flavoring agents permitted for direct addition to food. The
                                                     safety of Cinnamyl Alcohol has been evaluated by the Research Institute for Fragrance Materials Expert Panel (REXPAN). Based on this
                                                     evaluation, an International Fragrance Association (IFRA) Standard has been established. The IFRA Standard restricts the use of Cinnamyl
                                                     in fragrances because of potential sensitization.

                                                    More safety Information:
                                                    Link to FDA Code of Federal Regulations for Cinnamyl Alcohol:
                                                    https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/CFRSearch.cfm?fr=172.515&SearchTerm=cinnamyl%20alcohol

                                                    The Joint FAO/WHO Expert Committee on Food Additives (JECFA) concluded that Cinnamyl Alcohol does not present a safety concern at
                                                    current levels of intake when used as a flavoring agent.

                                                    Link to the JECFA safety evaluation of Cinnamyl Alcohol: http://www.inchem.org/documents/jecfa/jeceval/jec 422.htm

                                                    The Flavor and Extract Manufacturers Association Expert Panel has reviewed the safety of Cinnamyl Alcohol and determined that it was
                                                    Generally Recognized as Safe (GRAS) for use as a flavoring substance. In Europe, Cinnamyl Alcohol is included on the list of "allergenic"
                                                    substances. The European Cosmetics Regulation requires manufacturers of cosmetics and personal care products to indicate the presence
                                                    of certain "allergenic" substances in the list of ingredients if they are present above certain levels in the product (see Annex III). The
                                                    presence of Cinnamyl Alcohol must be indicated in the list of ingredients when its concentration exceeds: 0.001% in leave-on the skin
                                                    products 0.01% in products that are rinsed off the skin.

                                                    Link to the EU Cosmetic Regulation: https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=LEGISSUM:co0013

                                           http://www.thegoodscentscompany.com/data/rw1003292.html#tosafty
                                                    European information :
                                                    Most important hazard(s):
                                                            Xi - Irritant
                                                            R 36/38 - Irritating to skin and eyes.
                                                            R 43 - May cause sensitisation by skin contact.
                                                            S 24 - Avoid contact with skin.

                                                     GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                               Skin irritation (Category 2), H315
                                                               Skin sensitisation (Category 1), H317
Citral                    Y                https://chem.nlm.nih.gov/chemidplus/rn/5392-40-5
                                                     Skin/eye irritant
(Geranial)
                                           https://pubchem.ncbi.nlm.nih.gov/compound/638011#section=Hazards-Identification
                                                     Signal: Danger
                                                     GHS Hazard Statements
                                                               H315 (100%): Causes skin irritation [Warning Skin corrosion/irritation]
                                                               H317 (23.56%): May cause an allergic skin reaction [Warning Sensitization, Skin]

                                                    Health Hazard
                                                                                                                                                                                    277
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                                                                   Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
             Chemical              Baby    Shower-
                                  Powder     to-
                                           Shower
                                                              Citral must be indicated in the list of ingredients when its concentration exceeds: 0.001% in leave-on the skin products 0.01% in products
                                                              that are rinsed off the skin.

                                                     Link to the EU Cosmetic Regulation: https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=LEGISSUM:co0013

                                                     http://www.thegoodscentscompany.com/data/rw1003432.html#tosafty
                                                              European information :
                                                              Most important hazard(s):
                                                                      Xi - Irritant
                                                                      R 38 - Irritating to skin.
                                                                      R 43 - May cause sensitisation by skin contact.
                                                                      S 24/25 - Avoid contact with skin and eyes.

                                                               GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                                         Skin irritation (Category 2), H315
                                                                         Skin sensitisation (Category 1), H317
Citronellyl Nitrile                           Y      http://www.thegoodscentscompany.com/data/rw1008932.html#tosafty
                                                               European information :
(3,7-Dimethyloct-6-                                            Most important hazard(s):
enenitrile)                                                              Xi - Irritant
                                                                         R 36/38 - Irritating to skin and eyes.
                                                                         S 24/25 - Avoid contact with skin and eyes.
Citrus Aurantifolia (Lime) Oil      Y                https://chem.nlm.nih.gov/chemidplus/rn/8008-26-2
                                                               Skin/eye irritant (Lime Oil)

                                                     https://chem.nlm.nih.gov/chemidplus/rn/90063-52-8 (Citrus Aurantifolia Extract)
Commiphora Myrrha Oil                         Y      http://www.thegoodscentscompany.com/data/es1002061.html#tosafty
                                                               European information :
                                                               Most important hazard(s):
                                                                       Xn - Harmful.
                                                                       R 36/38 - Irritating to skin and eyes.

                                                               GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                                         Skin irritation (Category 2), H315
                                                                         Skin sensitisation (Category 1), H317
Commiphora Myrrha Resin             Y                http://www.thegoodscentscompany.com/data/rs1008771.html
                                                               European information :
                                                               Most important hazard(s):
                                                                         Xi - Irritant
                                                                         R 36/38 - Irritating to skin and eyes.
Coriandrum Sativum                  Y                https://chem.nlm.nih.gov/chemidplus/rn/startswith/8008-52-4
(Coriander) Fruit Oil                                          Skin/eye irritant

(Cilantro)                                           https://www.ewg.org/guides/substances/1504-CORIANDRUMSATIVUMCORIANDEROIL#.W37RTehKiUk
                                                              Component: LINALOOL
                                                              Recognized by the European Union as a skin allergen. Allergen list - EU Cosmetics Directive

                                                              Component: LINALOOL
                                                                                                                                                                                            280
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                                                        Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
           Chemical    Baby    Shower-
                      Powder     to-
                               Shower
                                                  The European Commission's Scientific Committee on Consumer Safety reports this substance is an established contact allergen in humans.
                                                  Opinion on Fragrance allergens in cosmetics (2011) - EU Cosmetics Directive

                                                  Component: GERANIOL
                                                  Recognized by the European Union as a skin allergen Allergen list - EU Cosmetics Directive

                                                  Component: GERANIOL
                                                  The European Commission's Scientific Committee on Consumer Safety reports this substance is an established contact allergen in humans.
                                                  Opinion on Fragrance allergens in cosmetics (2011) - EU Cosmetics Directive

                                                  Component: LINALOOL
                                                         This peer-reviewed study reports this substance is a significant skin sensitizer after oxidation.
                                                         Johanna Bråred Christensson, Mihály Matura, Birgitta Gruvberger, Magnus Bruze & Ann-Therese Karlberg. 2010. Linalool--a
                                                         significant contact sensitizer after air exposure. Contact dermatitis 62(1), 32-41.

                                                  Component: LINALOOL
                                                         This peer-reviewed study reports this substance is a significant skin sensitizer after oxidation.
                                                         Johanna Bråred Christensson, Pia Forsström, Ann-Marie Wennberg, Ann-Therese Karlberg & Mihály Matura. 2009. Air oxidation
                                                         increases skin irritation from fragrance terpenes. Contact dermatitis 60(1), 32-40.

                                                  Component: LINALOOL
                                                         This peer-reviewed study reports this substance is a significant skin sensitizer after oxidation.
                                                         Deirdre A. Buckley. 2011. Allergy to oxidized linalool in the UK. Contact dermatitis 64(4), 240-1.

                                                  Component: LINALOOL
                                                         This peer-reviewed study reports this substance is a contact skin allergen.
                                                         Mihály Matura, Ian R. White, Cecilia Svedman, Jeanne D. Johansen, An Goossens, Peter Frosch, Magnus Bruze, Klaus E.
                                                         Andersen, Anna Börje, Maria Sköld & Ann-Therese Karlberg. 2005. Selected oxidized fragrance terpenes are common contact
                                                         allergens. Contact dermatitis 52(6), 320-8.

                                                  Component: D-LIMONENE
                                                         Recognized by the European Union as a skin allergen Allergen list - EU Cosmetics Directive

                                         http://www.thegoodscentscompany.com/data/es1003771.html#tosafty
                                                   European information :
                                                   Most important hazard(s):
                                                            Xi - Irritant
                                                            R 36/37/38 - Irritating to eyes, respiratory system, and skin.
                                                            R 43 - May cause sensitisation by skin contact.
Coumarin                Y         Y      https://pubchem.ncbi.nlm.nih.gov/compound/323#section=Safety-and-Hazards
                                                   Signal: Warning
                                                   GHS Hazard Statements
                                                            H317 (90.48%): May cause an allergic skin reaction [Warning Sensitization, Skin]

                                                  NIOSH Toxicity Data
                                                                                                                                                                        281
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                                                            Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
          Chemical         Baby    Shower-
                          Powder     to-
                                   Shower
                                                       The European Commission's Scientific Committee on Consumer Products (SCCP) evaluated Coumarin as a fragrance allergen and
                                                       concluded that this ingredient was frequently reported and a well-recognized consumer allergen. Link to the European Commission's SCCP
                                                       opinion concerning Coumarin: http://ec.europa.eu/health/ph risk/committees/sccp/documents/out98 en.pdf

                                                       Coumarin was evaluated by IARC and was not classifiable as to its carcinogenicity in humans.

                                                       Link to the IARC monograph for Coumarin: https://monographs.iarc.fr/wp-content/uploads/2018/06/mono77-9.pdf
                                                       https://monographs.iarc.fr/preamble-to-the-iarc-monographs-amended-january-2006/preamble-to-the-iarc-monographs-13/
Cuminum Cyminum (Cumin)     Y                https://chem.nlm.nih.gov/chemidplus/rn/startswith/8014-13-9
Seed Oil                                               Skin/eye irritant

(Cumin Oil)                                  http://www.thegoodscentscompany.com/data/es1016101.html#tosafty
                                                       European information :
                                                       Most important hazard(s):
                                                                 Xn - Harmful.
                                                                 R 36/37/38 - Irritating to eyes, respiratory system, and skin.
Cyclamen Aldehyde           Y         Y      https://chem.nlm.nih.gov/chemidplus/rn/startswith/103-95-7
                                                       Skin/eye irritant

                                             https://www.ewg.org/guides/substances/1563-CYCLAMENALDEHYDE#.W37KcehKiUk
                                                      The European Commission's Scientific Committee on Consumer Safety reports this substance lacks data on contact allergy in humans.
                                                      Opinion on Frangrance allergens in cosmetics (2011) - EU Cosmetics Directive

                                             http://www.thegoodscentscompany.com/data/rw1004112.html
                                                      European information :
                                                      Most important hazard(s):
                                                              Xi N - Irritant, Dangerous for the environment.
                                                              R 38 - Irritating to skin.

                                                       GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                                Skin irritation (Category 2), H315
Decanal                     Y                https://pubchem.ncbi.nlm.nih.gov/compound/8175#section=Safety-and-Hazards
                                                       Signal: Warning
                                                       GHS Hazard Statements

                                                                 H315 (25.17%): Causes skin irritation [Warning Skin corrosion/irritation]

                                                       Health Hazard
                                                                On direct contact can produce eye and skin irritation; low general toxicity. (USCG, 1999)
                                                                from CAMEO Chemicals

                                             https://chem.nlm.nih.gov/chemidplus/rn/startswith/112-31-2
                                                       Skin/eye irritant

                                             https://www.ewg.org/guides/substances/1689-DECANAL#.W37It-hKiUk
                                                      The European Commission's Scientific Committee on Consumer Safety reports this substance lacks data on contact allergy in humans.
                                                      Opinion on Fragrance allergens in cosmetics (2011) - EU Cosmetics Directive

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                                   Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
Chemical    Baby    Shower-
           Powder     to-
                    Shower
                                        Based on this information, FDA determined that there wasn’t a sound, scientific basis to support taking regulatory action against
                                        cosmetics containing phthalates.

                              https://www.fda.gov/Cosmetics/ProductsIngredients/Ingredients/ucm128250.htm

                              FDA includes Dimethyl Phthalate (DMP), Diethyl Phthalate (DEP) and Dibutyl phthalate (DBP) on its list of indirect food additives. For
                              example, all three ingredients may be used in adhesives that contact food, DEP and DBP may be used in food contact polymers, and DBP
                              may be used as a slimicide in paper and paperboard used for food packaging.

                              DMP and DEP may be used in cosmetics and personal care products marketed in Europe according to the general provisions of the
                              Cosmetics Regulation of the European Union . DBP is not permitted for use in cosmetics and personal care products in the European Union
                              (see Annex II).

                              DBP was banned in Europe because all substances classified as carcinogenic, mutagenic or toxic to reproduction (categories 1 and 2) under
                              EU chemical hazard classification legislation are automatically banned from use in cosmetics and personal care products, regardless of use
                              concentration. The low exposure to DBP in cosmetics and personal care products was not considered when this ban went into effect. As
                              mentioned earlier, the CIR Expert Panel estimated that exposure to DBP from using cosmetic and personal care products would be well
                              below the dose that did not cause any reproductive and developmental effects in animals. Therefore, the CIR Expert Panel did not see the
                              need to change their original conclusion that DBP was safe as used in cosmetic products.

                              Similar, when considering exposure European experts, (SCCNFP) agree with CIR and concluded in their 2002 opinion that "the safety
                              profile of diethyl phthalate supports its use in cosmetic products at current levels." This opinion was confirmed in a second opinion in
                              2004.

                              Learn more about EU Cosmetic Regulation: http://ec.europa.eu/growth/tools-databases/cosing/

                              Learn more about SCCNFP’s 2004 opinion on Dibutyl phthalate:
                              http://ec.europa.eu/health/ph risk/committees/sccp/documents/out287 en.pdf

                              It’s a myth that phthalates are ‘hidden’ in fragrances

                              Fragrances are usually composed of numerous individual substances that are blended together to achieve the desired scent. If a cosmetic
                              product contains a fragrance, this is labelled using the word 'fragrance' or ‘parfum’ in the ingredients list rather than having to list out all
                              of the individual components. This is legally allowed by the strict cosmetic safety laws and is common practice around the world.

                              It is, however, not a way of ‘hiding’ ingredients as is sometimes, wrongly, claimed. All of the ingredients that make up the fragrance are
                              still assessed very carefully as part of the overall product safety assessment. DEP and DMP may legally and safely be used as part of the
                              fragrance mix. No substances banned from use as cosmetic ingredients are allowed to be used as components of cosmetic fragrances.

                              Can phthalates be used in personal care products intended for use by children?

                              Phthalate ingredients can be used in personal care products intended for use by children - e.g., in lotions, shampoos, etc. Like personal
                              care products intended for use by adults, the only phthalate that is sometimes present in personal care products intended for children and
                              infants is DEP. The safety of DEP is well accepted among the scientific community. To date, all scientific reviews around the world by key
                              scientific experts and governmental agencies have concluded that DEP is safe for use in cosmetics and personal care products under the
                              current conditions of use. DEP has been reviewed by the U.S. Cosmetic Ingredient Review (CIR) Expert Panel and the European
                              Commission's independent scientific expert committee (the Scientific Committee on Consumer Safety, SCCS and formerly known as the
                                                                                                                                                                 285
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                                                                Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
         Chemical              Baby    Shower-
                              Powder     to-
                                       Shower
                                                           European information :
                                                           Most important hazard(s):
                                                                   Xi - Irritant
                                                                   R 36/38 - Irritating to skin and eyes.

                                                           GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                                    Skin irritation (Category 2), H315
Ethyl 3-methyl-3-               Y                https://pubchem.ncbi.nlm.nih.gov/compound/6501#section=Hazards-Identification
phenyloxirane-2-carboxylate                                Signal: Warning
                                                           GHS Hazard Statements
(Ethyl
Methylphenylglycidate)                                               H317 (77.27%): May cause an allergic skin reaction [Warning Sensitization, Skin]

                                                 http://www.thegoodscentscompany.com/data/rw1001602.html#tosafty
                                                           European information :
                                                           GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                                     Skin irritation (Category 2), H315
Ethyl Benzoate                  Y                https://online.personalcarecouncil.org/ctfa-static/online/lists/cir-pdfs/pr578.pdf

                                                 https://pubchem.ncbi.nlm.nih.gov/compound/7165#section=Safety-and-Hazards
                                                           Signal: Warning
                                                           GHS Hazard Statements

                                                                     H315 (72.29%): Causes skin irritation [Warning Skin corrosion/irritation]

                                                 https://cosmeticsinfo.org/ingredient/ethyl-benzoate
                                                           The Food and Drug Administration (FDA) permits Methyl Benzoate, Ethyl Benzoate, Propyl Benzoate, Isopropyl Benzoate and Isobutyl
                                                           Benzoate to be used as flavoring agents for direct addition to food. Butyl Benzoate is permitted for use as an indirect food additive as a
                                                           component of adhesives.

                                                           https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/CFRSearch.cfm?fr=172.515&SearchTerm=benzyl%20benzoate
                                                           https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/CFRSearch.cfm?fr=175.105

                                                           The European Union lists salts and esters of benzoic acid (including Methyl Benzoate, Ethyl Benzoate, Propyl Benzoate, Butyl Benzoate,
                                                           Isopropyl Benzoate and Isobutyl Benzoate) as preservatives that may be safety used in cosmetics at concentrations up to 0.5% (See Annex
                                                           IV).

                                                           Link to the EU Cosmetic Regulation: https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=LEGISSUM:co0013

                                                 http://www.thegoodscentscompany.com/data/rw1004771.html#tosafty
                                                          European information :
                                                          Most important hazard(s):
                                                                  Xi - Irritant
                                                                  R 36/38 - Irritating to skin and eyes.
                                                                  S 24/25 - Avoid contact with skin and eyes.
Ethyl heptoate                  Y                http://www.thegoodscentscompany.com/data/rw1009172.html#tosafty
                                                          European information :
                                                          Most important hazard(s):
                                                                                                                                                                                            287
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                                                                         PageID: 194863
                                                       Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
          Chemical    Baby    Shower-
                     Powder     to-
                              Shower
                                                           Xi - Irritant
                                                           R 36/38 - Irritating to skin and eyes.
                                                           S 24/25 - Avoid contact with skin and eyes.
Ethyl Vanillin         Y                https://pubchem.ncbi.nlm.nih.gov/compound/8467#section=GHS-Classification
                                                  Signal: Warning
                                                  GHS Hazard Statements
                                                           H315 (14.69%): Causes skin irritation [Warning Skin corrosion/irritation]

                                                 Health Hazard
                                                          ACUTE/CHRONIC HAZARDS: Toxic. May cause irritation on contact. (NTP, 1992)
                                                          from CAMEO Chemicals

                                                 Skin, Eye, and Respiratory Irritations
                                                            A human skin irritant.
                                                            Lewis, R.J. Sax's Dangerous Properties of Industrial Materials. 9th ed. Volumes 1-3. New York, NY: Van Nostrand Reinhold, 1996.,
                                                            p. 1610
                                                            from HSDB

                                                 Toxicity Summary
                                                           HUMAN EXPOSURE AND TOXICITY: Research in humans showed that ethyl vanillin had no significant effect on the activity of five
                                                           human CYP450 enzymes with concentration ranged from 8 to 128 uM. A 2% concentration of ethyl vanillin caused mild irritation
                                                           on the skin of humans after 48 hours of direct contact. ANIMAL STUDIES
                                                           from HSDB

                                        https://chem.nlm.nih.gov/chemidplus/rn/startswith/121-32-4
                                                  Skin/eye irritant

                                        https://www.ewg.org/guides/substances/2100-ETHYLVANILLIN#.W33GAehKiUk
                                                 The European Commission's Scientific Committee on Consumer Safety reports this substance shows some evidence of causing contact
                                                 allergy in humans. Opinion on Fragrance allergens in cosmetics (2011) - EU Cosmetics Directive

                                        http://www.thegoodscentscompany.com/data/rw1002652.html#tosafty
                                                 European information :
                                                 Most important hazard(s):
                                                         Xn - Harmful.
                                                         R 36/37/38 - Irritating to eyes, respiratory system, and skin.
                                                         S 24/25 - Avoid contact with skin and eyes.

                                                  GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                           Skin irritation (Category 2), H315
Eugenol                Y         Y      https://pubchem.ncbi.nlm.nih.gov/compound/3314#section=Safety-and-Hazards
                                                  Signal: Warning
                                                  GHS Hazard Statements

                                                           H317 (99.88%): May cause an allergic skin reaction [Warning Sensitization, Skin]

                                                 Health Hazard
                                                                                                                                                                              288
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                                                                               PageID: 194864
                                                             Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
         Chemical            Baby    Shower-
                            Powder     to-
                                     Shower
                                                                  SYMPTOMS: This compound is a primary irritant and sensitizer and can cause contact dermatitis. Irritation of the skin, eyes and
                                                                  respiratory tract occurs. Skin contact may cause an inflammatory reaction on the skin. Prolonged or repeated skin contact may
                                                                  cause allergic dermatitis.. Skin sensitization may also occur. (NTP, 1992)
                                                                  from CAMEO Chemicals

                                               https://chem.nlm.nih.gov/chemidplus/rn/startswith/97-53-0
                                                         Skin/eye irritant

                                               https://cosmeticsinfo.org/ingredient/eugenol-0
                                                         The Food and Drug Administration (FDA) includes clove and its derivatives, including Eugenol, on its list of substances affirmed as
                                                         Generally Recognized As Safe (GRAS) as direct food substances. The safety of Eugenol has been evaluated by the Research Institute for
                                                         Fragrance Materials Expert Panel (REXPAN). Based on this evaluation, an International Fragrance Association (IFRA) Standard has been
                                                         established. The IFRA Standard restricts the use of Eugenol in fragrances because of potential sensitization.

                                                        More safety Information:
                                                        Link to FDA Code of Federal Regulations for Eugenol:
                                                        https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/CFRSearch.cfm?fr=184.1257&SearchTerm=eugenol

                                                        The Joint FAO/WHO Expert Committee on Food Additives (JECFA) established an Acceptable Daily Intake for Eugenol of up to 2.5 mg/kg
                                                        body weight when used as a flavoring agent.

                                                        Link to the JECFA safety evaluation of Eugenol: http://www.inchem.org/documents/jecfa/jeceval/jec 841.htm

                                                        The Flavor and Extract Manufacturers Association Expert Panel has reviewed the safety of Eugenol and determined that it is Generally
                                                        Recognized as Safe (GRAS) for use as a flavoring agent. In Europe, Eugenol is included on the list of "allergenic" substances. The European
                                                        Cosmetics Regulation requires manufacturers of cosmetics and personal care products to indicate the presence of certain "allergenic"
                                                        substances in the list of ingredients if they are present above certain levels in the product (see Annex III). The presence of Eugenol must be
                                                        indicated in the list of ingredients when its concentration exceeds: 0.001% in leave-on the skin products 0.01% in products that are rinsed
                                                        off the skin.

                                                        Link to the EU Cosmetic Regulation: https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=LEGISSUM:co0013

                                               http://www.thegoodscentscompany.com/data/rw1004992.html#tosafty
                                                        European information :
                                                        Most important hazard(s):
                                                                Xn - Harmful.
                                                                R 36/37/38 - Irritating to eyes, respiratory system, and skin.
                                                                R 42/43 - May cause sensitization by inhalation and skin contact.

                                                        GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                                 Skin sensitization (Category 1), H317
Formic acid, phenylmethyl     Y                http://www.thegoodscentscompany.com/data/rw1012591.html#tosafty
ester                                                   European information :
                                                        Most important hazard(s):
(Benzyl formate)                                                 Xn - Harmful.
                                                                 R 21/22 - Harmful in contact with skin and if swallowed.
                                                                 S 24 - Avoid contact with skin.

                                                                                                                                                                                         289
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                                                                            PageID: 194865
                                                          Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
           Chemical       Baby    Shower-
                         Powder     to-
                                  Shower
                                                      GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                               Acute toxicity, Dermal (Category 3), H311
Gamma-Nonalactone          Y                https://pubchem.ncbi.nlm.nih.gov/compound/7710#section=Hazards-Identification
                                                      Signal: Warning
(5-Pentyloxolan-2-one)                                GHS Hazard Statements

                                                               H315 (50%): Causes skin irritation [Warning Skin corrosion/irritation]

                                                     Skin, Eye, and Respiratory Irritations
                                                                A skin irritiant.
                                                                Lewis, R.J. Sr. (ed) Sax's Dangerous Properties of Industrial Materials. 11th Edition. Wiley-Interscience, Wiley & Sons, Inc.
                                                                Hoboken, NJ. 2004., p. 979
                                                                from HSDB

                                            https://chem.nlm.nih.gov/chemidplus/rn/startswith/104-61-0
                                                      Skin/eye irritant

                                            http://www.thegoodscentscompany.com/data/rw1000532.html#tosafty
                                                      European information :
                                                      Most important hazard(s):
                                                                Xi - Irritant
                                                                R 36/38 - Irritating to skin and eyes.
                                                                S 24/25 - Avoid contact with skin and eyes.
Gamma-Undecalactone        Y                https://chem.nlm.nih.gov/chemidplus/rn/startswith/104-67-6
                                                      Skin/eye irritant

                                            https://pubchem.ncbi.nlm.nih.gov/compound/7714#section=GHS-Classification
                                                      Signal: Warning
                                                      GHS Hazard Statements

                                                               H315 (19.3%): Causes skin irritation [Warning Skin corrosion/irritation]
                                                               ratio from companies that provide hazard codes. Only hazard codes with percentage values above 10% are shown.

                                            http://www.thegoodscentscompany.com/data/rw1000822.html#tosafty

                                                      GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                                Skin irritation (Category 2), H315
Geraniol                   Y         Y      https://chem.nlm.nih.gov/chemidplus/rn/startswith/106-24-1
                                                      Skin/eye irritant

                                            https://pubchem.ncbi.nlm.nih.gov/compound/637566#section=Hazards-Identification
                                                      Signal: Danger
                                                      GHS Hazard Statements

                                                               H315 (98.89%): Causes skin irritation [Warning Skin corrosion/irritation]
                                                               H317 (99.59%): May cause an allergic skin reaction [Warning Sensitization, Skin]

                                                     Skin, Eye, and Respiratory Irritations
                                                                                                                                                                                        290
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                                                                        PageID: 194866
                                                      Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
         Chemical    Baby    Shower-
                    Powder     to-
                             Shower
                                                          A severe human skin irritant.
                                                          Lewis, R.J. Sr. (ed) Sax's Dangerous Properties of Industrial Materials. 11th Edition. Wiley-Interscience, Wiley & Sons, Inc.
                                                          Hoboken, NJ. 2004., p. 1440
                                                          from HSDB

                                       https://www.ewg.org/guides/substances/2340-GERANIOL#.W32bDehKiUk
                                                Recognized by the European Union as a skin allergen. Allergen list - EU Cosmetics Directive

                                                The European Commission's Scientific Committee on Consumer Safety reports this substance is an established contact allergen in humans.
                                                Opinion on Fragrance allergens in cosmetics (2011) - EU Cosmetics Directive

                                       https://cosmeticsinfo.org/ingredient/geraniol-0
                                                 The Food and Drug Administration (FDA) includes Geraniol on its lists of flavoring substance considered Generally Recognized As Safe
                                                 (GRAS). The safety of Geraniol has been evaluated by the Research Institute for Fragrance Materials Expert Panel (REXPAN). Based on this
                                                 evaluation, an International Fragrance Association (IFRA) Standard has been established. The IFRA Standard restricts the use of Geraniol in
                                                 fragrances because of potential sensitization.

                                                More safety Information:
                                                Link to FDA Code of Federal Regulations for Geraniol:
                                                https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/CFRSearch.cfm?fr=182.60&SearchTerm=geraniol

                                                The Joint FAO/WHO Expert Committee on Food Additives (JECFA) concluded that Geraniol does not present a safety concern at current
                                                levels of intake when used as a flavoring agent.

                                                Link to the JECFA safety evaluation of Geraniol: http://www.inchem.org/documents/jecfa/jeceval/jec 898.htm

                                                The Flavor and Extract Manufacturers Association Expert Panel has reviewed the safety of Geraniol and determined that it is Generally
                                                Recognized as Safe (GRAS) for use as a flavoring substances. In Europe, Geraniol is included on the list of "allergenic" substances. The
                                                European Cosmetics Regulation requires manufacturers of cosmetics and personal care products to indicate the presence of certain
                                                "allergenic" substances in the list of ingredients if they are present above certain levels in the product (see Annex III). The presence of
                                                Geraniol must be indicated in the list of ingredients when its concentration exceeds: 0.001% in leave-on the skin products 0.01% in
                                                products that are rinsed off the skin.

                                                Link to the EU Cosmetic Regulation: https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=LEGISSUM:co0013

                                       http://www.thegoodscentscompany.com/data/rw1006992.html#tosafty
                                                European information :
                                                Most important hazard(s):
                                                        Xi - Irritant
                                                        R 36/38 - Irritating to skin and eyes.
                                                        R 43 - May cause sensitisation by skin contact.
                                                        S 24/25 - Avoid contact with skin and eyes..

                                                 GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                          Skin irritation (Category 2), H315
                                                          Skin sensitisation (Category 1), H317
Geranyl Acetate       Y                https://pubchem.ncbi.nlm.nih.gov/compound/1549026#section=Safety-and-Hazards
                                                 Signal: Warning
                                                                                                                                                                                   291
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                                                                        PageID: 194867
                                                      Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
          Chemical    Baby    Shower-
                     Powder     to-
                              Shower
                                                 GHS Hazard Statements

                                                           H315 (15.29%): Causes skin irritation [Warning Skin corrosion/irritation]
                                                           H317 (15.29%): May cause an allergic skin reaction [Warning Sensitization, Skin]

                                                 Health Hazard
                                                          SYMPTOMS: Symptoms of exposure to this compound include skin and eye irritation.. ACUTE/CHRONIC HAZARDS: This
                                                          compound can cause eye damage and skin irritation.. (NTP, 1992)
                                                          from CAMEO Chemicals

                                                 Skin, Eye, and Respiratory Irritations
                                                            In human patch test, geraniol @ 32% concn was severely irritating & geranyl acetate mildly irritating.
                                                            Motoyoski et al; Cosmet Toiletries 94(8): 41 (1979)
                                                            from HSDB

                                        https://chem.nlm.nih.gov/chemidplus/rn/startswith/105-87-3
                                                  Skin/eye irritant

                                        http://www.thegoodscentscompany.com/data/rw1030092.html#tosafty
                                                 European information :
                                                 Most important hazard(s):
                                                         Xi - Irritant
                                                         R 36/38 - Irritating to skin and eyes.
                                                         S 24/25 - Avoid contact with skin and eyes.

                                                  GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                           Skin irritation (Category 2), H315
Heliotropine           Y                https://pubchem.ncbi.nlm.nih.gov/compound/8438#section=Safety-and-Hazards
                                                  Signal: Warning
(piperonal)                                       GHS Hazard Statements

                                                           H317 (96.36%): May cause an allergic skin reaction [Warning Sensitization, Skin]

                                                 Health Hazard
                                                          SYMPTOMS: Symptoms of exposure to this compound may include depression of the central nervous system and local irritation.
                                                          ACUTE/CHRONIC HAZARDS: This compound is an irritant. (NTP, 1992)
                                                          from CAMEO Chemicals

                                                 TSCA Test Submissions
                                                          Piperonal (CAS # 120-57-0) was evaluated for primary dermal irritation. The test substance was applied to the cuff of 8 guinea
                                                          pigs (sex and strain not indicated) at a dose range of 0.25-1.0 mg/kg. Strong skin irritation was evident at 24 hours with slight to
                                                          gross edema and slight to severe erythema. At 48 hours, slight to moderate edema and erythema was found with eschar
                                                          formation and necrotic area over part or all of the patch. At 1-week and 2-week observation, desquamation and alopecia was
                                                          evident.
                                                          EASTMAN KODAK CO; Letter From Eastman Kodak Co To USEPA Submitting Enclosed Material Safety Data Sheet and Toxicity
                                                          Report on Piperonal with Attachments; 10/22/91; EPA Doc No. 86-920000085; Fiche No. OTS0533448
                                                          from HSDB

                                                                                                                                                                                  292
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                                                                            PageID: 194868
                                                          Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
          Chemical       Baby    Shower-
                        Powder     to-
                                 Shower
                                           https://chem.nlm.nih.gov/chemidplus/rn/startswith/120-57-0
                                                     Skin/eye irritant

                                           http://www.thegoodscentscompany.com/data/rw1005891.html#tosafty
                                                    European information :
                                                    Most important hazard(s):
                                                            Xi - Irritant
                                                            R 36/37/38 - Irritating to eyes, respiratory system, and skin.
                                                            S 24/25 - Avoid contact with skin and eyes.

                                                    GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                             Skin irritation (Category 2), H315
Hexamethylindanopyran     Y         Y      Galaxolide

(Galaxolide)                               https://chem.nlm.nih.gov/chemidplus/rn/startswith/1222-05-5
                                                     Skin/eye irritant

                                           https://www.ewg.org/guides/substances/2-GALAXOLIDE#.W32QNuhKiUk
                                                    The European Commission's Scientific Committee on Consumer Safety reports this substance is an established contact allergen in humans.
                                                    Opinion on Fragrance allergens in cosmetics (2011) - EU Cosmetics Directive

                                           http://www.thegoodscentscompany.com/data/rw1104661.html#tosafty
                                                    European information :
                                                    Most important hazard(s):
                                                            Xi N - Irritant, Dangerous for the environment.
                                                            R 38 - Irritating to skin.
                                                            S 24 - Avoid contact with skin.
Hexane, 1-methoxy-                  Y      http://www.thegoodscentscompany.com/data/rw1017011.html#tosafty
                                                    European information :
(Methyl Hexyl Ether)                                Most important hazard(s):
                                                            Xi - Irritant
                                                            R 38 - Irritating to skin.
                                                            S 24/25 - Avoid contact with skin and eyes.

Hexyl caproate            Y                https://chem.nlm.nih.gov/chemidplus/rn/startswith/6378-65-0
                                                     Skin/eye irritant
(Hexyl Hexanoate)
                                           http://www.thegoodscentscompany.com/data/rw1028161.html#tosafty
                                                     European information :
                                                     Most important hazard(s):
                                                              Xi - Irritant
                                                              R 36/38 - Irritating to skin and eyes.
                                                              S 24/25 - Avoid contact with skin and eyes.
Hydroxycitronellal        Y                https://pubchem.ncbi.nlm.nih.gov/compound/7888#section=Safety-and-Hazards
                                                     Signal: Warning
                                                     GHS Hazard Statements

                                                              H317 (100%): May cause an allergic skin reaction [Warning Sensitization, Skin]
                                                                                                                                                                               293
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                                                                        PageID: 194869
                                                      Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
         Chemical    Baby    Shower-
                    Powder     to-
                             Shower

                                       https://chem.nlm.nih.gov/chemidplus/rn/startswith/107-75-5
                                                 Skin/eye irritant

                                       https://cosmeticsinfo.org/ingredient/hydroxycitronellal-0
                                                 The Food and Drug Administration (FDA) has approved the use of Hydroxycitronellal as a flavoring agent for direct addition to food. The
                                                 safety of Hydroxycitronellal has been evaluated by the Research Institute for Fragrance Materials Expert Panel (REXPAN). Based on this
                                                 evaluation, an International Fragrance Association (IFRA) Standard has been established. The IFRA Standard restricts the use of
                                                 Hydroxycitronellal in fragrances because of potential sensitization.

                                                 More safety Information:

                                                 Link to FDA Code of Federal Regulations for Hydroxycitronellal:
                                                 https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/CFRSearch.cfm?fr=172.515&SearchTerm=hydroxycitronellal

                                                 The Joint FAO/WHO Expert Committee on Food Additives (JECFA) concluded that Hydroxycitronellal does not present a safety concern at
                                                 current levels of intake when used as a flavoring agent.

                                                 Link to the JECFA safety evaluation of Hydroxycitronellal: http://www.inchem.org/documents/jecfa/jeceval/jec 1076.htm

                                                 The Flavor and Extract Manufacturers Association Expert Panel has reviewed the safety of Hydroxycitronellal and determined that it was
                                                 Generally Recognized as Safe for use as a flavoring substance. In Europe, Hydroxycitronellal is included on the list of "allergenic"
                                                 substances. The European Cosmetics Regulation requires manufacturers of cosmetics and personal care products to indicate the presence
                                                 of certain "allergenic" substances in the list of ingredients if they are present above certain levels in the product (see Annex III). The
                                                 presence of Hydroxycitronellal must be indicated in the list of ingredients when its concentration exceeds: 0.001% in leave-on the skin
                                                 products 0.01% in products that are rinsed off the skin.

                                                 Link to the EU Cosmetic Regulation: https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=LEGISSUM:co0013

                                       http://www.thegoodscentscompany.com/data/rw1000972.html#tosafty
                                                European information :
                                                Most important hazard(s):
                                                        Xi - Irritant
                                                        R 36/38 - Irritating to skin and eyes.
                                                        R 43 - May cause sensitisation by skin contact.
                                                        S 24 - Avoid contact with skin.

                                                 GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                           Skin irritation (Category 2), H315
                                                           Skin sensitisation (Category 1), H317
lsoamyl Acetate       Y                https://online.personalcarecouncil.org/ctfa-static/online/lists/cir-pdfs/pr469.pdf

                                       https://pubchem.ncbi.nlm.nih.gov/compound/31276#section=Safety-and-Hazards
                                                 Signal: Danger
                                                 GHS Hazard Statements
                                                           H315: Causes skin irritation [Warning Skin corrosion/irritation]

                                                 Health Hazard
                                                                                                                                                                                294
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                                                        Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
         Chemical      Baby    Shower-
                      Powder     to-
                               Shower
                                                            VAPOR: Irritating to eyes, nose and throat. If inhaled, will cause nausea, headache or dizziness. LIQUID: Irritating to skin and
                                                            eyes. Harmful if swallowed. (USCG, 1999)
                                                            from CAMEO Chemicals

                                         https://cosmeticsinfo.org/ingredient/isoamyl-acetate
                                                   The Food and Drug Administration reviewed the safety of Amyl Acetate and approved its use as an indirect food additive as a component
                                                   of adhesives.

                                                  FDA: Link to the Code of Federal Regulations for Amyl Acetate
                                                  https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/CFRSearch.cfm?fr=175.105&SearchTerm=amyl%20acetate

                                                  The use of Amyl Acetate and Isoamyl Acetate are permitted in Europe subject to the general provisions of the Cosmetics Regulation of the
                                                  European Union.

                                                  Link to the EU Cosmetic Regulation:
                                                  https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=LEGISSUM:co0013

                                                  The Joint FAO/WHO Expert Committee on Food Additives has established an Acceptable Daily Intake of 0-3 mg Isoamyl Acetate/kg body
                                                  weight. No safety concern was indicated at current levels of intake when used as a flavoring agent.
                                                  http://www.inchem.org/documents/jecfa/jeceval/jec 1138.htm

                                         http://www.thegoodscentscompany.com/data/rw1006712.html#tosafty
                                                   European information :
                                                   Most important hazard(s):
                                                             Xi - Irritant
                                                             R 66 - Repeated exposure may cause skin dryness or cracking.
Isopropyl Palmitate               Y      https://online.personalcarecouncil.org/ctfa-static/online/lists/cir-pdfs/PR623.pdf
                                         https://online.personalcarecouncil.org/ctfa-static/online/lists/cir-pdfs/PRN475.pdf
                                         https://online.personalcarecouncil.org/ctfa-static/online/lists/cir-pdfs/pr238.pdf

                                         https://cosmeticsinfo.org/ingredient/isopropyl-palmitate

                                         https://chem.nlm.nih.gov/chemidplus/rn/startswith/142-91-6
                                                   Skin/eye irritant


                                         http://www.thegoodscentscompany.com/data/rw1019311.html#tosafty
                                                  European information :
                                                  Most important hazard(s):
                                                          S 24/25 - Avoid contact with skin and eyes.

                                         https://pubchem.ncbi.nlm.nih.gov/compound/8907#section=Safety-and-Hazards
                                                   Signal: Warning
                                                   GHS Hazard Statements

                                                            H315 (100%): Causes skin irritation [Warning Skin corrosion/irritation]

                                                  Skin, Eye, and Respiratory Irritations
                                                                                                                                                                                    295
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                                                                            PageID: 194872
                                                          Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
         Chemical         Baby    Shower-
                         Powder     to-
                                  Shower
                                                               R 43 - May cause sensitisation by skin contact.
                                                               S 24/25 - Avoid contact with skin and eyes.

                                                      GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                                Skin irritation (Category 2), H315
Lavandula Angustifolia     Y                https://chem.nlm.nih.gov/chemidplus/rn/startswith/8000-28-0
(Lavender) Oil                                        Skin/eye irritant

                                            https://www.ewg.org/guides/substances/3172-LAVANDULAANGUSTIFOLIALAVENDER#.W319L-hKiUk
                                                     Component: LINALOOL
                                                     Recognized by the European Union as a skin allergen. Allergen list - EU Cosmetics Directive

                                                     Component: LINALOOL
                                                     The European Commission's Scientific Committee on Consumer Safety reports this substance is an established contact allergen in humans.
                                                     Opinion on Fragrance allergens in cosmetics (2011) - EU Cosmetics Directive

                                                     Component: LINALYL ACETATE
                                                     The European Commission's Scientific Committee on Consumer Safety reports this substance is an established contact allergen in humans.
                                                     Opinion on Fragrance allergens in cosmetics (2011) - EU Cosmetics Directive

                                                     Component: GERANIOL
                                                     Recognized by the European Union as a skin allergen Allergen list - EU Cosmetics Directive

                                                     Component: GERANIOL
                                                     The European Commission's Scientific Committee on Consumer Safety reports this substance is an established contact allergen in humans.
                                                     Opinion on Fragrance allergens in cosmetics (2011) - EU Cosmetics Directive

                                                     Component: LINALOOL
                                                            This peer-reviewed study reports this substance is a significant skin sensitizer after oxidation.
                                                            Johanna Bråred Christensson, Mihály Matura, Birgitta Gruvberger, Magnus Bruze & Ann-Therese Karlberg. 2010. Linalool--a
                                                            significant contact sensitizer after air exposure. Contact dermatitis 62(1), 32-41.

                                                     Component: LINALOOL
                                                            This peer-reviewed study reports this substance is a significant skin sensitizer after oxidation.
                                                            Johanna Bråred Christensson, Pia Forsström, Ann-Marie Wennberg, Ann-Therese Karlberg & Mihály Matura. 2009. Air oxidation
                                                            increases skin irritation from fragrance terpenes. Contact dermatitis 60(1), 32-40.

                                                     Component: LINALOOL
                                                            This peer-reviewed study reports this substance is a significant skin sensitizer after oxidation.
                                                            Deirdre A. Buckley. 2011. Allergy to oxidized linalool in the UK. Contact dermatitis 64(4), 240-1.

                                                     Component: LINALOOL
                                                            This peer-reviewed study reports this substance is a contact skin allergen.
                                                            Mihály Matura, Ian R. White, Cecilia Svedman, Jeanne D. Johansen, An Goossens, Peter Frosch, Magnus Bruze, Klaus E.
                                                            Andersen, Anna Börje, Maria Sköld & Ann-Therese Karlberg. 2005. Selected oxidized fragrance terpenes are common contact
                                                            allergens. Contact dermatitis 52(6), 320-8.

                                            http://www.thegoodscentscompany.com/data/es1007471.html#tosafty
                                                                                                                                                                               297
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                                                                                    PageID: 194873
                                                                 Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
          Chemical             Baby    Shower-
                              Powder     to-
                                       Shower
                                                           European information :
                                                           Most important hazard(s):
                                                                       Xn - Harmful.
                                                                       R 36/38 - Irritating to skin and eyes.
                                                                       R 43 - May cause sensitisation by skin contact.
                                                                       S 24/25 - Avoid contact with skin and eyes.
Lemon oil terpenes              Y                https://echa.europa.eu/substance-information/-/substanceinfo/100.108.674
                                                           Danger! According to the classification provided by companies to ECHA in CLP notifications this substance may be fatal if swallowed and
                                                           enters airways, is very toxic to aquatic life with long lasting effects, is very toxic to aquatic life, is a flammable liquid and vapour, causes
                                                           skin irritation and may cause an allergic skin reaction.
Levisticum Officinale Oil                 Y      https://chem.nlm.nih.gov/chemidplus/rn/startswith/8016-31-7
                                                           Skin/eye irritant
(Levisticum Officinale Leaf
Oil)
Linalool                        Y                https://chem.nlm.nih.gov/chemidplus/rn/startswith/78-70-6
                                                           Skin/eye irritant

                                                 https://www.ewg.org/guides/substances/3258-LINALOOL#.W312eOhKiUk
                                                          Recognized by the European Union as a skin allergen. Allergen list - EU Cosmetics Directive

                                                           The European Commission's Scientific Committee on Consumer Safety reports this substance is an established contact allergen in humans.
                                                           Opinion on Fragrance allergens in cosmetics (2011) - EU Cosmetics Directive

                                                           This peer-reviewed study reports this substance is a significant skin sensitizer after oxidation.
                                                                     Johanna Bråred Christensson, Mihály Matura, Birgitta Gruvberger, Magnus Bruze & Ann-Therese Karlberg. 2010. Linalool--a
                                                                     significant contact sensitizer after air exposure. Contact dermatitis 62(1), 32-41.

                                                           This peer-reviewed study reports this substance is a significant skin sensitizer after oxidation.
                                                                     Johanna Bråred Christensson, Pia Forsström, Ann-Marie Wennberg, Ann-Therese Karlberg & Mihály Matura. 2009. Air oxidation
                                                                     increases skin irritation from fragrance terpenes. Contact dermatitis 60(1), 32-40.

                                                           This peer-reviewed study reports this substance is a significant skin sensitizer after oxidation.
                                                                     Deirdre A. Buckley. 2011. Allergy to oxidized linalool in the UK. Contact dermatitis 64(4), 240-1.

                                                           This peer-reviewed study reports this substance is a contact skin allergen.
                                                                     Mihály Matura, Ian R. White, Cecilia Svedman, Jeanne D. Johansen, An Goossens, Peter Frosch, Magnus Bruze, Klaus E.
                                                                     Andersen, Anna Börje, Maria Sköld & Ann-Therese Karlberg. 2005. Selected oxidized fragrance terpenes are common contact
                                                                     allergens. Contact dermatitis 52(6), 320-8.

                                                 https://cosmeticsinfo.org/ingredient/linalool-0
                                                           The Food and Drug Administration (FDA) includes Linalool on its list of substances considered Generally Recognized As Safe (GRAS) as
                                                           flavoring substance. The safety of Linalool has been evaluated by the Research Institute for Fragrance Materials Expert Panel (REXPAN).
                                                           Based on this evaluation, an International Fragrance Association (IFRA) Standard has been established. The IFRA Standard restricts the use
                                                           of Linalool in fragrances because of potential sensitization.

                                                           More safety Information:
                                                           Link to FDA Code of Federal Regulations for Linalool:
                                                           https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/CFRSearch.cfm?fr=182.60&SearchTerm=linalool
                                                                                                                                                                                                 298
           Case 3:16-md-02738-MAS-RLS                        Document 33000-7                   Filed 07/23/24              Page 301 of 328
                                                               PageID: 194874
                                             Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
Chemical    Baby    Shower-
           Powder     to-
                    Shower

                                       The Joint FAO/WHO Expert Committee on Food Additives (JECFA) concluded that Linalool does not present a safety concern at current
                                       levels of intake when used as a flavoring agent.

                                       Link to the JECFA safety evaluation of Linalool: http://www.inchem.org/documents/jecfa/jeceval/jec 1271.htm

                                       The Flavor and Extract Manufacturers Association Expert Panel has reviewed the safety of linalool and determined that it is Generally
                                       Recognized as Safe (GRAS) for use as a flavoring substance. In Europe, Linalool is included on the list of "allergenic" substances. The
                                       European Cosmetics Regulation requires manufacturers of cosmetics and personal care products to indicate the presence of certain
                                       "allergenic" substances in the list of ingredients if they are present above certain levels in the product (see Annex III). The presence of
                                       Linalool must be indicated in the list of ingredients when its concentration exceeds: 0.001% in leave-on the skin products 0.01% in
                                       products that are rinsed off the skin

                                       Link to the EU Cosmetic Regulation: https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=LEGISSUM:co0013

                              http://www.thegoodscentscompany.com/data/rw1007872.html#tosafty
                                       European information :
                                       Most important hazard(s):
                                               Xi - Irritant
                                               R 36/38 - Irritating to skin and eyes.
                                               R 43 - May cause sensitisation by skin contact.
                                               S 24/25 - Avoid contact with skin and eyes.

                                       GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                Skin irritation (Category 2), H315

                              https://pubchem.ncbi.nlm.nih.gov/compound/6549#section=GHS-Classification
                                        Signal: Warning
                                        GHS Hazard Statements
                                                 H315 (96.96%): Causes skin irritation [Warning Skin corrosion/irritation]
                                                 H317 (53.26%): May cause an allergic skin reaction [Warning Sensitization, Skin]

                                       Skin, Eye, and Respiratory Irritations
                                                  A skin irritant.
                                                  Lewis, R.J. Sr. (ed) Sax's Dangerous Properties of Industrial Materials. 11th Edition. Wiley-Interscience, Wiley & Sons, Inc.
                                                  Hoboken, NJ. 2004., p. 2232
                                                  from HSDB

                                                 ... Linalool must be regarded as a skin irritant and should be seen as mildly irritant for man. ... Linalool is at most a moderate eye
                                                 irritant; moreover, in about a third of human subjects it did not cause any eye irritation at 320 ppm.
                                                 Organization for Economic Cooperation and Development; Screening Information Data Set for LINALOOL (78-70-6) p.14 (March
                                                 2002).
                                                  from HSDB

                                       NIOSH Toxicity Data
                                               https://pubchem.ncbi.nlm.nih.gov/compound/6549#section=NIOSH-Toxicity-Data&fullscreen=true

                                                                                                                                                                         299
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                               PageID: 194875
                           Case 3:16-md-02738-MAS-RLS                         Document 33000-7                   Filed 07/23/24              Page 303 of 328
                                                                                PageID: 194876
                                                             Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
         Chemical           Baby    Shower-
                           Powder     to-
                                    Shower

                                              http://www.thegoodscentscompany.com/data/rw1007892.html#tosafty
                                                       European information :
                                                       Most important hazard(s):
                                                               Xi - Irritant
                                                               R 36/38 - Irritating to skin and eyes.
                                                               S 24/25 - Avoid contact with skin and eyes.

                                                       GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                                Skin irritation (Category 2), H315
Mentha Arvensis Leaf Oil     Y                http://www.thegoodscentscompany.com/data/es1003041.html#tosafty
                                                       European information :
                                                       Most important hazard(s):
                                                                Xi - Irritant
                                                                R 37/38 - Irritating to respiratory system and skin.

                                              https://www.ewg.org/guides/substances/6437-MENTHAARVENSISWILDMINTOIL#.W31vDuhKiUk
                                                       Component: LINALOOL
                                                       This peer-reviewed study reports this substance is a significant skin sensitizer after oxidation.

                                                                  Johanna Bråred Christensson, Mihály Matura, Birgitta Gruvberger, Magnus Bruze & Ann-Therese Karlberg. 2010. Linalool--a
                                                                  significant contact sensitizer after air exposure. Contact dermatitis 62(1), 32-41.

                                                                  Johanna Bråred Christensson, Pia Forsström, Ann-Marie Wennberg, Ann-Therese Karlberg & Mihály Matura. 2009. Air oxidation
                                                                  increases skin irritation from fragrance terpenes. Contact dermatitis 60(1), 32-40.

                                                                  Deirdre A. Buckley. 2011. Allergy to oxidized linalool in the UK. Contact dermatitis 64(4), 240-1.

                                                        Component: LINALOOL
                                                        This peer-reviewed study reports this substance is a contact skin allergen.

                                                                  Mihály Matura, Ian R. White, Cecilia Svedman, Jeanne D. Johansen, An Goossens, Peter Frosch, Magnus Bruze, Klaus E.
                                                                  Andersen, Anna Börje, Maria Sköld & Ann-Therese Karlberg. 2005. Selected oxidized fragrance terpenes are common contact
                                                                  allergens. Contact dermatitis 52(6), 320-8.

                                                        The European Commission's Scientific Committee on Consumer Safety reports this substance is an established contact allergen in humans.

                                                                  Opinion on Fragrance allergens in cosmetics (2011) - EU Cosmetics Directive

                                                        Component: LINALOOL
                                                        Recognized by the European Union as a skin allergen Allergen list - EU Cosmetics Directive

                                                       Component: LINALOOL
                                                       The European Commission's Scientific Committee on Consumer Safety reports this substance is an established contact allergen in humans.
                                                       Opinion on Fragrance allergens in cosmetics (2011) - EU Cosmetics Directive
Menthyl Acetate              Y                http://www.thegoodscentscompany.com/data/rw1046271.html#tosafty
                                                       European information :
                                                       Most important hazard(s):
                                                                                                                                                                                   301
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                                                                           PageID: 194877
                                                        Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
         Chemical      Baby    Shower-
                      Powder     to-
                               Shower
                                                             Xi - Irritant
                                                             R 36/38 - Irritating to skin and eyes.
                                                             S 24/25 - Avoid contact with skin and eyes.

Methyl Anthranilate     Y                https://pubchem.ncbi.nlm.nih.gov/compound/8635#section=GHS-Classification
                                                   Health Hazard
                                                            SYMPTOMS: This compound is an irritant to the skin. ACUTE/CHRONIC HAZARDS: This compound may cause irritation on contact.
                                                            (NTP, 1992). from CAMEO Chemicals

                                                   Skin, Eye, and Respiratory Irritations
                                                              Prolonged inhalation may lead to respiratory tract irritation. ...Prolonged or repeated /skin or eye/ contact may result in
                                                              mechanical irritation.
                                                              Becker Underwood, Inc; Material Safey Data Sheet for Methyl Anthranilate 134-20-3 (Date Revised: February 23, 2000).
                                                              Available from, as of November 11, 2003: http://www.beckerunderwood.com/msds/rejexit_ff.html
                                                              from HSDB

                                         https://chem.nlm.nih.gov/chemidplus/rn/startswith/134-20-3
                                                   Skin/eye irriatant

                                         https://www.ewg.org/guides/substances/11032-METHYLANTHRANILATE#.W3yJwuhKiUk
                                                  The European Commission's Scientific Committee on Consumer Safety reports this substance shows negative results for causing contact
                                                  allergy in humans. Opinion on Fragrance allergens in cosmetics (2011) - EU Cosmetics Directive

                                         http://www.thegoodscentscompany.com/data/rw1008211.html#tosafty
                                                  European information :
                                                  Most important hazard(s):
                                                          Xi - Irritant
                                                          R 36/38 - Irritating to skin and eyes.
                                                          S 24/25 - Avoid contact with skin and eyes.

                                                   GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                            Skin irritation (Category 2), H315

Methyl Benzoate         Y         Y      https://online.personalcarecouncil.org/ctfa-static/online/lists/cir-pdfs/pr578.pdf



                                         https://cosmeticsinfo.org/ingredient/methyl-benzoate
                                                   The Food and Drug Administration (FDA) permits Methyl Benzoate, Ethyl Benzoate, Propyl Benzoate, Isopropyl Benzoate and Isobutyl
                                                   Benzoate to be used as flavoring agents for direct addition to food. Butyl Benzoate is permitted for use as an indirect food additive as a
                                                   component of adhesives.

                                                   Link to FDA Code of Federal Regulations

                                                   https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/CFRSearch.cfm?fr=172.515&SearchTerm=benzyl%20benzoate
                                                   https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/CFRSearch.cfm?fr=175.105

                                                                                                                                                                                    302
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                                                                         PageID: 194878
                                                       Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
          Chemical    Baby    Shower-
                     Powder     to-
                              Shower
                                                 The European Union lists salts and esters of benzoic acid (including Methyl Benzoate, Ethyl Benzoate, Propyl Benzoate, Butyl Benzoate,
                                                 Isopropyl Benzoate and Isobutyl Benzoate) as preservatives that may be safety used in cosmetics at concentrations up to 0.5% (See Annex
                                                 IV).

                                                 Link to the EU Cosmetic Regulation: https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=LEGISSUM:co0013

                                        http://www.thegoodscentscompany.com/data/rw1015012.html#tosafty
                                                  European information :
                                                  Most important hazard(s):
                                                           Xn - Harmful.
                                                           R 36/38 - Irritating to skin and eyes.
                                                           R 42/43 - May cause sensitization by inhalation and skin contact.
                                                           S 24/25 - Avoid contact with skin and eyes.
Methyl Cinnamate       Y                https://pubchem.ncbi.nlm.nih.gov/compound/637520#section=Safety-and-Hazards
                                                  Signal: Warning
                                                  GHS Hazard Statements

                                                           H317 (100%): May cause an allergic skin reaction [Warning Sensitization, Skin]

                                        https://www.ewg.org/guides/substances/18329-METHYLCINNAMATE#.W3yEyuhKiUk
                                                 The European Commission's Scientific Committee on Consumer Safety reports this substance shows some evidence of causing contact
                                                 allergy in humans. Opinion on Fragrance allergens in cosmetics (2011) - EU Cosmetics Directive

                                        http://www.thegoodscentscompany.com/data/rw1417571.html#tosafty
                                                  European information :
                                                  Most important hazard(s):
                                                            Xi - Irritant
                                                            R 36/38 - Irritating to skin and eyes.
                                                            S 24/25 - Avoid contact with skin and eyes.
Methyl Salicylate      Y                https://online.personalcarecouncil.org/ctfa-static/online/lists/cir-pdfs/pr302.pdf
                                        https://online.personalcarecouncil.org/ctfa-static/online/lists/cir-pdfs/TR766.pdf

                                        https://chem.nlm.nih.gov/chemidplus/rn/startswith/119-36-8
                                                  Skin/eye irritant

                                        https://pubchem.ncbi.nlm.nih.gov/compound/4133#section=Safety-and-Hazards
                                                  Signal: Warning
                                                  GHS Hazard Statements
                                                           H315 (23.08%): Causes skin irritation [Warning Skin corrosion/irritation]
                                                  Health Hazard
                                                           Harmful if swallowed, inhaled, absorbed through skin. Vapor mist is irritating to the eyes, mucous membranes, upper respiratory
                                                           tract and skin. Ingestion of relatively small amount causes severe poisoning and death. Causes nausea, vomiting, acidosis,
                                                           pulmonary edema, pneumonia, convulsions and death. (USCG, 1999)
                                                           from CAMEO Chemicals

                                                 Effects of Short Term Exposure
                                                            The substance is irritating to the eyes and skin. The substance may cause effects on the central nervous system. This may result
                                                            in shock and death. The effects may be delayed. Medical observation is indicated.
                                                                                                                                                                                 303
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                                                                                   PageID: 194879
                                                                Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
         Chemical              Baby    Shower-
                              Powder     to-
                                       Shower
                                                                     from ILO-ICSC

                                                 http://www.thegoodscentscompany.com/data/rw1008472.html#tosafty
                                                          European information :
                                                          Most important hazard(s):
                                                                  Xn - Harmful.
                                                                  R 36/38 - Irritating to skin and eyes.
                                                                  S 24/25 - Avoid contact with skin and eyes.

                                                 https://www.ewg.org/guides/substances/3576-METHYLSALICYLATE#.W3yBzuhKiUk
                                                          The European Commission's Scientific Committee on Consumer Safety reports this substance is an established contact allergen in humans.
                                                          Opinion on Fragrance allergens in cosmetics (2011) - EU Cosmetics Directive

                                                 https://cosmeticsinfo.org/ingredient/methyl-salicylate
                                                           The Food and Drug Administration (FDA) has reviewed the safety of Salicylic Acid and Methyl Salicylate and permits their use as indirect
                                                           food additives. Salicylic Acid is approved for use in Over-the-Counter (OTC) drug products. Salicylic acid is widely used as an FDA approved
                                                           safe and effective acne drug product. It is also approved for use in OTC drugs for corn, callusand wart removal, as well as in antidandruff
                                                           OTC drug products. Ethylhexyl Salicylate and TEA-Salicylate are permitted by FDA for use as active ingredients in OTC sunscreen drug
                                                           products. Ethylhexyl Salicylate may be used at concentrations up to 5%, and TEA-Salicylate may be used at concentrations up to 12%.

                                                           Link to the FDA Code of Federal Regulations for Salicylic Acid, Sodium Salicylate, Methyl Salicylate, and Octyl (Ethylhexyl) Salicylate

                                                           Acne Active Ingredients
                                                           Adhesives
                                                           Sunscreen Active Ingredients
                                                           Wart Remover Active Ingredients
                                                           Corn and Callus Remover Active ingredients
                                                           Control of Dandruff

                                                           Salicylic Acid it salts are listed in the Cosmetics Directive of the European Union and may be used as preservatives in cosmetics and
                                                           personal care products at a maximum concentration of 0.5% (see Annex VI). In Europe, for uses other than as a preservative, Salicylic Acid
                                                           may be used in rinse-off hair products at concentrations up to 3%, and in other products at concentrations up to 2% (see Annex III).
                                                           Salicylic Acid should not to be used in products for children under 3 years of age, except for shampoo formulations. Ethylhexyl Salicylate is
                                                           listed in the Cosmetics Directive of the European Union and may be used as a UV filter at a concentration up to 5% (see Annex VII).

                                                           Health Canada permits the use of Salicylic Acid in cosmetics and personal care products in concentrations equal to or less than 2%.

                                                           Ethylhexyl Salicylate (up to 6%) and TEA-Salicylate (up to 12%) are permitted for use in sunscreen products in Canada.
Myristica Fragrans (Nutmeg)     Y         Y      https://pubchem.ncbi.nlm.nih.gov/compound/6850746#section=Canonical-SMILES
Kernel Oil
                                                 https://chem.nlm.nih.gov/chemidplus/rn/startswith/8008-45-5
(Nutmeg oil)                                               Skin/eye irritant

                                                 https://www.ewg.org/guides/substances/3802-MYRISTICAFRAGRANSNUTMEGKERNELOIL#.W3x8BuhKiUk
                                                          Component: D-LIMONENE
                                                          Recognized by the European Union as a skin allergen. Allergen list - EU Cosmetics Directive

                                                           Impurity: FORMALDEHYDE
                                                                                                                                                                                              304
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                                                                                PageID: 194880
                                                               Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
         Chemical             Baby    Shower-
                             Powder     to-
                                      Shower
                                                          Causes skin irritation. NIOSH Pocket Guide to Chemical Hazards - Centers for Disease Control and Prevention (CDC)
Myroxylon Balsamum             Y                https://chem.nlm.nih.gov/chemidplus/rn/startswith/9000-64-0
(Balsam Tolu) Resin                                       Skin/eye irritant

                                                http://www.thegoodscentscompany.com/data/rs1011391.html
                                                         European information :
                                                         Most important hazard(s):
                                                                 Xi - Irritant
                                                                 R 43 - May cause sensitisation by skin contact.
Myroxylon Pereirae (Balsam     Y                https://www.ewg.org/skindeep/ingredient/720874/MYROXYLON PEREIRAE_(BALSAM PERU) OIL/#.W3x4b-hKiUk
Peru) Oil
                                                http://www.thegoodscentscompany.com/data/es1009811.html#tosafty
                                                          European information :
                                                          Most important hazard(s):
                                                                     Xi - Irritant
                                                                     R 38 - Irritating to skin.
                                                                     R 43 - May cause sensitisation by skin contact.
                                                                     S 24/25 - Avoid contact with skin and eyes.
                                                                     S 28 - After contact with skin, wash immediately with plenty of water.
Nonan-1-ol                     Y                https://pubchem.ncbi.nlm.nih.gov/compound/8914#section=Safety-and-Hazards
                                                          Signal: Warning
(Nonyl Alcohol)                                           GHS Hazard Statements
                                                                     H315 (17.45%): Causes skin irritation [Warning Skin corrosion/irritation]
Octan-2-one                              Y      https://pubchem.ncbi.nlm.nih.gov/compound/8093#section=Hazards-Identification
                                                          Skin, Eye, and Respiratory Irritations
(2-Octanone)                                                         2-Octanone has a relatively low toxicity. Direct skin contact may cause defatting and irritation of the skin.
                                                                     Bingham, E.; Cohrssen, B.; Powell, C.H.; Patty's Toxicology Volumes 1-9 5th ed. John Wiley & Sons. New York, N.Y. (2001)., p.
                                                                     6:301. from HSDB

                                                http://www.thegoodscentscompany.com/data/rw1001751.html#tosafty
                                                          European information :
                                                          Most important hazard(s):
                                                                     Xn - Harmful.
                                                                     R 21 - Harmful in contact with skin.
                                                                     R 36/37/38 - Irritating to eyes, respiratory system, and skin.
                                                                     S 24/25 - Avoid contact with skin and eyes.
Opoponax                       Y                https://ec.europa.eu/health/ph risk/committees/04 sccp/docs/sccp o 025b.pdf
                                                          According to the results of these tests, summarized in the table, five of the tested samples (2
(sweet myrrh)                                             extracts and 3 oils) gave some positive results indicating that Opoponax products may have a
                                                          mild sensitizing potential depending on the origin and the quality of the product. In the
                                                          introductory report (ref. 29) it is stated that the earlier studies with positive resu1ts were most
                                                          likely due to the utilization of samples that contained undefined impurities. The more recent
                                                          studies yielding negative results used better-defined materials. However, in the same report it is
                                                          also stated that the source of the samples with positive results is unknown, and may have been
                                                          obtained from Pastinaca opopanax L. (Fam: Umbelliferare) instead of from genuine opoponax
                                                          gums from Commiphora erythraea var. glabrescens Engler (Fam: Burseracae). Taking also into
                                                          consideration that the most recent studies mentioned above were carried out in 1979-1980, these
                                                          two partially contradicting statements cannot be evaluated.
                                                                                                                                                                                         305
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                                                        Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
           Chemical    Baby    Shower-
                      Powder     to-
                               Shower
p-Cresol                Y                https://online.personalcarecouncil.org/ctfa-static/online/lists/cir-pdfs/pr277.pdf

                                         https://cosmeticsinfo.org/ingredient/p-cresol
                                                   The Food and Drug Administration (FDA) permits the use of Thymol as a direct and food additive (as a flavoring substance) and as an
                                                   indirect food additive (for use in paper an paperboard in contact with food).

                                                  Link to FDA Code of Federal Regulations for Thymol

                                                  https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/CFRSearch.cfm?fr=172.515&SearchTerm=thymol
                                                  https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/CFRSearch.cfm?fr=176.180&SearchTerm=thymol

                                                  In the European Union, p-Chloro-m-Cresol, Sodium p-Chloro-m-Cresol at concentrations up to 0.2% and o-Cymen-5-ol (4-Isopropyl-m-
                                                  cresol) at concentrations up to 0.1% are allowed to be used as preservatives (see Annex VI).

                                                  Link to the EU Cosmetic Regulation:
                                                  https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=LEGISSUM:co0013

                                         https://chem.nlm.nih.gov/chemidplus/rn/106-44-5
                                                   Skin/eye irritant
                                                   Tumor Data

                                         http://www.thegoodscentscompany.com/data/rw1003851.html#tosafty
                                                  European information :
                                                  Most important hazard(s):
                                                          T - Toxic.
                                                          R 24/25 - Toxic in contact with skin and if swallowed.
                                                          R 34 - Causes burns.
                                                          R 36/37/38 - Irritating to eyes, respiratory system, and skin.
                                                          S 24/25 - Avoid contact with skin and eyes.

                                                  GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                           Acute toxicity, Dermal (Category 3), H311
                                                           Skin corrosion (Category 1B), H314

                                         https://pubchem.ncbi.nlm.nih.gov/compound/2879#section=Hazards-Identification
                                                   Signal: Danger
                                                   GHS Hazard Statements
                                                             H311: Toxic in contact with skin [Danger Acute toxicity, dermal]
                                                             H314: Causes severe skin burns and eye damage [Danger Skin corrosion/irritation]
                                                             H351: Suspected of causing cancer [Warning Carcinogenicity]

                                                  Health Hazard
                                                           SKIN: Intense burning, loss of feeling, white discoloration and softening. Gangrene may occur. (USCG, 1999)
                                                           from CAMEO Chemicals

                                                  Skin, Eye, and Respiratory Irritations

                                                                                                                                                                             306
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                                                                 Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
          Chemical              Baby    Shower-
                               Powder     to-
                                        Shower

                                                            Component: LINALOOL
                                                            This peer-reviewed study reports this substance is a significant skin sensitizer after oxidation. Deirdre A. Buckley. 2011. Allergy to oxidized
                                                            linalool in the UK. Contact dermatitis 64(4), 240-1.

                                                            Component: LINALOOL
                                                            This peer-reviewed study reports this substance is a contact skin allergen. Mihály Matura, Ian R. White, Cecilia Svedman, Jeanne D.
                                                            Johansen, An Goossens, Peter Frosch, Magnus Bruze, Klaus E. Andersen, Anna Börje, Maria Sköld & Ann-Therese Karlberg. 2005. Selected
                                                            oxidized fragrance terpenes are common contact allergens. Contact dermatitis 52(6), 320-8.

                                                  https://pubchem.ncbi.nlm.nih.gov/compound/637566#section=GHS-Classification
                                                                    (Geraniol):
                                                                              Signal: Danger
                                                                              GHS Hazard Statements

                                                                                          H315 (98.89%): Causes skin irritation [Warning Skin corrosion/irritation]
                                                                                          H317 (99.59%): May cause an allergic skin reaction [Warning Sensitization, Skin]

                                                                                Skin, Eye, and Respiratory Irritations
                                                                                           A severe human skin irritant.
                                                                                           Lewis, R.J. Sr. (ed) Sax's Dangerous Properties of Industrial Materials. 11th Edition. Wiley-Interscience, Wiley
                                                                                           & Sons, Inc. Hoboken, NJ. 2004., p. 1440. from HSDB
Pentadecalactone                 Y
                                                  https://pubchem.ncbi.nlm.nih.gov/compound/235414#section=GHS-Classification
(omega-pentadecalactone)                                    Signal: Warning
(Oxacyclohexadecan-2-one)                                   GHS Hazard Statements

                                                                      H317 (18.4%): May cause an allergic skin reaction [Warning Sensitization, Skin]

                                                  http://www.thegoodscentscompany.com/data/rw1004211.html#tosafty
                                                            European information :
                                                            Most important hazard(s):
                                                                      S 24/25 - Avoid contact with skin and eyes.
Petitgrain oil, Paraguay         Y                https://echa.europa.eu/substance-information/-/substanceinfo/100.252.174
                                                            Essential oil of Petitgrain obtained from the leaves and twigs of Citrus aurantium (Rutaceae) by distillation
(Citrus aurantium fruit oil)                                          Danger! According to the classification provided by companies to ECHA in REACH registrations this substance may be fatal if
                                                                      swallowed and enters airways, is toxic to aquatic life with long lasting effects, causes serious eye irritation and causes skin
                                                                      irritation.
Phenethyl Acetate                Y                https://pubchem.ncbi.nlm.nih.gov/compound/7654#section=Hazards-Identification
                                                            Signal: Danger
                                                            GHS Hazard Statements

                                                  http://www.thegoodscentscompany.com/data/rw1010032.html#tosafty
                                                            European information :
                                                            Most important hazard(s):
                                                                      S 24/25 - Avoid contact with skin and eyes.
Phenethyl Alcohol                Y         Y      https://online.personalcarecouncil.org/ctfa-static/online/lists/cir-pdfs/pr134.pdf
                                                  https://online.personalcarecouncil.org/ctfa-static/online/lists/cir-pdfs/prn547.PDF
                                                                                                                                                                                               308
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                                                          Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
            Chemical     Baby    Shower-
                        Powder     to-
                                 Shower

                                                    More safety Information:
                                                             Tartaric acid is metabolically inert in the human body. Link to FDA Code of Federal Regulations for Tartaric Acid

                                                    https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/CFRSearch.cfm?fr=184.1099&SearchTerm=tartaric%20acid
                                                    https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/CFRSearch.cfm?fr=331.11&SearchTerm=tartaric%20acid

                                                    Link to FDA Code of Federal Regulations for Potassium Sodium Tartrate

                                                    https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/CFRSearch.cfm?fr=184.1804&SearchTerm=sodium%20potassium%20tartrate
                                                    https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/CFRSearch.cfm?fr=331.11&SearchTerm=sodium%20potassium%20tartrate

                                                    Tartaric Acid and its salts may be used in cosmetics and personal care products marketed in the Europe according to the
                                                    https://cosmeticsinfo.org/glossary/letter g#General Provisions of the Cosmetics Regulation of the European Union

                                                     Link to the EU Cosmetic Regulation:
                                                     https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=LEGISSUM:co0013
TBHQ                                Y      https://online.personalcarecouncil.org/ctfa-static/online/lists/cir-pdfs/pr118.pdf
                                           https://online.personalcarecouncil.org/ctfa-static/online/lists/cir-pdfs/PR609.pdf
(t-Butylhydroquinone)
                                           https://pubchem.ncbi.nlm.nih.gov/compound/16043#section=GHS-Classification
                                                     Signal: Warning
                                                     GHS Hazard Statements
                                                              H312 (27.89%): Harmful in contact with skin [Warning Acute toxicity, dermal]
                                                              H315 (20.64%): Causes skin irritation [Warning Skin corrosion/irritation]
                                                              H317 (32.21%): May cause an allergic skin reaction [Warning Sensitization, Skin]

                                                    Health Hazard
                                                             SYMPTOMS: Symptoms of exposure to this compound include irritation of the skin and eyes and dermatitis. (NTP, 1992)

                                           https://toxnet.nlm.nih.gov/cgi-bin/sis/search/a?dbs+hsdb:@term+@DOCNO+838
                                                     Clinical Effects:
                                                     0.2.1 SUMMARY OF EXPOSURE
                                                       0.2.1.1 ACUTE EXPOSURE
                                                                …
                                                        D) WITH THERAPEUTIC USE
                                                         1) DERMAL: Localized contact dermatitis, pruritus, dry
                                                           skin, burning, desquamation, erythema, brown or
                                                           orange-brown nail discoloration, paradoxical
                                                           ochronosis-like hyperpigmentation of the skin, and
                                                           hypersensitivity reactions.
Terpineol                 Y         Y      https://pubchem.ncbi.nlm.nih.gov/compound/17100#section=GHS-Classification
                                                     Signal: Warning
                                                     GHS Hazard Statements

                                                              H315 (100%): Causes skin irritation [Warning Skin corrosion/irritation]

                                                                                                                                                                                 314
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                                                                Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
         Chemical              Baby    Shower-
                              Powder     to-
                                       Shower
                                                          HUMAN EXPOSURE AND TOXICITY: In human subjects, alpha-terpineol had a low irritative potency but a strong odor. Two dermatitis
                                                          patients were reported to be sensitized to alpha-terpineol, although attempts to induce skin sensitization in volunteers using a dilute
                                                          solution of alpha-terpineol were unsuccessful. ANIMAL STUDIES: In rabbits neat alpha-terpineol was a moderate skin irritant.

                                                 http://www.thegoodscentscompany.com/data/rw1011252.html#tosafty
                                                          European information :
                                                          Most important hazard(s):
                                                                  Xi - Irritant
                                                                  R 36/38 - Irritating to skin and eyes.
                                                                  S 24/25 - Avoid contact with skin and eyes.

                                                          Hazards identification

                                                                    Skin irritation (Category 2), H315
Trichloromethyl Phenyl                    Y      http://www.thegoodscentscompany.com/data/rw1002671.html#tosafty
Carbinyl Acetate                                          European information :
                                                          Most important hazard(s):
(Rosacetol)                                                         Xi - Irritant
                                                                    R 36/38 - Irritating to skin and eyes.
                                                                    S 24/25 - Avoid contact with skin and eyes.
Undecylenal                     Y                https://www.ewg.org/guides/substances/15138-UNDECYLENAL#.W3sGQehKiUk
                                                          This substance is Generally Recognized as Safe (GRAS) as a food additive by the US Food and Drug Administration
Undec-10-enal                                             Only in: Household Cleaners
10-undecenal (aldehyde C-11                               low Concer FDA - Priority based Assessment of Food Additive (PAFA) - U.S. Food and Drug Administration (FDA)
undecylenic)
                                                 http://www.thegoodscentscompany.com/data/rw1000332.html#tosafty
                                                          Most important hazard(s):
                                                                  N - Dangerous for the environment.
                                                                  R 36/38 - Irritating to skin and eyes.
                                                                  R 43 - May cause sensitisation by skin contact.

                                                          GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
                                                                   Acute toxicity, dermal (Category 5), H313
                                                                   Skin irritation (Category 2), H315
                                                                   Skin sensitisation (Category 1), H317

                                                          Signal word       Warning
                                                          Hazard statement(s)
                                                                   H313 - May be harmful in contact with skin
                                                                   H315 - Causes skin irritation
                                                                   H317 - May cause an allergic skin reaction

                                                 https://pubchem.ncbi.nlm.nih.gov/compound/8187#section=GHS-Classification
                                                           Signal: Warning
                                                           GHS Hazard Statements
                                                                    H315 (99.9%): Causes skin irritation [Warning Skin corrosion/irritation]
                                                                    H317 (91%): May cause an allergic skin reaction [Warning Sensitization, Skin]

                                                                                                                                                                                         315
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                                                                  Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
           Chemical              Baby    Shower-
                                Powder     to-
                                         Shower
                                                             EPA Safer Chemical
                                                                         10-Undecenal - Yellow triangle - The chemical has met Safer Choice Criteria for its functional ingredient-class, but has some
                                                                         hazard profile issues. Specifically, a chemical with this code is not associated with a low level of hazard concern for all human
                                                                         health and environmental endpoints. (See Safer Choice Criteria). While it is a best-in-class chemical and among the safest
                                                                         available for a particular function, the function fulfilled by the chemical should be considered an area for safer chemistry
                                                                         innovation.
Vanillin                          Y                http://www.thegoodscentscompany.com/data/rw1011712.html#tosafty
                                                   https://chem.nlm.nih.gov/chemidplus/name/vanillin
Vetiveria Zizanoides Root Oil     Y                https://www.ewg.org/skindeep/ingredient/724810/VETIVERIA ZIZANOIDES ROOT OIL/#.W3sAhuhKiUk
                                                             Multiple, additive exposure sources
                                                             Irritation (skin, eyes, or lungs)
                                                             One or more animal studies show skin irritation at low doses                RTECS®- Food and Cosmetics Toxicology

                                                             Organ system toxicity (non-reproductive)
                                                             Classified as not expected to be potentially toxic or harmful           Environment Canada Domestic Substance List

                                                   http://www.thegoodscentscompany.com/data/es1695591.html#tosafty
                                                            Most important hazard(s):
                                                                    Xi - Irritant
                                                                    R 38 - Irritating to skin.




                                                                                                                                                                                          316
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                                                               Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
         Chemical               Baby    Shower-
                               Powder     to-
                                        Shower
1-Phenylethyl acetate            Y                http://www.thegoodscentscompany.com/data/rw1011092.html

(Methylphenylcarbinyl                                      European information :
acetate)                                                   Most important hazard(s):

                                                                     S 24/25 - Avoid contact with skin and eyes.

                                                           Signal word Warning
3,7-Dimethylnona-2,6-                      Y      http://www.thegoodscentscompany.com/data/rw1042831.html#tosafty
dienentrile                                                European information :
                                                           Most important hazard(s):
(3,7-Dimethylnona-2,6-                                              S 24/25 - Avoid contact with skin and eyes.
dienenitrile

Homogeranyl nitrile

Lemonile (Givaudan))
3, 7-Dimethylocta-2,6-dien-      Y                Trans-3,7-Dimethyl-2,6-octadien-1-yl phenylacetate or Geranyl phenylacetate ???
1-yl phenylacetate

(geranyl phenyl acetate)
4-(2,5,6,6-                      Y                http://www.thegoodscentscompany.com/data/rw1006691.html#tosafty
Tetramethylcyclohex-2-en-                                  European information :
1-yl)but-3-en-2-one                                        Most important hazard(s):
                                                           None - None found.
(4-(2,5,6,6-Tetramethyl-2-
cyclo-hexen-1-yl)-3-buten-2-                                         S 24 - Avoid contact with skin.
one

Methyl-alpha-ionone)
Acetic acid, anhydride,                    Y      https://pubchem.ncbi.nlm.nih.gov/compound/53422908#section=Safety-and-Hazards
reaction products with                                      Signal: Warning
1,5,10-trimethyl-1,5,9-                                     GHS Hazard Statements
cyclododecatriene
                                                                     H317 (97.13%): May cause an allergic skin reaction [Warning Sensitization, Skin]

                                                  https://echa.europa.eu/substance-information/-/substanceinfo/100.105.384
                                                            Warning! According to the classification provided by companies to ECHA in REACH registrations this substance is very toxic to aquatic
                                                            life, is very toxic to aquatic life with long lasting effects and may cause an allergic skin reaction.
Aloe Barbadensis Leaf                      Y      https://online.personalcarecouncil.org/ctfa-static/online/lists/cir-pdfs/pr274.pdf
Extract
                                                  http://www.ema.europa.eu/docs/en GB/document library/Herbal - HMPC assessment report/2017/04/WC500225527.pdf
Amyris Balsamifera Bark Oil                Y      No Data

                                                                                                                                                                                    317
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                                                            Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
          Chemical           Baby    Shower-
                            Powder     to-
                                     Shower
(West Indian sandalwood
oil)
Anthemis Nobilis Flower                 Y      https://online.personalcarecouncil.org/ctfa-static/online/lists/cir-pdfs/PR653.pdf (Anthemis Nobilis Flower Extract, oil, water)


                                               Int J Toxicol. 2017 May/Jun;36(1_suppl):57S-66S. doi: 10.1177/1091581817705620.
                                               Safety Assessment of Anthemis nobilis-Derived Ingredients as Used in Cosmetics.
                                               Johnson W Jr, Heldreth B, Bergfeld WF, Belsito DV, Hill RA, Klaassen CD, Liebler DC, Marks JG Jr, Shank RC, Slaga TJ, Snyder PW, Andersen FA.
                                               Abstract
                                               Anthemis nobilis (Roman chamomile) flower extract, anthemis nobilis flower oil, anthemis nobilis flower powder, and anthemis nobilis flower
                                               water are ingredients that function as fragrance ingredients and skin-conditioning agents in cosmetic products. These ingredients are being used at
                                               concentrations up to 10% (anthemis nobilis flower water) in cosmetic products. The available data indicate that these 4 ingredients are not
                                               irritating or sensitizing. Chemical composition data and the low use concentrations suggest that systemic toxicity would not be likely if
                                               percutaneous absorption of constituents were to occur. Formulations may contain more than 1 botanical ingredient; each may contribute to the
                                               final concentration of a single component. Manufacturers were cautioned to avoid reaching levels of plant constituents that may cause
                                               sensitization or other adverse effects. Industry should continue to use good manufacturing practices to limit impurities in the ingredient before
                                               blending into cosmetic formulations. The Expert Panel concluded that these ingredients are safe in the present practices of use and concentration
                                               in cosmetics, when formulated to be nonsensitizing.
Benzene, 1,2-dimethoxy-       Y                No Data

(Veratrole

1,2-dimethoxybenzene

ortho-dimethyl
hydroquinone
)
Benzeneacetic acid,           Y                No Data
phenylmethyl ester

(Benzyl Phenylacetate)
Bulnesia sarmienti, ext.      Y                No Data

(Bulnesia sarmientoi ,
verawood, Guaiol)
Caprylyl Alcohol              Y                Capryl alcohol or Caprylic alcohol????

Castoreum                     Y                No Data

Celery seed (Apium            Y                No Data
graveolens L.)
Chamomilla Recutita           Y                https://www.cir-safety.org/sites/default/files/chamom032016tent.pdf
(Matricaria) Flower Oil
Citrus Aurantium Bergamia     Y
(Bergamot) Fruit Oil
Citrus Aurantium Dulcis       Y
(Orange) Peel Oil
                                                                                                                                                                                    318
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                                                              Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
          Chemical             Baby    Shower-
                              Powder     to-
                                       Shower
Citrus Medica Limonum           Y
(Lemon) Peel Oil
Citrus Nobilis (Mandarin        Y
Orange) Peel Oil
Copper Chlorophyll              Y                https://cosmeticsinfo.org/ingredient/chlorophyllin-copper-complex-0
                                                           The Food and Drug Administration (FDA) has approved Chlorophyllin-Copper Complex as a color additive exempt from certification. As a
                                                           color, Chlorophyllin-Copper Complex may be safely used for coloring dentifrices when it conforms to FDA specifications. FDA has also
                                                           permits the use of Chlorophyllin-Copper Complex in Over-the-Counter (OTC) internal deodorant drug products. Internal deodorant drug
                                                           products are taken internally to reduce odors from conditions such as colostomies, ileostomies or fecal incontinence.

                                                           More safety Information:
                                                           All color additives used in foods, drugs and cosmetics in the United States must be approved by FDA and listed in the Code of Federal
                                                           Regulations. In some cases, FDA requires that each batch of color produced for use in regulated products can be used only if it is certified
                                                           by the agency to meet strict specifications. FDA maintains a laboratory especially for this purpose and color manufacturers must pay a
                                                           fee to support this activity. FDA only approves colors after extensive review of all safety data and publication of the basis for its approval
                                                           in the Federal Register.

                                                           Link to FDA Code of Federal Regulations for Chlorophyllin Copper Complex

                                                           https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/CFRSearch.cfm?fr=357.810&SearchTerm=chlorophyllin-copper
                                                           https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/CFRSearch.cfm?fr=73.2125&SearchTerm=chlorophyllin-copper

                                                           Chlorophyllin-Copper Complex is listed as CI 75810 in the Cosmetics Directive of the European Union and may be used as a coloring
                                                           agent in all cosmetics and personal care products (see Annex IV). When used in cosmetic products in the European Union, this ingredient
                                                           must be called CI 75810.

                                                           Link to the EU Cosmetic Regulation:
                                                           https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=LEGISSUM:co0013

                                                           You can learn more about the regulation and labeling of colors at:
                                                           https://www.personalcarecouncil.org/colors-cosmetics-regulation-and-nomenclature-united-states
Evernia Prunastri (Oakmoss)     Y                No Data
Extract

(evernia prunastri lichen
extract)
Hex-3-en-1-yl acetate           Y                http://www.thegoodscentscompany.com/data/rw1130931.html#tosafty
                                                          European information :
(3-Hexenyl acetate, (3E)-)                                Most important hazard(s):
                                                                  S 24/25 - Avoid contact with skin and eyes.
Methyl 2-(methylamino           Y                No data
)benzoate

(Methyl N,N-
dimethylanthranilate)
Methyl Hydrogenated             Y         Y      No data
Rosinate
                                                                                                                                                                                           319
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                                                                Ingredient List – Johnson’s Baby Powder & Shower-to-Shower
          Chemical               Baby    Shower-
                                Powder     to-
                                         Shower
Musk Ketone                                 Y      https://echa.europa.eu/documents/10162/e6a84904-118b-447a-8766-f7bda48f7ce0


                                                   https://pubchem.ncbi.nlm.nih.gov/compound/6669#section=Safety-and-Hazards
                                                             Signal: Warning
                                                             GHS Hazard Statements

                                                                       H351 (99.74%): Suspected of causing cancer [Warning Carcinogenicity]
Nonyl Acetate                     Y                https://online.personalcarecouncil.org/ctfa-static/online/lists/cir-pdfs/pr469.pdf

                                                   https://pubchem.ncbi.nlm.nih.gov/compound/8918#section=Safety-and-Hazards

                                                   http://www.thegoodscentscompany.com/data/rw1015611.html#tosafty
                                                            European information :
                                                            Most important hazard(s):
                                                                    S 24/25 - Avoid contact with skin and eyes.
Oils, styrax                      Y                No data
Orris concrete (Iris pallida)     Y                http://www.thegoodscentscompany.com/search3.php?qName=orris+rhizome+concrete+butter+%28iris+pallida%29&submit.x=0&submit.y=0
                                                            European information :
(orris rhizome concrete                                     Most important hazard(s):
butter (iris pallida))                                              S 24/25 - Avoid contact with skin and eyes.
Indisan (Sandela) reaction                  Y      Sandela
product

(Sandela)
Tanacetum vulgare, ext.           Y                No data
Thymus Vulgaris (Thyme) Oil       Y
Tromethamine                                Y      https://online.personalcarecouncil.org/ctfa-static/online/lists/cir-pdfs/PR630.pdf
Undecan-2-one                     Y                http://www.thegoodscentscompany.com/data/rw1021151.html#tosafty
                                                             European information :
                                                             Most important hazard(s):
                                                                       S 24/25 - Avoid contact with skin and eyes.

1,5-Dimethyl-1-vinylhex-4-        Y                https://pubchem.ncbi.nlm.nih.gov/compound/Linalyl benzoate#section=Cellular-Locations
en-1-yl benzoate                                   http://www.thegoodscentscompany.com/data/rw1030541.html




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                                 APPENDIX E
             Photographs of Body Powder Products and Their Warnings




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